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V. AFFILIATE TRANSACTIONS

A. THE ALLY BANK TRANSACTIONS

    1. Factual Narrative

     Between November 2006 and January 2009, AFI and ResCap entered into three
transactions that ultimately consolidated their mortgage and automotive banking operations
under a single entity, Ally Bank, and transferred full ownership of Ally Bank to AFI. Despite
this cumulative effect, the Examiner has considered each of the three transactions separately
because the Investigation did not reveal evidence suggesting that the Ally Bank Transactions
were part of an integrated whole or presupposed the occurrence of each other. Additionally,
regardless of the Examiner’s ultimate conclusions with respect to any causes of action
implicated by the Ally Bank Transactions, each of the transactions appears to have been
motivated independently by separate business considerations.

     Before the Ally Bank Transactions, AFI’s automotive banking operations rested with
GMAC Automotive Bank, a Utah industrial bank and a direct wholly owned subsidiary of
AFI,1 and ResCap’s mortgage banking operations were performed by Old GMAC Bank, a
federal savings bank and an indirect wholly owned subsidiary of ResCap.




1   The formation of GMAC Automotive Bank was previously approved by the DFI on April 8, 2004. See
    Minutes of the Annual Meeting of the Board of Directors of General Motors Acceptance Corporation,
    May 10, 2004, at ALLY_PEO_0028505 [ALLY_PEO_0028475]. See generally Order Approving
    Application for Federal Deposit Insurance, FDIC (June 25, 2004) [GOLDIN00092209].

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    EXHIBIT V.A.1
    Bank Subsidiaries
    Pre-November 2006


                                                          General Motors




                                                            GMAC/AFI




                                                                               GMAC
                                         GMAC
                                                                           Automotive Bank
                                      Mortgage Group
                                                                            Industrial Bank




                                           ResCap




                                      Old GMAC Bank
                                     Federal Savings Bank



    Source: See Walker Report, at Ex. A-1 [RC40008925].


      In 2006, Old GMAC Bank’s operations represented a relatively small but important piece
of ResCap’s business.2 Despite a small deposit base, Old GMAC Bank remained important as
it provided various value-added components, including the ability to provide low-cost secured
and unsecured funding, preemption benefits (simplified licensing and regulatory
environment), bank funding to hedge against potential problems with existing structured
transaction facilities, exclusive banking activities (trust and custodial businesses), and a




2      As of September 30, 2006, Old GMAC Bank had approximately $14.1 billion of total assets and $1.1 billion
       of equity while ResCap had approximately $132.6 billion of total assets and $8.4 billion of equity. See
       GMAC Bank FDIC Thrift Financial Report (Call Report) (Sept. 30, 2006); Residential Capital, LLC,
       Quarterly Report (Form 10-Q) (Nov. 7, 2006), at 3; see also Int. of J. Young, Sept. 28, 2012, at 87:16–88:2
       (“[T]he bank was a facilitator of a very small piece and facilitating what was going on with respect to
       ResCap.”); Int. of L. Tessler, Nov. 16, 2012, at 150:20–23 (“Being a deposit-funded institution for any
       wholesale-funded enterprise on a global basis became increasingly important as we moved through 2007 and
       into 2008.”).

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diversified income stream.3 As David Walker, then Chief Financial Officer of GMAC Mortgage
Group, explained, these advantages were most pronounced in times of economic stress.4 In
addition, ResCap planned for Old GMAC Bank to become a larger source of mortgage
production through a restructuring of certain origination channels and to significantly increase
its acquisition of MSRs in an effort to grow its HFI portfolio.5 In fact, just a year earlier, Walker
had argued that “growing GMAC Bank is the single most important non-revenue focused
project within ResCap, and it’s likely to remain so through the end of 2007.”6
                  a. The 2006 Bank Restructuring
                     (1) Purpose Of The 2006 Bank Restructuring
     During the first quarter of 2005, AFI experienced a series of negative credit rating actions
as a result of its exposure to GM.7 These downgrades had negative implications for AFI’s
business model, namely, impairing AFI’s ability to maintain automotive origination levels.8
Despite being “ring-fenced” from AFI, the downgrades also had negative implications for
ResCap because its credit rating remained linked to AFI’s and could only be a limited number
of “notches” above AFI’s rating.9 Thus, a further downgrade in AFI’s ratings likely would
have resulted in ResCap being downgraded to below investment grade.10 A downgrade in
3    See ResCap GMAC Bank Strategies Presentation, dated Jan. 31, 2006, at 131–32 [RC40012974] (indicating
     a bank funding advantage of 13 basis points over various other internal and external funding sources); see
     also Int. of S. Khattri, Oct. 25, 2012, at 8:2–16 (“[A] good financial services company has several sources of
     capital, all the way from equity to unsecured, to secured, different types of conduits. At that time and
     probably always, the cheapest form of financing is bank deposits because they are guaranteed and they are
     normally very low interest. So, typically, to the extent that the mix of assets allow it and regulators allow it,
     that is always the cheapest source of financing. And because a lot of the conforming mortgage business,
     which is what [GMAC Mortgage] did, they were competing with the banks and they were competing with
     Fannie, they were competing with Freddie, this was important to have.”).
4    See Int. of D. Walker, Nov. 28, 2012, at 53:19–23, 55:9–10 (“When times are very, very good, typically in a
     market, the benefit and cost of the bank is minimal relative to the non-bank. It’s in times of great stress when
     the bank probably has better value than a non-bank. . . . And from 2000 to 2006, times were pretty good.”).
5    See ResCap GMAC Bank Strategies Presentation, dated Jan. 31, 2006, at 133–35 [RC40012974]; see also
     Int. of S. Khattri, Oct. 25, 2012, at 33:8–12; E-Mail from D. Walker to S. Khattri (Apr. 1, 2006)
     [EXAM11315506] (“[Old GMAC Bank] has more than $11 billion in assets and is growing rapidly.”);
     Residential Capital Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at 72 (“We plan to further diversify
     our funding sources by, among other things, further expanding our use of [Old] GMAC Bank . . . .”).
6    Memorandum, RFC/ResCap Financial Staff Issues, dated July 18, 2005, at 3 [EXAM11826950].
7    See GMAC Board of Directors Meeting Presentation, dated July 25, 2005, at 8, 10 [ALLY_0258663].
8    Id. at 10.
9    See Walker Report, at 9 [RC40008925] (“Given that [AFI]’s and ResCap’s credit ratings are linked, we
     expect that if [AFI] is downgraded, ResCap will be downgraded to non-investment grade.”); Int. of D.
     Walker, Nov. 28, 2012, at 127:24–129:1 (“The [rating agencies] would say in looking at the linkage. . .
     ‘We’re giving [ResCap] these ratings because there’s de-linkage from [AFI] because of the operating
     agreement . . . .’ They may have had language that said, ‘We’re notching it two because we’ll go no more
     than two on any kind of entity that’s wholly owned by the parent.”).
10   Walker Report, at 9 [RC40008925].

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ResCap’s credit ratings would have triggered step-up provisions on its unsecured debt and
bank facilities.11

     GM, at the urging of AFI management and after initial resistance, evaluated strategic
alternatives for AFI, including the sale of a controlling interest in AFI.12 AFI management
believed that such a transaction would restore its investment grade credit rating and access to
low-cost funding, allowing it to continue to provide GM with cost-effective auto financing.13
While GM had alternative plans in the event it was unable to sell a controlling interest in AFI,
the Ratings Agencies made clear that a successful closing was imperative to de-linking AFI’s
credit ratings from those of GM.14

     In early 2006, approximately five months after GM began actively marketing a majority
(51%) interest in AFI, GM, AFI, and Cerberus entered into the Cerberus PSA.15 Pursuant to
the Cerberus PSA, FIM Holdings LLC, an investment vehicle formed by Cerberus, acquired a
51% stake in AFI for a purchase price of approximately $7.4 billion.16 As part of that sale,
Cerberus required that ResCap divest Old GMAC Bank so that Cerberus could avoid thrift
holding company status and the restrictions on non-banking activities that would have been
triggered by ownership of a federal savings bank.17

     In order to comply with this requirement, AFI and ResCap undertook a fundamental
restructuring of their automotive and mortgage banking operations. Substantially all of the
assets and liabilities of Old GMAC Bank were transferred to GMAC Automotive Bank while
the Old GMAC Bank entity and its remaining assets and liabilities were transferred to GM.18
11   The impact of these potential changes is addressed in Section V.A.2.b(6).
12   See Section III.E (providing background on the AFI-Cerberus transaction).
13   See GMAC Board of Directors Meeting Presentation, dated Nov. 7, 2005, at 17 [ALLY_0258741].
14   See GMAC Board of Directors Meeting Presentation, dated Mar. 23, 2006, at 17–18 [ALLY_PEO_0002478];
         Walker Report, at 9 [RC40008925]. The Walker Report quoted the following ratings agency
         statements:
         S&P—“If the transaction is not completed and GM does not take other steps to justify rating it
         differently from [AFI], [AFI]’s ratings would be equalized with those of GM.”
         Moody’s—“If the sale does not close, Moody’s would re-link [AFI]’s credit rating with GM’s
         rating.”
         DBRS—“[A] lack of progress could lead to rating actions including potentially lowering [AFI]’s
         rating several notches to bring it more in line with the rating of GM in accordance with DBRS’s
         captive finance policy.”
     Walker Report, at 9 [RC40008925].
15   Walker Report, at 2 [RC40008925].
16   General Motors Acceptance Corp., LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 17.
17   See Walker Report, at 2 [RC40008925]; Cerberus PSA, § 4.1(e)(i) [CERB000521]; Cerberus PSA, Ex. H, at
     1 [CERB039811].
18   Certificate of Share Transfer, Nov. 21, 2006 [CERB001732]; Transfer of Shares Agreement, dated Nov. 22,
     2006 [CERB001787].

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Full ownership of GMAC Automotive Bank was then transferred to IB Finance, a newly
created wholly owned direct subsidiary of AFI.19 By conveying Old GMAC Bank’s assets and
operations to GMAC Automotive Bank and transferring the Old GMAC Bank entity to GM,
ResCap maintained the benefits of bank funding while simultaneously eliminating the
possibility that Cerberus would become subject to federal regulations related to ownership of a
federal savings bank.20 Following the consolidation, the mortgage assets contributed by Old
GMAC Bank comprised approximately 76% of GMAC Automotive Bank’s assets.21

     The Cerberus deal provided substantial benefits to ResCap.22 The sale of AFI allowed the
further de-linking of the credit ratings of ResCap, AFI, and GM,23 thereby helping to protect
against credit downgrades at GM resulting in corresponding downgrades at AFI and ResCap.24
Accordingly, restructuring Old GMAC Bank and helping to close the Cerberus deal created
value for ResCap in that it avoided a potential ResCap credit rating downgrade and, in fact,



19   Share Contribution Agreement [CERB001521].
20   As a result of a “loophole” in the Bank Holding Company Act, ownership of an industrial bank did not
     trigger consolidated federal regulation of certain commercial activities. Debate over this “loophole”
     prompted the FDIC, on July 28, 2006, to issue a six-month moratorium on deposit insurance and change of
     control approvals for industrial loan banks. Despite the moratorium, Cerberus received FDIC approval in
     November, 2006 for its acquisition of 51% of AFI by agreeing that Ally Bank would be subject to any
     changes that the FDIC might make to the regulation and supervision of industrial loan banks once the
     moratorium was lifted (agreeing, if necessary, to sell its interest in the bank, to convert the bank to a thrift, or
     to obtain a waiver from the FDIC). See, e.g., FDIC, Press Release, FDIC Places Six-Month Moratorium on
     Industrial Loan Company Applications and Notices (July 28, 2006), http://www.fdic.gov/news/news/press/
     2006/pr06073.html; FDIC, Press Release, FDIC Board Approves Change in Control Notice for GMAC
     Automotive Bank, Midvale, Utah (Nov. 15, 2006) [EXAM10241413]. Cerberus appears to have received a
     further ten-year waiver of these requirements on July 15, 2008. See FDIC, Order, In re GMAC Bank,
     Midvale, Salt Lake County, Utah, Request for Waiver of Certain Conditions, dated July 15, 2008
     [ALLY_0000032]; see also Int. of L. Tessler, Feb. 28, 2013, at 110:15–19 (“We only had a two-year license
     to operate the bank . . . when we closed the transaction in 2006. We didn’t get an extension on that two-year
     license until . . . 2008.”).
21   As of December 31, 2006, the mortgage division had approximately $15.4 billion of assets compared to the
     bank’s consolidated total assets of approximately $20.2 billion. See GMAC Bank 2007 Business Plan
     Review, dated Jan. 25, 2007, at ALLY_PEO_0006858, –65 [ALLY_PEO_0006664].
22   See Int. of T. Jacob, Nov. 7, 2012, at 136:25–137:5 (“[T]he decision that faced Tom Melzer and I was . . . the
     risk of not letting this restructuring take place because that risked the closing of the . . . Cerberus deal with
     General Motors and that was very important for ResCap.”); Memorandum, Proposed Restructuring of
     GMAC U.S. Banking Entities, dated May 5, 2006, at 2 [EXAM10258913] (explaining that the sale “should
     result in [AFI] and ResCap ratings being de-linked from GM’s rating”); Int. of T. Melzer, Mar. 22, 2013, at
     80:6–12 (“I didn’t look at the bank transaction as a separate transaction. I looked at the totality of bringing in
     an investor like Cerberus to buy a majority interest in [AFI], getting [AFI] and ResCap out from under GM’s
     credit rating and the benefit that would have overall for ResCap and its creditors.”).
23   Int. of D. Walker, Nov. 28, 2012, at 120:2–13, 132:8–12; Int. of T. Melzer, Oct. 10, 2012, at 180:12–14
     (“[M]y perception was that [the] acquisition was really important to get [AFI]. . . less attached to GM . . . .”).
24   Int. of D. Walker, Nov. 28, 2012, at 132:8–12.

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paved the way for a future ResCap credit rating upgrade.25 That said, however, issues remain
concerning the form of the 2006 Bank Restructuring and whether, taking account of the credit
ratings benefit, ResCap received reasonably equivalent value in the transaction.
                   (2) Lead-Up To The 2006 Bank Restructuring
     The Cerberus PSA, which is dated April 2, 2006,26 required Old GMAC Bank to be
removed from the Cerberus ownership chain and required its assets and liabilities to be
transferred to GMAC Automotive Bank.27 However, the Cerberus PSA did not specify a
particular structure for GMAC Automotive Bank’s future ownership, except that it had to be
“directly or indirectly wholly owned” by AFI.28 In fact, the Cerberus PSA provided that either
“[AFI] or ResCap will wholly own the Industrial Bank, or it will be co-owned by [AFI] and
ResCap,”29 and Cerberus officers confirmed in their interviews that Cerberus did not dictate a
specific form of ownership for the restructured bank.30
     AFI and ResCap management clearly were concerned with the reaction that ResCap
bondholders might have to the 2006 Bank Restructuring.31 David Applegate, then Chief
Operating Officer of ResCap, thought it best to “keep the Bank below the radar scope” until a
sensible restructuring strategy could be developed and approved.32 As of April 4, 2006,
ResCap management was exploring the advantages and disadvantages of three potential
25   See Int. of D. Walker, Nov. 28, 2012, at 159:8–16 (“Moody’s went from a negative outlook at Baa3 to a
     stable at Baa3. S&P went from a triple B-minus to a triple B-flat. Fitch went from a triple B-minus to a triple
     B-flat with a positive outlook. And DBRS went from developing under review to stable. So, we actually, as a
     result of this deal, got increased ratings or increased outlooks from all four rating agencies as a result of the
     positive transaction.”); see also E-mail from R. Hall to D. Applegate (Mar. 2, 2006) [EXAM11740350] (“I
     view this as a material negative to ResCap, but acknowledge that at a[n] [AFI] level it is a negative that
     should potentially be absorbed if ResCap and [AFI] get improved ratings outlooks, etc.”).
26   Cerberus PSA, at 1 [CERB000521].
27   Cerberus PSA, Ex. H, at 1 [CERB039811].
28   Cerberus PSA, § 4.1(e)(i) [CERB000521]; see also Cerberus PSA, Ex. H, at 1 [CERB039811].
29   Cerberus PSA, Ex. H, at 2 [CERB039811].
30   See Int. of M. Neporent, Feb. 6, 2013, at 24:20–25:8; Int. of L. Tessler, Nov. 16, 2012, at 27:11–23 (“The
     bank restructuring was a prerequisite for us to be able to succeed to a 51 percent control interest in [AFI]. . . .
     The specifics of how that ultimately got structured was more likely left in the hands of [AFI] and
     ResCap . . . .”).
31   See E-mail from D. Olson (Apr. 1, 2006) [EXAM11265206] (“I believe the ResCap bond investors may be
     concerned not only with funding but also control of the ILC . . . .”); E-mail from D. Applegate to S. Khattri
     and D. Walker (Apr. 2, 2006) [EXAM11265206] (“We need to have a concise picture (document) in place
     that shows why the overall transaction and the final outcome for the Bank support the best interest of ResCap
     bondholders—a group we have made multiple statements to regarding the importance of the Bank to
     ResCap’s growth and liquidity plans—and an investor base that is critical to our long term success.”).
32   E-mail from D. Applegate to S. Khattri and D. Walker (Apr. 2, 2006) [EXAM11265206] (“[W]e are trying to
     keep the Bank below the radar scope. If we do say something about the Bank the statement would focus on
     Cerberus’s lack of ability to retain the Bank (Thrift), GM’s desire to keep the Thrift and ResCap and [AFI’s]
     confidence that via [GMAC Automotive Bank] we can create a similar operating environment for our
     banking entities post the transaction . . . .”).

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ownership structures for the reorganized bank: (1) 100% AFI ownership of voting control of
IB Finance with proportional earnings distribution to ResCap; (2) proportional voting control
and earnings distribution; and (3) ResCap formation of its own industrial bank.33

      However, it appears that through formal and informal discussions among officers of AFI
and ResCap,34 some of whom held positions with both companies,35 AFI management quickly
settled on the first of the proposed ownership structures—AFI ownership of 100% of voting
control, with proportional earnings distribution to ResCap.36




33   See Draft Memorandum, IB Alternatives, dated Apr. 4 2006, at 1 [EXAM11237439] (attached to E-mail
     from D. Applegate to B. Paradis (Apr. 4, 2006) [EXAM11237438]). Despite being drafted by ResCap and
     Old GMAC Bank employees, the memorandum analyzing these structures regards “[AFI] Control” as a
     “Pro” and “[AFI] shared control” as a “Con.” See Draft Memorandum, IB Alternatives, dated Apr. 4 2006, at
     1 [EXAM11237439]; see also E-mail from R. Hall to D. Applegate, Mar. 2, 2006 [EXAM11740350] (“I
     view this as a material negative to ResCap, but acknowledge that at a[n] [AFI] level it is a negative that
     should potentially be absorbed if ResCap and [AFI] get improved ratings outlooks, etc.”).
34   See Int. of S. Khattri, Oct. 25, 2012, at 72:1–73:9.
35   See Director and Officer Appendix, dated June 25, 2012 [ALLY_0004637] (indicating dual roles held by
     Khattri and Walker, among others).
36   See Memorandum, GMAC Bank Restructuring, dated Apr. 20, 2006, at 1 [EXAM11248642].

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     David Marple, then General Counsel of ResCap, prepared a memorandum dated
April 20, 2006 regarding the transaction. The memorandum explains that the structure was
proposed because “[AFI] maintains that it must control the Industrial Bank in order for its
automotive businesses to be covered under the ‘call option’ provided [to GM] by the
[Cerberus PSA].”37 As a result of some ambiguity regarding the interaction between the
Cerberus PSA and ResCap’s financial reporting,38 it appears that the non-voting structure was
developed by AFI as a means to ensure that, if GM exercised its call option, the GMAC
Automotive Bank entity could be transferred to GM without hindrance or delay from




37   Id. at 2. William Muir, AFI’s President, offered a different explanation in his interview with the Examiner’s
     Professionals. Muir suggested that AFI control of the restructured bank was favorable from a regulatory
     perspective. See Int. of W. Muir, Mar. 1, 2013, at 34:25–36:13 (“[A]t the time, having a bank inside of a
     company like ours was a somewhat politically contentious issue. And so, you had to run a very clean
     operation . . . . [I]n order to manage that reputational and regulatory risk, it was very important to us that
     there be one voice, not two, but one voice that clearly had that mandate and could run the bank for the benefit
     of the bank . . . . So, there are two different things. One is actually running a regulated enterprise and
     establishing the right kind of regulation reputation and conduct with the regulator, and the other is getting the
     economic benefits of being able to fund assets in the bank. . . . [W]e didn’t think you could have more than
     one voice up here, but that we could still give everybody who was a part of our enterprise the economic
     benefit of funding assets in the bank.”). The Investigation revealed no documentary evidence suggesting that
     this regulatory concern, rather than the GM call option, was AFI’s reason for the proposed structure, and this
     justification does not appear to have been raised with either of the Independent Directors. Further, Muir’s
     comment seems inconsistent with the reality that, at a higher level, the bank would already have multiple
     owners (GM and Cerberus), and that even if ResCap was given partial voting control of the industrial bank,
     AFI’s parental control over ResCap would have likely ensured “one voice” with respect to regulators.
38   The call option provided GM, through its wholly-owned subsidiary GM Finance Co Holdings Inc., with a
     10-year option to repurchase certain assets from AFI related to the North American and international
     automotive finance operations, if certain conditions were met (including that GM have an investment grade
     rating). Specifically, the assets covered by the call option were equity interests of (1) the “NAO Subsidiary”
     (defined in the Cerberus PSA as a wholly owned subsidiary to be created by AFI pursuant to which all (with
     one exception) of AFI’s consolidated subsidiaries that conduct the North American auto finance business
     would be contributed); and (2) the IO Subsidiaries (defined in the Cerberus PSA as certain direct and indirect
     consolidated subsidiaries of AFI engaged in the international auto finance business). Because GMAC
     Automotive Bank was consolidated with ResCap for financial reporting purposes, it would not have been one
     of the subsidiaries contributed to the NAO Subsidiary. However, the Cerberus PSA required that the “Auto
     Business,” defined to specifically include GMAC Automotive Bank, be owned by the NAO Subsidiary and
     the IO Subsidiaries as of the closing of any exercise of the call option. Accordingly, AFI’s full control of
     GMAC Automotive Bank ensured that it could transfer the entity to the NAO Subsidiary, if necessary. See
     Cerberus PSA, Art. X [CERB000521]; Cerberus PSA, Disclosure Schedules, Sched. 10.1(3) [CERB000731];
     Memorandum, Bank Restructuring Accounting Implications, dated July 20, 2007, at 12 [EXAM10198423].

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ResCap.39 This justification is called into question, however, by Walker’s later observation
that GM’s exercise of the call option was a “remote” risk given its unlikely ability to maintain
an investment grade credit rating in late 2006.40
    Marple’s April 20, 2006 memorandum also explained that certain aspects of the 2006
Bank Restructuring raised potential conflicts under the 2005 Operating Agreement.41
Specifically, Marple identified and analyzed three provisions of the 2005 Operating
Agreement that were implicated by the 2006 Bank Restructuring:42
           •   First, Marple opined that there would be a conflict with section 2(b) of the 2005
               Operating Agreement, which prohibited ResCap from entering into any agreements
               with AFI Affiliates unless the transactions were “on terms and conditions that are
               consistent with those that parties at arm’s-length would agree to and for fair
               value.”43 Marple noted that because “ResCap will not be given any voting control
               with regard to . . . material business activities or the entity itself,” it is “not
               reasonable to believe that ResCap’s leadership would agree to transfer a material
               business to a third-party under a similar agreement.”44
           •   Second, Marple concluded that “ResCap’s proposed investment in [the] Industrial
               Bank would be a violation of [s]ection 2(a)(ii) of the [2005] Operating
               Agreement,”45 which prohibited ResCap and its affiliates from making any
               investment in any AFI Affiliates.46
           •   Third, Marple recognized that the proposed restructuring “blurs the lines” between
               ResCap’s and AFI’s businesses47 and thus would potentially violate section 2(f) of
               the 2005 Operating Agreement, which required ResCap to run its business
               separately from AFI and to “maintain, or cause to be maintained, its assets and the
               assets of its Subsidiaries in such a manner that it would not be costly or difficult to
               segregate . . . such assets from those of any and all [AFI] Affiliates.”48
39   See Memorandum, GMAC Bank Restructuring, dated Apr. 20, 2006, at 2 [EXAM11248642]; Int. of
     D. Marple, Jan. 22, 2013, at 122:14–18.
40   See Walker Report, at 6–7 [RC40008925]; see also Int. of S. Khattri, Oct. 25, 2012, at 68:5–13 (“Candidly
     the option agreement was put in place because certain members of the GM management were of the strong
     belief that the GM recovery was around the corner . . . . I personally did not rate the chances of their option
     ever being exercised seriously.”).
41   See Memorandum, GMAC Bank Restructuring, dated Apr. 20, 2006, at 1 [EXAM11248642] (attached to
     E-mail from K. Sabatowski to W. Muir, S. Khattri, D. Walker, J. Vanorman, B. Paradis, D. Applegate, R.
     Hall and D. Marple (Apr. 26, 2006) [EXAM11248640]).
42   Memorandum, GMAC Bank Restructuring, dated Apr. 20, 2006, at 3–5 [EXAM11248642].
43   2005 Operating Agreement, § 2(b) [ALLY_0140795].
44   Memorandum, GMAC Bank Restructuring, dated Apr. 20, 2006, at 4 [EXAM11248642].
45   Id.
46   2005 Operating Agreement, § 2(a)(ii) [ALLY_0140795].
47   Memorandum, GMAC Bank Restructuring, dated Apr. 20, 2006, at 5 [EXAM11248642].
48   2005 Operating Agreement, § 2(f) [ALLY_0140795].

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     The transaction’s potential conflicts could be waived by ResCap’s Independent
Directors,49 but Marple noted that “if either of the independent directors believes that the
amendment is a ‘close call’ under the [2005] Operating Agreement—they will likely veto the
amendment.”50 As Marple further noted, the 2005 Operating Agreement required that, in
considering whether to grant such a waiver, the Independent Directors were to “consider only
the interest of ResCap, including its creditors.”51
      After reviewing Marple’s memorandum, Applegate prepared a one-page memorandum of
his own to AFI’s president, William Muir, proposing an alternate ownership structure whereby
ResCap would manage and control at least 51% of the restructured bank.52 Applegate
observed that “ResCap and [AFI] have made multiple statements about the ground breaking
nature of the ResCap structure and our mutual commitment to ResCap’s firewalls.”53
Consequently, Applegate was “fearful our long-term credibility in the markets will be
impaired, if we pursue a course of action which leaves ResCap without controlling interest in
a bank.”54 Applegate thought that ResCap control of at least 51% of the reorganized bank
would “seem to address the conflicts in the [2005] Operating Agreement” and “[AFI] would
still retain 100% ownership of [Ally Bank] through its sole ownership of ResCap.”55
Applegate’s proposal seems to have been rejected,56 however, because less than two weeks
later, AFI and ResCap personnel had apparently settled on a structure whereby AFI would
have full voting control of the restructured bank.57
     The first written communication from ResCap or AFI management to the Independent
Directors regarding the details of the 2006 Bank Restructuring appears to be a memorandum
49   2005 Operating Agreement, § 8 [ALLY_0140795] (“The provisions of this Agreement may not be amended
     or waived except by an instrument in writing signed by the parties hereto; provided that no amendment or
     waiver that materially and adversely affects the rights of any Class of Rated Indebtedness shall become
     effective unless such amendment or waiver has been approved by a majority of the members of ResCap’s
     Board of Directors, including a majority of the Independent Directors.”) (emphasis in original).
50   Memorandum, GMAC Bank Restructuring, dated Apr. 20, 2006, at 6 [EXAM11248642].
51   Id.; 2005 Operating Agreement, § 8 [ALLY_0140795] (emphasis added). It is perhaps notable that, unlike
     ResCap’s later indentures, the 2005 Indenture did not restrict ResCap transactions with AFI affiliates.
     Compare 2005 Indenture, Art. 4 [EXAM40024737], with Junior Secured Notes Indenture, § 4.11
     [ALLY_0122066], and Senior Secured Notes Indenture, § 4.11 [GOLDIN00000019].
52   Memorandum, ILC Ownership and Control, dated Apr. 24, 2006 [EXAM11248641].
53   Id.
54   Id.
55   Id.
56   Muir suggested to the Examiner’s Professionals that Applegate’s proposal of shared control of the
     restructured bank was never seriously considered by AFI. See Int. of W. Muir, Mar. 1, 2013, at 25:20–26:7
     (“[Q:] And, to the extent that ResCap did ask to take control of the ILC once the transaction was done, who
     made the decision that ResCap should not have control? . . . [A:] Well, I would say my recollection is that it
     wasn’t . . . a seriously considered proposition. It was not something that, I don’t think, Dave himself ever
     really thought was reasonable and was going to fly. But it didn’t hurt to ask.”).
57   See Memorandum, Proposed Restructuring of GMAC U.S. Banking Entities, dated May 5, 2006, at 1
     [EXAM10258913] (attached to E-mail from K. Sabatowski to T. Melzer and T. Jacob (May 4, 2006)
     [EXAM10258912]).

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from Eric Feldstein, then President of AFI and Chairman of the ResCap Board, dated May 5,
2006 (but apparently sent on May 4, 2006).58 Feldstein’s memorandum specified that “voting
ownership of [the restructured bank] (i.e., shareholder votes) would remain 100% with
[AFI].”59 Feldstein further stated that the 2006 Bank Restructuring would require “waivers of
certain provisions of the [2005] Operating Agreement” to allow ResCap to invest in an AFI
affiliate and to enable Applegate and others to be officers of an AFI Affiliate, but made no
mention of Marple’s prior concern that the restructuring was not at arm’s length or for fair-
value.60 The memorandum also suggested that ResCap could later regain control over its
mortgage operations by applying for a second industrial bank charter, which entity would then
reacquire ResCap’s banking assets from the restructured bank.61 Given that the 2006 Bank
Restructuring would preserve ResCap’s economic rights and “result in [AFI] and ResCap
ratings being de-linked from GM’s ratings,” Feldstein concluded that the 2006 Bank
Restructuring was “prudent and sound for ResCap.”62 Despite Marple’s and Applegate’s prior
memoranda, there was no indication in Feldstein’s memorandum or the accompanying e-mail
that alternate ownership structures had been contemplated, were possible under the terms of
the Cerberus PSA, or had been rejected to accommodate GM at ResCap’s expense.63




58   Memorandum, Proposed Restructuring of GMAC U.S. Banking Entities, dated May 5, 2006, at 1
     [EXAM10258913] (attached to E-mail from K. Sabatowski to T. Melzer and T. Jacob (May 4, 2006)
     [EXAM10258912]). Jacob and Melzer learned of the Cerberus acquisition just shortly before it was made
     public on April 3, 2006. See Int. of T. Jacob, Nov. 7, 2012, at 120:12–25; GMAC, LLC, Current Report
     (Form 8-K) (Apr. 2, 2006), Item 1.01. It is unclear when Jacob and Melzer first learned that the bank
     restructuring was a necessary component of the Cerberus deal. See Int. of T. Melzer, Oct. 10, 2012, at
     178:23–179:3 (“[Q:] Can you tell us what you recall about the board’s consideration of the . . . GMAC Bank
     deal, that first phase of it in 2006? [A:] Well, and that had been going on for some time, I think maybe going
     back initially to March of that year.”).
59   Memorandum, Proposed Restructuring of GMAC U.S. Banking Entities, dated May 5, 2006, at 1
     [EXAM10258913].
60   Id. at 2.
61   Id. at 2. This concept was developed further in the Walker Report. See Walker Report, at 6–7 [RC40008925].
62   Memorandum, Proposed Restructuring of GMAC U.S. Banking Entities, dated May 5, 2006, at 2
     [EXAM10258913]; see also Int. of D. Marple, Jan. 22, 2013, at 127:21–128:8 (“[Q:] When you received a
     copy of Mr. Feldstein’s memorandum, do you recall if you . . . agreed or disagreed with his assessment? . . .
     [A:] The short answer is, no, I didn’t. But . . . my understanding at the time as to why I was personally
     comfortable with this under the agreement was we were getting the economic benefits . . . . Two, we . . . had
     a commitment to get another charter. Three, we were going to dot I’s and cross T’s under the operating
     agreement and get the independent directors comfortable.”).
63   Memorandum, Proposed Restructuring of GMAC U.S. Banking Entities, dated May 5, 2006, at 1
     [EXAM10258913] (attached to E-mail from K. Sabatowski to T. Melzer and T. Jacob (May 4, 2006)
     [EXAM10258912]); see also Int. of E. Schenk, Apr. 24, 2013, at 35:23–36:5 (“By the time [Bryan Cave,
     counsel to the Independent Directors,] received information about the transaction . . . [it was] presented as
     this is the . . . proposed transaction; here is what we have determined, and then we obviously worked through
     questions, comments, et cetera. But there was no presentation of alternatives . . . .”).

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      Interviewed AFI officers said that briefings to Jacob and Melzer were detailed,64 but none
of them recalled any communication to Jacob and Melzer suggesting that alternative ownership
structures were possible, and Jacob and Melzer recalled no such communication.65 Instead,
several AFI officers, including recipients of the Marple and Applegate memoranda, portrayed
the lost voting interest as a non-issue.66 In addition, Sanjiv Khattri, then Chief Financial Officer
of AFI, suggested that full AFI control of IB Finance was simply “cleaner.”67
64   Int. of S. Khattri, Oct. 25, 2012, at 80:22–81:5 (“We spent a lot of time with [Melzer and Jacob] educating them
     on why the [AFI] sale made sense. It was very important for us that not only are they made aware of it, but they
     are enthusiastically supporting it and as part of that exercise there was a regular briefing that I was holding with
     them to update them on what was going on. As part of that things like the bank and a lot of other stuff would
     come up.”); Int. of E. Feldstein, Dec. 14, 2012, at 119:3–12 (“[W]e were fairly forthcoming to the independent
     directors irrespective of whether [a given transaction] legally needed their action or waiver or approval. But [the
     bank restructuring], we reviewed with them in painstaking detail with painstaking care . . . and discussed with
     them to ensure that they were very comfortable, with what we were doing.”).
65   See Int. of S. Khattri, Oct. 25, 2012, at 73:10–17 (“[Q:] Was there any presentation to the independent
     directors that suggested it was an option that ResCap receive something other than a non-voting interest? [A:]
     To the best of my knowledge no.”); Int. of E. Feldstein, Dec. 14, 2012, at 112:25–113:10 (“[Q:] Do you ever
     remember . . . any discussions you had with the independent board members as to why they were non-voting
     shares . . . ? [A:] . . . I don’t recall discussing the issue of voting shares versus non-voting shares.”); Int. of
     T. Melzer, Mar. 22, 2013, at 62:14–63:12, 74:6–9, 85:12–19, 89:22–25 (“[W]hen the transaction was
     presented to us . . . my recollection is it was always presented to the ResCap board from the perspective of
     this bank would end up in [AFI], not in ResCap.”); Int. of T. Jacob, Apr. 17, 2013, at 70:7–22 (“[Q:] [H]ere
     Mr. Applegate is saying it makes sense for ResCap in fact to have the majority voting control of the bank.
     First of all did you ever have any discussion with Mr. Applegate about that option? [A:] Never. . . . [Q:] Did
     you ever have any conversations with anyone at ResCap about what they were obviously considering? . . .
     About having voting ownership in the bank. [A:] No.”).
66   See Int. of S Khattri, Oct. 25, 2012, at 97:18–98:15 (“I think the focus was this was considered a successful way
     where we were enabling the transaction and also protecting everybody’s funding sources. . . . This is going to
     allow automotive finance to continue to diversify away from GM and this is going to continue to allow the
     mortgage business to get capital. That was the big theme.”); Int. of J. Young, Sept. 28, 2012, at 89:19–91:25 (“I
     guess all I’m trying to say is I believe there wasn’t a lot of debate just because it really wasn’t that critical to []
     what was going on in the core business and . . . ResCap ended up in the same position they would’ve had
     before.”); Int. of E. Feldstein, Dec. 14, 2012, at 110:17–111:1 (“I don’t recall that being an issue. . . . [A]n
     accommodation was being made for ResCap to use this bank that was owned by [AFI] and to get all the
     economic benefits associated with the low-cost funding, economic benefits directly proportional with the assets
     . . . that were being housed in the bank, economic benefits very, very much, if not precisely along the lines of
     the same benefits they had in their own bank.”); Int. of M. Neporent, Feb. 6, 2013, at 25:19–26:4 (“What
     mattered was that ResCap had access to the bank. . . . And the voting or non-voting interest sort of seemed
     irrelevant at the time, at least from my perspective. ResCap wound up with an economic interest that was the
     same before and after.”); Int. of W. Muir, Mar. 1, 2013, at 31:13–32:5 (“[Q:] Do you recall discussing with
     anyone this concern that the bank transaction was not going to be perceived as an arm’s-length agreement for
     purposes of the operating agreement that was in place? . . . [A:] I remember the issue being brought up by Dave
     [Applegate] that . . . there were some concerns that one might have about that. Now, I will also tell you that I
     didn’t agree, people generally didn’t agree, with the level of concern that was being raised, and that this type of
     analysis—I just think the discussions that we had with Dave were more—it was like a ‘Nice try.’ You know,
     you wanted to make an attempt to come up with a justification as to . . . why things had to be the way you
     wanted them to be. That’s really what it was.”).
67   See Int. of S. Khattri, Oct. 25, 2012, at 66:9–15 (“[T]he thinking was that you wanted to keep the control of
     [Ally Bank] clean, but do it in such a way that ResCap continues to enjoy the benefits of having a bank fund
     a certain amount of its qualifying assets.”).

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     In an e-mail dated May 10, 2006, Bryan Cave, on behalf of Jacob and Melzer, posed a
series of questions to Marple regarding the details of the transaction, including, for example,
with respect to GMAC Automotive Bank’s cost of funds and licensing requirements.68 Most
notably, the Bryan Cave e-mail stated that “[a]lthough not a direct request for information, the
independent directors have noted and are considering the impact of the difference between the
economic stake of ResCap and the voting rights in [IB Finance] . . . .”69 Despite the fact that
Marple had determined that the proposed structure could not reasonably be considered
“arm’s-length,”70 his May 12, 2006 response to the Independent Directors’ note that they were
considering the impact of the non-voting structure was simply, “let me know if you would like




68   E-mail from E. Schenk to D. Marple (May 10, 2006) [JACOB.000010]; Int. of T. Jacob, Nov. 7, 2012, at
     136:16–137:15.
69   E-mail from E. Schenk to D. Marple (May 10, 2006) [JACOB.000010].
70   Memorandum, GMAC Bank Restructuring, dated Apr. 20, 2006, at 4 [EXAM11248642].

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any further information in connection with your consideration of this matter.”71 Although
Jacob and Melzer engaged in ongoing discussions with Bryan Cave and various AFI and
ResCap executives regarding the 2006 Bank Restructuring,72 the Investigation revealed no
documentation showing that the Independent Directors were ever informed of the possibility
of alternate ownership structures, such as the one proposed by Applegate in his April 24
memorandum, or that the proposed structure was not mandated by the Cerberus PSA.73

     Instead, it appears that this information was withheld from the Independent Directors, as
was the fact that such structures had been rejected by AFI personnel to accommodate GM’s
call option. This restricted flow of information takes on additional significance when
considered in light of the fact that many of the individuals with whom the Independent
Directors communicated concerning this transaction (including Walker, Khattri, and
Feldstein) held dual affiliations with ResCap and AFI.74




71   Memorandum, GMAC Bank Restructuring, dated May 12, 2006, at Question 4 [ALLY_0401600]; see also
     Int. of E. Schenk, Apr. 24, 2013, at 53:9–54:1, 89:3–18 (“[Q:] Going back to the Marple memo . . . . This is
     within his discussion of the arm’s length and fair value requirements of the operating agreement. . . . [I]t
     says, ‘However, ResCap will not be given any voted control with regard to either of these material business
     activities or the entity itself. It is not reasonable to believe that ResCap’s leadership would agree to transfer a
     material business to a third party under a similar arrangement. Hence, the restructuring of GMAC Bank as
     currently proposed cannot reasonably be deemed a transaction to which parties at arm’s length would agree.’
     Did Mr. Marple ever convey that view to you? [A:] No.”).
72   See Int. of T. Jacob, Nov. 7, 2012, at 136:16–137:22 (“[W]e had extensive discussions back and forth . . .
     regarding [the bank restructuring], Tom Melzer and I, talking to David Marple, Bryan Cave . . . .”); Int. of
     S. Khattri, Oct. 25, 2012, at 80:13–15, 80:21–81:4 (“I believe that there were sort of discussions held with
     [Melzer and Jacob] before the formal board meeting, yes. . . . I think explaining the whole transaction. We
     spent a lot of time with [Melzer and Jacob] educating them on why the [AFI] sale made sense. It was very
     important for us that not only are they [made] aware of it, but they are enthusiastically supporting it and as
     part of that exercise there was a regular briefing that I was holding with them to update them on what was
     going on.”); Int. of T. Melzer, Oct. 10, 2012, at 252:23–253:21 (“I know this concept was around for quite a
     while and we worked on it for quite a while in terms of getting our mind around it.”).
73   See Memorandum, ILC Ownership and Control, dated Apr. 24, 2006 [EXAM11248641]; see also E-mail
     from D. Applegate to J. Barr and R. Hall (Mar. 21, 2006) [EXAM11740324] (deciding that talking points
     regarding the restructuring would not go to the ResCap Board and that “[t]he goal is to solidify our
     leadership of the process and end ownership.”); Int. of S. Khattri, Oct. 25, 2012, at 73:10–17 (“[Q:] Was
     there any presentation to the independent directors that suggested it was an option that ResCap receive
     something other than a non-voting interest? [A:] To the best of my knowledge no.”).
74   The protocol and functioning of the ResCap Board is explored in more depth in Section IV.A.

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     The regulatory application for the 2006 Bank Restructuring was submitted by GMAC
Automotive Bank to the FDIC and DFI on May 19, 2006.75 The application’s cover letter
stated that “[AFI] will hold 100% of voting interests in [IB Finance], and ResCap will hold
non-voting interests . . . .”76 The proposed structure of the reorganized bank, including
ResCap’s non-voting interest, remained unchanged throughout future ResCap Board
discussions.77

     On November 15, 2006, the FDIC and the DFI approved the application for the change in
control of GMAC Automotive Bank from GM to Cerberus.78 A condition of the DFI’s
approval of the 2006 Bank Restructuring was that the restructured bank “hold capital of no
less than 10% of total assets until August 2007 and no less than 9.25% of total assets until
November 2008.”79 GMAC Automotive Bank (i.e., the automotive division) already met this
requirement, but Old GMAC Bank (the mortgage division) did not.80 ResCap was thus
required to contribute (through IB Finance) an additional $360 million to the mortgage
division of GMAC Automotive Bank in connection with the 2006 Bank Restructuring.81

     To assist the ResCap Board with its evaluation of the 2006 Bank Restructuring, Walker
authored a report which explained the transaction.82 The final version of the Walker Report
was presented to the ResCap Board on November 20, 2006, the same day the matter was to be
75   See Letter from J. Feinberg to FDIC and DFI (May 19, 2006), at 2 [ALLY_0397537]; Walker Report, at 5
     [RC40008925]; Memorandum, Bank Restructuring Accounting Implications, dated July 20, 2007, at 2
     [EXAM10198423]. The Independent Directors were aware of the application, but did not formally approve
     it. See Bank Restructuring Project Plan, dated July 25, 2006, at Task E.19 [EXAM10256021] (“5/18 - Dave
     Marple and Karen [Sabatowski] had a call with Bryan Cave, the ResCap independent directors’ outside
     counsel. . . . We all agreed that there is no need for formal ResCap Board approval at this time . . . .”).
76   Letter from J. Feinberg to FDIC and DFI (May 19, 2006), at 2 [ALLY_0397537].
77   See ResCap Performance and Market Update, dated June 22, 2006, at 12 [RC40011836] (“ResCap will
     purchase non-voting interests in GMAC Automotive Bank from [AFI] at which time GMAC Automotive
     Bank will create a mortgage operation.”). Compare Draft Report to the Board of Directors of ResCap, dated
     Oct. 16, 2006, at 3 [RC00016501], with Walker Report, at 3 [RC40008925].
78   DFI, Findings, Conclusions, and Order Conditionally Approving Application, dated Nov. 15, 2006
     [CERB003827]; FDIC Approval Letter from S. L. Thompson (Nov. 15, 2006) [GOLDIN00093066]; Walker
     Report, at 3 [RC40008925].
79   Walker Report, at 5 [RC40008925]; Capital Maintenance Agreement, dated Nov. 15, 2006
     [GOLDIN00093168]; 12 C.F.R. § 325.103(b) (2000).
80   Walker Report, at 5 [RC40008925].
81   Walker Report, at 5 [RC40008925]; Capital Contribution Agreement, dated Nov. 22, 2006
     [ALLY_PEO_0021232].
82   The ResCap Board received a draft of the Walker Report at their October 19, 2006 meeting and a final
     version at their November 20, 2006 meeting. Compare Draft Report to the Board of Directors of ResCap,
     dated Oct. 16, 2006 [RC00016501], with Walker Report [RC40008925]. The Walker Report was presented
     by Karen Sabatowski and was jointly prepared by David Walker and Sanjiv Khattri, among others. See Int. of
     S. Khattri, Oct. 25, 2012, at 85:15–86:6 (demonstrating Khattri’s involvement); Minutes of a Special Meeting
     of the Board of Directors of Residential Capital, LLC, Nov. 20, 2006, at 3 [RC00016852] (demonstrating.
     Sabatowski’s involvement); Walker Report, at 10 [RC40008925] (demonstrating Walker’s involvement).

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voted on, including by the Independent Directors.83 The Walker Report offered no explanation
of why ResCap’s interest in IB Finance would be non-voting. Similarly, the Walker Report
provided no valuation of the voting interest that ResCap was giving up or of the non-voting
interest that ResCap would receive.84 In later years, AFI would acknowledge difficulty in
valuing ResCap’s non-voting interest in IB Finance.85

     With the exceptions noted above, the Walker Report explained the details of the proposed
restructuring and acknowledged that “waivers of the relevant provisions of the [2005]
Operating Agreement would need to be made and approved by the ResCap Board as a
condition to the proposed [IB Finance] structure.”86 As discussed above, Marple had identified
in his April 20, 2006 memorandum a conflict with the 2005 Operating Agreement’s
requirement that ResCap not make investments in AFI Affiliates as well as two potential
conflicts with its requirements that affiliate transactions be arms-length and for fair value and
that ResCap maintain separateness from AFI.87 However, the Walker Report only disclosed
two of these conflicts: ResCap’s preclusion from making investments in AFI Affiliates and the
requirement that ResCap maintain separateness from AFI.88 The Walker Report made no
mention of section 2(b)’s requirement that any agreements between ResCap and AFI be “on
terms and conditions that are . . . arm’s-length . . . and for fair value,”89 or of Marple’s prior
conclusion that the proposed restructuring “cannot reasonably be deemed a transaction to
which parties at arm’s-length would agree.”90
83   Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Nov. 20, 2006, at 3
     [RC00016852] (“Ms. Sabatowski presented Report No. DCW-3 that recommended approval of certain
     actions necessary to effect the restructuring of the two U.S. banking entities currently owned directly and
     indirectly, by [AFI].”).
84   In his interview, Melzer acknowledged that a voting interest would have been better for ResCap. See Int. of
     T. Melzer, Oct. 10, 2012, at 206:18–25, 208:24–209:7 (“[Q:] Was it your understanding that nonvoting
     shares were less valuable than voting shares? And would it have been better for ResCap to have voting
     shares, if that could be arranged? [A:] Yeah, I think . . . voting would be better.”); see also Int. of T.
     Hamzehpour, Oct. 5, 2012, at 157:14–19 (“[Q:] Do you recall any discussions about whether [the 2006 Bank
     Restructuring] was a good or bad deal for ResCap? [A:] Other than a feeling personally that we should have
     at least had a voting interest versus a non-voting interest.”).
85   See Agenda and Supporting Materials, GMAC Board of Directors Meeting, Sept. 30, 2008, at
     ALLY_PEO_0003724 [ALLY_PEO_0003715] (“Because of a number of factors, including . . . the non-
     voting nature of ResCap’s ownership, valuation of the bank is somewhat subjective and exposes [AFI] to
     purchase price litigation.”). But see Int. of T. Rowe, Dec. 7, 2012, at 159:11–160:19 (“I don’t know that it
     was a significant issue or we didn’t think it was a significant issue. . . . No one was going to make a
     financially driven investment in this type of structure because they don’t serve the kinds of purposes or there
     is too much difficulty. Not having voting rights might be one more component of that, but it’s much broader
     in just the overall structure.”).
86   Walker Report, at 3–6 [RC40008925].
87   See Memorandum, GMAC Bank Restructuring, dated Apr. 20, 2006 [EXAM11248642].
88   Walker Report, at 5 [RC40008925].
89   2005 Operating Agreement, § 2(b) [ALLY_0140795].
90   Memorandum, GMAC Bank Restructuring, dated Apr. 20, 2006, at 4 [EXAM11248642].

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      The Walker Report also stated that “ResCap’s control over the bank would also be
unchanged relative to its current position” because while AFI would own 100% of the voting
shares of the restructured bank, “[AFI] currently wholly owns ResCap and controls the
ResCap board . . . .”91 It is unclear to what extent the Independent Directors considered and/or
agreed with this proposition at the time, but both Melzer and Jacob appear to disagree with
this statement in hindsight.92

     In addition to the transfer of assets from Old GMAC Bank to GMAC Automotive Bank,
the Walker Report contemplated a “Phase II” of the 2006 Bank Restructuring, whereby
ResCap would acquire its own industrial bank charter to later re-acquire the mortgage division
assets.93 This would have resulted in ResCap and AFI each holding their own industrial bank
to carry on their respective mortgage and automotive businesses. While the proposal to
acquire a second industrial bank appears to have been sincere,94 as the Walker Report
acknowledged, by November 2006 there were significant obstacles to acquiring a second
industrial bank charter, including the FDIC’s moratorium on new industrial banks.95
Nonetheless, in approving the 2006 Bank Restructuring, both Independent Directors




91   Walker Report, at 9 [RC40008925]; see also Int. of D. Walker, Nov. 28, 2012, at 141:6–9 (“[Q:] The ResCap
     entity has less control at the end of the day than it started with. Am I missing something there? [A:] Well,
     again, I would argue that I don’t think control, as I described it here is really any different. Control is sort of
     the power to elect the board. And then, the board members themselves are the ones that operate the business
     day to day.”).
92   See Int. of T. Melzer, Oct. 10, 2012, at 207:1–18 (“[Q:] If you look at [RC40008939], the last two lines,
     ‘ResCap’s control over the bank would also be unchanged relative to its current position. Under the proposed
     restructuring, [AFI] would own 100 percent of the voting shares of the bank. But, since [AFI] currently
     wholly owns ResCap and controls the ResCap board, there would be no effective change in control’ . . . . [A:]
     You know, frankly, I didn’t pay any attention to that. . . . [Q:] Do you agree with that statement? [A:] No. No,
     not if you’re sitting there looking after the interests of ResCap’s creditors.”); Int. of T. Jacob, Nov. 7, 2012,
     at 177:4–5, 177:15–17 (“[T]hat looks like an unfortunate choice of words from DCW. . . . [I]t’s always better
     to have voting shares, but I do not know why we could not achieve that . . . .”). But see Int. of L. Zukauckas,
     Oct. 19, 2012, at 156:8–14, 157:4–6 (“But the fact that in substance there was no meaningful change . . . it
     influenced me being supportive of the transaction. . . . [ResCap] still enjoyed the benefits of the bank and so
     the substance in my opinion was still there.”); Int. of T. Melzer, Mar. 22, 2013, at 88:17–89:5 (“[I]f you think
     about it in substance there wasn’t really a change. . . . It’s in a different form, but the reality is that [AFI]
     controlled that bank both before and after, if you will, what was the ResCap piece that became part of the
     Industrial Bank.”).
93   Walker Report, at 6–7 [RC40008925].
94   See, e.g., E-mail from S. Khattri (Oct. 26, 2006) [EXAM10165848] (“[G]oal is in to have separate banks
     however, not clear when and how . . . mortgage ‘branch’ will be very separate from day [zero] so even
     though charter is shared it is implicitly two banks.”); Int. of E. Feldstein, Dec. 14, 2012, at 104:23–105:2 (“I
     do recall certainly inquiring about it and exploring its viability. I also recall a fairly negative response . . .
     about that viability.”).
95   Walker Report, at 7–8 [RC40008925].

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appear to have relied, at least in part, on the possibility of a second bank.96 Ultimately,
Phase II did not occur.97
      Another risk disclosed in the Walker Report was GM’s call option on the AFI automotive
business, as described earlier.98 If GM exercised the call option and acquired GMAC
Automotive Bank before ResCap obtained its own industrial bank, ResCap might be left
without access to bank funding.99 The Walker Report characterized this risk as “remote,”
because GM needed to have an investment grade rating in order to exercise this option and, at
the time, GM’s credit ratings were declining.100 Other risks the Walker Report noted were that
“[s]ome senior employees of the FSB could resign as a result of the restructuring” and that
“ResCap’s growth strategy for the FSB could be slowed significantly during the pendency of
the restructuring.”101 In the end, the Walker Report concluded that “[t]he proposed bank
restructuring will not have a material adverse impact on ResCap” and that “ResCap’s earnings
from its bank activities would be essentially unchanged.”102
     On November 20, 2006, the ResCap Board unanimously approved the 2006 Bank
Restructuring in all respects.103 To address conflicts with the 2005 Operating Agreement,
96  See Int. of T. Jacob, Nov. 7, 2012, at 180:21–181:1 (“The big issue for me was economic interest in the assets
    that were transferred over according to ResCap. And also, an ability to get those assets back to domicile it in
    our own bank once the FDIC gave us their charter.”); Int. of T. Melzer, Mar. 22, 2013, at 92:4–20; see also
    Bank Restructuring Project Plan, dated July 25, 2006, at Task E.19 [EXAM10256021] (“Independent
    directors would like more definitive information and documentation regarding the re-transfer of mortgage
    assets to a new ILC . . . before providing formal approval.”).
97 Int. of E. Feldstein, Dec. 14, 2012, at 104:23–105:9 (“I do recall certainly inquiring about [obtaining a second

    charter] and exploring its viability. I also recall a fairly negative response from Michelle Lieber about that
    viability. . . . Michelle Lieber was either a GM employee or a[n] [AFI] employee who was based in
    Washington and worked closely with expert lobbyists in this arena and offered us advice on ILCs and the
    like.”).
98 Walker Report, at 7 [RC40008925].

99 Walker Report, at 7 [RC40008925]. This concern was also raised by the Independent Directors. See E-mail

    from E. Schenk (May 10, 2006) [JACOB.000010]; Memorandum, GMAC Bank Restructuring, dated May
    12, 2006 [ALLY_0401600]. On behalf of the Independent Directors, Bryan Cave questioned whether the GM
    call option could be waived, “at least so far as it relates to ResCap’s assets that will be moved into [GMAC
    Automotive Bank].” Marple responded that “the parties can always agree to waive or amend the provisions in
    the agreement” and that AFI did in fact intend “to seek a waiver/amendment that codifies the repurchase of
    mortgage assets in the event of a call by GM.” Memorandum, GMAC Bank Restructuring, dated May 12,
    2006 [ALLY_0401600].
100 Int. of D. Walker, Nov. 28, 2012, at 119:19–24; Int. of S. Khattri, Oct. 25, 2012, at 68:5–22 (“I personally did

    not rate the chances of their option ever being exercised seriously.”).
101 Walker Report, at 8 [RC40008925]. The risk of slowing the bank’s growth strategy appears to be attributable

    to the fact that ResCap’s mortgage business would cease being regulated by OTS and instead be monitored
    by the FDIC and DFI. See Int. of D. Walker, Nov. 28, 2012, at 123:25–124:8 (“[P]ragmatically the OTS is
    going to be the regulator for the thrift, now that business unit is moving to the DFI and the FDIC, and
    certainly they’re familiar with mortgage companies generically. But, our particular team, they’re going to
    have to get to know. So, this is the outcome of having to make the move in the first place.”).
102 Walker Report, at 9 [RC40008925].

103 Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Nov. 20, 2006, at 3

    [RC00016852].

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the ResCap Board granted a “waiver of the Operating Agreement, including [s]ection 2(a) and
[s]ection 2(f) thereof, in connection with the restructuring of the two U.S. banking entities as
described in all material respects in [the Walker Report].”104 While the relevant board
resolution explicitly waives sections 2(a) (investments in AFI affiliates) and 2(f) (AFI/ResCap
separateness) of the 2005 Operating Agreement, it does not mention section 2(b) (transactions
must be at arm’s length and for fair value).105 Despite the requirement in the Cerberus PSA
that the “purchase price for [Old GMAC Bank’s] assets and liabilities will be established by
an independent third-party valuation,”106 the parties to the transaction do not appear to have
solicited any formal fairness opinions or valuations in connection with the 2006 Bank
Restructuring.107 Additionally, ResCap was not represented by outside counsel in connection
with negotiating or finalizing the transaction.108
                    (3) The 2006 Bank Restructuring
     Effective November 22, 2006, Old GMAC Bank transferred substantially all of its assets
(approximately $11.7 billion at book value) and liabilities (approximately $10.7 billion at
book value) to GMAC Automotive Bank for the purchase price of $1.161 billion, the net book
value of Old GMAC Bank’s assets and liabilities.109 The $1.161 billion purchase price was
then sent as a dividend from Old GMAC Bank, through a series of holding companies, to
ResCap.110 ResCap’s equity in Old GMAC Bank (along with its remaining assets and
104   Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Nov. 20, 2006, at 3
      [RC00016852] (emphasis added); see also Int. of T. Jacob, Nov. 7, 2012, at 172:8–173:24; Int. of T. Melzer,
      Oct. 10, 2012, at 213:5–17 (“So as to not leave the . . . bank discussion open, there were aspects of that
      transaction that concern me. But, on balance, all things considered, I felt it was in the best interests of all
      stakeholders . . . . [W]e did not have independent valuations of the interests in this particular case. But I think
      it was probably a book value transaction, which is not uncommon, and I wasn’t uncomfortable with that
      approach. But . . . I had some discomfort with it.”).
105   Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Nov. 20, 2006, at 3
      [RC00016852].
106   Cerberus PSA, Ex. H, at 1 [CERB039811].
107   See Int. of T. Melzer, Oct. 10, 2012, 213:5–17 (“So as to not leave the . . . bank discussion open, there were
      aspects of that transaction that concern me. But, on balance, all things considered, I felt it was in the best
      interests of all stakeholders . . . we did not have independent valuations of the interests in this particular
      case. But I think it was probably a book value transaction, which is not uncommon, and I wasn’t
      uncomfortable with that approach.”).
108   The Independent Directors themselves consulted with Bryan Cave in an informal review of the 2006 Bank
      Restructuring. See Int. of T. Melzer, Oct. 10, 2012, at 184:9–186:7; see also Memorandum, Bank
      Restructuring Project Plan, dated July 25, 2006, at Tasks E.19, E.20 [EXAM10256021].
109   Purchase and Assumption Agreement [CERB001654]; Bill of Sale, Assignment and Assumption Agreement,
      dated Nov. 22, 2006 [ALLY_0018322]. The FDIC approved this transfer on November 15, 2006. Order and
      Basis for Corporation Approval, Division of Supervision and Consumer Protection, FDIC (Nov. 15, 2006)
      [GOLDIN00093168].
110   Unanimous Written Consent of Executive Committee of GMAC Bank, dated Nov. 20, 2006 [CERB001608]
      (declaring dividend of to GMAC Residential Holding Company, LLC); GMAC Residential Holding
      Company, LLC Certification, dated Nov. 20, 2006 [CERB001610] (declaring dividend of approximately $1.1
      billion to ResCap).

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liabilities)111 was then transferred to GM through a series of dividends, thus removing Old
GMAC Bank from the Cerberus ownership chain.112 Old GMAC Bank subsequently changed
its name from “GMAC Bank” to “National Motors Bank FSB,”113 and was eventually
voluntarily dissolved in February 2009.114 The result of this transaction was that AFI’s
automotive banking operations and ResCap’s mortgage banking operations were consolidated
within GMAC Automotive Bank.
 EXHIBIT V.A.1.a(3)—1
 Consolidation of Bank Assets and Divestiture of Old GMAC Bank


                                                                                     General Motors



                                                                           FSB Dividend




                                                           FSB Dividend                   GMAC/AFI


                                          ResCap


                         $1.161 Billion
                           Dividend
                                                         Substantially all Assets
                                                             and Liabilities
                                   Old GMAC Bank                                        GMAC
                                  Federal Savings Bank                              Automotive Bank
                                         (FSB)                                       Industrial Bank
                                                             $1.161 Billion




 Source: See AFI Certain Key Factual Background Presentation, Sept. 23, 2011, at [ALLY_0157478].


      Contemporaneously with the consolidation of these operations, AFI contributed 100% of
its interests in GMAC Automotive Bank to a newly-created limited liability holding company,
IB Finance.115 This transfer eliminated AFI’s direct ownership of GMAC Automotive Bank,
and placed IB Finance in a holding position between AFI and GMAC Automotive Bank. AFI



111   Following Old GMAC Bank’s transfer of assets and liabilities to GMAC Automotive Bank, Old GMAC
      Bank retained approximately $105 million in assets, $93 million in liabilities, and $13 million in equity. See
      Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 11–12.
112   Certificate of Share Transfer, Nov. 21, 2006 [CERB001732]; Transfer of Shares Agreement, dated Nov. 22,
      2006 [CERB001787].
113   Residential Capital, LLC, Current Report (Form 8-K) (Nov. 27, 2006), Item 2.01, at 2.
114   FDIC, Institution Directory—National Motors Bank FSB, http://www2.fdic.gov/idasp/confirmation_
      outside.asp?inCert1=35054 (last updated Dec. 20, 2012) (providing that National Motors Bank FSB was
      “involved in a Voluntary Liquidation and Closing”).
115   Share Contribution Agreement, Art. 1 [CERB001521].

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retained two million voting IB Finance Class A Shares, which entitled AFI to earnings and
distributions from the automotive division of GMAC Automotive Bank, and were the only
voting interests in IB Finance.

      Immediately following the transfer of GMAC Automotive Bank to IB Finance, ResCap
purchased two million non-voting IB Finance Class M Shares for the price of $1.161 billion
(the same amount that Old GMAC Bank had received for its assets and sent by dividend to
ResCap).116 While the IB Finance Class M Shares entitled ResCap to the earnings and
distributions of GMAC Automotive Bank’s mortgage division,117 their non-voting nature
effectively stripped ResCap of formal legal control over its mortgage banking operations. In
terms of day-to-day operations, the change in control may have been less pronounced than the
transaction suggests, because the personnel from Old GMAC Bank were simply moved to
GMAC Automotive Bank.118 However, all of the business and affairs of IB Finance were to be
managed solely by AFI.119 Following these equity transfers, GMAC Automotive Bank
changed its name to “GMAC Bank,”120 and later to “Ally Bank,” which is the term used
herein.




116   Equity Purchase Agreement, dated Nov. 20, 2006 [ALLY_0018330].
117   Memorandum, Bank Restructuring Accounting Implications, dated July 20, 2007, at 4 [EXAM10198423]. At
      the time, the mortgage division appears to have represented approximately 82% of the bank’s asset base and
      approximately 78% of the income. Memorandum, Bank Restructuring Accounting Implications, dated
      July 20, 2007, at 7 [EXAM10198423].
118   See, e.g., Walker Report, at 5 [RC40008925]; Int. of D. Walker, Nov. 28, 2012, at 141:6–9 (“[Q:] The
      ResCap entity has less control at the end of the day than it started with. Am I missing something there? [A:]
      Well, again, I would argue that I don’t think control, as I described it here is really any different.”); Int. of E.
      Feldstein, Dec. 14, 2012, at 121:9–11 (“I guess if [AFI] owns ResCap and ResCap owns the bank, then [AFI]
      really owns the bank. So it doesn’t really matter.”); Int. of D. Marple, Jan. 22, 2013, at 138:14–17 (“As a
      practical matter, yeah, [AFI was the] 100% shareholder—they could wipe out the board if they wanted
      including the independent directors.”).
119   IB Finance 2006 LLC Agreement, § 3.1(a) [ALLY_0401862].
120   Articles of Amendment to Articles of Incorporation of GMAC Automotive Bank, dated Nov. 22, 2006
      [ALLY_0104546].

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 EXHIBIT V.A.1.a(3)—2
 Creation of IB Finance
 November 20 and 22, 2006


                                                                    $1.161 Billion

                                            ResCap                                             GMAC/AFI


                                                            $360 Million      100% of Equity
                                                            Contribution      in GMAC/Ally
                              Non-Voting                                          Bank                  Voting
                           Membership Interest                                                      Membership Interest
                           (Mortgage Division)                                                        (Automotive
                                                                                                       Division)


                                                                     IB Finance


                                                     $360 Million
                                                     Contribution



                                                               GMAC/Ally Bank
                                                                Industrial Bank



 Source: See AFI Certain Key Factual Background Presentation, Sept. 23, 2011, at 14 [ALLY_0157478].


     The 2006 Bank Restructuring imposed certain capital maintenance requirements on AFI
and ResCap.121 Under the IB Finance 2006 LLC Agreement, ResCap was required to make
additional capital contributions “as necessary to support and grow the assets and businesses”
of the mortgage division, while AFI was obligated to support the automotive division.122 Both
AFI and ResCap were required to maintain sufficient capital in each of their respective
divisions “at a level of capitalization that qualifies as ‘well-capitalized’ under applicable
federal banking laws or such higher level of capitalization as may be required by the [FDIC]
or the [DFI].”123

                        (4) Post-Closing Events

     As required by the DFI, ResCap contributed approximately $360 million in additional
capital to the mortgage division of GMAC Automotive Bank on November 22, 2006.124 This
capital contribution consisted of $302 million in cash and approximately $58 million in low-



121   IB Finance 2006 LLC Agreement, § 2.1(b) [ALLY_0401862].
122   Id.
123   Id. ResCap contributed additional capital to the mortgage division of Ally Bank on five subsequent occasions
      between April 2007 and July 2007, totaling $200 million. See Capital Contributions—ResCap to Ally Bank
      [EXAM00221558].
124   See Walker Report, at 5 [RC40008925]; Capital Contribution Agreement, dated Nov. 22, 2006
      [ALLY_PEO_0021232].

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quality mortgage assets.125 A week later, on November 30, 2006, Cerberus and GM finalized
the sale of 51% of AFI for a purchase price of $7.35 billion.126

                    (5) Value Of Exchange127

     In order to assess reasonably equivalent value for the 2006 Bank Restructuring, the
Examiner’s Financial Advisors estimated the value transferred from ResCap as well as the
consideration received by ResCap. The value transferred from ResCap consisted of: (1) a
controlling interest in 100% of the equity of Old GMAC Bank; and (2) $360 million in cash
and mortgage assets contributed by ResCap to IB Finance. The consideration received by
ResCap consisted of: (1) two million IB Finance Class M Shares; and (2) the indirect benefit
of avoiding a credit downgrade by facilitating the sale of a 51% interest in AFI to Cerberus.

     To value the interest in Old GMAC Bank, the Examiner’s Financial Advisors considered
three traditional and commonly used approaches to estimating FMV: (1) the Market
Approach, using public stock prices and transaction prices for comparable thrift institutions;
(2) Income Approach; and (3) the Asset-Based Approach. These approaches yield a value of
the controlling interest in Old GMAC Bank of approximately $1.62–1.90 billion.

     To value the IB Finance Class M Shares, the Examiner’s Financial Advisors used the
same approach and assumptions as for valuing the interest in Old GMAC Bank, with
adjustments to reflect the different form of ownership (such as lack of marketability, lack of
control, and lack of voting rights). The Examiner’s Financial Advisors also considered the IB
Finance Class M Shares’ “tracking stock” structure, a form of investment that was generally
viewed as unfavorable by investors. The estimated value of ResCap’s two million IB Finance
Class M Shares, after discounting for these factors, is approximately $1.44–1.65 billion.

      To quantify the indirect benefit to ResCap of avoiding the likely credit downgrades that
would have occurred had the sale to Cerberus not closed, the Examiner’s Financial Advisors
considered: (1) the costs that would have been incurred by ResCap as a result of a credit
ratings downgrade; and (2) the time horizon over which such cost savings could reasonably be
attributed to the successful closing of the Cerberus sale. The Examiner’s Financial Advisors
quantified this benefit as the present value of after-tax cost savings over a one-year period.
This calculation yields an indirect benefit to ResCap of approximately $143 million.128

     In sum, the Examiner concludes that a fair estimate of the value transferred from ResCap
in connection with the 2006 Bank Restructuring, including the $360 million capital
contribution, is approximately $1.98–2.26 billion, while a fair estimate of the value received
by ResCap is approximately $1.58–1.79 billion. Accordingly, the Examiner concludes that the
125   See Capital Contribution Agreement, dated Nov. 22, 2006 [ALLY_PEO_0021232].
126   See Cerberus PSA [CERB000521]; General Motors Acceptance Corp., LLC, Annual Report (Form 10-K)
      (Mar. 13, 2007), at 17.
127   This Section provides a summary of the more detailed analysis in Section V.A.2.b.
128   For a discussion of the law regarding intangible benefits and their effect on reasonably equivalent value, see
      Section VII.F.5.d.

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consideration received by ResCap in the 2006 Bank Restructuring was less than the value that
was transferred from ResCap in that transaction. A more detailed analysis of these valuations
is contained in Section V.A.2.b. Additionally, a summary of these findings is presented in
Appendix V.A.2.b.

                   (6) Causes Of Action Implicated By The 2006 Bank Restructuring

     The causes of action potentially implicated by the 2006 Bank Restructuring include
(1) actual and constructive fraudulent transfer pursuant to section 544 of the Bankruptcy
Code; (2) breach of fiduciary duty and aiding and abetting breach of fiduciary duty; (3) breach
of the 2005 Operating Agreement and tortious interference with the 2005 Operating
Agreement; (4) common law fraud; and (5) equitable subordination with respect to some or all
of AFI’s claims against the Debtors. The Examiner also considered the 2006 Bank
Restructuring in connection with the alter ego claims alleged against AFI. An analysis of these
claims is provided in Section VII.

               b. The 2008 Bank Transaction

                   (1) Background

     The Investigation revealed no evidence that the 2008 Bank Transaction was
contemplated at the time of the 2006 Bank Restructuring. In fact, as discussed below, the 2008
Bank Transaction seems not to have been considered before March 2008. Throughout 2007
and the first quarter of 2008, ResCap faced ongoing challenges with respect to its liquidity and
TNW.129 In December 2007, it was clear that addressing ResCap’s TNW covenants was a
“primary” objective for the first quarter of 2008.130 By early March 2008, it became clear to
AFI and ResCap senior officers that the TNW shortfall for the first quarter would be greater
than anticipated and that AFI would potentially need to make a substantial equity infusion into
ResCap (“in the $1.75–2.25 billion zone”) before the end of the quarter.131 ResCap’s interest
in IB Finance does not appear to have been part of the discussion surrounding the potential
equity infusion,132 but it was considered as collateral for a potential secured loan from AFI.133
Throughout March 2008, the ResCap Board considered several options to address both
129   See, e.g., Minutes of a Regular Meeting of the Board of Directors of Residential Capital, LLC, Feb. 22, 2008,
      at 2 [RC00017129]; Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC,
      Mar. 17, 2008, at 5 [RC00017144]. ResCap’s principal credit facilities contained TNW covenants requiring
      ResCap to maintain $5.4 billion in TNW. See Minutes of the Meeting of the Special Committee of the
      Independent Directors of the Board of Residential Capital, LLC, Mar. 26, 2008, at 2 [MELZER.008984]. As
      part of a June 2008 refinancing of certain credit facilities, these TNW covenants were reduced from $5.4
      billion to $250 million.
130   See Minutes of a Regular Meeting of the Board of GMAC LLC, Dec. 13, 2007, at ALLY_PEO_0001001
      [ALLY_PEO_0000860].
131   See E-mail from E. Feldstein (Mar. 6, 2008) [EXAM11306297].
132   See id. (discussing a potential equity infusion, but making no mention of IB Finance or Ally Bank).
133   See E-mail from J. Young (Mar. 5, 2008) [EXAM10209694].

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liquidity and TNW concerns, including a bond exchange and a restructuring of ResCap’s debt
facilities,134 but management ultimately determined that these solutions could not be
implemented in time to meet ResCap’s TNW covenants as of March 31, 2008.135

      On March 24, 2008, one week before ResCap was expected to breach its TNW
covenants, Corey Pinkston, then head of Capital Markets at GMAC Financial Services,
presented the Independent Directors with a proposal developed jointly by him and PwC only
days earlier.136 Pursuant to the proposal, AFI would contribute to ResCap up to $1.5 billion in
ResCap bonds that AFI had purchased on the open market during the first quarter of 2008 in
exchange for ResCap Preferred Interests, convertible at AFI’s option into IB Finance
Preferred Interests.137 If exercised, AFI’s conversion of the ResCap Preferred Interests into IB
Finance Preferred Interests would reduce ResCap’s IB Finance Class M Shares on a unit-for-
unit basis.138 The ResCap Preferred Interests and the IB Finance Preferred Interests would
have fixed interest rates of 13% and 10%, respectively.139 It is unclear whether the
Independent Directors were informed of this proposal before the March 24, 2008 meeting, but
if they were, it appears that such notice would have come only days earlier.140 It is likewise
unclear why, given that ResCap and AFI were aware since December 2007 that ResCap likely
would have difficulty meeting its TNW covenant, this proposal was not developed until


134   See, e.g., Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Mar. 17, 2008,
      at 5 [RC00017144].
135   Int. of S. Khattri, Oct. 25, 2012, at 247:7–248:13 (“Most of the other transactions involved third parties. And,
      with the environment like it was, [] the timeframe would have taken too long. And many of them turned out
      to be dead ends anyway. . . . So, this one was something you controlled and could make it happen much
      faster, because it was [between] two sort of affiliated parties.”); Int. of T. Jacob, Nov. 7, 2012, at 237:2–12
      (“I would say there was a sense of urgency here to provide some liquidity sources. Unrelated parties were not
      willing to provide any liquidity and their only choice was related parties.”).
136   See E-mail from C. Pinkston (Mar. 20, 2008) [EXAM11308640] (“[M]ultiple calls and structures discussed
      internally and with [accountants] today. . . . [H]ave to also consider timing for the rescap board ([including]
      the independents). Timing is just very tight on all of this.”); Minutes of a Meeting of the Special Committee
      of the Independent Directors of the Board of Residential Capital, LLC, Mar. 24, 2008, at 2
      [MELZER.008984]; Int. of C. Pinkston, Nov. 8, 2012, at 164:14–18 (“I’m pretty sure that . . . everybody
      except the independents should have been pretty apprised on this at that point in time.”); see also E-mail
      from J. Jones to T. Melzer and T. Jacob (Mar. 22, 2008) [MELZER.008822] (giving a “heads-up on the form
      of capital infusion [AFI] is proposing” and setting up call for March 24, 2008 to get the Independent
      Directors “current as soon as possible”).
137   Minutes of a Meeting of the Special Committee of the Independent Directors of the Board of Residential
      Capital, LLC, Mar. 24, 2008, at 2 [MELZER.008984].
138   Id.
139   Morgan Stanley Project Duvall Presentation, dated Mar. 28, 2008, at 5–6 [RC40007480].
140   See Int. of S. Khattri, Oct. 25, 2012, at 245:15–18 (“[Q:] Had [the preferred stock bank transaction] been
      discussed with the independent directors before [March 24, 2008]? [A:] I think it had.”); E-mail from
      T. Hamzehpour to T. Melzer and T. Jacob (Mar. 20, 2008) [MELZER.008815] (attaching Morgan Stanley
      Engagement Letter from D. Ammann to J. Jones (Feb. 13, 2008) [MELZER.008816]).

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one week before a potential breach.141 Pinkston advised the Independent Directors at the
March 24, 2008 special meeting that this was a “good transaction” for ResCap and a “fair way
for [AFI] to contribute additional capital [to ResCap].”142

      Pinkston’s opinion of the transaction appears to have been based first on the fact that the
bonds to be contributed likely would be worth less upon the date of contribution than when
AFI had purchased them, and second, on ResCap’s retention of a future call option on the
interest in IB Finance.143 In response, Melzer noted that “it might appear that [AFI] is
converting the ResCap bonds that it currently holds into something worth more than they are
now,” that is, a preferred interest in IB Finance and indirectly, Ally Bank.144 At the urging of
Jacob and Melzer,145 ResCap proposed that the bond contribution from AFI be in exchange for
simple common equity, but this proposal was reportedly rejected by AFI.146 AFI reportedly
insisted on this type of exchange instead of a straight capital infusion because the prevailing




141   See Int. of S. Ramsey, Dec. 10, 2012, at 128:1–129:1 (“[W]e were making decisions continuously and in real
      time . . . . But it is not particularly unlikely that the reason the timeframe was as short as it was is because the
      [AFI Board] said you need to do something better. And, so, we’d come up with an idea of what something
      better is in the context of what the [AFI] Board thought. And that was it.”); Int. of A. de Molina, Nov. 20,
      2012, at 139:24–140:10 (explaining that the parties waited until the end of the quarter to see how much of a
      shortfall would exist before deciding how to address that shortfall).
142   Minutes of a Meeting of the Special Committee of the Independent Directors of the Board of Residential
      Capital, LLC, Mar. 24, 2008, at 3 [MELZER.008984].
143   Id.
144   Id.; see also E-mail from J. Jones (Mar. 25, 2008) [EXAM11307284] (“[The Independent Directors] are
      completely focused on ResCap, and there to both the shareholder and to the bondholders. They are trying to
      enforce our Operating Agreement and ensure that bondholders are not inappropriately disadvantaged. . . .
      They do not want this seen as a preferential exchange for ResCap bonds.”). At a subsequent meeting, Melzer
      reiterated this concern, observing that “if the ResCap Preferred is exchanged, the IB Finance Holding
      Company Preferred would represent a claim on ResCap’s economic interest in the mortgage division of [Ally
      Bank] that is structurally senior to the claim on that economic interest held by the ResCap unsecured
      creditors.” Minutes of a Meeting of the Special Committee of the Independent Directors of the Board of
      Residential Capital, LLC, Mar. 25, 2008, at RC40006621 [RC40006611].
145   Meeting of the Special Committee of the Independent Directors of Residential Capital, LLC, Mar. 24, 2008,
      at 2 [MELZER.008984].
146   See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Mar. 28, 2008, at 4
      [RC00017152].

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view among AFI’s shareholders and bondholders was that if ResCap needed additional
assistance, AFI should receive something of value in return.147

     At a meeting the next day, Jacob expressed concern about whether the transaction would
provide ResCap with liquidity beyond the first quarter of 2008.148 Jacob was told that the
proposed transaction was meant to satisfy short-term TNW covenants, not to provide
additional liquidity.149 Skadden, as special legal counsel to ResCap, advised that the likely
result of a breach of ResCap’s TNW covenants would be bankruptcy and “in the absence of
prior reorganization planning, it would create a terrible outcome for all constituencies,
including the Company, its shareholder and the public bondholders.”150 Conversely, approving
the exchange would “buy the Company time to negotiate successfully the restructuring of the
bank facilities and to complete planned asset sales which themselves are paramount to
ensuring that ResCap has sufficient liquidity required to continue its restructuring
efforts . . . .”151 Skadden informed Jacob and Melzer, who were being advised independently
by Bryan Cave, that the terms of the proposed transaction were still under active negotiation
and that it believed the opportunity existed to improve the terms of the transaction for
ResCap.152 One such concession that was asked for, and received, by the Independent




147   See Minutes of a Meeting of the Special Committee of the Independent Directors of the Board of Residential
      Capital, LLC, Mar. 25, 2008, at RC40006621 [RC40006611] (“Mr. [James G.] Jones advised that he
      understands that [AFI] is under significant pressure from its shareholders and bondholders to receive more
      value and security in respect of future capital infusions into ResCap.”); see also Minutes of a Special
      Meeting of the Board of Directors of Residential Capital, LLC, Mar. 28, 2008, at 4 [RC00017152]; Int. of
      L. Hall, Nov. 29, 2012, at 157:24–158:24 (“[T]here was a view . . . in [AFI] management, that we should try
      to get some type of value back for these contributions. And a lot of this . . . drives all back to this operating
      agreement because whatever capital you put in, unlike a regular parent subsidiary relationship, that capital is
      never going to be able to come back to the parent . . . because of the stipulations in the operating
      agreement. . . . I don’t know specifically who started to come up with the idea of getting back value. To me,
      it was a natural progression based on the number of capital contributions . . . .”).
148   Minutes of a Meeting of the Special Committee of the Independent Directors of the Board of Residential
      Capital, LLC, Mar. 25, 2008, at RC40006621 [RC40006611]; see also E-mail from J. Jones (Mar. 25, 2008)
      [EXAM11307284] (“The independent directors are quite concerned about the preferred exchange for the
      bond contribution by [AFI]. Their concerns largely fall into two categories: how much time do we buy and
      how much does it cost.”); E-mail from J. Young (Mar. 25, 2008), at EXAM11307404 [EXAM11307403]
      (“Long story, but the independent directors of ResCap are unlikely to approve a preferred structure in time to
      close the quarter.”).
149   Minutes of a Meeting of the Special Committee of the Independent Directors of the Board of Residential
      Capital, LLC, Mar. 25, 2008, at RC40006621 [RC40006611].
150   Id.
151   Id.
152   Id.

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Directors was that the ResCap Preferred Interests not be convertible into IB Finance Preferred
Interests if ResCap filed for bankruptcy before January 1, 2009.153

     At ResCap’s request, Morgan Stanley undertook a valuation of the bonds to be
contributed by AFI.154 Morgan Stanley apparently was chosen because it was already advising
ResCap as to other potential strategic transactions,155 and management reportedly thought that
it would be difficult for another financial advisor to come up to speed in time to meet the
March 31 deadline.156 At the time, a Morgan Stanley officer named Robert Scully was also a
member of the AFI Board.157 This potential conflict was disclosed to the Independent
Directors on March 20, 2008,158 and the ResCap Board was later informed that an “ethical
wall” had been established between Scully and the Morgan Stanley team working on the
engagement.159 It is unclear when this ethical wall was established, and more to the point,
whether a prohibition on communications could cure the fact that the Morgan Stanley




153   Id.; Minutes of the Meeting of the Special Committee of the Independent Directors of the Board of
      Residential Capital, LLC, Mar. 26, 2008, at 1 [MELZER.008984].
154   Minutes of a Meeting of the Special Committee of the Independent Directors of the Board of Residential
      Capital, LLC, Mar. 24, 2008, at 3 [MELZER.008984]. It appears that Morgan Stanley was not asked to
      prepare a valuation of the bonds until the March 24, 2008 board meeting. Id. ResCap had previously engaged
      Morgan Stanley for other purposes. As a practical matter, there may have been few other parties with
      sufficient understanding of ResCap and its affiliates to provide a valuation on such short notice. See, e.g., Int.
      of S. Khattri, Oct. 25, 2012, at 265:1–267:17.
155   See Morgan Stanley Engagement Letter from D. Ammann to J. Jones (Feb. 13, 2008) [MELZER.008816].
156   See Int. of S. Khattri, Oct. 25, 2012, at 265:21–25 (“[Morgan Stanley] knew [AFI] really well, because they
      represented GM on the sale of [AFI] to Cerberus. So, they really knew the asset well. So, the thinking was
      that they could come up to speed quickly and provide value.”).
157   See Morgan Stanley Engagement Letter from D. Ammann to J. Jones (Feb. 13, 2008), at 4
      [MELZER.008816] (“Additionally, as you know, an executive office of Morgan Stanley is a member of the
      Board of Directors of [AFI].”); Minutes of a Special Meeting of the Board of Directors of Residential
      Capital, LLC, Mar. 28, 2008, at 3 [RC00017152].
158   See Morgan Stanley Engagement Letter from D. Ammann to J. Jones (Feb. 13, 2008), at 3–4
      [MELZER.008816] (attached to E-mail from T. Hamzehpour to T. Jacob and T. Melzer (Mar. 20, 2008)
      [MELZER.008815]).
159   Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Mar. 28, 2008, at 3
      [RC00017152] (“In response to a question by Mr. Melzer, Mr. Ammann advised that an appropriate Chinese
      Wall had been established in respect of Mr. Scully, and that absolutely no discussions had been had between
      anyone on Mr. Ammann’s team and Mr. Scully on the subject of this engagement.”).

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personnel performing the valuation knew that one of their senior officers was on the board of
the other party to the transaction.160

     While Morgan Stanley did not prepare a formal valuation or written fairness opinion,161
its presentation concluded that “the terms and conditions of the proposed transaction are
consistent with those to which parties at arm’s length would agree, and is for fair value.”162
Additionally, Morgan Stanley informed the ResCap Board that the final proposal was
“materially more favorable to ResCap than the initial proposal made by [AFI] within the last
several days” and “better than market terms.”163 Skadden reiterated at the March 28, 2008
meeting that failing to meet ResCap’s TNW covenants would be “very detrimental” to




160   Cf. Concat LP v. Unilever, PLC, 350 F. Supp. 2d 796, 822 (N.D. Cal. 2004) (explaining that “[s]creening
      measures . . . do nothing to mitigate conflict[s] arising from concurrent adverse client relationships, since the
      purpose of the prohibition against such relationships is to preserve the attorney’s duty of loyalty, not
      confidentiality,” but also suggesting that an “informed waiver” is sufficient to cure such a conflict); In re
      Trust Am. Serv. Corp., 175 B.R. 413, 421 (Bankr. M.D. Fla. 1994) (“A ‘chinese wall’ typically protects a
      client from the past activities and information of representation of an adverse client. The ‘chinese wall’ is
      generally not an acceptable means of conflict avoidance where the same professional organization actively
      represents two adverse interests.”). Additionally, while Morgan Stanley advised ResCap on several
      subsequent affiliate transactions with AFI, the Investigation revealed no evidence that subsequent
      Independent Directors were informed of this conflict.
161   See E-mail from T. Pohl (Mar. 27, 2008) [EXAM11234652] (explaining that Jacob and Melzer understood
      “the kind of presentation and recommendation [Morgan Stanley], management and [Skadden] are planning to
      make . . . that this type of [transaction] is not ‘opinionable’ in normal sense (and that there simply is not
      going to be one), and . . . ‘will be ok with this’”). The only written product memorializing Morgan Stanley’s
      conclusions is a presentation deck given to the ResCap Board on March 28, 2008. See Morgan Stanley
      Project Duvall Presentation, dated Mar. 28, 2008, at 5–6 [RC40007480]. Morgan Stanley’s valuation
      methodology appears to have rested on: (1) the observed market value of the ResCap bonds to be
      contributed; (2) a comparison of the ResCap Preferred Interests dividend rate to existing ResCap short-term
      debt; and (3) a comparison of the IB Finance Preferred Interests dividend rate to other regional bank
      preferred interests. See id. at 7–10.
162   Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Mar. 28, 2008, at 4
      [RC00017152]; see also Morgan Stanley Project Duvall Presentation, dated Mar. 28, 2008, at 7–10
      [RC40007480]; Int. of S. Ramsey, Dec. 10, 2012, at 204:9–20 (“[Q:] What is your opinion . . . on whether
      that price of one times book value was a fair price to ResCap at that time? [A:] It could only be characterized
      as more than fair. . . . Because as I said, the underlying assets in terms of their market value would have to be
      severely discounted and questioned as to whether or not there was any true achievable economic value in the
      marketplace.”).
163   Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Mar. 28, 2008, at 3–4
      [RC00017152].

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ResCap and, given ResCap’s lack of bankruptcy planning,164 could lead to a “free fall”
bankruptcy.165 Skadden and Morgan Stanley both advised that the only downside of the
proposed transaction was AFI’s potential preferred claim on ResCap’s economic interest in
the mortgage division of Ally Bank.166 Despite this potential preferred claim, ResCap’s
management, financial advisors and counsel were all in agreement that the proposed
transaction was fair to ResCap, its creditors and its shareholder.167 The proposal was




164   It is unclear why ResCap performed so little in the way of bankruptcy planning prior to this point, but it
      potentially reflected ResCap management’s optimism that the business could be saved. See Int. of S. Khattri,
      Oct. 25, 2012, at 259:11–261:5 (“I think the feeling was . . . that we had a decent handle on stuff and there
      were enough options available that that would be unnecessary. I think the other feeling was, because
      everybody was already working round the clock on the current steps of what we were taking, not only would
      the effort on bankruptcy be a distraction, but it would . . . create issues, because people would say, ‘Oh my
      god, these guys are planning that.’ Instead, the focus was that we were planning on fixing the company. And
      there was a genuine belief, which, in hindsight, turned out to be misplaced, that there was a way out.”); Int.
      of J. Jones, Nov. 30, 2012, at 126:9–127:9 (“I don’t think that there was ever even a cavalier conversation
      about bankruptcy until maybe the end of 2007. And at that point in time, I think there tended to be more
      speculative conversations about, well, gee, how bad does this get or how long does it remain bad or what
      other things could take place or those kinds of things that there was ever even any, as I say, speculative
      conversation among ResCap management. . . . [T]here began to be, perhaps with the Board, a question . . . of
      how far can we go with this, how much can we rely on [AFI]. What I would call a[n] extended vision in
      terms of how we managed through this downturn. But there was [never] . . . a conversation in terms of we
      should file and/or we ought to get ready to file or anything else . . . . [When] I did begin to make some
      contingency preparations in the second quarter of ‘08, I did that largely on my own authority. And I did not
      take it to the Board.”).

165   Minutes of the Meeting of the Special Committee of the Independent Directors of the Board of Residential
      Capital, LLC, Mar. 26, 2008, at 3 [MELZER.008984]; Minutes of a Special Meeting of the Board of
      Directors of Residential Capital, LLC, Mar. 28, 2008, at 4 [RC00017152].
166   Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Mar. 28, 2008, at 5
      [RC00017152].
167   Id. at 5–6.

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unanimously approved by the ResCap Board on March 28, 2008,168 and then modified on
March 31, 2008 to permit the exchange to occur in tranches.169

                   (2) Bond Exchange

      The transaction was consummated on March 31, 2008, the same day that ResCap was
required to meet its TNW covenants. AFI contributed ResCap bonds with a face value of
approximately $1.2 billion and an FMV of $607.192 million to ResCap.170 In return for the
bonds, ResCap provided to AFI 607,192 ResCap Preferred Interests.171 The stated purpose of
this transaction was to “increase ResCap’s Consolidated [TNW] . . . which will allow ResCap
to meet certain covenants in its various credit facilities”172 and to avoid “an immediate
liquidity crisis and probable bankruptcy.”173 The ResCap Preferred Interests were
exchangeable, at AFI’s option, on a unit-for-unit basis for IB Finance Preferred Interests at
any time on or after January 1, 2009,174 as long as neither ResCap nor any of its significant
168   Id. (reciting that Independent Directors Jacob and Melzer “believed that they had been afforded sufficient
      time to review all materials provided in respect of the proposed transaction, sufficient time to consult with
      their legal counsel on this matter, and were informed to the extent necessary to reach a decision on the
      proposal”).
169   See Unanimous Written Consent of the Board of Directors of Residential Capital, LLC, dated Mar. 31, 2008,
      at 1–2 [RC00017159]; see also Exchange Agreement, dated Mar. 31, 2008 (attached to Residential Capital,
      LLC, Current Report (Form 8-K) (Apr. 4, 2008), Ex. 10.1); Int. of L. Hall, Nov. 29, 2012, at 204:16–24,
      (“[T]he structure was created in March. And the operating agreement at that point in time created . . .
      806,000 units . . . . When we did the initial part or the first part of that trade, . . . ResCap only needed a
      certain amount of capital contribution, . . . so we did 600 and something units initially.”); E-mail from T.
      Hamzehpour (Mar. 30, 2008) [EXAM11233449] (“Corey Pinkston let us know that [AFI] Board would
      indeed want to receive additional preferred interests of ResCap for any [supplemental] contributions. We’ve
      modified the amended and restated LLC agreements for ResCap and IB Finance Holding to contemplate that
      such additional contributions may be made, up to the full $1.5 billion of bonds [AFI] holds, with $1.2 billion
      being contributed March 31, and any remaining contributions to be made prior to May 31.”); Memorandum,
      Written Consent of Directors, dated Mar. 31, 2008 [JACOB.000057] (explaining revisions to ResCap and IB
      Finance LLC agreements and attaching revised resolutions in the form of a written consent).
170   Unanimous Written Consent of the Board of Directors of Residential Capital, LLC, dated Mar. 31, 2008, at 1
      [RC00017159]. This FMV is supported by the Examiner’s findings. See Section V.A.2.c(3).
171   The ResCap Preferred Interests were created pursuant to a March 31, 2008 amendment and restatement of the
      ResCap Limited Liability Company Agreement. See 2008 ResCap Amended LLC Agreement
      [ALLY_0255882].
172   Morgan Stanley Project Duvall Presentation, dated Mar. 28, 2008, at 4 [RC40007480].
173   Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Mar. 28, 2008, at 5
      [RC00017152].
174   It was necessary to delay this exchange until January 1, 2009 because of a new GAAP principle that went
      into effect on that date. Prior to January 1, 2009, the exchange would have been viewed as a “minority
      interest,” while after January 1, 2009, the exchange would be classified as “shareholder equity.” It appears
      that shareholder equity provided ResCap with certain capital impact benefits that a minority interest would
      not have. See Minutes of a Meeting of the Special Committee of the Independent Directors of the Board of
      Residential Capital, LLC, Mar. 24, 2008, at 2–3 [MELZER.008984]; Int. of D. DeBrunner, Sept. 13, 2012, at
      95:15–98:12; Int. of C. Pinkston, Nov. 8, 2012, at 184:16–185:9.

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subsidiaries was the subject of a bankruptcy proceeding on or before that date.175 In the event
that it was financially able to do so, ResCap retained a right to redeem the ResCap Preferred
Interests and/or the IB Finance Preferred Interests at par, thereby regaining its full economic
interest in Ally Bank.176
     On May 30, 2008, the AFI Board approved an additional contribution of ResCap bonds to
ResCap in the approximate face amount of $249 million and an FMV of $199.152 million.177
Such contribution was made on June 3, 2008.178 In exchange for the bonds, AFI received an
additional 199,152 ResCap Preferred Interests, bringing AFI’s total ownership of ResCap
Preferred Interests to 806,344 units.179 The value of the additional contributed bonds seems to
have been set at the time of the March phase of the 2008 Bank Transaction180 and the ResCap
Board does not appear to have requested, or received, an updated valuation of the bonds.181
                    (3) Value Of Exchange182
     In order to assess reasonably equivalent value for the 2008 Bank Transaction, the
Examiner’s Financial Advisors estimated the value transferred from ResCap and the
consideration received by ResCap. The value transferred from ResCap consisted of (1) the
issuance of the ResCap Preferred Interests; and (2) the exchange option granted to AFI
whereby it could convert the ResCap Preferred Interests into IB Finance Preferred Interests
after January 1, 2009. The consideration received by ResCap in connection with the 2008
Bank Transaction consisted of (1) certain bonds contributed by AFI to ResCap; and (2) the
retention of the right to redeem the IB Finance Preferred Interests at par in the event that AFI
exercised its exchange option.
175   Exchange Agreement, dated Mar. 31, 2008, § 1 (attached to Residential Capital, LLC, Current Report
      (Form 8-K) (Apr. 4, 2008), Ex. 10.1).
176   2008 ResCap Amended LLC Agreement, §§ 11(b)(iii), 13(a) [ALLY_0255882] (providing ResCap “may
      redeem the [ResCap Preferred Interests] then outstanding, in whole or in part, on any Distribution Payment
      Date . . . or on the date of the Preferred Exchange”); IB Finance 2008 LLC Agreement, § 2.1(b)(iii)
      [GOLDIN00007614]; Minutes of a Meeting of the Special Committee of the Independent Directors of the
      Board of Residential Capital, LLC, Mar. 24, 2008, at 3 [MELZER.008984]; Minutes of a Special Meeting of
      the Board of Directors of Residential Capital, LLC, Mar. 28, 2008, at 3 [RC00017152]. This option was
      never exercised by ResCap, presumably because it did not thereafter have the financial ability to do so.
177   Minutes of a Special Meeting of the Board of GMAC LLC, May 30, 2008, at ALLY_PEO_0001082
      [ALLY_PEO_0001009]; accord Residential Capital, LLC, Current Report (Form 8-K) (June 9, 2008),
      Item 3.02. The Examiner concludes that this contribution may have actually been worth as much as $249
      million, as discussed in Section V.A.2.c(3).
178   Residential Capital, LLC, Current Report (Form 8-K) (June 9, 2008), Item 3.02.
179   Id.
180   See 2008 ResCap Amended LLC Agreement, § 10, Sched. B [ALLY_0255882] (providing that for purposes
      of determining the value of additional capital contributions, the existing indebtedness shall have the value set
      forth on Schedule B).
181   See Minutes of a Meeting of the Board of Residential Capital, LLC, June 1, 2008, at RC40005749–50
      [RC40005652]; Residential Capital, LLC, Current Report (Form 8-K) (June 9, 2008), Item 3.02 (disclosing
      FMV of the bonds as of March 31, 2008).
182   This Section provides a summary of the more detailed analysis contained in Section V.A.2.c.

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     In light of the Examiner’s conclusion that ResCap was insolvent at the time of the 2008
Bank Transaction, the Examiner concludes that the ResCap Preferred Interests had no value at
such time. The real value transferred to AFI in connection with these transactions was the
right to exchange the ResCap Preferred Interests for IB Finance Preferred Interests. The
Examiner’s Financial Advisors estimated the value of the IB Finance Preferred Interests using
a capitalization of annual dividends approach, with capitalization rates determined by
benchmark preferred yields. The Examiner’s Financial Advisors determined the value of the
IB Finance Preferred Interests as of the date of their expected conversion, January 1, 2009,
and then discounted this value to the time of each phase of the 2008 Bank Transaction, March
and June 2008. This discount reflects the time value of money and the probability that ResCap
would file for bankruptcy before January 2009, thus nullifying AFI’s exchange rights. The
Examiner’s Financial Advisors used the yield-to-maturity on ResCap’s short-term notes to
quantify this last adjustment. Based upon the above approach, the Examiner’s Financial
Advisors estimate the value of the right to exchange the ResCap Preferred Interests into IB
Finance Preferred Interests to be between approximately $403–504 million for the March
phase of the 2008 Bank Transaction and between $168–210 million for the June phase of the
2008 Bank Transaction (see Appendix V.A.2.c).

     The Examiner’s Financial Advisors estimated the value of the bonds contributed by AFI
to ResCap by referencing available price quotations proximate to the time of the transactions,
plus accrued interest. The estimate of the value of these contributions is approximately $595
million for the March phase of the 2008 Bank Transaction and $246 million for the June phase
of the 2008 Bank Transaction.

     Thus, the Examiner concludes that the consideration received by ResCap was greater than the
value transferred from ResCap in connection with the 2008 Bank Transaction. A more detailed
analysis of these valuations is contained in Section V.A.2.c. Additionally, a summary of these
findings is presented in Appendix V.A.2.c.

               (4) Causes Of Action Implicated By The 2008 Bank Transaction

     The Examiner believes that the only causes of action potentially implicated by the 2008
Bank Transaction would be avoidance actions. An analysis of these claims is provided in
Section VII.F.

           c. The 2009 Bank Transaction

     The final stage of the Ally Bank Transactions occurred in January 2009. At this time, the
capital structure of IB Finance was as follows:

      •   ResCap owned two million IB Finance Class M Shares, representing a non-voting
          interest in IB Finance and an economic interest in the mortgage division of Ally
          Bank; and



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            •   AFI owned (1) two million IB Finance Class A Shares, representing all of the voting
                interest in IB Finance and an economic interest in the automotive division of Ally
                Bank; and (2) 806,344 units of ResCap Preferred Interests, which were
                exchangeable at AFI’s option into IB Finance Preferred Interests.183
     While ResCap’s remaining interest in IB Finance was considered as a possible source of
liquidity only a few months after the 2008 Bank Transaction, the Investigation revealed no
evidence to suggest that the 2009 Bank Transaction was contemplated at the time of the 2008
Bank Transaction.
                    (1) Early Consideration Of An IB Finance/Ally Bank Sale
     As discussed in Section III.H.4, the period of August 2008 through January 2009 was a
tumultuous one for financial markets in the United States and the rest of the world. Broad
market dislocations presented growing challenges to both AFI and ResCap, though both
companies managed to weather the storm, in part, because of AFI’s decision to seek bank
holding company status and its successful application for TARP funds.184 Before receiving
access to TARP funds, however, AFI and ResCap explored several potential transactions
whereby AFI would acquire certain “core” and “non-core” assets of ResCap.185 All the while,
AFI and Cerberus management remained aware of the challenges that such transactions would
present for ResCap’s creditors.186 Additionally, it had become clear to Cerberus and AFI
management just how interdependent AFI and ResCap had become.187 There was a growing
concern that “[a]ny actions taken to divorce ResCap from [AFI] during this period would have
resulted in [AFI’s] bank lines either being pulled or not renewed and the probable [loss] of the
Bank to the FDIC.”188 Further, some thought “ResCap was one of the significant reasons that
the Fed and FDIC [ultimately] decided to support [AFI] in becoming a [bank holding
company].”189
     In September 2008, the ResCap Board began considering several initiatives that would
further ease ResCap’s ongoing liquidity and TNW difficulties, including a potential sale of
183   If exchanged, the IB Finance Preferred Interests would reduce ResCap’s IB Finance Class M Shares on a
      unit-for-unit basis.
184   See Section III.H.6.
185   See, e.g., ResCap Capital Requirement Analysis: Core Business, prepared by UBS, dated Nov. 2008
      [EXAM10159892]; ResCap Capital Requirement Analysis: Core Business and Bank Managerial, prepared by
      UBS, dated Nov. 2008 [EXAM10159894]; UBS Good Bank/Bank Bank Considerations, dated Dec. 2008
      [UBS-RESCAP-0000001].
186   See, e.g., E-mail from L. Tessler to A. De Molina (Aug. 9, 2008) [CCM00121378] (“We can’t hollow out all
      of ResCap or we are going to have a problem with Bonds but I am sure we can figure out something that
      works.”).
187   See, e.g., Strategy Discussion, GMAC Board of Directors Meeting, May 15, 2008, at ALLY_0259428
      [ALLY_0259388] (explaining that “ResCap’s non-voting interest in [Ally] Bank would be part of the
      bankruptcy estate”).
188   E-mail from L. Tessler to M. Carpenter (Dec. 3, 2009) [CCM00065540].
189   Id.

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ResCap’s remaining interest in IB Finance.190 AFI and ResCap management initially
considered three transaction structures, all with a scheduled close of September 30, 2008: (1) a
cash purchase by AFI of 100% of ResCap’s interest in IB Finance; (2) a partial purchase by
AFI of ResCap’s interest in IB Finance in exchange for debt forgiveness; and (3) debt
forgiveness by AFI, which would be earmarked toward AFI’s future purchase of ResCap’s
interest in IB Finance.191 The Independent Directors at the time, Edward Smith and Karin
Hirtler-Garvey, retained Goldin Associates to act as their financial advisor with respect to the
potential transactions.192

     On September 23, 2008, Lazard, acting as ResCap’s financial advisor, advised the
ResCap Board that “ResCap’s balance sheet and current liquidity situation place it within the
zone of insolvency and . . . the best course of action for the Directors is to act as if the
company were insolvent and consider the best interest of all its creditors.”193 A joint
presentation prepared by Skadden and Lazard further advised that the sale of ResCap’s
remaining interest in IB Finance would not, in and of itself, be sufficient to resolve ResCap’s
liquidity issues, and therefore the ResCap Board should contemplate additional initiatives.194
The presentation also advised that “[i]n the event that ResCap believes that the asset sales
referenced are unlikely to be realized or to deliver the estimated proceeds, [ResCap] should
consider whether a bankruptcy filing would afford an opportunity both to preserve value and
to maximize liquidity.”195 During this presentation, ResCap management expressed its hope
that a sale of ResCap’s interest in IB Finance would provide a “runway” to prevent further
deterioration of ResCap’s net worth.196

     On September 25, 2008, the Independent Directors considered a purchase offer by AFI
for 100% of ResCap’s interest in IB Finance, as well as a counter offer proposed by ResCap’s


190   Minutes of a Regular Meeting of the Board of Residential Capital, LLC, Sept. 12, 2008, at RC40005864–65
      [RC40005652]; Minutes of a Special Meeting of the Board of Residential Capital, LLC, Sept. 17, 2008, at
      RC40005868–69 [RC40005652]; see also AFI Board Structural Initiatives and Strategic Discussion, dated
      Aug. 21, 2008, at ALLY_PEO_0003605 [ALLY_PEO_0003591] (“Bank Strategy: Reviewing option to
      purchase ResCap’s remaining equity interest in [Ally] Bank and Broker-Dealer”).
191   Minutes of a Special Meeting of the Board of Residential Capital, LLC, Sept. 19, 2008, at RC40005870
      [RC40005652]. While all of these structures contemplated a closing date of September 30, 2008, it was
      acknowledged in the board minutes that it would be a challenge to obtain the required third-party fairness
      opinion and valuation in such a short timeframe. See id. at RC40005870–71.
192   Minutes of Meeting of the Independent Directors of the Board of Directors of Residential Capital, LLC, Sept.
      22, 2008, at RC40006643 [RC40006611]; see also Engagement Letter from Goldin Associates to the Special
      Committee of the Board of Directors of ResCap (Sept. 23, 2008) [GOLDIN00072892].
193   Minutes of an Executive Session of a ResCap Board Meeting, Sept. 23, 2008, at 1 [RC40006865].
194   Skadden and Lazard Project Scout Presentation, dated Sept. 2008, at 8–9 [RC00018721].
195   Id. at 8. The Skadden and Lazard presentation also contained several pages of “Preliminary Observations on
      Bankruptcy Strategy.” See id. at 11–23.
196   Minutes of an Executive Session of a ResCap Board Meeting, Sept. 23, 2008, at 1 [RC40006865].

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management.197 Following a discussion of the various term sheets, the Independent Directors
“concluded that [AFI’s] offer and the proposed counter offer as outlined . . . would not provide
[ResCap] with sufficient liquidity for a significant period of time.”198 ResCap’s management
offered to revise the counter offer and present the revisions to the Independent Directors at a
later date.199 The Independent Directors subsequently requested that the counter offer seek to
eliminate AFI’s option to convert the ResCap Preferred Interests into IB Finance Preferred
Interests.200

     The AFI Board was determined to support ResCap at this time, in part, because of its
concern that a ResCap bankruptcy could derail AFI’s then pending application for bank
holding company status.201 Such a result would have undermined AFI’s effort to obtain access
to the FRB window and receive TARP funds, which were critical to AFI’s own survival.202
197   Minutes of a Telephonic Meeting of the Independent Committee of the Board of Directors of Residential
      Capital, LLC, Sept. 25, 2008, at RC40006678–83 [RC40006611] (providing that the proposed consideration
      would consist of mostly debt forgiveness plus $400 million cash). ResCap’s counter offer proposed that, for
      an additional $100 million in cash and approximately $820 million in debt forgiveness, ResCap would also
      transfer to AFI the GMAC Mortgage servicing platform, the ditech and direct origination channels and its
      Charlotte FHA call center. See id. at RC40006682–83 [RC40006611]; Acquisition Term Sheet, Draft
      [EXAM10090723] (attached to E-mail from J. Young (Sept. 24, 2008) [EXAM10090721]).
198   Minutes of a Telephonic Meeting of the Independent Committee of the Board of Directors of Residential
      Capital, LLC, Sept. 25, 2008, at RC40006678 [RC40006611].
199   Id.
200   Minutes of a Meeting of the Special Committee of the Board of Residential Capital, LLC, Sept. 27, 2008, at
      RC40006685 [RC40006611].
201   Minutes of a Special Meeting of the Board of GMAC LLC, Sept. 29, 2008, at ALLY_PEO_0001283
      [ALLY_PEO_0001009] (“Mr. Ramsey discussed the potential consequences of failure to approve the [equity
      injection into ResCap], and the risks to [AFI] of a bankruptcy filing by ResCap.”); Int. of M. Neporent, Feb.
      6, 2013, at 154:5–155:6 (“[W]e were talking about what the risks were to [AFI] if we were not to support
      ResCap, or if ResCap couldn’t support itself. We were in the process of the bank holding company
      license. . . . [A]gain, the capital markets were a mess. I think by this time, Fannie and Freddie had been
      nationalized. And we were concerned that if ResCap went down, that could, from the [AFI] perspective, have
      an adverse effect on our application to become a bank holding company, because we’d be effectively putting
      four million homeowners—four million mortgages—out into the market, where there wasn’t enough
      servicing capacity in the market to take them up. . . . We thought we’d have been looked at very cross-eyed
      by the regulators if we were to have allowed that to happen.”); Int. of L. Tessler, Feb. 28, 2013, at 94:5–14
      (“[H]istorically, there had never been a circumstance where a bank holding company had its subsidiary file
      for bankruptcy. And there was expressed concern provided to the [AFI] board as part of its application
      process from its legal advisors . . . that if we had a subsidiary file for bank holding . . . the likelihood of us
      getting our license was very low.”).
202   Int. of M. Neporent, Feb. 6, 2013, at 145:10–146:1 (“Well, it’s pretty simple. Now we’re in the fall of 2008.
      The financial crisis is in full swing. Capital markets are in total disarray. There are hundreds and hundreds
      of . . . non-depository institutions . . . that were falling off the cliff because they couldn’t get access to the
      securitization markets. To the extent that you’re originating an asset and then you have no place to offload it,
      you’re going to run out of gas pretty quickly. And by having the bank holding company license, we’d have
      access to the Fed window for TARP . . . . And you’d have the support of a deposit-based funding source, as
      opposed to a wholesale-funded funding source.”).

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Additionally, AFI Board materials from this time indicate that the AFI Board was concerned
that a ResCap bankruptcy filing would interfere with AFI’s future ownership of Ally Bank by
allowing another purchaser to acquire ResCap’s shares of IB Finance in a bankruptcy auction,
or by giving the FDIC cause to seize Ally Bank.203

     ResCap and AFI were unable to agree on and finalize a satisfactory transaction involving
IB Finance by September 30, 2008. Accordingly, on that day, the AFI Board passed a
resolution providing ResCap with up to $400 million in debt forgiveness to satisfy ResCap’s
TNW covenants.204 The AFI Board materials describing this transaction conclude that
“[b]ecause the capital contribution is structured as debt forgiveness, and because ResCap is
not currently in a position to repay these obligations, there is no near-term impact on cash at
the [AFI] level.”205 Additionally, it was noted that “in the event there is a subsequent
transaction whereby [AFI] purchases ResCap’s stake in [Ally] Bank, it is intended that the
amount of the contribution would be deemed to be part of the consideration for such a
purchase.”206

     Despite the $400 million debt forgiveness by AFI, ResCap’s liquidity remained a concern
and the ResCap Board continued to consider a sale of ResCap’s interest in IB Finance as a
way to “extend the Company’s cash runway” through December 2008 or February/March
2009.207 However, on October 16, 2008, Thomas Marano informed the ResCap Board that
AFI was no longer considering a purchase of ResCap’s interest in IB Finance, and was instead
exploring other initiatives, such as a potential securitization transaction in Europe or a




203   See Minutes of a Special Meeting of the Board of GMAC LLC, Sept. 29, 2008, at ALLY_PEO_0001283
      [ALLY_PEO_0001009] (“Discussion by the [AFI] Board focused on valuation of the non-voting interest
      held by ResCap; feasibility of completing the [Ally] Bank transaction in the event of a bankruptcy filing by
      ResCap and implications of such a filing on [AFI].”); Agenda and Supporting Materials, GMAC Board of
      Directors Meeting, Sept. 30, 2008, at ALLY_PEO_0003722 [ALLY_PEO_0003715]; see also Int. of S.
      Ramsey, Dec. 10, 2012, at 157:24–158:4 (“The joint ownership of the bank could’ve been very disruptive
      with the regulators. If there was a single ownership of the bank by [AFI] when a [ResCap bankruptcy]
      occurred, if it was to occur, it would be less risk. It was that simple.”); Int. of L. Tessler, Feb. 28, 2013, at
      93:19–94:4 (“[Q:] Why was there specific focus on the bank and the need to try to preserve your ownership
      interest in the bank in the event of a ResCap bankruptcy? [A:] Well, I mean, again, I don’t have specific
      recollection of this particular board meeting. What I do know is as part of a critical element of the application
      to become a bank holding company was we had to have our deposit-taking institution there in order to
      achieve such status.”).
204   Minutes of a Special Meeting of the Board of GMAC LLC, Sept. 30, 2008, at ALLY_PEO_0001288–90
      [ALLY_PEO_0001009]; Minutes of a Special Meeting of the Board of Residential Capital, LLC, Oct. 1,
      2008, at 1–2 [RC00017309].
205   Agenda and Supporting Materials, GMAC Board of Directors Meeting, Sept. 30, 2008, at
      ALLY_PEO_0003720 [ALLY_PEO_0003715].
206   Id. at ALLY_PEO_0003721; see also Letter from R. Hull to T. Marano (Sep. 30, 2008) [ALLY_0141114].
207   Minutes of a Special Meeting of the Board of Residential Capital, LLC, Oct. 8, 2008, at 2 [RC00017311].

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forgiveness of bond or MSR debt.208 AFI’s decision to walk away from the potential purchase
of IB Finance at this time appears to have been driven, at least in part, by its own economic
difficulties209 as well as concerns over fraudulent transfer liability in the event of a ResCap
bankruptcy filing.210

                    (2) Subsequent Consideration Of An IB Finance/Ally Bank Sale

     In December 2008, the ResCap Board once again began considering a sale of ResCap’s
interest in IB Finance, this time in connection with AFI’s conversion to a bank holding
company and subsequent access to TARP funds.211 In preparation for a potential sale, the
ResCap Board asked that an independent third-party commence a valuation of IB Finance.212
Additionally, the Independent Directors requested that AFI delay the effectiveness of its
option to convert the ResCap Preferred Interests into IB Finance Preferred Interests until
February 28, 2009.213 AFI’s management supported this request and the AFI Board seemingly
consented as well.214

    On December 24, 2008, the FRB approved AFI’s application to become a bank holding
company.215 Four days later, the AFI Board approved another capital contribution to ResCap


208   Minutes of a Special Meeting of the Board of Residential Capital, LLC, Oct. 16, 2008, at 1 [RC00017316].
209   See, e.g., E-mail from T. Marano (Oct. 30, 2008) [CCM00199669] (“I have been offered limited shorter term
      support from our parent [AFI]. I have yet to receive longer term support as they themselves are challenged.”).
210   See Minutes of a Special Meeting of the Board of GMAC LLC, Sept. 30, 2008, at ALLY_PEO_0001287–88
      [ALLY_PEO_0001009] (“Mr. Ramsey presented materials that . . . provided an overview of the risks to
      [AFI] in the event of a ResCap bankruptcy filing. . . . Management and the advisors in attendance at the
      meeting responded to questions raised regarding the disposition of [Ally] Bank; the impact on [AFI’s] 11:1
      leverage ratio covenant; and matters associated with preference and fraudulent transfers.”); Agenda and
      Supporting Materials, GMAC Board of Directors Meeting, Sept. 30, 2008, at ALLY_PEO_0003722–24
      [ALLY_PEO_0003715]; see also Int. of M. Neporent, Feb. 6, 2013, at 173:24–174:10.
211   Minutes of a Special Meeting of the Board of Residential Capital, LLC, Dec. 21, 2008, at 2 [RC00017375].
212   Id.
213   Minutes of a Special Meeting of the Board of GMAC LLC, Dec. 19, 2008, at ALLY_PEO_0001371
      [ALLY_PEO_0001009] (indicating that the ResCap Board was “concerned that the potential transfer of
      value out of ResCap associated with the exercise will raise concerns with ResCap bondholders”); see also
      Letter from R. Hull to ResCap and IB Finance (Dec. 30, 2008) [EXAM12047807] (agreeing that the effective
      date of the Exchange Agreement shall not occur prior to February 28, 2009).
214   Minutes of a Special Meeting of the Board of GMAC LLC, Dec. 19, 2008, at ALLY_PEO_0001372
      [ALLY_PEO_0001009] (after discussion of this topic, AFI’s general counsel, Bill Solomon, “affirmed that
      formal approval of the extension of the exercise date is not required by the [AFI] Board”). AFI’s consent to
      this delayed conversion was later revoked on January 23, 2009. See Exchange Notice, dated Jan. 23, 2009, at
      ALLY_0031220 [ALLY_0031012].
215   Order Approving Formation of Bank Holding Companies and Notice to Engage in Certain Nonbanking
      Activities, Federal Reserve Board of Governors (Dec. 24, 2008) [EXAM10278872]; see also Section III.H.6
      (for a discussion of AFI’s application for bank holding company status).

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in the form of debt forgiveness.216 In a “non-binding” letter, dated December 31, 2008, AFI
stated that if it subsequently purchased ResCap’s interest in IB Finance, AFI intended to treat
the December 2008 debt forgiveness as a portion of the consideration paid for ResCap’s
interest in IB Finance.217 It appears that ResCap management agreed to this proposal, in part,
because of the fact that it did not obligate ResCap to sell the tracking stock to AFI.218 Despite
this letter, it appears that no such pre-sale contributions were ultimately treated as
consideration for the sale of the remaining IB Finance Class M Shares.219




216   Minutes of a Special Meeting of the Board of GMAC LLC, Dec. 28, 2008, at ALLY_PEO_0001378–79
      [ALLY_PEO_0001009]; Minutes of a Special Meeting of the Board of Residential Capital, LLC, Dec. 29,
      2008, at 1–2 [RC00017379]; see also E-mail from A. Rutter (Nov. 15, 2008) [GSResCap0000198483]
      (“[AFI] will continue to support ResCap because management has received indications from the government
      that BHC and TARP are no-go if ResCap files for bankruptcy.”).
217   Letter from R. Hull to T. Marano (Dec. 31, 2008) [ALLY_0141115]; see also Minutes of a Special Meeting
      of the Board of Residential Capital, LLC, Dec. 29, 2008, at 1–2 [RC00017379]. A similar letter had been sent
      by AFI on September 30, 2008, with respect to a previous capital contribution. See Letter from R. Hull to
      T. Marano (Sept. 30, 2008) [ALLY_0141114].
218   See E-mail from T. Marano (Dec. 30, 2008) [EXAM10289305].
219   See Goldin Associates Presentation to the Committee of Independent Members of the Board of Directors of
      Residential Capital, LLC Regarding the GMAC Bank Transaction with GMAC, LLC, dated Jan. 22, 2009, at
      8 [GOLDIN00129860] (listing as consideration only the $830.5 million in second lien notes and the
      extension of maturity on a $430 million secured credit facility); Memorandum, GMAC Bank Sale &
      Deconsolidation, dated Feb. 3, 2009, at 3 [EXAM00220301] (same); Memorandum, Accounting Impact,
      dated Jan. 13, 2009, at 5 [EXAM12047802] (providing that consideration for the bank sale would be
      “principally in the form of debt contribution from [AFI] to ResCap in January, rather than consideration in
      the form of past capital contributions”); Int. of T. Rowe, Dec. 7, 2012, at 185:9–186:21 (“To bridge the gap
      between ResCap’s need to survive and [those who] felt like there should be consideration for the support that
      was being given . . . we created this type of language and I believe there was a letter signed by Tom Marano
      that said we hereby agree you’re giving us a capital contribution and it needs to be a capital contribution
      because capital is what’s required to be in our covenant and therefore it can’t be contingent or recoverable or
      anything else so that it gets the right accounting treatment and we survive. However we’ll give you credit for
      it in the future when we get around to doing the [IB Finance] trade. . . . Honestly it’s a construct meant to
      keep people happy. Tom gets the capital that he needs. It’s real capital. It’s not contingent upon anything
      else. He signs a commitment saying we promise to give you credit . . . optically to certain members of the
      [AFI] board they felt this was valuable and it gave them more comfort in supporting the transaction.”). But
      see ResCap Support and IB Finance Transaction Presentation, prepared by GMAC, dated Jan. 30, 2009, at
      ALLY_PEO_0002114–15 [ALLY_PEO_0002000] (describing the consideration for this transaction as:
      (1) previous debt forgiveness from September 30, 3008 and December 31, 2008 in the amount of
      approximately $423 million; and (2) current debt forgiveness of approximately $570 million); E-mail from
      T. Hamzehpour (Dec. 30, 2008) [EXAM10281879] (“[T]he debt forgiveness granted in September has now
      been added as a credit toward the purchase price, in addition to the forgiveness [AFI] will provide on
      December 31.”). While there is some conflicting communications about whether the September 2008 and
      December 2008 debt forgiveness was credited toward the sale of IB Finance, the issue is ultimately irrelevant
      because, as discussed in Section V.A.2.d, the Examiner concludes that ResCap received well in excess of
      reasonably equivalent value for the transfer of its remaining interest in IB Finance.

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     On January 23, 2009, the ResCap Board received presentations on the potential IB
Finance sale from both UBS and ResCap management.220 UBS discussed a strategy to market
ResCap’s IB Finance Class M Shares for a sixty-day period following the closing, on the same
or better terms as contained in the proposed agreement with AFI.221 This sixty-day marketing
period, which was eventually incorporated into the sale agreement, provided AFI with a right
to match any third-party buyer offering more than what AFI had paid.222 In the event that a
third party offered a higher purchase price, the sale agreement provided that the third party
would acquire the assets from AFI and AFI would remit the excess purchase price to
ResCap.223 In connection with this effort, UBS “remarked on possible challenges in
successfully marketing the non-voting interest in IB Finance to a third party.”224 It is not clear
whether AFI’s right to match any third party offers presented an additional challenge to the
marketing efforts.225 It should be noted that had ResCap been successful in selling its IB
Finance Class M Shares to a third party before entering into the sale agreement with AFI,
220   Minutes of a Special Meeting of the Board of Residential Capital, LLC, Jan. 23, 2009, at 1–2 [RC00021108].
      It appears that UBS was asked to undertake this evaluation approximately three weeks earlier. See
      Memorandum, UBS Call re GMAC Bank, dated Jan. 7, 2009 [GOLDIN00090358] (“UBS . . . was just
      getting started and had been on the job for less than 24 hours.”); see also E-mail from T. Marano (Jan. 5,
      2009) [UBS-RESCAP-0036534] (“In order to fulfill [Marano’s] fiduciary responsibility and that of my
      [Independent Directors], we would like [UBS] to work on selling [the bank stock].”).
221   GMAC Bank Transaction Term Sheet, Draft, dated Jan. 23, 2009 [RC40011078]; Minutes of a Special
      Meeting of the Board of Residential Capital, LLC, Jan. 23, 2009, at 1–2 [RC00021108] (“Mr. Benett joined
      the discussion and discussed plans to solicit a series of potential third party investors who had been
      previously contacted to determine possible interest in acquiring the Class M shares. Mr. Marano noted that he
      had discussed the solicitation of potential third party investors with [AFI] management. . . . Mr. Van Der
      Knaap said Berkshire Hathaway will be among the parties contacted.”). In his interview, Benett of UBS
      suggested that there was no practical difference between the pre-closing and post-closing marketing efforts.
      See Int. of H. Benett, Mar. 7, 2013, at 89:13–20.
222   See Membership Interest Purchase Agreement, dated Jan. 30, 2009, § 5.4 [ALLY_0031012] (providing that a
      third party had to offer more than the purchase price of $608.5 million, either in cash, FMV of ResCap notes,
      or some combination of the two); Int. of L. Hall, Nov. 29, 2012, at 240:20–241:13, 265:15–19 (“I think
      Corey [Pinkston] and I were pretty big proponents of the after-marketing period that ResCap would have
      available to it. . . . It was just an added layer of ensuring fair value and third-party-type transaction and just
      making sure it was compliant with indentures. . . . We wanted to ensure ResCap got the best value for their
      assets, and if we needed to pay more for [IB Finance], so be it. I think it was just an extra check-the-box to
      make sure that it was a fair transaction.”).
223   See Membership Interest Purchase Agreement, dated Jan. 30, 2009, § 5.4 [ALLY_0031012].
224   Minutes of a Special Meeting of the Board of Residential Capital, LLC, Jan. 23, 2009, at 1 [RC00021108].
      This statement echoed earlier concerns of AFI itself, as expressed at the September 30, 2008 AFI Board
      Meeting. See Agenda and Supporting Materials, GMAC Board of Directors Meeting, Sept. 30, 2008, at
      ALLY_PEO_0003724 [ALLY_PEO_0003715] (“Because of a number of factors, including . . . the non-
      voting nature of ResCap’s ownership, valuation of the bank is somewhat subjective and exposes [AFI] to
      purchase price litigation.”).
225   As a general matter, Benett of UBS suggested in his interview that the post-closing marketing period likely
      would present additional challenges. See Int. of H. Benett, Mar. 7, 2013, at 90:2–8 (“[P]eople’s interest[ ]
      typically goes way down after a deal’s already been struck. So, the likelihood of . . . breaking up a deal that’s
      already been set up and agreed to is very low. Not specific to this case, just general market knowledge.”).

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AFI would not have had any consent or approval right over the third-party buyer under the IB
Finance 2008 LLC Agreement.226 Also on January 23, 2009, ResCap received an “Exchange
Notice” from AFI revoking its offer not to exchange the ResCap Preferred Interests before
February 28, 2009 and informing ResCap that AFI intended to convert such interests as of
January 30, 2009.227

     On January 26, 2009, the Independent Directors received a limited fairness opinion on
the proposed transaction from Goldin Associates.228 The fairness opinion was limited in that it
did not provide an explicit valuation of ResCap’s interest in IB Finance and expressed no
opinion with respect to “the consideration that could actually be received by [ResCap] in an
open market sale of the Interests,” or “whether any alternative transaction might produce
[greater] consideration for [ResCap] . . . .”229 A supplemental fairness letter was delivered by
Goldin Associates on January 30, 2009, confirming its opinion as to the fairness of the
consideration as of that date (subject to the same limited terms).230 Given the express
limitations of the opinion, it seems to provide little real comfort as to the fairness of the
transaction.

     Nonetheless, a majority of the ResCap Board approved the 2009 Bank Transaction on
January 30, 2009, though it does not appear that a formal board meeting was held.231 The
ResCap Board resolutions from that day recite that the Independent Directors “reviewed and
considered the fairness opinion of Goldin Associates” and that the transaction is fair from a
financial point of view and “not materially less favorable to [ResCap] than those that could
reasonably have been obtained in a comparable arm’s length transaction . . . ,” despite Goldin
Associates’ express refusal to opine on what consideration could be obtained in an open
market transaction.232

                    (3) Conversion And Sale

      On January 30, 2009, AFI exercised its option to exchange its ResCap Preferred Interests
into the same number of IB Finance Preferred Interests. Upon conversion of ResCap Preferred
Interests into IB Finance Preferred Interests, the IB Finance Class M Shares held by ResCap
were reduced on a unit-for-unit basis with the ResCap Preferred Interests exchanged.233
226   IB Finance 2008 LLC Agreement, §§ 2.3, 8.5 [GOLDIN00007614].
227   See Exchange Notice, dated Jan. 23, 2009, ALLY_0031220 [ALLY_0031012].
228   See January 26 Goldin Letter, at 1 [RC00027940].
229   Id. at 3–4. But see Int. of E. Smith, Nov. 30, 2012, at 182:20–24 (“I thought that, by [Goldin] saying that the
      transaction was fair to ResCap and its creditors, that they were saying that it was at least in the range of what
      anybody else would pay.”).
230   See January 30 Goldin Letter [RC00027949].
231   Action by Written Consent of the Board of Directors of Residential Capital, LLC, dated Jan. 30, 2009, at
      RC00021956–63 [RC00021956] (Resolutions of the Board of Directors of Residential Capital, LLC).
232   Id. at RC00021963–64 (Resolutions of the Board of Directors of Residential Capital, LLC).
233   IB Finance 2008 LLC Agreement, § 2.6 [GOLDIN00007614].

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Accordingly, the exchange of 806,344 ResCap Preferred Interests for IB Finance Preferred
Interests reduced ResCap’s two million IB Finance Class M Shares by 806,344, leaving
ResCap with 1,193,656 IB Finance Class M Shares.

     Immediately following the exchange of ResCap Preferred Interests, ResCap sold its
remaining 1,193,656 IB Finance Class M Shares to AFI.234 As consideration for the IB
Finance Class M Shares, AFI contributed to ResCap Senior Secured Notes of ResCap’s that
AFI had previously acquired in a December 2008 exchange offer.235 ResCap’s and AFI’s
professionals determined at the time that these notes had a face amount of approximately
$830.5 million and a market value of approximately $608,522,330.63.236 Following this
transfer, AFI directly owned all of the equity interest in IB Finance and thus, indirectly, all of
the equity interest in Ally Bank.237 Simultaneously with the 2009 Bank Transaction described
above, AFI provided a sixty-day extension of the maturity date of the Initial Line of Credit
Facility, a short-term $430 million revolving credit facility with AFI as lender to two of
ResCap’s indirect subsidiaries.238

    On March 23, 2009, UBS reported to the ResCap Board that “no serious interest to
acquire the tracking stock was expressed from the hedge funds and private equity firms that
were solicited.”239 Although UBS suggested in its solicitations to third parties that the
234   Membership Interest Purchase Agreement, dated Jan. 30, 2009, at 1–2 [ALLY_0031012].
235   Residential Capital, LLC, Current Report (Form 8-K) (Feb. 3, 2009), Item 1.01, at 1; see also Certificate of
      Forgiveness of Indebtedness of Residential Capital, LLC, dated Jan. 30, 2009 [ALLY_0031012].
236   The market value of this transaction was determined based on the average of two price quotations obtained
      by ResCap and AFI from independent broker-dealers. See E-mail from E. Graber (Jan. 29, 2009)
      [GOLDIN00133022] (providing that prior to Goldin Associates releasing its opinion, Goldin Associates
      “would like to know the price for the bonds that results from . . . UBS and Goldman Sachs [obtaining]
      midpoints for the bid/ask quotes for the bonds”); Valuation Methods for Debt Forgiveness [UBS-RESCAP-
      0063993] (attached to E-mail from M. Monson (Jan. 28, 2009) [UBS-RESCAP-0063992]); E-mail from
      Goldman Sachs (Jan. 30, 2009) [GSResCap0000241578]; E-mail from B. Conway (Jan. 29, 2009)
      [CCM00651618] (providing information as to valuation). ResCap later extinguished the $830.5 million face
      amount of the Second Lien Notes.
237   AFI’s ownership was as follows 2,000,000 IB Finance Class A Shares, 806,344 IB Finance Class M
      Preferred Shares, and 1,193,656 IB Finance Class M Shares.
238   See Membership Interest Purchase Agreement, dated Jan. 30, 2009, at 1 [ALLY_0031012]. An early term
      sheet listed this extension as part of the consideration that ResCap would receive for its IB Finance Class M
      Shares, but the extension was referred to merely as a “Simultaneous Transaction” in subsequent term sheets
      and excluded as consideration from the final purchase agreement. See Draft GMAC Bank Transaction Term
      Sheet, dated Jan. 13, 2009, at 1 [GOLDIN00126222]; Draft GMAC Bank Transaction Term Sheet, dated
      Jan. 23, 2009, at RC40011107 [RC40011078]; Membership Interest Purchase Agreement, dated Jan. 30,
      2009, § 2.2 [ALLY_0031012]. For additional information on the Initial Line of Credit Facility, see Section
      V.E.5.
239   Minutes of a Special Meeting of the Board of Residential Capital, LLC, Mar. 23, 2009, at RC40006091–92
      [RC40005949]; see also E-mail from H. Benett (Jan. 27, 2009) [UBS-RESCAP-0064068] (indicating that
      UBS contacted several hedge funds and investment firms including CVC, Blackstone, and Warburg Pincus,
      among others); Letter from UBS to T. Marano [EXAM00220064]; Int. of H. Benett, Mar. 7, 2013,
      at 23:10–22 (“We made a series of phone calls. Interest came back as zero.”).

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structure of the security could be altered to add voting rights,240 it seems that the non-voting
aspect of ResCap’s interest represented a substantial barrier to marketability.241
                    (4) Value Of Exchange242
     In order to assess reasonably equivalent value for the 2009 Bank Transaction, the
Examiner’s Financial Advisors estimated the value transferred from ResCap as well as the
consideration received by ResCap. The value transferred from ResCap consisted of
(1) ResCap’s remaining IB Finance Class M Shares; and (2) the right to redeem the IB
Finance Preferred Interests at redemption value. The consideration received by ResCap
consisted of certain bonds contributed by AFI.
      To value the remaining IB Finance Class M Shares, the Examiner’s Financial Advisors
valued the total equity of the Mortgage Bank (before deducting the value of the IB Finance
Preferred Interests) giving consideration to three traditional and commonly used approaches to
estimating FMV: (1) the Market Approach, using public stock prices for comparable
institutions; (2) the Income Approach; and (3) the Asset-Based Approach. From the total
equity value of the Mortgage Bank, the Examiner’s Financial Advisors then subtracted their
estimate of the value of the IB Finance Preferred Interests, calculated based on a capitalization
of annual dividends approach, with capitalization rates determined by benchmark preferred
yields. The Examiner’s Financial Advisors made further adjustments to value to reflect the
tracking stock nature of the interests as well as the form of ownership (including lack of
marketability, lack of control, and lack of voting rights). The Examiner concludes that in
January 2009, the value of ResCap’s remaining IB Finance Class M Shares was approximately
between $107–218 million. The Examiner attributed no material value to the right to redeem
240   Draft UBS GMAC Bank Tracking Stock Overview Presentation, dated Jan. 2009, at 3 [UBS-RESCAP-
      0064039] (“This security may not have the precise terms to make it an attractive investment, however there
      may be flexibility to amend the terms if this entity is attractive to an investor: add voting rights; restructure
      profit rights (e.g., share in profits of entire bank).”); Int. of H. Benett, Mar. 7, 2013, at 86:15–87:20 (“[Q:] Do
      you recall conversations about changing the interest? [A:] No . . . these would’ve simply been discussion
      points, particularly for members of the company. . . . when you have a nonvoting stock, the easiest option to
      consider would be putting voting rights on a nonvoting stock.”).
241   Int. of T. Marano, Nov. 26, 2012, at 38:9–39:11 (“The challenge with this transaction was that you were
      actually not buying into a whole bank. You were selling a 51% interest with non-voting shares in a loan
      portfolio that . . . was hemorrhaging hundreds of millions of dollars a year. So after marketing it to several
      institutions, I recall the general consensus was, ‘You’d have to pay us to take this thing because it has no
      voting rights and it keeps losing money. And by the way, we’re not used to buying companies where we
      can’t . . . control . . . our interests in the bank.’ . . . And by the end of a couple weeks, I’m kind of saying,
      ‘Well, I’ve now worn out a lot of shoe leather up and down Park Avenue and 6th Avenue. And I sort of
      understand why people don’t really want to buy this thing.’”); Int. of H. Benett, Mar. 7, 2013, at 78:20–79:1
      (“I don’t recall any specific conversations, but I’m sure we would have given them advice that non-voting
      stock is going to be harder to sell as of than this type of voting, as well as selling a minority interest would be
      difficult versus selling a controlling interest . . . .”). Additionally, while certain UBS marketing materials
      incorrectly stated that “[a]ll of the voting shares of [Ally] Bank are owned by General Motors,” there is no
      evidence to suggest that this mistake had a material impact on UBS’s attempts to solicit third party
      purchasers. See UBS GMAC Bank Tracking Stock Overview Presentation, dated Jan. 2009, at 2 [UBS-
      RESCAP-0064024]; E-mail from M. Monson (Jan. 27, 2009) [UBS-RESCAP-0064068].
242   This Section provides a summary of the more detailed analysis contained in Section V.A.2.d.

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the IB Finance Preferred Interests at the redemption value, given that the estimated value of
the units as of January 2009 was significantly lower than the redemption value.

     The Examiner’s Financial Advisors estimated the value of the bonds contributed by AFI
by referencing available price quotations proximate to the date of the transaction, plus accrued
interest. The Examiner’s Financial Advisors estimated that the value of the bonds contributed
was approximately $600 million.

     Thus, the Examiner concludes that the consideration received by ResCap was greater
than the value transferred from ResCap in connection with the 2009 Bank Transaction. A
more detailed analysis of these valuations is contained in Section V.A.2.d. Additionally, a
summary of these findings is presented in Appendix V.A.2.d.

               (5) Causes Of Action Implicated By The 2009 Bank Transaction

     The Examiner believes that the only causes of action implicated by the 2009 Bank
Transaction would be avoidance actions. An analysis of these claims is provided in Section
VII.F.

   2. Ally Bank Transactions: Reasonably Equivalent Value

           a. Ally Bank Transactions – Overview Of Issues

     The Examiner evaluated whether ResCap received less than reasonably equivalent value
in connection with the Ally Bank Transactions, which consist of three separate transactions:
(1) the 2006 Bank Restructuring; (2) the 2008 Bank Transaction; and (3) the 2009 Bank
Transaction. Each of the Ally Bank Transactions is described in detail in Section V.A.1 of the
Report. The Examiner addressed three fundamental questions regarding reasonably equivalent
value as it relates to the Ally Bank Transactions:

               (1) What was the form and value of the property transferred by ResCap?

               (2) Did ResCap receive value in exchange for the property transferred, and, if
                   so, in what form and amount?

               (3) Was the value received by ResCap reasonably equivalent in exchange for
                   the property transferred?

     Reasonably equivalent value compares the property transferred from a debtor with the
value actually received by the debtor. Reasonably equivalent value is not susceptible to simple
formulation; rather, an analysis of reasonably equivalent value begins with a range of values.
Moreover, an assessment of reasonably equivalent value is guided by its purpose—to protect
against the unjust diminution of the bankruptcy estate. Reasonably equivalent value may not
be synonymous with Fair Market Value, although the latter may be an important factor in
determining whether a debtor received reasonably equivalent value. Ultimately, an assessment


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of reasonably equivalent value requires a consideration of the totality of the circumstances in
addition to a value comparison, including earmarks of an arm’s-length transaction, good faith,
and the degree of difference between the market value of property transferred and the value
actually received by the debtor.

      For each of the Ally Bank Transactions, the Examiner’s Financial Advisors employed
traditional and commonly used valuation methods to assess the value ResCap transferred and
received. Appendix V.A.2.a provides a summary of the value determinations for each of the
Ally Bank Transactions.243

     The Examiner’s Financial Advisors assessed the value of Old GMAC Bank and the IB
Finance Class M Shares using a Fair Market Value standard. For the case at hand, a going
concern premise of value reflects the highest and best use of the assets in place. A going
concern premise reflects the value of a business expected to continue to operate into the
future. The liquidation premise of value was considered and rejected as not applicable. There
was no evidence that liquidation of Old GMAC Bank or Ally Bank would have been
considered imminent at the time of any of the Ally Bank Transactions or would have resulted
in the highest and best use of the assets.244

     In Section V.A.2, Old GMAC Bank (prior to the 2006 Bank Restructuring) and the
mortgage division of Ally Bank (after the 2006 Bank Restructuring) will, at times, be referred
to as the “Mortgage Bank” when discussing the methodology and assumptions that apply to
the valuation of Old GMAC Bank and the IB Finance Class M Shares, respectively. For the
2006 Bank Restructuring, a valuation of the Mortgage Bank is used in determining the value
of what was transferred from ResCap—Old GMAC Bank—and what ResCap received—IB
Finance Class M Shares.

      The Examiner concludes that the evidence supports the proposition that ResCap did not
receive reasonably equivalent value in the 2006 Bank Restructuring. The Examiner concludes
that the evidence supports the proposition that ResCap received reasonably equivalent value in
the 2008 Bank Transaction and the 2009 Bank Transaction.

     Appendix V.A.2.a presents summary financial information for the Mortgage Bank over
the period from 2003 through 2008.245 Appendix V.A.2.a shows loan performance and
delinquency trends of the Mortgage Bank.246




243   Appendix V.A.2.a, at 1.
244   For further discussion of the standard and premise of value, including definitions, see Section VI.B.2.a and
      Section VI.B.2.b, respectively.
245   Appendix V.A.2.a, at 2–3.
246   Appendix V.A.2.a, at 4.

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               b. 2006 Bank Restructuring Overview

     When the assets of Old GMAC Bank were transferred to Ally Bank, ResCap received IB
Finance Class M Shares. The transferred assets became the mortgage division of Ally Bank247
with a “tracking stock” structure.248 Under that structure, ResCap’s IB Finance Class M Shares
gave ResCap an interest in the financial performance of Ally Bank’s mortgage division, but the
assets of the mortgage division were wholly owned by IB Finance and its subsidiary, Ally
Bank.249

     For the 2006 Bank Restructuring, the Examiner’s Financial Advisors estimated the value
of the following:

        Value Transferred from ResCap

        • Controlling interest in 100% of the equity of Old GMAC Bank;

        • $360 million in cash and debt contributed by ResCap to IB Finance;

        Value Received by ResCap

        • IB Finance Class M Shares; and

        • Value of a de-linked credit rating (an indirect benefit of the 2006 Bank Restructuring).

Appendix V.A.2.b presents a summary of value determinations for the 2006 Bank
Restructuring.250

     Because the IB Finance Class M Shares provided ResCap with the economic benefits of
substantially all of the assets of Old GMAC Bank through a tracking stock structure, the
analysis in this Report used the same approach and assumptions in valuing both assets—Old




247   Residential Capital, LLC, Current Report (Form 8-K) (Nov. 27, 2006).
248   See B. Espen Eckbo & Karin S. Thorburn, Corporate Restructuring: Breakups and LBOs 29 (Tuck Sch. of
      Bus. Working Paper No. 2008-49, 2008), http://papers.ssrn.com/sol3/papers.cfm?abstract_id=1133153.
      (“Tracking stock—also called targeted stock or letter stock—is a separate class of parent company common
      stock whose dividends track the performance of a given division. That is, the holders of the tracking stock are
      entitled to the cash flow generated by this division, hence determining the value of the stock.”); Matthew
      T. Billet & Anand M.Vijh, The Wealth Effects of Tracking Stock Restructurings, 27 J. FIN. RESEARCH 559,
      559–83 (2004) (“Tracking stocks are newly issued stocks created by distributing a nontaxable stock dividend
      to existing shareholders . . . [a] tracking stock is an equity claim intended to reflect the performance of a
      certain division of a multidivisional firm . . . .”).
249   Equity Purchase Agreement, dated Nov. 20, 2006, § 1.A [CERB001530].
250   Appendix V.A.2.b, at 1.

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GMAC Bank and the IB Finance Class M Shares—making appropriate adjustments to reflect
differences in the value arising from the different form of ownership, including marketability
and control.251

    The Examiner’s Financial Advisors considered traditional and commonly used
approaches to estimating the Fair Market Value of the interests:

        • The Market Approach using guideline financial institutions and considering both the
          Guideline Publicly Traded Company Method and the Guideline M&A Method;

        • The Income Approach using the DCF Method; and

        • The Asset-Based Approach using the Adjusted Book Value Method.

                       (1) Market Approach – Guideline Publicly Traded Company Method

     The Guideline Publicly Traded Company Method provides an indication of the Fair
Market Value of a business by developing valuation multiples based on prices at which
securities of similar companies trade in a public market.252 These market-based multiples are
then applied to the operating results of the subject business, resulting in an estimate of the Fair
Market Value of the invested capital or equity (depending on the nature of the multiple
applied) on a marketable, minority basis. A premium for control, if applicable, is then applied
to the equity to indicate the Fair Market Value of the equity of the subject business on a
marketable, controlling basis.253 The Fair Market Value of debt is then added to derive the
Market Value of Invested Capital.

                          (a) Selection Of Guideline Companies

     The first step in the application of this methodology is the selection of guideline publicly
traded companies. The Examiner’s Financial Advisors selected a group of companies with
similar characteristics that provide a meaningful basis for comparison to the Mortgage Bank.
Appendix V.A.2.b presents a brief description of each guideline company.254 Appendix
V.A.2.b presents various financial ratios for the guideline companies compared to the
Mortgage Bank.255


251   In addition to the assets transferred to Ally Bank, approximately $13 million in net assets remained with Old
      GMAC Bank, which was transferred via dividend to GM along with Old GMAC Bank’s Federal Savings
      Bank charter. The Examiner’s Financial Advisors treated this amount as immaterial to its analysis and made
      no adjustment for it in its calculations.
252   SHANNON P. PRATT WITH ALINA V. NICULITA, VALUING A BUSINESS: THE ANALYSIS AND APPRAISAL OF
      CLOSELY HELD COMPANIES 265 (5th ed. 2008).
253   Id. at 265–69.
254   Appendix V.A.2.b, at 5–7.
255   Appendix V.A.2.b, at 3–4.

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                           (i) Guideline Companies Selection Criteria

      The selected set of guideline companies consisted of large financial institutions whose
principal subsidiary operated as either a federal savings bank or a state-chartered thrift
institution. The Examiner’s Financial Advisors identified the selected set of guideline
companies by querying the Capital IQ database for companies with the following
characteristics:

        • Operating primarily in Standard Industrial Classifications 6035 (Savings Institutions,
          Federally Chartered) or 6036 (Savings Institutions, Not Federally Chartered);

        • Total assets greater than $5 billion; and

        • Residential mortgage loans greater than 50% of total loans.

This process identified thirteen guideline companies for consideration.

                           (ii) Comparison With Guideline Companies

     The Mortgage Bank was exposed to greater risk in its operations than many of the
publicly traded guideline companies considered in this analysis. Areas of greater risk
included:

        • Lending Standards: Most of the guideline companies held relatively high quality loan
          portfolios. The majority of the Mortgage Bank’s HFI Portfolio was comprised of
          interest-only loans.256 The Mortgage Bank also engaged in Alt-A lending, including
          interest-only Alt-A.257 The HFI Portfolio also included loans originally issued with
          limited documentation, high DTI levels, high LTV ratios, and/or low credit scores,
          particularly in the home equity products.258 These loans gave the Mortgage Bank
          significant exposure in the event of a downturn in the economy or a decline in home
          values.

        • Age and Location: As a result of rapid growth in lending activities, the Mortgage
          Bank’s portfolio was heavily weighted by loans originated after 2004.259 This gave the
          Mortgage Bank significant exposure to loans made near the peak of the real estate
          market (circa mid-to-late 2006). The Mortgage Bank’s geographic concentrations
          included states that experienced rapid increases in housing prices during the real
256   For example, as of April 30, 2007 approximately 81% of the HFI first mortgage portfolio was comprised of
      interest-only loans. See GMAC Bank Mortgage Operation Credit Review, dated Apr. 30, 2007, at
      EXAM11415745 [EXAM11415741].
257   See id. For example, as of April 30, 2007, approximately 20% of the HFI first mortgage portfolio was
      comprised of Alt-A loans, most of which were interest only. See id.
258   See GMAC Bank Mortgage Division Credit Review Monthly Executive Summary, dated Dec. 31, 2008, at
      4–5 [EXAM11629614].
259   See id. at 6.

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            estate boom. Approximately 23% of the Mortgage Bank’s residential mortgage
            portfolio was concentrated in California as of the end of 2006,260 with significant
            exposure in other high-appreciation states including Virginia, Florida, and Arizona.261
            Approximately 7% of its portfolio was in Michigan,262 which was expected to
            experience high subprime default rates.263 By December 2006, housing prices were
            expected to decline in most of metropolitan areas in which the Mortgage Bank had
            substantial exposure.264 The guideline companies generally had longer histories with
            less exposure to loans issued during the recent run-up in real estate prices, and
            included a number of regional banks operating in more stable markets such as New
            England and Kansas.

        • Funding Base: The Mortgage Bank operated without a branch banking network and
          relied on funding primarily through advances from the FHLB; brokered deposits also
          contributed a large share of funding.265 The guideline companies generally had
          networks of branch banking offices, providing them with a more stable base of retail
          deposits characterized by long-term customer relationships and lower interest rates,
          though maintaining a branch network adds to operating costs.266

                        (b) Calculation Of Market Multiples

     The Guideline Publicly Traded Company Method entails the calculation of valuation
multiples based on those of publicly traded guideline companies that are then applied to a
subject company’s relevant metrics. The Examiner’s Financial Advisors calculated ratios of
MVE to several historical and projected metrics. The Examiner’s Financial Advisors relied on
three commonly used valuation multiples in its analysis:

        • Ratio of MVE to tangible book value of equity (the P/TBVE multiple);

        • Ratio of MVE to last twelve months’ earnings (the LTM P/E multiple); and

        • Ratio of MVE to projected earnings for the current or upcoming year (the Forward
          P/E multiple).
260   See GMAC Bank Consolidated Financial Statements as of December 31, 2006 and Independent Auditors’
      Report, dated Mar. 27, 2007, at 20 [RC00035095].
261   See GMAC Bank Mortgage Operation Credit Review, dated Apr. 30, 2007, at EXAM11415747
      [EXAM11415741].
262   See id.
263   See, e.g., Ron Nixon, Study Predicts Foreclosure for 1 in 5 Subprime Loans, N.Y. TIMES (Dec. 20, 2006),
      http://www.nytimes.com/2006/12/20/business/20home.html?_r=0.
264   See GMAC Bank Mortgage Operation Credit Review, dated Apr. 30, 2007, at EXAM11415748
      [EXAM11415741] (citing December 2006 forecasts by Economy.com).
265   See Board of Director Meeting: 2007 Business Plan Review, dated Jan. 25, 2007, at ALLY_PEO_0006858
      [ALLY_PEO_0006664].
266   See Appendix V.A.2.b, at 5–7 (providing descriptions of the guideline companies).

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These ratios measure the value of equity (common stock outstanding multiplied by the price
per share) as a multiple of either book value or net income. TBVE was used rather than NBV
to place the guideline companies—several of which had goodwill on their balance sheets—on
a similar basis to the Mortgage Bank, which had no goodwill on its balance sheet.

                        (c) Selecting Appropriate Multiples

     As discussed above, the Mortgage Bank had a riskier business model, resulting in a
poorer financial condition than many of the guideline companies. Analysis of the guideline
companies showed that companies with riskier business models generally had lower multiples
in 2006 than companies with less risky business models.267 Accordingly, the Examiner’s
Financial Advisors selected market multiples below the average of the guideline companies to
adjust for differences in relative risk profiles of the Mortgage Bank and the guideline
companies taken as a whole.

                        (d) Control Premium

     A control premium is an amount by which the pro rata value of a controlling interest
exceeds the pro rata value of a non-controlling interest in a business enterprise. This premium
or upward adjustment in value reflects the right and power of control, a property interest.268
The Guideline Publicly Traded Company Method derives value indications from trading
prices of minority equity interests in a liquid market and indicates value on a marketable,
minority basis. A control premium is then applied, when warranted, to estimate the value of
equity on a controlling basis.269

      The Examiner’s Financial Advisors gave consideration to premiums paid for controlling
interests for similar companies during 2006 in determining an appropriate control premium for
a 100% equity interest in the Mortgage Bank. The Examiner’s Financial Advisors compiled
data on premiums paid in control transactions involving targets primarily operating as savings
institutions (Standard Industrial Classifications 6035 and 6036) as reported in the Mergerstat
Control Premium Study.270 The median premium for these companies was 29.6% in 2006.271
The Examiner’s Financial Advisors noted that for a broader group (financial services),
Mergerstat reported a median premium of 19.6% during 2006,272 while across all industries
the median premium was 20.6%.273 Premiums paid for the five companies considered in the
267   See Appendix V.A.2.b, at 3–4 (providing ratio analyses of the guideline companies); Appendix V.A.2.b, at
      5–7 (providing additional descriptions of the guideline companies). Guideline companies with heavy
      concentrations in subprime, Alt-A, or non-traditional mortgage products such as option ARMs include
      BankUnited Financial Corp., Downey Financial Corp., and FirstFed Financial Corp.
268   SHANNON P. PRATT, BUSINESS VALUATION: DISCOUNTS AND PREMIUMS 16, 32 (2d ed. 2009).
269   Id. at 5.
270   See MERGERSTAT, CONTROL PREMIUM STUDY: 4TH QUARTER 2006, at 17–19.
271   See id. at 18.
272   See id. at 17.
273   See id. at 5.

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Guideline M&A Method discussed below ranged from 10% to 33%. Observed premiums
include payment for synergies and tend to overstate the value of control per se. Accordingly,
the Examiner’s Financial Advisors applied a 10% control premium in this analysis. Appendix
V.A.2.b provides a summary of data on control premiums.274

                       (e) Guideline Publicly Traded Company Method: Conclusion

     Based on the application of the Guideline Publicly Traded Company Method, the
indicated range of total equity value of Old GMAC Bank on a marketable, controlling basis
before adjustments is estimated to be approximately $1.69 billion to $2.13 billion as of
November 22, 2006. Appendix V.A.2.b provides a summary of the Guideline Publicly Traded
Company Method conclusion.275

                   (2) Market Approach – Guideline M&A Method

     The Guideline M&A Method estimates the Fair Market Value of a business based on
exchange prices in actual transactions for controlling interests in similar companies.276 This
process involves comparison and correlation of the subject business with similar companies
acquired within a reasonable time of the valuation date. Considerations such as location, time
of sale, operating characteristics, and conditions of sale are analyzed for the guideline
companies. This variation of the Market Approach results in an indicated Fair Market Value
of the subject business on a marketable, controlling basis.277

                       (a) Selection Of Guideline Merged And Acquired Companies

     The first step in the application of this methodology is the selection of guideline
transactions involving similar companies. Selected guideline merged and acquired companies
were identified by querying the Capital IQ database for acquisitions involving target
companies whose primary operating subsidiaries included federal savings banks or state-
chartered thrift institutions with assets greater than $5 billion.

                       (b) Calculation Of Multiples

     The Guideline M&A Method involves the calculation of valuation multiples based on
those of the guideline merged and acquired companies that are then applied to the Mortgage
Bank’s operating results in a similar manner as the previously described Guideline Publicly
Traded Company Method. The primary difference is that a control premium is generally not
applied in the Guideline M&A Method because the observed transactions are typically for
controlling interests. The analysis in this Report relied on the P/TBVE multiple and the LTM
P/E multiple.
274   Appendix V.A.2.b, at 9.
275   Appendix V.A.2.b, at 2.
276   See JAMES R. HITCHNER, FINANCIAL VALUATION: APPLICATIONS AND MODELS 259 (3d ed. 2011).
277   See id.

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                       (c) Selecting Appropriate Multiples

     The Examiner’s Financial Advisors generally focused on multiples at the lower end of
the indicated range, because of the relatively higher risk associated with the operations of the
Mortgage Bank as compared to the guideline companies.

                       (d) Guideline M&A Method: Conclusion

     Based on the application of the Guideline M&A Method, the indicated range of total
equity value of Old GMAC Bank on a marketable, controlling basis before adjustments is
estimated to be approximately $2.69 billion to $2.85 billion as of November 22, 2006.
Appendix V.A.2.b presents detail of the Guideline M&A Method conclusion.278

                   (3) Income Approach – DCF Method

     The Income Approach indicates the Fair Market Value of a business based on the value
of the cash flows the business can be expected to generate in the future.279 This analysis is
commonly performed using the DCF Method, which discounts a projection of a company’s
future cash flows to present value at an appropriate discount rate.280 Typically, the DCF
Method has three basic components: (1) an estimation of projected net cash flows the firm will
generate over a relevant and discrete period; (2) a terminal or residual value equal to the future
value, as of the end of the projection period, of the firm’s net cash flows beyond the projection
period; and (3) a cost of capital with which to discount to a present value both the projected
net cash flows and an estimated terminal or residual value.281

     As applied to financial institutions, this method is commonly formulated as the value of
future cash flows to equity holders and that approach is adopted here.282 Since the projections
here do not contemplate distributions during the forecast horizon, this approach becomes a
quantification of dividend paying capacity in the residual period, net of the present value of
any projected or required capital contributions.




278   Appendix V.A.2.b, at 11–12.
279   SHANNON P. PRATT WITH ALINA V. NICULITA, VALUING A BUSINESS: THE ANALYSIS AND APPRAISAL OF
      CLOSELY HELD COMPANIES 175–76 (5th ed. 2008).
280   See, e.g., MFS/Sun Life Trust-High Yield Series v. Van Dusen Airport Servs. Co., 910 F. Supp. 913, 925
      (S.D.N.Y. 1995); see also SHANNON P. PRATT WITH ALINA V. NICULITA, VALUING A BUSINESS: THE
      ANALYSIS AND APPRAISAL OF CLOSELY HELD COMPANIES 174–76 (5th ed. 2008).
281   See id.
282   See generally TIM KOLLER ET AL., VALUATION: MEASURING AND MANAGING THE VALUE OF COMPANIES
      745 (5th ed. 2010); ASWATH DAMODARAN, INVESTMENT VALUATION: TOOLS AND TECHNIQUES FOR
      DETERMINING THE VALUE OF ANY ASSET 579 (2d ed. 2002).

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                         (a) Estimation Of Discount Rate

     When applying the Income Approach, the cash flows a business expects to generate are
discounted to their present value equivalent using a rate of return that reflects the relative risk
of the investment and the time value of money.283 The Examiner’s Financial Advisors used the
MCAPM to determine the required return on equity. The CAPM estimates the rate of return
on common equity as the current risk-free rate of return on U.S. Treasury bonds, plus a market
risk premium expected over the risk-free rate of return, multiplied by the “beta” for the
stock.284 Beta is a risk measure that reflects the sensitivity of a company’s stock return to the
changes in returns for the stock market as a whole.285 The MCAPM adjusts the CAPM with a
“Size Premium” to correct for a historical tendency of the CAPM to underestimate rates of
return for small and mid-cap companies, and a “Company-Specific Adjustment” to account
for risk factors not accounted for elsewhere in the analysis.286 The assumptions used in this
calculation are:

         •    Risk-Free Rate: The risk-free rate is based on the yield on 20-Year U.S. Treasury
              bonds as of November 22, 2006.

         •    Beta: This analysis used predicted betas for the guideline publicly traded companies
              published by MSCI Barra.287 The Examiner’s Financial Advisors also considered
              historical betas, but determined that the predicted betas better reflected changes in
              the industry during the relevant time period not adequately captured by the historical
              betas. The Examiner’s Financial Advisors considered the risk and financial
              condition of the Mortgage Bank relative to the guideline companies. As discussed in
              the section on the Market Approach, the Examiner’s Financial Advisors determined
              that the Mortgage Bank exhibited above-average risk, and accordingly selected
              betas from approximately the 75th percentile of the guideline company betas.
              Appendix V.A.2.b presents betas for the guideline companies.288




283   See SHANNON P. PRATT & ROGER J. GRABOWSKI, COST OF CAPITAL: APPLICATIONS AND EXAMPLES 6
      (4th ed. 2010).
284   Id. at 106.
285   See id. at 107.
286   Id. at 110.
287   See Section V.A.2.b(1)(a) (providing a more detailed discussion of the selection of guideline companies).
288   Appendix V.A.2.b, at 4.

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         •    Market Risk Premium: The Examiner’s Financial Advisors considered a variety of
              historical and forward-looking sources for the market risk premium in their analyses
              of the Ally Bank Transactions.289 The Examiner’s Financial Advisors used a market
              risk premium judged as representative of the consensus of alternative sources as of
              the relevant dates (5.0% for the 2006 Bank Restructuring and 6.5% for the 2009
              Bank Transaction).290
         •    Size Premium: Historical evidence indicates that rates of return vary with the size of
              a company in a manner not fully captured by the CAPM.291 The MCAPM rate of
              return is adjusted by a premium that reflects the increased risk (or premium over
              CAPM) for an investment in a company that is of a size similar to that of the
              Mortgage Bank.292 This premium is derived from historical differences in returns
              between small companies and large companies using data published by Ibbotson
              Associates.293 The Examiner’s Financial Advisors determined a premium consistent
              with the size of the Mortgage Bank.294
         •    Company-Specific Adjustment: This adjustment may be upward or downward,
              depending on how the risks of the subject company compare to the risks of the
              guideline companies used in the analysis, as well as the risks of the companies that
              comprise the general market indices used in the analysis of the discount rate.295 The

289   See, e.g., IBBOTSON ASSOCIATES, SBBI: VALUATION EDITION 2006 YEARBOOK (2006); MORNINGSTAR,
      INC., SBBI: VALUATION EDITION 2007 YEARBOOK (2007); MORNINGSTAR, INC., IBBOTSON SBBI: 2008
      VALUATION YEARBOOK (2008); MORNINGSTAR, INC., IBBOTSON SBBI: 2009 VALUATION YEARBOOK
      (2009); BLOOMBERG L.P., COUNTRY RISK PREMIUM FOR UNITED STATES, Sept. 30, 2006–Mar. 31, 2009;
      BRADFORD CORNELL, THE EQUITY RISK PREMIUM: THE LONG-RUN FUTURE OF THE STOCK MARKET 201–
      02 (1999); SHANNON P. PRATT & ROGER J. GRABOWSKI, COST OF CAPITAL: APPLICATIONS AND EXAMPLES
      89–113 (3d ed. 2008); SHANNON P. PRATT & ROGER J. GRABOWSKI, COST OF CAPITAL: APPLICATIONS AND
      EXAMPLES 117–45 (4th ed. 2010); TIM KOLLER ET AL., VALUATION: MEASURING AND MANAGING THE
      VALUE OF COMPANIES 297–306 (4th ed. 2005); TIM KOLLER ET AL., VALUATION: MEASURING AND
      MANAGING THE VALUE OF COMPANIES 238–45 (5th ed. 2010); PABLO FERNANDEZ, MARKET RISK
      PREMIUM USED IN 2008 BY PROFESSORS: A SURVEY WITH 1,400 ANSWERS (Apr. 16, 2009),
      http://papers.ssrn.com/sol3/papers.cfm?abstract_id=1344209; DUFF & PHELPS LLC, RISK PREMIUM REPORT
      (2012), http://www.duffandphelps.com/SiteCollectionDocuments/Reports/2012%20Risk%20Premium%20
      Report% 20EXCERPT%20(DP).pdf.
290   The calculation of a Market Risk Premium was not applicable for the 2008 Bank Transaction.
291   IBBOTSON ASSOCIATES, SBBI: VALUATION EDITION 2006 YEARBOOK 136 (2006).
292   SHANNON P. PRATT & ROGER J. GRABOWSKI, COST OF CAPITAL: APPLICATIONS AND EXAMPLES 110 (4th
      ed. 2010).
293   IBBOTSON ASSOCIATES, SBBI: VALUATION EDITION 2006 YEARBOOK 137 (2006).
294   The Examiner’s Financial Advisors also considered small stock premium data published by Duff & Phelps,
      but elected not to use this data because it excludes financial institutions in its derivation. See DUFF & PHELPS
      LLC, RISK PREMIUM REPORT (2012), http://www.duffandphelps.com/SiteCollectionDocuments/Reports/
      2012%20Risk%20 Premium%20Report%20EXCERPT%20(DP).pdf.
295   SHANNON P. PRATT & ROGER J. GRABOWSKI, COST OF CAPITAL: APPLICATIONS AND EXAMPLES 110 (4th
      ed. 2010).

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             Examiner’s Financial Advisors concluded no adjustment for company-specific risk
             was necessary given the other adjustments made in this analysis.

Appendix V.A.2.b presents details of the calculation of the discount rate for the 2006 Bank
Restructuring.296

                       (b) Present Value Of Future Cash Flows

     The Examiner’s Financial Advisors estimated the Fair Market Value of the equity of the
Mortgage Bank using the DCF Method. The Examiner’s Financial Advisors used projections
prepared by Ally Bank management for the Mortgage Bank around the time of the
transaction297 as the basis for calculating projected cash flows to equity holders.298

     The DCF Method was based on a one-year business plan presented to the board of
directors of Ally Bank on January 25, 2007.299 The business plan contained projections for the
Mortgage Bank, including a projected balance sheet and income statement. These projections
were provided by management approximately two months after the 2006 Bank Restructuring.
The projections were based on financial information reasonably available at the time of the
2006 Bank Restructuring and provided evidence of reasonably foreseeable financial
performance at that date.

                       (c) Calculation Of Residual Value

     The present value of the residual represents the amount an investor would pay today for
the expected cash flows of the business for years subsequent to the discrete projection period.
In calculating the residual value, the Examiner’s Financial Advisors estimated a normalized
cash flow to equity holders for the residual period. Changes in assets and liabilities were
normalized to match the assumed long-term growth rate. Normalized cash flows were then
capitalized using a rate calculated by subtracting the residual growth rate from the overall
required return on equity estimated previously. The present value factor from the last year of
the forecast horizon was then applied to estimate the present value of the residual cash flows.
The present value of the residual and the sum of the present value of available cash flows for
the discrete projection period were then summed to arrive at the indicated value of equity on a
marketable, controlling basis.



296   Appendix V.A.2.b, at 14.
297   Board of Director Meeting: 2007 Business Plan Review, dated Jan. 25, 2007, at ALLY_PEO_0006858–59
      [ALLY_PEO_0006664].
298   The Examiner’s Financial Advisors estimated cash flows to equity holders using the following formula:
      Projected Net Income – Projected Increase in Stockholders’ Equity = Estimated Cash Flows to Equity
      Holders.
299   Board of Director Meeting: 2007 Business Plan Review, dated Jan. 25, 2007, at ALLY_PEO_0006858–59
      [ALLY_PEO_0006664].

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                       (d) Adjustment For Capital Excess Or Deficiency

      The Examiner’s Financial Advisors’ analysis included an adjustment to account for the
value of projected shortfalls or surpluses in equity capitalization, in recognition of the
requirement to maintain adequate capital. The adjustment was based on an assumption that
departures from the normal industry equity-to-asset ratio would be addressed by future capital
contributions (in the case of a shortfall, as in the 2009 Bank Transaction analysis) or a
distribution (as in the case of an equity surplus for the 2006 Bank Restructuring analysis). For
the 2006 Bank Restructuring, the capital distribution was partially offset by the present value
of future interest expense associated with the borrowings required to enable the distribution of
the equity surplus.300 The analysis assumes that equity can revert to a normal industry
capitalization after the expiration of binding agreements on capital requirements with bank
regulators.301 These agreements required capital in excess of the industry norm.

     To analyze levels of equity capital maintained by the guideline depository institutions,
the Examiner’s Financial Advisors identified the principal depository subsidiary of each of the
guideline publicly traded banking organizations selected in the Guideline Publicly Traded
Company Method. Data was gathered for the regulated depository subsidiary (rather than the
consolidated organization) because the bank subsidiaries are most directly affected by
regulatory capital requirements. IB Finance had no subsidiary other than Ally Bank.

      For each of these depository institutions, the Examiner’s Financial Advisors obtained call
reports from the FDIC and determined the “Tier 1 Leverage Ratio” as defined by, and reported
to, the FDIC.302 The Mortgage Bank’s Tier 1 Leverage Ratio was similar to its ratio of equity
to total assets.303 Appendix V.A.2.b presents data on guideline Tier 1 Leverage Ratios as of
the most recent quarter-end prior to the transaction date.304 The average guideline bank Tier 1
Leverage Ratio was approximately 9% before the 2006 Bank Restructuring. The Examiner’s
Financial Advisors assumed that a normal Tier 1 Leverage Ratio in the industry was 9% for
purposes of this analysis.

    The Examiner’s Financial Advisors also determined the present value of future cash
flows before adjustment for excess capital. This alternative estimate assumes that the “excess”

300   The applied present value of future interest expense was calculated using the Mortgage Bank’s projected
      interest rate on borrowed funds on an after-tax basis.
301   Ally Bank had commitments to the DFI (as of the 2006 Bank Restructuring) and to the FDIC (as of the 2009
      Bank Transaction) to maintain capital ratios at prescribed levels for a period of time.
302   12 C.F.R. § 325.2, FDIC Minimum Capital Requirements—Definitions, http://www.fdic.gov/regulations/
      laws/rules/2000-4400.html#fdic2000part325.2.
303   The Tier 1 Leverage Ratio includes a number of adjustments from a simple equity-to-assets ratio, including
      adjustments for goodwill, preferred stock, unrealized gains, and various other items. In the case of the
      Mortgage Bank, these adjustments were not material.
304   Appendix V.A.2.b, at 8. The Examiner’s Financial Advisors reviewed FDIC call reports for the primary
      depository subsidiaries of the guideline companies available as of September 30, 2006, March 31, 2008, and
      December 31, 2008.

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capital is actually necessary to achieve the projected level of earnings over the longer term,
and therefore could not be distributed to shareholders. The level of projected earnings for the
Mortgage Bank in 2007 (and the residual period) was higher than 2006 even though, at the
time, the industry outlook was softening. These projected earnings could be difficult to obtain
over the long term without a larger banking operation, which would require more capital. This
calculation establishes the lower value in the DCF Method.

                        (e) Income Approach–DCF Method: Conclusion

     Based on the application of the DCF Method, the indicated value of Old GMAC Bank on
a marketable, controlling basis before adjustments is estimated to be approximately
$1.67 billion to $1.97 billion as of November 22, 2006. Appendix V.A.2.b presents detail of
the DCF Method conclusion.305

                    (4) Asset-Based Approach

      The Asset-Based Approach indicates the Fair Market Value of a business by adjusting the
assets and liabilities of the subject company to their market value equivalents. The
Asset-Based Approach is based on the summation of the individual values of the underlying
assets, properties, and/or business units of a company. This approach can be performed using
the “Adjusted Book Value Method,”306 which involves examining the book value of a
company’s assets and liabilities and making adjustments to reflect market value. The book
value is generally the accounting value of a company’s assets and liabilities as determined
under GAAP, which is then subjected to adjustments to reflect market value.307 One should
also consider any off-balance sheet assets or liabilities when applying the Adjusted Book
Value Method to estimate the Fair Market Value of a business. Courts caution that accounting
values may not be reflective of Fair Market Value, and, in particular, certain assets and
liabilities may not be listed on the balance sheet because GAAP limits inclusion on the
balance sheet to known and quantifiable assets and liabilities.308 The Examiner’s Financial
Advisors estimated the Fair Market Value of the equity of the Mortgage Bank by adjusting the
balance sheet to reflect the Fair Market Value of the individual assets and liabilities.

                        (a) Fair Value Estimates

     The Examiner’s Financial Advisors used Ally Bank management’s estimates of fair value
for certain assets and liabilities as reported in the notes to audited financial statements as of
305   Appendix V.A.2.b, at 13.
306   SHANNON P. PRATT WITH ALINA V. NICULITA, VALUING A BUSINESS: THE ANALYSIS AND APPRAISAL OF
      CLOSELY HELD COMPANIES 352 (5th ed. 2008).
307   See Lids Corp. v. Marathon Inv. Partners, L.P. (In re Lids Corp.), 281 B.R. 535, 542–43 (Bankr. D. Del.
      2002).
308   See Trans World Airlines, Inc. v. Travellers Int’l AG. (In re Trans World Airlines, Inc.), 180 B.R. 389, 405
      (Bankr. D. Del. 1994) (noting that “the balance sheet is merely the starting point for the analysis”), aff’d in
      part, rev’d in part, 203 B.R. 890 (D. Del. 1996), rev’d, 134 F.3d 188 (3d Cir. 1998).

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December 31, 2006.309 For several major items on the balance sheet, the notes to audited
financial statements report Ally Bank management’s estimated fair values, including HFS
loans, HFI loans, deposits, advances from the FHLB, and other items. Except as otherwise
indicated (see discussion of the loan loss reserve below), the Examiner’s Financial Advisors
accepted Ally Bank management’s audited estimate of fair value (where available) and (where
not available) assumed that the book value was indicative of fair value

                        (b) Loan Loss Reserves

     The loan loss reserve was reflected in the fair value of loan estimates.310 Accordingly, the
reserve of approximately $23.8 million as of December 31, 2006 was reduced to zero.

                        (c) Goodwill

     The Asset-Based Approach applied here adjusts for items carried on the Mortgage
Bank’s balance sheet. The Asset-Based Approach does not adjust for items such as goodwill
or other intangibles not reported on the Mortgage Bank’s balance sheet.

                        (d) Asset-Based Approach: Conclusion

    Based on the application of the Asset-Based Approach, the indicated value of Old
GMAC Bank on a marketable, controlling basis before adjustments is estimated to be
approximately $1.19 billion. Appendix V.A.2.b provides detail of the Asset-Based Approach
conclusion.311

                    (5) Adjustments To Value

     The methods employed provide preliminary value indications prior to certain necessary
adjustments. All valuation methods are developed based on a specific set of facts,
circumstances, and assumptions that result in a particular valuation basis or level (e.g., all of
the indications of value described above are presented on a marketable, controlling interest
basis). Therefore, adjustments are often required, and are typically accomplished through
applying discounts and/or premiums to account for differences in certain ownership
characteristics of the subject interest such as the degree of ownership control and
marketability.

     The Examiner’s Financial Advisors considered adjustments to the value of the Mortgage
Bank attributable to certain affiliate transactions between ResCap and the Mortgage Bank that
may have had terms inconsistent with arm’s-length transactions. However, during the time
period of the Ally Bank Transactions, certain transactions benefitted the Mortgage Bank—
309   See GMAC Bank Consolidated Financial Statements as of December 31, 2006 and Independent Auditors’
      Report, dated Mar. 27, 2007, at 35 [RC00035095].
310   Int. of J. Cortese, Mar. 7, 2013, at 170:25–172:18.
311   Appendix V.A.2.b, at 15.

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such as general and administrative services and interest-free deposits provided by ResCap—
while others benefited ResCap. Accordingly, the Examiner’s Financial Advisors made no
adjustment for affiliate transactions.

                       (a) Old GMAC Bank: Private Company Discount

     Old GMAC Bank was a wholly owned subsidiary of ResCap, did not have publicly
traded common stock, and was not an SEC registrant. A controlling interest in a private
company may sell at a discount to a controlling interest in a publicly traded company for
various reasons. A private company generally has limited access to financial markets, may
have less financial transparency, and may incur additional costs to function on a stand-alone
basis once separate from its current owner. There may also be less knowledge about the
business among potential investors, including a more limited number of potential buyers and
an inherently less competitive “bidding” process.312

      Empirical evidence indicates that controlling interests in stand-alone private companies
(and divisions of larger public companies) tend to sell at a discount to the values observed in
control transactions involving similar publicly traded companies.313 Estimated private
company discounts range from 0% to 30%. Evidence suggests that such discounts are related
to size and other characteristics, with smaller and lower growth privately held companies
selling for higher discounts.314 Other evidence suggests that the observed discounts may be
exaggerated to the extent that they include depressed prices for businesses sold by financially
troubled parent companies.315 The Examiner’s Financial Advisors considered the facts and
circumstances, including that Old GMAC Bank was a profitable institution with assets in
excess of $10 billion, with audited financial statements, and a history of publicly available
financial reporting to regulators, and determined that a relatively low discount was
appropriate. The Examiner’s Financial Advisors applied a 5% private company discount to the
controlling interest in Old GMAC Bank based upon these factors.




312   Kathleen Fuller et al., What Do Returns To Acquiring Firms Tell Us? Evidence From Firms That Make Many
      Acquisitions, 57 J. FIN. 1763, 1784 (2002); see also SHANNON P. PRATT WITH ALINA V. NICULITA, VALUING
      A BUSINESS: THE ANALYSIS AND APPRAISAL OF CLOSELY HELD COMPANIES 443–45 (5th ed. 2008).

313   See generally John Koeplin et al., The Private Company Discount, J. APPLIED CORP. FIN., 94, 94–101
      (Winter 2000); Micah S. Officer, The Price of Corporate Liquidity: Acquisition Discounts for Unlisted
      Targets, 83 J. FIN. ECON. 571, 571–98 (2007); Jean-Francois L’Her et al., A New Examination of the Private
      Company Discount: The Acquisition Approach, J. PRIVATE EQUITY, 48, 48–55 (Summer 2003).
314   See Jean-Francois L’Her et al., A New Examination of the Private Company Discount: The Acquisition
      Approach, J. PRIVATE EQUITY, 48, 53–54 (Summer 2003).
315   See Micah S. Officer, The Price of Corporate Liquidity: Acquisition Discounts for Unlisted Targets, 83 J.
      FIN. ECON. 571, 596–97 (2007).

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                         (b) IB Finance Class M Shares: Discount For Attributes Of Shares

     The IB Finance Class M Shares have a number of attributes that require a lower valuation
than indicated for otherwise similar interests. These include:

         •    Lack of control;

         •    Lack of voting rights;

         •    Lack of marketability; and

         •    Tracking stock structure.

                              (i) Lack Of Control

     The valuation methods used in this analysis provide an estimate of the value of the
Mortgage Bank on a controlling interest basis. Valuation theory and practice holds that a non-
controlling interest will generally be valued at less than an otherwise similar controlling
interest.316 The IB Finance 2006 LLC Agreement317 gave AFI complete control over IB
Finance. ResCap’s interest in IB Finance was disadvantaged in a number of ways:

        • AFI had complete power to appoint directors, managers, and determine strategic
          direction;318

        • AFI had sole power to determine financial policy, including payment of dividends;319
          and

        • AFI had sole power to make decisions regarding such matters as acquisitions or sales
          of the business or assets of the business, including the Mortgage Bank.320

     A commonly used method of quantifying a discount for lack of control is based on the
inverse of the control premium used in arriving at the controlling interest value.321 Application
of this method would give an approximately 9% lack of control discount using the 10%
control premium from the Examiner’s Financial Advisors’ Guideline Publicly Traded
Company Method analysis.
316   SHANNON P. PRATT WITH ALINA V. NICULITA, VALUING A BUSINESS: THE ANALYSIS AND APPRAISAL OF
      CLOSELY HELD COMPANIES 65–66 (5th ed. 2008).
317   See, e.g., IB Finance 2006 LLC Agreement, §§ 3.1–3.10 [ALLY_0401862].
318   See id. § 3.1.
319   See id. §§ 2.5, 3.1(a)–(b).
320   See id. § 3.10.
321   Discount for Lack of Control = 1– (1 ÷ (1 + Control Premium) ). See JAMES R. HITCHNER, FINANCIAL
      VALUATION: APPLICATIONS AND MODELS 377 (3d ed. 2011).

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                             (ii) Lack Of Voting Rights

      Voting shares are more valuable than non-voting shares because of the value associated
with control for the reasons previously described. There is extensive empirical evidence
supporting a premium for voting rights (or a discount for lack of voting rights) based on
studies of companies with dual share structures (wherein one class of shares either lacks
voting power or has limited voting power).322 This body of research studied the market value
attributed to voting rights by comparing the difference in prices paid for voting and non-voting
minority shares of dual class firms. Average discounts reported for the lack of voting rights for
minority interests in these studies ranged from approximately 3% to 10%.

                             (iii) Lack Of Marketability

     The IB Finance Class M Shares require a discount for lack of marketability.323 Investors
prefer equity investments with access to a liquid secondary market and that may be readily
converted into cash. Equity investments without such marketability and liquidity
characteristics normally sell at a discount to provide an investor with compensation for this
lack of liquidity. Shares not readily marketable sell at a discount because of higher transaction
costs, longer time requirements associated with selling the shares, and the interim risks
associated with selling the shares. In general, the diminution in value associated with this
factor is referred to as a discount for lack of marketability.324

      Numerous studies have attempted to measure the diminution of value associated with an
investment which lacks a ready market or involves various stock restrictions.325 A common
approach is the study of discounts on restricted stock. In general, restricted stock is the term
used to describe shares of publicly traded companies subject to limitations or restrictions on
transfer or trading. The limitations generally relate to legal restrictions on resale placed on
shares by Rule 144 under the Securities Act of 1933.326 A company’s restricted stock is
identical in every aspect to similar, publicly traded shares except for the applicable
restrictions. Average discounts in these studies typically ranged from 20% to 40%.327
322   See, e.g., STEVEN R. COX & DIANNE M. RODEN, THE SOURCE OF VALUE OF VOTING RIGHTS AND RELATED
      DIVIDEND PROMISES, 8 J. CORP. FIN. 337 (2002), https://scholarworks.iu.edu/dspace/bitstream/ handle/
      2022/6919/Voting_Rights_and_Dividends.pdf?sequence=1 (summarizing academic research); SHANNON P.
      PRATT, BUSINESS VALUATION: DISCOUNTS AND PREMIUMS 246–51 (2d ed. 2009) (summarizing a number of
      studies by practitioners).
323   The Examiner’s Financial Advisors distinguish the discount for lack of marketability from the “private
      company discount” discussed above for the controlling interest in Old GMAC Bank. Controlling interests are
      generally considered to be easier to liquidate than minority interests.
324   See SHANNON P. PRATT WITH ALINA V. NICULITA, VALUING A BUSINESS: THE ANALYSIS AND APPRAISAL
      OF CLOSELY HELD COMPANIES 416 (5th ed. 2008).

325   See Id. at 415–57 (summarizing a number of studies).
326   17 C.F.R. § 230.144.
327   See SHANNON P. PRATT WITH ALINA V. NICULITA, VALUING A BUSINESS: THE ANALYSIS AND APPRAISAL
      OF CLOSELY HELD COMPANIES 431 (5th ed. 2008).


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      Several studies of restricted stocks and other private placements suggest that observed
discounts are related to the characteristics of the issuing company.328 Studies have found
relationships between the observed discounts and such characteristics as the size of the
company, size of the offered block, financial condition, and volatility of stock price or
earnings. Generally, the studies suggest that discounts are larger if:

        • The issuing company is small or the value of the deal is small;329

        • The deal involves a large percent of outstanding stock;330

        • The issued shares lack registration rights;331

        • The issuing company is unprofitable or has uncertain prospects; 332 and/or

        • The volatility of stock price is high.333

    The Examiner’s Financial Advisors obtained information on restricted stock discounts for
twenty-eight transactions involving restricted stock issued by publicly traded banking
organizations. Appendix V.A.2.b presents data for these transactions.334 The mean discount
328   See, e.g., William L. Silber, Discounts on Restricted Stock: The Impact of Illiquidity on Stock Prices, FIN.
      ANALYSTS J., 60, 60–64 July–Aug. 1991; Michael Hertzel & Richard L. Smith, Market Discounts and
      Shareholder Gains for Placing Equity Privately, 48 J. FIN. 459, 459–85 (1993); Bruce A. Johnson,
      Quantitative Support for Discounts for Lack of Marketability, BUS. VALUATION REV., 152, 152–55
      (Dec. 1999); Mukesh Bajaj et al., Firm Value and Marketability Discounts, J. CORP. L., 89, 89–115
      (Fall 2001).
329   See generally William L. Silber, Discounts on Restricted Stock: The Impact of Illiquidity on Stock Prices,
      FIN. ANALYSTS J., 60, 60–64 (July–Aug. 1991); Michael Hertzel & Richard L. Smith, Market Discounts and
      Shareholder Gains for Placing Equity Privately, 48 J. FIN. 459, 459–85 (1993); Bruce A. Johnson,
      Quantitative Support for Discounts for Lack of Marketability, BUS. VALUATION REV., 152, 152–55
      (Dec. 1999).
330   See generally William L. Silber, Discounts on Restricted Stock: The Impact of Illiquidity on Stock Prices,
      FIN. ANALYSTS J., 60, 60–64 (July–Aug. 1991); Michael Hertzel & Richard L. Smith, Market Discounts and
      Shareholder Gains for Placing Equity Privately, 48 J. FIN. 459, 459–85 (1993); Bruce A. Johnson,
      Quantitative Support for Discounts for Lack of Marketability, BUS. VALUATION REV., 152, 152–55
      (Dec. 1999); Mukesh Bajaj et al., Firm Value and Marketability Discounts, J. CORP. L., 89, 89–115 (Fall
      2001).
331   See generally Michael Hertzel & Richard L. Smith, Market Discounts and Shareholder Gains for Placing
      Equity Privately, 48 J. FIN. 459, 459–85 (1993); Bruce A. Johnson, Quantitative Support for Discounts for
      Lack of Marketability, BUS. VALUATION REV., 152, 152–55 (Dec. 1999); Mukesh Bajaj et al., Firm Value
      and Marketability Discounts, J. CORP. L., 89, 89–115 (Fall 2001).
332   See generally William L. Silber, Discounts on Restricted Stock: The Impact of Illiquidity on Stock Prices,
      FIN. ANALYSTS J., 60, 60–64 (July–Aug. 1991); Michael Hertzel & Richard L. Smith, Market Discounts and
      Shareholder Gains for Placing Equity Privately, 48 J. FIN. 459, 459–85 (1993); Mukesh Bajaj et al., Firm
      Value and Marketability Discounts, J. CORP. L., 89, 89–115 (Fall 2001).
333   See generally Mukesh Bajaj et al., Firm Value and Marketability Discounts, J. CORP. L., 89,
      89–115 (Fall 2001).
334   Appendix V.A.2.b, at 10.

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was approximately 14.2% and the median was 9.1%, while the inter-quartile range (25th to
75th percentile) was approximately 5.3% to 16.0%, for these transactions. This range is
relatively low compared with the typical average reported in published studies of restricted
stock as summarized above.

    Legal or contractual restrictions on transfer may also impact marketability.335 The
marketability of the IB Finance Class M Shares was impaired by the requirement for approval
by AFI for any sale to a third party.336

                            (iv) Tracking Stock Structure

     The IB Finance Class M Shares were structured as a tracking stock of the Mortgage
Bank. A tracking stock is an equity stake in a parent company that gives investors an
economic interest in only one division or subsidiary of the parent.337 Such stocks do not share
in the consolidated performance of the company pro rata with other equity holders.

     There was an interest in the U.S. public markets in tracking stocks and a number of
companies issued tracking stocks for a time in the 1980s and 1990s. However, this form of
ownership became unpopular after 2000, leading companies to retire these shares.338 By 2009,
there was only one company (Liberty Media) in the U.S. with a tracking stock structure.339
Shareholders of a tracking stock do not have a separate board of directors with a fiduciary
responsibility to look solely after their interests, and there is no assurance that conflicts of
interest between divisions will be resolved favorably.340 Moreover, the possibility of weak
legal protection against intercompany transfers that disadvantage investors is an undesirable
aspect of a tracking stock.341




335   See SHANNON P. PRATT WITH ALINA V. NICULITA, VALUING A BUSINESS: THE ANALYSIS AND APPRAISAL
      OF CLOSELY HELD COMPANIES 66 (5th ed. 2008).

336   See IB Finance 2006 LLC Agreement, § 2.3 [ALLY_0401862] (“No additional members will be admitted to
      the Company without the consent of the Members.”).
337   See B. Espen Eckbo & Karin S. Thorburn, Corporate Restructuring: Breakups and LBOs 29 (Tuck Sch. of
      Bus. Working Paper No. 2008-49, 2008), http://papers.ssrn.com/sol3/papers.cfm?abstract_id=1133153.
338   Palash R. Ghosh, Tracking Stocks Are Now Relics, WALL ST. J., Jan. 9, 2008, http://online.wsj.com/article/
      SB119985406966877497.html.
339   Stephani A. Mason & Meera Rani Behera, Were We Better Off Without the Invention of Tracking Stocks?:
      The Wealth Effects of the Elimination of Tracking Stock Structures 5 (Jan. 6, 2012), http://papers.ssrn.com/
      sol3/papers.cfm?abstract_id=1986132.
340   See TIM KOLLER ET AL., VALUATION: MEASURING AND MANAGING THE VALUE OF COMPANIES 472 (5th ed.
      2010).
341   See B. Espen Eckbo & Karin S. Thorburn, Corporate Restructuring: Breakups and LBOs 31–32 (Tuck Sch.
      of Bus. Working Paper No. 2008-49, 2008), http://papers.ssrn.com/sol3/papers.cfm?abstract_id=1133153.

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    Studies of retirements of publicly traded tracking stocks have found that, on average, the
announcement of retirement was associated with abnormal positive returns to shareholders in
excess of 10%.342 These studies suggest the magnitude of discount that may result from this
form of ownership.

                            (v) Discount For IB Finance Class M Shares: Conclusion

     The various discounts described above (for lack of control, lack of voting rights, lack of
marketability, and tracking stock structure) considered together indicate a substantial discount
from a marketable, controlling interest value. The Examiner’s Financial Advisors recognized
that there is overlap between these discounts (e.g., lack of control in this instance largely
results from lack of voting rights), and did not treat these discounts as additive. The
Examiner’s Financial Advisors applied a discount of 30% to the marketable, controlling value
of the IB Finance Class M Shares to reflect the value on a non-marketable, non-controlling
basis as of November 22, 2006.343

     The Examiner’s Professionals considered arguments that the IB Finance Class M Shares
could not be materially less valuable than the equity of Old GMAC Bank because the IB
Finance ownership structure gave ResCap an interest in the financial performance of
essentially the same Old GMAC Bank assets it previously owned, and ResCap’s management
had control of the day-to-day operations of the Mortgage Bank. However, the Examiner’s
Professionals determined that those arguments failed to account for the material diminution in
value resulting from: (1) the loss of legal rights to control the business; (2) the loss of voting
rights; (3) the increased lack of marketability; and (4) the undesirability of the tracking stock
structure from an investor’s point of view.

                   (6) Assessment Of The Value Of Obtaining A De-Linked Credit Rating

     ResCap had exposure to a credit downgrade if the Cerberus PSA failed to close and
AFI’s rating remained linked to that of GM. Failure to maintain an investment-grade rating
would have increased ResCap’s funding costs by an amount that ResCap management
estimated would be $250 million per year before taxes.344



342   See Stephani A. Mason & Meera Rani Behera, Were We Better Off Without the Invention of Tracking
      Stocks?: The Wealth Effects of the Elimination of Tracking Stock Structures 3 (Jan. 6, 2012), http://
      papers.ssrn.com/sol3/papers.cfm?abstract_id=1986132. See generally Matthew T. Billet & Anand M. Vijh,
      The Wealth Effects of Tracking Stock Restructurings, 27 J. FIN. RESEARCH 559, 559–83 (2004).
343   A combined discount in a range of approximately 29% to 38% was obtained by sequentially applying four
      distinct discounts: (1) a discount for lack of control of approximately 8% to 10%; (2) a discount for lack of
      marketability of approximately 15% to 20%; (3) a non-voting discount of approximately 5%; and (4) a
      discount for the tracking stock structure of approximately 5% to 10%.
344   Walker Report, at RC40008939 [RC40008925] (“Additionally, the downgrade would trigger step-up
      provisions on ResCap’s outstanding unsecured debt and bank credit facilities, which would increase
      ResCap’s cost of funds and reduce earnings by approximately $250 million per year (pre-tax).”).

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     The Examiner’s Financial Advisors accepted management’s estimate of $250 million per
year in cost savings before taxes. The Examiner’s Financial Advisors then recognized that cost
savings benefit for a one-year period, resulting in a $150 million cost savings after applying a
tax rate of 40% for purposes of assessing REV. Although the ResCap Board contemplated that
ResCap would be a disregarded entity for federal income tax purposes as of November 22,
2006, the ResCap Board was clearly aware that any future income would be subject to the
economic equivalent of a federal income tax. Further, the ResCap Board had knowledge of the
terms and conditions of the 2005 Operating Agreement, which required that “ResCap and
GMAC shall maintain in effect an income tax allocation agreement that shall provide for two-
way sharing payments based on the separately calculated tax liability or benefit of ResCap.”345
Therefore, the Examiner’s Financial Advisors conclude that tax affecting the cost savings
benefit is entirely appropriate in these circumstances.

     The Examiner’s Financial Advisors viewed the credit rating as transitory because
ResCap’s profitability in late 2006 was suffering from pricing pressure, deteriorating asset
quality, unfavorable interest rates, and other factors attributable to the mortgage industry
downturn.346 This trend was expected to continue, if not deteriorate further, in the near term.
ResCap’s credit rating would also continue to be linked to that of AFI, which had a below-
investment grade rating, putting ResCap at risk of a downgrade if AFI was downgraded.347
The Examiner’s Financial Advisors viewed the cost savings associated with de-linking AFI’s
credit rating from GM as a short-term benefit for these reasons.

     S&P upgraded ResCap from BBB- to BBB on November 27, 2006 contemporaneously
with the closing of the Cerberus transaction, but gave this new rating a “negative” outlook
citing a challenging industry environment and a link to AFI’s rating (which remained below
investment grade).348 Moody’s gave ResCap a stable outlook but kept its rating at Baa3 on
November 15, 2006.349 Fitch upgraded ResCap from BBB- to BBB on November 30, 2006
and gave a “positive” outlook (citing developments at AFI rather than ResCap).350

     A future downgrade over the near term was reasonably foreseeable as of November 22,
2006 because of the deteriorating conditions in ResCap’s business, the mortgage industry, and
financial condition of its parent, AFI (with which it remained linked). The Examiner’s
Financial Advisors selected a one-year time horizon to value the cost savings benefit, and
345   2005 Operating Agreement, § 2(b)(iii) [ALLY_0140795].
346   See Section VI.C.4.b(3) (providing additional discussion regarding the financial condition and outlook for
      ResCap during late 2006 period).
347   These factors were confirmed by S&P when it upgraded ResCap to BBB (negative outlook) on
      November 27, 2006. See S&P, Research Update, Residential Capital LLC Rating Raised to ‘BBB’, Removed
      From CreditWatch; Outlook Negative (Nov. 27, 2006).
348   See id.
349   See Moody’s, Announcement, Moody’s Expects to Confirm ResCap’s Debt at Baa3 Stable (Nov. 15, 2006),
      http://www.moodys.com/research/Moodys-expects-to-confirm-ResCaps-debt-at-Baa3-stable--PR_122397.
350   Fitch, Press Release, Fitch Upgrades GMAC LLC to ‘BB+’ & ResCap to ‘BBB’; Outlook Positive (Nov. 30,
      2006), http://www.fitchratings.com/creditdesk/press_releases/detail.cfm?print=1&pr_id=326772.

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concluded that the present value of the $150 million cost savings to ResCap from de-linking
AFI’s credit rating from GM’s was approximately $143 million.351

                    (7) 2006 Bank Restructuring Valuation Conclusion

                         (a) Value Of Transfers From ResCap

     Based on the analysis described above, the Examiner’s Financial Advisors considered the
results of each valuation approach to determine a range of the Fair Market Value of the equity
of Old GMAC Bank on a marketable, controlling basis to be $1.70 billion to $2 billion.352

     The Examiner’s Financial Advisors relied on an average of the Guideline Publicly
Traded Company Method and the DCF Method in determining their conclusion of value. The
other methods were considered but given no explicit weight. There were relatively few timely
precedent transactions under the Guideline M&A Method at a time when the market outlook
was changing. The Asset-Based Approach applied here adjusts for items carried on the
Mortgage Bank’s balance sheet. The Asset-Based Approach does not adjust for items such as
goodwill or other intangibles not reported on the Mortgage Bank’s balance sheet.




351   The Examiner’s Financial Advisors conclude that the gross value (before taxes) of the indirect benefit
      reasonably related to the credit rating de-linkage is $250 million per year, based on the estimate made by
      Walker in his memorandum to the ResCap Board. Walker Report, at RC40008939 [RC40008925]. The
      Examiner’s Financial Advisors’ conclusion that the cost savings associated with a credit rating de-linkage
      constitutes a benefit for purposes of assessing reasonably equivalent value generates a question as to how
      long that benefit should be counted for purposes of assessing reasonably equivalent value. The Examiner’s
      Financial Advisors conclude that the transitory nature of the cost savings associated with a credit rating de-
      linkage justifies a time horizon of no greater than one year in these circumstances. A credit rating is
      influenced by a host of factors; it is the result of a dynamic process that will likely be influenced by post-
      transfer data that have nothing to do with the de-linkage event. Thus, beyond a short-term realization of cost
      savings, any continued favorable or unfavorable credit rating simply becomes too tenuous to suggest a
      reasonable nexus between it and the de-linkage event.
      In contrast, during the Investigation, Walker projected that additional cost savings (beyond the $250 million
      per year before taxes previously identified above) could be “a little more than a billion dollars” over a three-
      year time period. Int. of D. Walker, Nov. 28, 2012, at 137:1–12. Walker provided no basis for this statement.
      The Examiner’s Financial Advisors have found none. The Examiner’s Financial Advisors reviewed the
      minutes of the ResCap Board meetings during the relevant time period, including a thorough consideration of
      the detailed memorandum prepared by Walker for the ResCap Board. The Examiner’s Financial Advisors
      found that Walker never shared with the ResCap Board any additional cost savings estimates beyond the $250
      million per year already identified in his memorandum. The Examiner’s Financial Advisors conclude that
      incorporating the cost savings associated with a credit rating de-linkage over a one-year time horizon is
      reasonable because the assessment should recognize the ephemeral and transitory nature of any benefits
      actually received by the debtor.
352   All values reflected in this Section V.A.2 are approximate.

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     The Examiner’s Financial Advisors applied a 5% private company discount to reflect the
equity value of Old GMAC Bank on a non-marketable, controlling basis. The Examiner’s
Financial Advisors included the $360 million capital contribution to estimate the range of value
transferred from ResCap on November 22, 2006 at approximately $1.98 billion to $2.26 billion.




                       (b) Value Received By ResCap
      The Examiner’s Financial Advisors applied a 30% discount for lack of control and
marketability in determining the value of the IB Finance Class M Shares received by ResCap,
which is estimated to be approximately $1.44 billion to $1.65 billion. The Examiner’s Financial
Advisors included approximately $143 million reflecting the value of de-linking AFI’s credit
rating from GM’s to estimate the range of value received by ResCap at $1.58 billion to $1.79
billion.353
353   See Section V.A.2.b(6).

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                   (8) 2006 Bank Restructuring Reasonably Equivalent Value Conclusion

     Based upon the above discussion and analysis of the 2006 Bank Restructuring, the
Examiner concludes that the evidence supports the proposition that ResCap did not receive
reasonably equivalent value in the 2006 Bank Restructuring. Appendix V.A.2.b details the
Examiner’s conclusions.354




354   Appendix V.A.2.b, at 1.

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     Whether reasonably equivalent value was received is normally a question of fact,355 and
valuation factors will “turn on the case-specific circumstances surrounding the debtor’s
decision to enter into the challenged transaction.”356 Courts look to, among other things:
(1) whether the value of what was transferred is equal to the value of what was received;
(2) the market value of what was transferred and received; (3) whether the transaction took
place at arm’s length; and (4) the good faith of the transferee.357 The inquiry of whether
reasonably equivalent value was received “is fundamentally one of common sense, measured
against market reality . . . .”358

      Reasonable, not exact, equivalence is all that is required.359 In Calvillo, the bankruptcy
court noted “[t]here is no set minimum percentage or monetary amount necessary” for a court
to find that the debtor received reasonably equivalent value.360

     The Examiner concludes that the evidence supports the proposition that ResCap did not
receive reasonably equivalent value for the property transferred as part of the 2006 Bank
Restructuring by considering the totality of the circumstances. First, the disparity in values of
the properties is significant. ResCap suffered a diminution in value of approximately 20%
resulting from the differential between the value of property transferred and the value of the
property received (including the cost savings resulting from the maintenance of a transitory
credit rating). Part of the outbound value from ResCap included $360 million of cash and
debt, or approximately 18% to 16% of the property transferred; ResCap received no cash or
cash equivalent in return.


355   See, e.g., Klein v. Tabatchnick, 610 F.2d 1043, 1047 (2d Cir. 1979) (“Fairness of consideration is generally a
      question of fact.”); Texas Truck Ins. Agency, Inc. v. Cure (Matter of Dunham), 110 F.3d 286, 288–89 (5th
      Cir. 1997); Jacoway v. Anderson (In re Ozark Rest. Equip. Co., Inc.), 850 F.2d 342, 344 (8th Cir. 1988);
      Daley v. Chang (In re Joy Recovery Tech. Corp.), 286 B.R. 54, 75 (Bankr. N.D. Ill. 2002); Leonard v. Mylex
      Corp. (In re Northgate Computer Sys., Inc.), 240 B.R. 328, 365 (Bankr. D. Minn. 1999); Alberts v. HCA Inc.
      (In re Greater Se. Cmty. Hosp. Corp. I), No. 11-5279-BK, 2008 WL 2037592, at *8 (Bankr. D. Dist. Col.
      May 19, 2008). But see Liquidation Trust v. Daimler AG (In re Old Carco LLC), 2013 WL 335993, at *1 (2d
      Cir. Jan. 30, 2013) (concluding as a matter of law that the plaintiff in a fraudulent transfer suit failed to
      plausibly allege that the debtor received less than reasonably equivalent value).
356   Lowe v. B.R.B. Enters., Ltd. (In re Calvillo), 263 B.R. 214, 220 (W.D. Tex 2000) (citation omitted).
357   See Barber v. Golden Seed Co., Inc., 129 F.3d 382, 387 (7th Cir. 1997); Mellon Bank, N.A, v. Official Comm.
      of Unsecured Creditors of R.M.L. Inc. (In re R.M.L. Inc.), 92 F.3d 139, 149 (3d Cir. 1996).
358   In re Northgate Computer Sys., 240 B.R. at 365 (citation omitted).
359   Murphy v. Meritor Sav. Bank (In re O’Day Corp.), 126 B.R. 370, 393 (Bankr. D. Mass. 1991); MFS/Sun Life
      Trust-High Yield Series v. Van Dusen Airport Servs. Co., 910 F. Supp. 913, 937 (S.D.N.Y. 1995); see also
      Rubin v. Mfrs. Hanover Trust Co., 661 F.2d 979, 994 (2d Cir. 1981); Butler Aviation Int’l, Inc. v. Whyte
      (Matter of Fairchild Aircraft Corp.), 6 F.3d 1119, 1125–26 (5th Cir. 1993); Waste Mgmt., Inc. v. Danis
      Indus. Corp., No. 3:00CV256, 2009 WL 347773, at *21 (S.D. Ohio Feb. 10, 2009); In re Calvillo, 263 B.R.
      at 220; Coan v. Fleet Credit Card Servs., Inc. (In re Guerrera), 225 B.R. 32, 36 (Bankr. D. Conn. 1998) (“It
      is not necessary that there be ‘mathematical precision’ or a ‘penny-for-penny’ exchange.”).
360   In re Calvillo, 263 B.R. at 220.

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     Second, the nature, attributes, and characteristics of the properties exchanged were
significantly different. The 2006 Bank Restructuring left ResCap with a stake in the financial
performance of substantially the same assets as it held through its position in Old GMAC
Bank. However, the form of ownership—IB Finance Class M Shares—was significantly
different. ResCap held a controlling interest in 100% of the equity of Old GMAC Bank before
the transfer, whereas the 2006 Bank Restructuring left ResCap with a non-controlling and
non-voting interest in a tracking stock. These new shares were significantly less valuable than
the interests transferred. The evidence discussed in this Report shows that market participants
place less value on equity interests that lack control, lack voting rights, lack marketability, and
are structured as tracking stocks, as compared to equity interests that do not have these
undesirable attributes.

     Third, the properties were not exchanged through an arm’s-length transaction. The
Investigation revealed that the specific characteristics of the properties exchanged and the
disparity of value clearly fall outside the range of characteristics and values one would expect
reasonable parties to reach based on the information available to each at the time of the
transfer with both parties acting at arm’s length.361 Therefore, in the absence of other
consideration, the 2006 Bank Restructuring was for less than reasonably equivalent value even
when the indirect benefits received by ResCap—maintenance of its credit rating—are
included.

               c. 2008 Bank Transaction – Analysis And Examiner’s Conclusions

    The ResCap Preferred Interests issued to AFI in the 2008 Bank Transaction were
exchangeable into IB Finance Preferred Interests after January 1, 2009.362 For the 2008 Bank
Transaction, the Examiner’s Financial Advisors estimated the value of the following:

       Value Transferred from ResCap

         •   ResCap Preferred Interests issued to AFI;

         •   AFI’s right to exchange the ResCap Preferred Interests for IB Finance Preferred
             Interests;

       Value Received by ResCap

         •   ResCap bonds contributed by AFI to ResCap; and

         •   Right to redeem IB Finance Preferred Interests for $1,000 per unit.

Appendix V.A.2.c presents a summary of the reasonably equivalent value determinations for
the 2008 Bank Transaction.363
361   See Section V.A.1 (providing a detailed description of the 2006 Bank Restructuring).
362   See Residential Capital, LLC, Current Report (Form 8-K) (Apr. 4, 2008), at Item 5.03.
363   Appendix V.A.2.c, at 1.

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                   (1) Value Of The ResCap Preferred Interests

     The Examiner concludes that the ResCap Preferred Interests had little to no value, given
the conclusions discussed in Section VI of this Report that ResCap was insolvent,
inadequately capitalized, and could not have reasonably believed it was able to pay its debts as
they became due, both immediately before and after the 2008 Bank Transaction.

                   (2) Value Of Right To Exchange ResCap Preferred Interests For IB Finance
                       Preferred Interests

     Because the ResCap Preferred Interests issued to AFI had little to no value in and of
themselves, the Examiner’s Professionals concluded that the value transferred from ResCap
was AFI’s right to exchange the ResCap Preferred Interests into IB Finance Preferred
Interests. AFI, in effect, received an option on the IB Finance Preferred Interests with a zero
exercise price. While ResCap did not own the IB Finance Preferred Interests (the units would
be newly issued at the time of a future exchange), the units still represented value transferred
from ResCap because any future issuance of these units to AFI would diminish the value of
ResCap’s remaining IB Finance Class M Shares.

      The Examiner’s Financial Advisors estimated the expected future value of the IB Finance
Preferred Interests as of January 1, 2009—the earliest date at which AFI could exercise its
exchange rights—by capitalizing the annual dividends on those interests.364 Under this method
of the Income Approach, value is calculated as the annual dividend divided by the discount
rate, representing the present value of the annual dividend received in perpetuity.

     The annual dividend on the IB Finance Preferred Interests equals the 10% dividend rate
times the redemption value of approximately $806 million (approximately $607 million and
$199 million, respectively, for the March 2008 and June 2008 contributions).365 The
Examiner’s Financial Advisors’ estimate of the discount rate was derived from a study of
yields on preferred stock and debt for various benchmarks as of March and June 2008.366 The
benchmarks considered in this analysis included:

         •   Dividend yields on the preferred stock issues identified in Morgan Stanley’s
             presentation to the ResCap Board. The Examiner’s Financial Advisors obtained
             yields on these instruments as of March 31, 2008, and June 3, 2008, using data
             available from Bloomberg.




364   See SHANNON P. PRATT WITH ALINA V. NICULITA, VALUING A BUSINESS: THE ANALYSIS AND APPRAISAL
      OF CLOSELY HELD COMPANIES 580 (5th ed. 2008).

365   See Appendix V.A.2.c, at 2.
366   The Examiner’s Financial Advisors did not identify publicly available pricing on preferred stock issued by
      any of the guideline companies selected in this analysis.

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         •   Yields on publicly traded preferred stock issued by a selection of major financial
             companies, including Bank of America, Citigroup, J.P. Morgan Chase, Merrill
             Lynch, Wachovia, and Wells Fargo.

         •   Yields to maturity for various indices of high-yield debt published by Merrill Lynch,
             including an index of high-yield banks and thrift institutions.

Appendix V.A.2.c presents these various benchmarks.367

      The Examiner’s Financial Advisors concluded that yields of 8% to 10% were appropriate
for the 2008 Bank Transaction after reviewing the benchmark yield data described previously.
The present value of dividends provides a future value of the exchange rights for the IB
Finance Preferred Interests as of January 1, 2009 (the assumed date of exchange); however, it
is necessary to discount this future value to determine the present value as of the 2008 Bank
Transaction (for the March 31, 2008 and June 3, 2008 contributions). A high discount rate was
determined to be necessary because the exchange rights were only exercisable if ResCap did
not file for bankruptcy before January 2009. Market pricing of ResCap bonds at the time of
these transactions shows that market participants were steeply discounting ResCap’s bonds
with short-term maturities, a reflection of perceived bankruptcy risk. The Examiner’s
Financial Advisors therefore used a discount rate of approximately 71.9% for the March 31,
2008 transaction, and 33.7% for the June 3, 2008 transaction, based on yields of ResCap’s
short-term debt. The different discount rates reflect changes in the price of ResCap’s notes
between the two dates.

     Based on this approach, the estimated value of the right to exchange the ResCap
Preferred Interests into IB Finance Preferred Interests was approximately $403 million to $504
million as of the March 31, 2008 contribution, and approximately $168 million to $210
million as of the June 3, 2008 contribution. These values were discounted to reflect the risk of
a ResCap bankruptcy before January 1, 2009, as discussed previously.368

                   (3) Fair Market Value Of Bonds Contributed By AFI To ResCap

     AFI contributed bonds on both March 31, 2008 and June 3, 2008 with a reported Fair
Market Value of approximately $806 million (consisting of approximately $607 million for
the March contribution and $199 million for the June contribution). Price quotes were
available for each of the bond issues included in these contributions. The Examiner’s




367   Appendix V.A.2.c, at 4.
368   The discount rates’ reflection of bankruptcy risk has a material impact on the valuation of the IB Finance
      Preferred Interest exchange rights. If the dividend yields of 8% to 10% were used as discount rates in the
      high and low scenarios, the resulting present values would be $565 million to $716 million as of March 31,
      2008 and $188 million to $238 million as of June 3, 2008. This alternative calculation ignores the actual risk
      of a near-term ResCap bankruptcy and is presented only for informational purposes.

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Financial Advisors determined that the Observable Market Value Method369 or quoted trading
prices provided a suitable basis for determining the value of these securities contributed to
ResCap.

     The Examiner’s Professionals considered arguments that the contribution of bonds may
have had no value to ResCap, or that market prices may not have provided a meaningful
measure of value at the time of the Ally Bank Transactions. The Examiner’s Professionals
reasoned that: (1) the bonds represent obligations by ResCap; (2) prices paid for these bonds
reflect the expectations of market participants about the present value of expected future
payments by ResCap (possibly including restructured payments or recoveries in
reorganization); and (3) eliminating ResCap’s obligations on these future payments represents
value to ResCap and its creditors, even if ResCap remained insolvent after the contribution.

     The Examiner’s Financial Advisors gathered pricing data as of the transaction date for
each of the bonds contributed in the 2008 Bank Transaction.370 This analysis indicates the
following approximate value of these contributions:371




369   See Section VI.B.2.c(1)(c) (providing further discussion of the Observable Market Value Method).
370   Pricing per Interactive Data Corporation, a provider of securities pricing data.
371   Section 548 of the Bankruptcy Code, as well as comparable state statutes, define satisfaction of an antecedent
      debt as value for fraudulent transfer purposes. See 11 U.S.C.A. § 548. Possible avoidance issues raised by
      Minnesota’s insider preference statute (Minn. Stat. Ann. section 513.45(b)) with respect to contributions of
      ResCap bonds are analyzed in Section VII.F.

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    The estimate of the June 2008 bond contribution is approximately $50 million higher than
the Fair Market Value estimate in ResCap’s public disclosures. The Examiner’s Financial
Advisors determined that this variance appears to be a result of AFI pricing the Fair Market
Value of the bonds contributed in June at the Fair Market Value of the bonds as of March 31,
2008. Appendix V.A.2.c presents details of this analysis.372




372   Appendix V.A.2.c, at 3.

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                    (4) Third Party Valuations

     ResCap did not obtain a written fairness opinion for this transaction.373 ResCap did
obtain advice from its financial advisor, Morgan Stanley, concerning the value of bonds to be
contributed to ResCap in March 2008. Morgan Stanley also made an assessment of market
dividend rates for the ResCap Preferred Interests and the IB Finance Preferred Interests that
would potentially be created by the 2008 Bank Transaction.374

     For each bond issue included in the contribution by AFI to ResCap, Morgan Stanley
adjusted the face value to Fair Market Value using a recent market price quotation, and added
accrued interest thereto. Morgan Stanley’s estimate of the Fair Market Value of the March 31,
2008 contribution was approximately $607 million.375

      Morgan Stanley did not explicitly value the portion of the IB Finance Class M Shares
that ResCap would exchange as part of the transaction. Instead, its presentation included an
analysis of yields on securities that Morgan Stanley deemed comparable to the ResCap
Preferred Interests and IB Finance Preferred Interests. Morgan Stanley made the presumption
that the ResCap Preferred Interests should be analyzed as two pieces: (1) an interest in ResCap
until January 2009; and (2) a preferred interest in IB Finance after January 2009. Thus, their
analysis implicitly presumes that these interests would be exchanged.

     Morgan Stanley analyzed the yield on short-term ResCap bonds as a benchmark for the
ResCap Preferred Interests and noted yields in excess of 100% for ResCap bonds, but
suggested that a 13% coupon rate was reasonable. As a benchmark for the IB Finance
Preferred Interests, Morgan Stanley compiled data on yields for preferred stocks issued by
banks in recent transactions and concluded that 10% was a reasonable dividend rate for the IB
Finance Preferred Interests.

                    (5) 2008 Bank Transaction Valuation Conclusion

                        (a) Value Transferred From ResCap

     Based on the analysis described above, the Examiner’s Financial Advisors estimated the
value of the right to exchange the ResCap Preferred Interests into IB Finance Preferred
Interests on March 31, 2008 and June 3, 2008 transferred from ResCap to be approximately
$571 million to $714 million in the aggregate.
373   Morgan Stanley’s transaction work was described as not “opinionable.” E-mail from T. Pohl (Mar. 26, 2008)
      [EXAM11234652]. However, Morgan Stanley delivered the following oral opinions to the ResCap Board
      regarding the 2008 Bank Transaction on March 28, 2008: (1) the terms and conditions of the transaction were
      consistent with those to which parties at arm’s length would agree and was for fair value; (2) the transaction
      was fair to ResCap, its shareholder, and its creditors; and (3) the transaction was “absolutely” in the best
      interests of ResCap, its shareholder, and its creditors. See Minutes of a Special Meeting of the Board of
      Directors of Residential Capital, LLC, Mar. 28, 2008, at 4–5 [RC00017152].
374   Morgan Stanley Project Duvall Discussion Materials, dated Mar. 28, 2008, at RC40007500 [RC40007480].
375   Draft Morgan Stanley Project Duvall Discussion Materials, dated Mar. 31, 2008, at 3 [EXAM12112699].
      Note that this analysis did not address the bonds contributed on June 3, 2008.

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     ResCap retained a right to retire the IB Finance Preferred Interests at redemption value of
approximately $806 million.376 This right gave ResCap the potential to recover any value of the
IB Finance Preferred Interests to the extent that: (1) the value of the IB Finance Preferred
Interests exceeded the redemption price; and (2) ResCap had the resources to exercise the option.
The Examiner’s Financial Advisors did not attribute value to this right, regarding it as
speculative given ResCap’s likely inability to obtain funds to make redemption payments.

                       (b) Value Received By ResCap

     The Examiner’s Financial Advisors estimated the value received by ResCap for the
contribution of ResCap bonds made by AFI on March 31, 2008 and June 3, 2008, in the
aggregate, to be approximately $841 million.

                   (6) 2008 Bank Transaction Reasonably Equivalent Value Conclusion

     Based on the above discussion and analysis of the 2008 Bank Transaction, the Examiner
concludes that the evidence supports the proposition that ResCap received reasonably equivalent
value for the 2008 Bank Transaction. Appendix V.A.2.c presents a summary of the analysis
detailing these conclusions.377




               d. 2009 Bank Transaction – Analysis And Examiner’s Conclusions

    AFI exercised the exchange rights it received in the 2008 Bank Transaction and converted its
ResCap Preferred Interests into IB Finance Preferred Interests on January 30, 2009.
376   See IB Finance 2008 LLC Agreement, §§ 2.1(b)(iii), 2.1(d) [EXAM10801679] (providing that, in the option of
      ResCap’s Independent Directors, ResCap could make a special capital contribution to IB Finance and the
      proceeds would be used to redeem the IB Finance Preferred Interests at redemption value); Presentation to the
      Committee of Independent Members of the Board of Directors of Residential Capital, LLC Regarding the
      GMAC Bank Transaction with GMAC, LLC, dated Jan. 22, 2009, at 11 [GOLDIN00129860].
377   Appendix V.A.2.c, at 1.

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AFI also purchased the remaining IB Finance Class M Shares owned by ResCap in exchange for
AFI’s contribution of additional ResCap bonds on the same day. The Examiner’s Financial
Advisors estimated the value of the following in connection with the 2009 Bank Transaction:

       Value Transferred from ResCap

         •   IB Finance Class M Shares remaining after AFI received the IB Finance Preferred
             Interests;

         •   Loss of the right to redeem IB Finance Preferred Interests for $1,000 per unit; and

       Value Received by ResCap

         •   ResCap bonds contributed by AFI to ResCap.

Appendix V.A.2.d presents a summary of reasonably equivalent value determinations for the
2009 Bank Transaction.378

                   (1) IB Finance Preferred Interests

     A valuation of the IB Finance Preferred Interests as of January 30, 2009 is a required step
in estimating the value of the remaining IB Finance Class M Shares held by ResCap after the
exchange. The Examiner’s Financial Advisors estimated the value of the IB Finance Preferred
Interests using a capitalization of annual dividends, with a discount rate derived from a study
of yields on preferred stock and debt for guideline banks (and general market benchmarks) as
of January 30, 2009.

     The annual dividend was the 10% dividend rate on the IB Finance Preferred Interests
times the redemption value of $806 million.379 The estimate of the discount rate was derived
from the study of yields on preferred stock and debt for various benchmarks as described
above for the 2008 Bank Transaction, updated to reflect pricing in January 2009. This data is
detailed in Appendix V.A.2.c.380




378   Appendix V.A.2.d, at 1.
379   See IB Finance 2008 LLC Agreement, § 2.5(a) [EXAM10801679].
380   Appendix V.A.2.c, at 4.

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     The Examiner’s Financial Advisors concluded that a range of capitalization rates from
15% to 25% was appropriate as of January 30, 2009,381 and, correspondingly, valued the IB
Finance Preferred Interests at approximately $323 million to $538 million. Appendix V.A.2.d
presents details of this analysis.382

     The Examiner’s Financial Advisors also reviewed analyses prepared by third parties,
such as Goldin Associates, who assumed that the value of the IB Finance Preferred Interests
was a fixed proportion of the value of total equity (in proportion to the ratio of redemption
value to total book value of equity).383 However, the economic attributes of these interests do
not support such an assumption because the IB Finance Preferred Interests had a fixed
dividend,384 a dividend preference,385 a liquidation preference,386 and no obligation to
contribute capital.387

                       (2) Remaining 1.2 Million IB Finance Class M Shares

     The Examiner’s Financial Advisors estimated the value of ResCap’s remaining 1,193,656
IB Finance Class M Shares. This value was determined using the following steps:

         •    Step 1: Determine the value of 100% of the equity of the Mortgage Bank on a
              marketable, controlling interest basis;

         •    Step 2: Subtract the value of IB Finance Preferred Interests to determine the value of
              the remaining IB Finance Class M Shares on a marketable, controlling interest basis;
              and

         •    Step 3: Adjust the value for lack of control, lack of voting rights, lack of
              marketability, and tracking stock structure to determine the value of the remaining
              IB Finance Class M Shares on a non-marketable, non-controlling basis.
381   The valuation model is developed using a capitalization of the stated dividends rather than forecasted
      dividends. Management projections did not contemplate dividends for at least three years. An alternative
      approach could determine the present value of annual dividends in perpetuity commencing in 2012,
      discounted at a required rate of return on the preferred interest. In this alternative approach, a value at the
      lower end of the value range corresponds to a discount rate of approximately 16% (which is the same
      discount rate used in the discounted cash flow analysis of the equity of the Mortgage Bank), while the upper
      range of value would correspond to an approximately 11% discount rate. Because the IB Finance Preferred
      Interests are senior to common equity and should have a lower discount rate, this alternative framework
      confirms the reasonableness of the results of the capitalization approach.
382   Appendix V.A.2.d, at 8.
383   See Presentation to the Committee of Independent Members of the Board of Directors of Residential Capital,
      LLC Regarding the GMAC Bank Transaction with GMAC, LLC, dated Jan. 22, 2009, at 11, 37
      [GOLDIN00129860].
384   See IB Finance 2008 LLC Agreement, § 2.5(a) [EXAM10801679].
385   See id. § 2.5(b).
386   See id. § 7.1.
387   See id. § 2.1(d).

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The Examiner’s Financial Advisors considered traditional and commonly used approaches to
estimate the Fair Market Value of 100% of the equity of the Mortgage Bank on a marketable,
controlling interest basis as of January 30, 2009:
         •   The Market Approach using guideline financial institutions. The Examiner’s
             Financial Advisors considered the Guideline Publicly Traded Company Method of
             the Market Approach. The Examiner’s Financial Advisors did not employ the
             Guideline M&A Company Method because of a lack of relevant transactions;

         •   The Income Approach using the DCF Method; and

         •   The Asset-Based Approach using the Adjusted Book Value Method.

                       (a) Guideline Publicly Traded Company Method

    The Examiner’s Financial Advisors considered the results of the Guideline Publicly
Traded Company Method, as previously described, for the 2009 Bank Transaction.

                            (i) Selection Of Guideline Companies

     The Examiner’s Financial Advisors selected a group of companies that provide a
meaningful basis for comparison to the Mortgage Bank. Appendix V.A.2.b presents a brief
description of each guideline company.388

                                  (A) Guideline Companies Selection Criteria

      The Examiner’s Financial Advisors employed the same criteria as previously discussed
for the 2006 Bank Restructuring, resulting in a set of ten guideline banking institutions for the
2009 Bank Transaction valuation.389

                                  (B) Comparison With Guideline Companies

      The Examiner’s Financial Advisors observed that the Mortgage Bank was exposed to
greater risk in its operations than many of the publicly traded guideline companies considered
in this analysis, as described above for the 2006 Bank Restructuring. By the time of the 2009
Bank Transaction, the Mortgage Bank was losing money and suffering from the results of
deteriorating asset quality, as evidenced by large loan losses recognized in 2008, and
escalating levels of delinquencies and non-performing assets. As a result, the Mortgage
Bank’s financial performance compared unfavorably to the majority of guideline companies.
388   Appendix V.A.2.b, at 5–7.
389   The guideline company set for the 2009 Bank Transaction differed from the set used for the 2006 Bank
      Restructuring as follows: (1) Downey Financial Corp. and Franklin Bank Corp. were removed because they
      filed for bankruptcy relief in 2008; (2) MAF Bancorp. was removed because it was acquired in 2007;
      (3) Northwest Bancshares, Inc. was removed because it did not meet the criterion requiring residential
      mortgage loans to be greater than 50% of total loans in 2009; and (4) TFS Financial Corp was added (it was
      not a publicly traded company before 2007).

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     Appendix V.A.2.d presents key financial ratios comparing the Mortgage Bank with the
guideline companies.390 Appendix V.A.2.a shows a graph of the loan performance history or
delinquency trends of the Mortgage Bank.391

                            (ii) Calculation Of Market Multiples

     The Examiner’s Financial Advisors considered three commonly used valuation multiples:
the P/TBVE multiple, the LTM P/E multiple, and the Forward P/E multiple. In this analysis,
the Examiner’s Financial Advisors relied solely on a multiple of tangible book value of equity.
The Examiner’s Financial Advisors did not use a price-to-earnings multiple because the
Mortgage Bank’s earnings were negative (both on an LTM basis and projected 2009
earnings).

     In determining appropriate multiples, the Examiner’s Financial Advisors observed that
three guideline companies displayed notably worse financial performance than the Mortgage
Bank.392 As shown in Appendix V.A.2.d,393 relative to the Mortgage Bank, those companies
had suffered larger losses (e.g., worse ROE ratio), and had lower asset quality (e.g., higher
non-performing assets-to-equity ratio). Those three companies had P/TBVE ratios in a 0.0x to
0.1x range. All of the other guideline companies (whose lowest P/TBVE ratio was 0.8x) were
in better financial condition than the Mortgage Bank because they had superior measures of
asset quality, were expected to be profitable in 2009, and all but one was profitable in the most
recent prior year. The Examiner’s Financial Advisors determined that an appropriate multiple
for the Mortgage Bank should fall between the respective ranges of these two groups of
companies. Further, in evaluating an appropriate P/TBVE multiple, the Examiner’s Financial
Advisors noted the low quality of the Mortgage Bank’s book value of equity. This is revealed
by a comparison of the reserve for loan losses as of December 31, 2008, with Ally Bank
management’s projection of future charge-offs and provisions over the 2009 to 2011 period.394
These future losses exceeded the year-end 2008 reserve by over $820 million, as detailed in
Appendix V.A.2.d.395 This amount is over 40% of the NBV for the Mortgage Bank as of
December 31, 2008, and over 80% of the book value of the remaining IB Finance Class M
Shares after giving effect to the exchange of IB Finance Preferred Interests.




390   Appendix V.A.2.d, at 3–4.
391   Appendix V.A.2.a, at 4.
392   These guideline companies include Bank United Financial Corporation, FirstFed Financial Corp., and
      Flagstar Bancorp.
393   Appendix V.A.2.d, at 3–4.
394   Ally Bank’s projections for future charge-offs and provisions were prepared in March 2009. See GMAC
      Bank Board of Director Meeting: 2009–2011 Business Plan Review, dated Mar. 17, 2009, at 12–15, 23–25,
      31–33 [ALLY_0199599].
395   Appendix V.A.2.d, at 7.

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    The Examiner’s Financial Advisors also noted that the Mortgage Bank was
undercapitalized relative to the FDIC’s 11% Tier 1 capital requirement for Ally Bank.396 The
amount of undercapitalization was nearly one-third of NBV.

     Because of the Mortgage Bank’s poor earnings performance, low quality of NBV, and
shortfall in capitalization, the Examiner’s Financial Advisors determined that an appropriate
P/TBVE multiple should be within a range of 0.3x to 0.5x.

                            (iii) Control Premium

      The Examiner’s Financial Advisors gave consideration to premiums paid for controlling
interests for similar companies during 2008 in determining an appropriate control premium for
a 100% equity interest in the Mortgage Bank. The Examiner’s Financial Advisors compiled
data on premiums paid in control transactions involving targets primarily operating as savings
institutions (Standard Industrial Classifications 6035 and 6036) as reported in the Mergerstat
Control Premium Study. The median premium for these companies was 8.3% in 2008.397 The
Examiner’s Financial Advisors noted that for a broader group (financial services), Mergerstat
reported a median premium of 29.3%398 during 2008, while across all industries the median
premium was 31.4%.399 The observed premiums included value paid for synergies in addition
to value of control per se. Appendix V.A.2.b provides a summary of data on control
premiums.400 The Examiner’s Financial Advisors applied a 10% control premium in this
analysis.

                            (iv) Guideline Publicly Traded Company Method: Conclusion

     Based on the application of the Guideline Publicly Traded Company Method, the
indicated range of value of the remaining 1,193,656 IB Finance Class M Shares on a
marketable, controlling basis, before adjustments, is estimated to be approximately $602
million to $1 billion. Appendix V.A.2.d presents detail of the Guideline Publicly Traded
Company Method conclusion.401

                        (b) Income Approach–DCF Method

     The Examiner’s Financial Advisors considered the results of the DCF Method, as
previously described, for the 2009 Bank Transaction.
396   ResCap was obligated to provide capital to the Mortgage Bank by terms of the IB Finance LLC Agreements.
      See Section V.A.2.d(2)(b)(iii) (providing a more detailed discussion of ResCap’s capital support obligations
      under the IB Finance LLC Agreements).
397   MERGERSTAT, CONTROL PREMIUM STUDY: 4TH QUARTER 2008, at 20.
398   Id. at 19.
399   Id. at 3.
400   Appendix V.A.2.b, at 9.
401   Appendix V.A.2.d, at 2.

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                           (i) Estimation Of Discount Rate

     The Examiner’s Financial Advisors used the MCAPM to determine the required return
on equity. The assumptions used in this calculation are consistent with the assumptions
described for the 2006 Bank Restructuring, updated to reflect market conditions in January
2009. Appendix V.A.2.b presents details of the calculation of the discount rate.402

                           (ii) Present Value Of Future Cash Flows And Calculation Of Residual
                                Value

     The Examiner’s Financial Advisors used Ally Bank management’s projections as the
basis for calculating projected cash flows to equity holders. The Examiner’s Financial
Advisors used projections prepared by Ally Bank management for the Mortgage Bank around
the time of the transaction403 and employed a methodology substantially similar to that
described for the 2006 Bank Restructuring.

     The DCF Method was based on a three-year business plan presented to the board of
directors of Ally Bank on March 17, 2009.404 The business plan contained projections for the
Mortgage Bank, including projected balance sheets and income statements. These projections
were provided by management approximately seven weeks after the 2009 Bank Transaction.
The projections are based on financial information reasonably available at the time of the 2009
Bank Transaction and provide evidence of reasonably foreseeable financial performance at
that date.

                           (iii) Adjustment For Capital Deficiency

     The DCF Method considers potential obligations for shareholders to provide adequate
capital. The Ally Bank management projections that the Examiner’s Financial Advisors relied
on were prepared in March 2009,405 after Ally Bank became wholly owned by AFI. The
projections include substantial growth in the automotive division of Ally Bank but not the
Mortgage Bank. The projections also assume significant capital contributions to the
automotive division of Ally Bank but none to the Mortgage Bank.

     In the IB Finance 2006 LLC Agreement, ResCap and AFI committed to make capital
contributions sufficient to: (1) support and grow their respective divisions; and (2) maintain a
level of capitalization in their respective divisions that qualified as “well capitalized” under
federal rules or such higher level of capitalization as may be required by the FDIC or DFI. 406
402   Appendix V.A.2.b, at 14.
403   See GMAC Bank Board of Director Meeting: 2009–2011 Business Plan Review, dated Mar. 17, 2009, at
      12–15, 23–25, 31–33 [ALLY_0199599].
404   See GMAC Bank Board of Director Meeting: 2009–2011 Business Plan Review, dated Mar. 17, 2009
      [ALLY_0199599].
405   See id.
406   IB Finance 2006 LLC Agreement, § 2.1(b) [ALLY_0401862].

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The FDIC’s definition of “well capitalized” (including a 5% Tier 1 Leverage Ratio) was lower
than the requirements imposed on Ally Bank by the FDIC and the DFI during the relevant
period. The IB Finance 2006 LLC Agreement effectively committed ResCap to maintain
capital at the level specified in the agreements with the FDIC and DFI.

     The IB Finance 2008 LLC Agreement retained ResCap’s obligation to provide capital.407
The IB Finance 2008 LLC Agreement made possible a future issuance of IB Finance Preferred
Interests to AFI and clarified that “[t]he holder of any Class M Preferred Units shall not be
required to make any additional capital requirements.”408 Therefore, ResCap would retain its
obligation to provide 100% of any capital required by the Mortgage Bank, even in the event
that AFI became a part-owner of the division as a holder of preferred units.

     The FDIC, Ally Bank, IB Finance, AFI, and Cerberus entered into a “Capital and Liquidity
Maintenance Agreement” on July 21, 2008,409 whereby the parties agreed to maintain the Tier 1
Capital Ratio of Ally Bank at a minimum of 11% for the following three years.410

     The Mortgage Bank had deficient capital relative to ResCap’s obligations under the IB
Finance 2008 LLC Agreement at the time of the 2009 Bank Transaction. Ally Bank reported a
consolidated Tier 1 leverage ratio of 11.1% as of December 31, 2008,411 thus satisfying (on a
consolidated basis) the bank’s agreement with the FDIC. However, this ratio was achieved via
surplus capital in the automotive division of Ally Bank (with a 17.5% ratio)412 and a
deficiency in the Mortgage Bank (with an 8.3% ratio).413 The deficiency in the Mortgage Bank
was expected to deepen after projected losses—Ally Bank management expected the Tier 1
leverage ratio to fall to approximately 5.9% by the end of 2009.414

                           (iv) Adjustment For Capital Deficiency: Conclusion

      Regulators imposed certain capital support requirements with regard to Ally Bank. There
is no evidence that AFI or IB Finance made a capital call to ResCap during 2008 or 2009
arising from these requirements. Nevertheless, the Examiner’s Professionals viewed ResCap’s



407   See IB Finance 2008 LLC Agreement, § 2.1(d) [EXAM10801679].
408   See id.
409   See Capital and Liquidity Maintenance Agreement, dated July 21, 2008, at ALLY_0000042–50
      [ALLY_0000032].
410   See id. at ALLY_0000043–44.
411   See GMAC Bank Consolidated Financial Statements as of December 31, 2008 and December 31, 2007 and
      Independent Auditors’ Report, dated Mar. 17, 2009, at 43 [RC00034535].
412   See GMAC Bank Board of Director Meeting: 2009–2011 Business Plan Review, dated Mar. 17, 2009, at 17
      [ALLY_0199599].
413   See id. at 13.
414   See id.

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contingent capital support obligation as binding. The FDIC restriction was scheduled to end
during 2011. The analysis presented here assumes that equity could revert to a normal industry
capitalization after the expiration of the FDIC restriction.

     ResCap would have had a substantial obligation to contribute additional capital under this
premise. The capital shortfall was treated as a future out-of-pocket obligation for an investor
in the IB Finance Class M Shares. The Examiner’s Financial Advisors limited the obligation
to providing sufficient capital to bring equity to a normal industry equity-to-assets ratio of 9%,
rather than to the 11% required (temporarily) by the FDIC.415

     The Examiner’s Financial Advisors also considered the present value of future cash flows
before considering the obligation to provide additional capital. This implicitly assumes that
the future capital requirement is no higher than the level of capital actually projected
(approximately 6% equity-to-total asset ratio). Under this premise, ResCap would have no
obligation to contribute additional capital, and the Tier 1 leverage ratio would remain above
the FDIC’s minimum threshold of 5% for a “well capitalized” institution (the IB Finance LLC
Agreements required contributions to maintain a “well capitalized” rating in the absence of
more stringent requirements from the FDIC). This premise results in a materially higher value
compared to the alternative premise in which additional capital is required to bring equity to a
normal industry level.

                            (v) Income Approach–DCF Method: Conclusion

     Based on the application of the DCF Method, the indicated value of the remaining
1,193,656 IB Finance Class M Shares on a marketable, controlling basis before adjustments is
estimated to be approximately $412 million to $875 million. Appendix V.A.2.d presents the
details of the DCF Method for the 2009 Bank Transaction.416

                       (c) Asset-Based Approach

     The Examiner’s Financial Advisors estimated the Fair Market Value of the equity of the
Mortgage Bank by adjusting the balance sheet to reflect the Fair Market Value of the
individual assets and liabilities. The Examiner’s Financial Advisors used Ally Bank
management’s estimates of fair value for certain assets and liabilities417 as reported in the
notes to audited financial statements as of December 31, 2008.




415   See Appendix V.A.2.b, at 8.
416   Appendix V.A.2.d, at 5.
417   The notes to the audited financial statements included fair value disclosures for HFS and HFI mortgage
      loans, MSRs, deposits, FHLB borrowings, and other balance sheet items.

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                            (i) Fair Value Estimates

     The Examiner’s Financial Advisors accepted Ally Bank management’s estimate of fair
value (where available) and (where not available) assumed that the carrying value was
indicative of fair value, except as otherwise indicated (see discussion of the loan loss reserve
below).

                            (ii) Loan Loss Reserves

     The Examiner’s Financial Advisors made an adjustment to the value of assets to reflect
projected losses and provisions foreseen in Ally Bank management’s three-year business plan,
but not provided for by the current level of reserves. The derivation of this adjustment is
presented in Appendix V.A.2.d.418

                            (iii) Goodwill

     The Asset-Based Approach applied here adjusts for items carried on the Mortgage
Bank’s balance sheet. The Asset-Based Approach does not adjust for items such as goodwill
or other intangibles not reported on the Mortgage Bank’s balance sheet.

                            (iv) Asset-Based Approach: Conclusion

     The Asset-Based Approach, as presented here, provides a measure of the value of the
assets and liabilities on the Mortgage Bank’s balance sheet before consideration of certain
intangible assets. Appendix V.A.2.d presents a summary of the analysis showing the results of
the Asset-Based Approach.419

                       (d) Adjustments To Value

     The Examiner’s Financial Advisors relied on an average of the Guideline Publicly
Traded Method and the DCF Method to determine the range of the value of the equity of the
Mortgage Bank on a marketable, controlling basis to be $500 million to $900 million as of
January 30, 2009. These indications of value, as previously described, are determinations prior
to certain necessary valuation adjustments. The Examiner’s Financial Advisors made the
adjustments described below.

                            (i) IB Finance Preferred Interests

     The Examiner’s Financial Advisors deducted the value of the IB Finance Preferred
Interests, as previously described, from the indicated range of value of the total equity of the
Mortgage Bank. This results in an estimated value of the remaining IB Finance Class M
Shares on a marketable, controlling basis.
418   Appendix V.A.2.d, at 7.
419   Appendix V.A.2.d, at 6.

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                            (ii) IB Finance Class M Shares: Discount For Attributes Of Shares

    The remaining IB Finance Class M Shares have a number of attributes that require a
lower valuation than indicated for otherwise similar interests. As discussed previously in
connection with the 2006 Bank Restructuring, these include:

         •   Lack of control;

         •   Lack of voting rights;

         •   Lack of marketability; and

         •   Tracking stock structure.

     For the 2009 Bank Transaction, the Examiner’s Financial Advisors used a discount of
40%.420 This is higher than the discount used for the 2006 Bank Restructuring because of the
deteriorating financial condition of Ally Bank and distressed industry conditions in 2009.

                   (3) Bonds Contributed By AFI

      The Examiner’s Financial Advisors estimated the value of the bonds contributed by AFI
in the 2009 Bank Transaction by using the Observable Market Value Method and by
referencing available price quotes proximate to the time of the 2009 Bank Transaction. This
estimate of the Fair Market Value of those bonds, or $600 million, is lower than the value of
$608.5 million that ResCap’s management ascribed to them.421 Appendix V.A.2.d summarizes
this analysis.422

                   (4) 2009 Bank Transaction Valuation Conclusion

                        (a) Value Transferred From ResCap

     Based on the analysis described above, the Examiner’s Financial Advisors estimated the
range of value for the transfer from ResCap on January 30, 2009 (the value of the remaining
1,193,656 IB Finance Class M Shares) to be approximately $107 million to $218 million.

                        (b) Value Received By ResCap

     The Examiner’s Financial Advisors estimated the value received by ResCap from AFI’s
contribution of ResCap bonds on January 30, 2009 to be approximately $600 million.
420   A combined discount in a range of approximately 38% to 46% is obtained by sequentially applying four
      distinct discounts: (1) a discount for lack of control of approximately 8% to 10%; (2) a discount for lack of
      marketability of approximately 25% to 30%; (3) a non-voting discount of approximately 5%; and (4) a
      discount for tracking stock structure of approximately 5% to 10%.
421   See Residential Capital, LLC, Current Report (Form 8-K) (Feb. 3, 2009), at Item 1.01.
422   Appendix V.A.2.d, at 9.

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                   (5) 2009 Bank Transaction Reasonably Equivalent Value Conclusion

     Based upon the above discussion and analysis of the 2009 Bank Transaction, the Examiner
concludes that the evidence supports the proposition that ResCap received reasonably equivalent
value for the 2009 Bank Transaction. Appendix V.A.2.d presents a summary of this analysis and
details the conclusions.423




                   (6) Third Party Valuations

     Goldin Associates prepared a fairness opinion regarding the 2009 Bank Transaction for the
Committee of the Independent Members of the ResCap Board. Their supporting analysis was
detailed in a presentation dated January 22, 2009.424




423   Appendix V.A.2.d, at 1.
424   See Presentation to the Committee of Independent Members of the Board of Directors of Residential Capital,
      LLC Regarding the GMAC Bank Transaction with GMAC, LLC, dated Jan. 22, 2009 [GOLDIN00129860].

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      Goldin Associates employed four valuation methodologies: (1) the Asset-Based Approach;
(2) the DCF Method; (3) the Guideline Publicly Traded Company Method; and (4) the Guideline
M&A Method, the results of which are summarized in the following table.425




     Goldin Associates’ analysis differed from the analysis of the Examiner’s Financial Advisors
in various ways, and the observed differences in assumptions, methodologies, and conclusions
led to a range of value that was higher than the Examiner’s Financial Advisors’ estimate of the
value transferred from ResCap as a result of the 2009 Bank Transaction. While the Examiner’s
Financial Advisors have a different determination on the value transferred from ResCap, this
third-party valuation provides an additional data point that supports the reasonably equivalent
valuation determination regarding the 2009 Bank Transaction as outlined previously.

                e. Subsequent Value Considerations

      The Mortgage Bank reported loan loss provisions of approximately $2.7 billion in 2009,
which contributed to a net loss of over $2 billion in that year.426 A loss of that magnitude would
have eliminated all of the legacy ResCap equity in the Mortgage Bank (even if ResCap had
retained ownership of the remaining IB Finance Class M Shares), which was approximately $1.8
billion as of December 31, 2008.427 The Examiner’s Financial Advisors concluded that there was
no equity value remaining in the Mortgage Bank after December 31, 2009 that could have been
attributed to ResCap’s legacy equity interest in IB Finance.


425   See id. at 37.
426   See Ally Bank Summary Financials [ALLY_PEO_0089617] (showing pre-tax income).
427   See GMAC Bank Board of Director Meeting: 2009–2011 Business Plan Review, dated Mar. 17, 2009, at 14
      [ALLY_0199599].

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     A roll-forward of ResCap’s IB Finance Class M interest would result in a negative capital
balance as of April 30, 2013. Key assumptions for this conclusion are: (1) elimination of
capital contributions made by AFI after January 2009; and (2) adjustment for the net earnings
impact that Ally Bank would have recognized had the parties’ agreed-upon allocation of
revenues and expenses on loans brokered by GMAC Mortgage been respected from August 1,
2009 to April 30, 2012.428

B. GMAC MORTGAGE CONTRACTS WITH ALLY BANK GOVERNING LOAN
   SALE, BROKERAGE, SERVICING,  AND  RELATED  DERIVATIVE
   TRANSACTIONS

      ResCap’s GMAC Mortgage subsidiary historically focused on purchasing and originating
conforming loans with the intent ultimately to sell them to GSEs while retaining the associated
MSRs (though it also engaged in some business involving non-conforming products such as
home-equity loans and jumbo prime loans).429 A portion of GMAC Mortgage’s production
had involved use of Old GMAC Bank since the Bank’s founding in 2001. Old GMAC Bank
had been formed in August 2001 to engage in mortgage lending and investment activities
traditionally associated with federal savings banks. The Bank was able to provide a lower-cost
source of funds by virtue of its access to FDIC-insured deposits and borrowings from the
Federal Home Loan Bank Board.430 Conversely, Old GMAC Bank (and later, Ally Bank) did
not have the infrastructure in place to conduct appropriate hedging, to securitize loans (with
GSEs or private-label investors), or to perform servicing for loans and MSRs, and it looked to
GMAC Mortgage to perform these functions (or to arrange for their performance through
ResCap affiliates).




428   See Section V.B.6.
429   Int. of J. Young, Sept. 28, 2012, at 30:20–31:8, 118:8–16, 120:9–15, 127:10–129:25, 167:7–170:6, 195:1–
      196:21. ResCap essentially ceased purchasing and originating non-conforming loans in 2007, and the
      conforming business remained as the core of ResCap’s ongoing operations.
430   Id. at 196:17–197:24 (noting “[t]his is all about funding”); Int. of David Applegate, Dec. 7, 2012, at 38:5–13
      (“[W]e structured the bank so that certain origination activity would occur through it, so that, while the loans
      were funded, they were utilizing, during that funding period, GMAC Bank’s lower cost access. And then the
      loans would generally be sold back to Mortgage and then securitized and put into the, you know, secondary
      market. And then GMAC Mortgage would retain the servicing.”), 93:1–2 (“[T]he goal around the bank was
      to optimize it as a funding source.”); Int. of S. Khattri, Oct. 25, 2012, at 28:19–30:15; Int. of A. Celini, Feb.
      18, 2013, at 22:11–22 (“The bank’s primary business during that time was really to serve as a funding
      conduit. We had access to the federal home loan bank, consumer deposits . . . . We’d provide liquidity. That
      was our goal at that time.”). This advantage was relatively small in “bull” market periods, when ResCap’s
      (and other enterprises’) cost of borrowing from other sources was relatively inexpensive, and more
      pronounced in “down” markets, when ResCap’s cost of borrowing from other sources increased. See Int. of
      D. Walker, Nov. 28, 2012, at 53:18–55:15; 2006 ResCap Plan Presentation, dated Jan. 31, 2006, at 133
      [RC40012974] (describing Old GMAC Bank’s then-current funding advantage as 13 basis points).

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       Of course, GMAC Mortgage’s use of the Bank as a conduit or source of loans that
GMAC Mortgage could securitize or service was limited by the size of the Bank’s balance
sheet, the volume of deposits, and regulatory restrictions, including restrictions on transactions
with affiliates.431 Nonetheless, from and after 2007, Ally Bank came to account for an
increasing proportion of GMAC Mortgage’s loan production. By January 1, 2009, almost all
of the production was being channeled through the Bank, which by then was also retaining
title to MSRs on Fannie Mae and Freddie Mac loans (but not Ginnie Mae loans).

     GMAC Mortgage and the Bank were parties to six principal agreements related to this
business in effect at various times from 2001 forward:

       (1) The Correspondent Agreement, which governed GMAC Mortgage’s sale of loans to
           the Bank;

       (2) The Master Mortgage Loan Purchase and Sale Agreement or MMLPSA, which
           governed GMAC Mortgage’s purchase of loans from the Bank;

       (3) The Pipeline Swap, a derivative transaction under which GMAC Mortgage assumed
           certain risks and rewards related to changes in the market value of certain loans;

       (4) The Broker Agreement, entered into effective January 1, 2009, when GMAC
           Mortgage ceased originating loans (in all but a few states), and instead began
           brokering loans to Ally Bank;

       (5) The Original Servicing Agreement pursuant to which GMAC Mortgage serviced
           mortgage loans for the Bank;432 and

       (6) The MSR Swap, another derivative transaction, under which GMAC Mortgage
           assumed certain risks and rewards related to the fluctuation in the value of the Bank’s
           MSR portfolio.

These agreements, particularly the MMLPSA, Pipeline Swap, Correspondent Agreement, and
Broker Agreement, were interconnected. Corey Pinkston, Head of Corporate Debt and Equity
of GMAC’s Treasury, aptly described understanding them as “detangl[ing] the spaghetti.”433


431   See Section V.B.1.b (discussing regulatory restrictions); Int. of R. Groody, Dec. 17, 2012, at 246:6–16.
432   GMAC Mortgage and Ally Bank are also parties to the A&R Servicing Agreement, as discussed in Section
      V.C.
433   Int. of C. Pinkston, Nov. 8, 2012, at 127:4–128:18 (“It’s spaghetti in the term that you have a series of
      transactions that at the end of the day provided the ability for ResCap to continue to do the business that it was
      in but use the bank as effectively a funding vehicle . . . . [I]f you’re thinking about certain strategic transactions
      you’ve got to deal with all of these various touch points and coordination to make sure that it all works. So
      that’s where the spaghetti term was probably used a fair amount. Detangle the spaghetti.”); see also Int. of J.
      Young, Oct. 10, 2012, at 6:3–18 (noting that components of the MMLPSA, Pipeline Swap, and MSR Swap
      work together).

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     This enterprise is further complicated by several additional factors: First, the various
agreements underwent numerous amendments over time. Second, over the course of the period
in question, a number of the employees most knowledgeable about the agreements left or were
discharged, including, in particular, Bank officials Albert Celini and Robert Groody. The
personnel who replaced them in later years, reliant on the vagaries of imperfect institutional
memory, frequently demonstrated an understanding of the agreements that was less than
accurate or complete.434 Third, there have been a number of anomalies in the implementation of
these agreements. These anomalies include the parties’ application of certain of the agreements
in ways that cannot be squared with their language (but which application some witnesses
nonetheless maintain reflected the parties’ “intent”),435 and, in one significant instance, a
substantial shift away from the negotiated and agreed-upon economics of a set of transactions,
apparently as the unwitting result of a shift in Ally Bank’s accounting methodology.

      Certain of these arrangements, particularly the MSR Swap and the Pipeline Swap, have
attracted particular suspicion and concern that they were key cogs in a scheme to impose losses
on GMAC Mortgage/ResCap while insulating the Bank. The evidence concerning the purpose
and history of these transactions, however, does not support this theory. Moreover, review and
analysis of the pertinent accounting and financial records does not bear out the notion that GMAC
Mortgage incurred significant net losses as a result of these transactions.436 As discussed in
greater detail in Sections V.B.12.a and V.B.12.b, GMAC Mortgage was near break-even on the
Pipeline Swap and “in the money” on the MSR Swap. Indeed, as discussed in Section V.B.9.b(5),
provisions of the MSR Swap governing the disposition of assets on termination arguably were
unduly favorable to GMAC Mortgage. Of course, that is not the end of the analysis; the parties
understood that ResCap/GMAC Mortgage would hedge these risks in the market. However,
while there are substantial obstacles to allocating the results of ResCap’s market hedges
specifically to the loans subject to the Pipeline Swap and the Ally Bank-owned MSRs, the
available evidence suggests that ResCap/GMAC Mortgage were also “in the money” on these
market hedges as well. In sum, the evidence indicates that GMAC Mortgage received a net
benefit from the Pipeline Swap, the MSR Swap and the market hedges relating thereto, assessing
the entirety of the economics of these transactions as they were implemented by the parties.
434   For example, as discussed in Sections V.B.4 and V.B.5, from 2004 to July 2008, the Pipeline Swap applied
      only to the Bank’s HFI portfolio; the Pipeline Swap did not apply to the Bank’s HFS portfolio until July 1,
      2008. Yet, in interviews and meetings with the Examiner’s Financial Advisors, current Ally Bank and
      ResCap personnel repeatedly asserted that the Pipeline Swap had always applied to HFS loans; see, e.g., Int.
      of J. Whitlinger, Nov. 30, 2012, at 134:19–137:20; Int. of C. Dondzila, Sept. 27, 2012, at 252:14–253:2.
435   See Sections V.B.3.a(4), V.B.5.a.
436   Concerns about the MSR Swap, in particular, seem to stem from statements made by Marano, who described
      the MSR Swap as an “absurd transaction” in a 2010 e-mail responding to FDIC objections that the interest
      rate used to calculate payments to the Bank under the Swap was too low. E-mail from T. Marano (Apr. 14,
      2010) [ALLY_PEO_0065507] (“In essence we all know the bank owns the MSR. Yet they have shifted the
      risk to Rescap—that borders on an absurd transaction.”). When interviewed, Marano explained that initially
      he had not understood the transaction, and that he subsequently learned that the rate economics were roughly
      equivalent to the Citibank MSR credit facility. Int. of T. Marano, Nov. 26, 2012, at 239:16–240:14. In any
      event, as discussed in text and in Section V.B.12.b, the claims made by or attributed to Marano about the
      MSR Swap’s economics are contradicted by analysis of the actual results under the Swap.

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     There nonetheless remain several issues concerning the implementation of these
agreements that give rise to potential claims on behalf of the Estate, detailed below and in
Section VII.L.2.

      1. Restrictions On Affiliate Transactions Applicable To GMAC Mortgage And The Bank

      These contractual relationships between GMAC Mortgage and Ally Bank implicated
restrictions on affiliate transactions imposed by ResCap’s Operating Agreement and by
federal banking regulations.

               a. The ResCap Operating Agreements

     As discussed in Sections III.E and VII.L.2.a(1)(a)(ii)(B), the 2005 Operating Agreement
and 2006 Amended Operating Agreement imposed restrictions on ResCap’s transactions with
GMAC Affiliates, requiring, inter alia, that they be “consistent with those that parties at
arm’s-length would agree to and for fair value,”437 and any departure from these strictures had
to be approved by ResCap’s Independent Directors.438 As discussed below, the
contemporaneous documentation confirms that, with the exception of the Correspondent
Agreement, none of these agreements is consistent with the terms into which parties at arm’s
length would have entered.439 The relationship between GMAC Mortgage and Ally Bank was
sui generis, and all of the agreements have terms that were not available in the market.

     Nonetheless, with three exceptions in 2010 and 2011 (all occurring in the context of
increased involvement by outside counsel),440 these agreements and amendments thereto were
not brought to the ResCap Board441 for approval, and, a fortiori, were not approved by
ResCap’s Independent Directors.

     Whether this gives rise to a viable cause of action is discussed in Section
VII.L.2.a(1)(a)(ii)(B).



437   See 2005 Operating Agreement, § 2(b) [ALLY_0140795] (emphasis added); 2006 Amended Operating
      Agreement, § 2(b) (Residential Capital, LLC, Current Report (Form 8-K) (Nov. 30, 2006), Ex. 10.1)
      (emphasis added).
438   2005 Operating Agreement, § 8 [ALLY_0140795]; 2006 Amended Operating Agreement, § 8 (Residential
      Capital, LLC, Current Report (Form 8-K) (Nov. 30, 2006), Ex. 10.1).
439   See Sections V.B.10.c, V.B.6.f; see also KPMG Report, at RC40022079 [RC40022044] (noting that the
      agreements include provisions “not typically seen in ‘arm’s length’ transactions”).
440   The three occasions on which agreements or amendments thereto were presented to the ResCap Board are
      expressly noted in Sections V.B.9.d, V.B.10.b, and V.B.10.d. In the discussion below, unless presentation to
      the ResCap Board is specifically noted, the Examiner has found no evidence that the matter was submitted to
      the ResCap Board.
441   Nor were the agreements approved by the GMAC Mortgage board of directors, which was composed entirely
      of insiders.

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                b. Bank Regulatory Restrictions

     Ally Bank was subject to federal regulatory restrictions on its transactions with affiliates.
In particular, under Federal Reserve Act sections 23A and 23B,442 the terms of the Bank’s
agreements with its affiliates are required, inter alia, to be no less favorable to the Bank than
an arm’s-length, market transaction.443 Further, Ally Bank was only permitted to purchase up
to 50% of GMAC Mortgage’s loan production under 12 C.F.R. § 250.250 (an exemption from
broader restrictions on an “extension of credit” by a bank to an affiliate).444 The general aim of
these regulations, and of the FDIC in enforcing them, is to protect depositors and the Deposit
Insurance Fund from depredations by a bank’s affiliates.

     Ally Bank generally attempted to document that these agreements complied with
regulatory requirements through Affiliate Transaction Memos explaining that the particular
agreement’s terms were at market or better than market from Ally Bank’s perspective. The
Bank periodically re-reviewed the transactions, documenting continued compliance in a


442   12 U.S.C. §§ 371c, 371c-1.
443   Sections 23A and 23B of the Federal Reserve Act are intended to limit the risks that may arise when a bank
      that is a member of the Federal Reserve system engages in transactions with one of its affiliates.
      Section 23A has four primary components. First, the statute limits a member bank’s “covered transactions”
      with its affiliates, including, among other things, asset purchases from, extensions of credit to, investments in
      securities issued by and guarantees for the benefit of such affiliates. See 12 C.F.R. § 223.3(h). Covered
      transactions with any single affiliate may not exceed 10% of the member bank’s capital and surplus, while
      aggregate covered transactions with all affiliates may not exceed 20% of that amount. See 12 C.F.R. §§
      223.11, 223.12. Second, subject to certain exceptions, a member bank may not purchase “low quality assets”
      from an affiliate. See 12 C.F.R. § 223.15. Third, covered transactions between member banks and their
      affiliates must be “consistent with safe and sound banking practices.” 12 C.F.R. § 223.13. Finally, a bank’s
      loans to, or guarantees for the benefit of, its affiliates must be secured by an amount of collateral fixed by
      statute. See 12 C.F.R. § 223.14.
      Additionally, section 23B requires that certain transactions between a bank and its affiliates occur on an
      arm’s-length, market-rate basis. In particular, bank transactions that must be arm’s-length include: (1)
      “covered transactions”; (2) asset sales to the affiliate; (3) payment of money or provision of services to an
      affiliate; (4) any transaction in which an affiliate acts as an agent or broker or receives a fee for its services to
      the bank or to any other person; and (5) any transaction or series of transactions with a third party if an
      affiliate has a financial interest in the third party or if an affiliate is a participant in such transaction or series
      of transactions. See 12 C.F.R. §§ 223.51–223.56.
444   Regulation W implements and clarifies the scope of sections 23A and 23B of the Federal Reserve Act. See
      12 C.F.R. § 223.1. In particular, Regulation W contains what is generally referred to as the “250.250
      exemption.” Under the 250.250 exemption, a member bank may purchase a loan receivable from an affiliate,
      without regard to the quantitative or asset quality limits of sections 23A and 23B, if: (1) the loan was
      originated by the affiliate; (2) the bank independently evaluates the borrower’s credit before the affiliate
      commits to make the loan; (3) the bank commits to purchase the loan before the affiliate commits to make
      the loan; (4) the bank does not make a blanket advance commitment to purchase loans from the affiliate; and
      (5) the amount of the loan, aggregated with the amount of all other loans purchased from the affiliate during
      the preceding 12 calendar months by the bank and its depository affiliates, is no more than 50% of the
      affiliate’s loan originations during that period. See 12 C.F.R. § 223.42(k).

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further Affiliate Transaction Memo.445 In addition, the various agreements and amendments
were presented to the Bank’s Board for approval, accompanied by representations from
management that the arrangements were compliant with Rules 23A and 23B.446

      As discussed below, from at least 2007 forward, the agreements discussed here became
the subject of increasing FDIC scrutiny, concern that the transactions were not properly
documented, and demands that Ally Bank better justify that the transactions were compliant or
alter their terms.

      2. The Correspondent Agreement

      Shortly after Old GMAC Bank was chartered, it entered into an August 21, 2001
Correspondent Agreement with GMAC Mortgage, which provided for GMAC Mortgage sales
of loans it had originated or purchased to the Bank.447 The Correspondent Agreement was a
standard form used by the Bank with other correspondent lenders448 from whom it purchased
loans.449 The Agreement provided for purchase at “product market pricing existing on the day
of sale” as evidenced by the Bank’s “wholesale pricing grid” used to purchase loans from
other correspondents.450 The Agreement specifically noted that GMAC Mortgage would be
entitled to charge and retain origination fees and any collected discounts in excess of the
purchase price.451 Further, GMAC Mortgage provided to the Bank the standard loan-level
representations and warranties that were required of all correspondent lenders.452




;
445   See, e.g., GMAC Bank Affiliate Transaction Memorandum, Master Mortgage Loan Purchase and Sale
      Agreement, dated Dec. 14, 2001 [ALLY_0018320]; GMAC Bank Affiliate Transaction Memorandum,
      Master Mortgage Loan Purchase and Sale Agreement Amended and Restated 6/1/07, dated June 6, 2007
      (Revised Oct. 31, 2007) [ALLY_0017869].
446   See, e.g., Minutes of a Regular Meeting of the Board of Directors of GMAC Bank, Nov. 30, 2006, at 2
      [ALLY_PEO_0020880].
447   Correspondent Agreement, at 1 [ALLY_0017350].
448   A “correspondent” mortgage lender is a lender that originates and funds loans in its own name, but sells the
      loans to larger mortgage lenders or on the secondary market. See COMPTROLLER OF THE CURRENCY,
      ADMINISTRATOR OF NATIONAL BANKS, MORTGAGE BANKING COMPTROLLER’S HANDBOOK (Procedures
      dated Mar. 1998), at 9 (Wholesale) and 31 (definition of Correspondent), http://www.occ.gov/publications/
      publications-by-type/comptrollers-handbook/mortgage.pdf.
449   See Int. of A. Celini, Feb. 18, 2013, at 33:24–34:14 (as a general rule, the affiliate correspondent agreements
      were based on market agreements at the start but over time they may have been modified to reflect changes
      in the business practices).
450   See Correspondent Agreement, § 3(f) [ALLY_0017350]; Int. of A. Celini, Feb. 18, 2013, at 37:5–24.
451   See Correspondent Agreement, § 5 [ALLY_0017350].
452   See id. § 7.

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      The Correspondent Agreement was assumed by Ally Bank in the 2006 Bank
Restructuring.453 While there were subsequent revisions of the form of agreement governing
GMAC Mortgage sales to the Bank, the market pricing terms and allocation of revenues
effected by the Agreement were unchanged through the adoption of the Broker Agreement in
late 2008,454 discussed in Section V.B.6.

      As noted above, the Bank’s purchase of loans from GMAC Mortgage was permissible
under the “250.250 exception,” but was limited to 50% of GMAC Mortgage’s twelve-month
rolling production.455 These loans essentially were “warehouse[d]”456 with the Bank (taking
advantage of its lower cost of funds) until GMAC Mortgage was ready to pool them with
other loans for sale to a GSE457 or to another investor.458 The Bank then sold the loans back to
GMAC Mortgage pursuant to the Master Mortgage Loan Purchase and Sale Agreement,459
discussed below. Loans that first had been sold by GMAC Mortgage to Ally Bank under the
250.250 exception were 6.5% of the total volume of loans sold to GMAC Mortgage under the
MMLPSA in 2003; this figure grew to a peak of 46.1% in 2007, before dropping to
approximately 14.3% in 2008 as GMAC Mortgage’s loan production decreased.460

453   See Purchase and Assumption Agreement, at Sched. A [ALLY_PEO_0021066]; Review of GMAC Bank
      Affiliate Agreements Assigned from GMAC Bank FSB to GMAC Bank ILB, dated Nov. 30, 2006, at
      ALLY_0260095–96 [ALLY_0260087].
454   See Int. of A. Celini, Feb. 18, 2013, at 38:11–14, 35:16–23; Correspondent Agreement, at Recitals
      [ALLY_0017350] (incorporating terms and conditions in the GMAC Bank Credit Policy Manual and
      Correspondent Manual); Client Contract, dated Mar. 1, 2008 [ALLY_0248292] (incorporating terms and
      conditions in the GMAC Bank Correspondent Manual).
455   12 C.F.R. §§ 250.250, 223.42(k); see also E-mail from S. Whilden to S. McCumber (Feb. 18, 2008)
      [EXAM30329671]; GMAC Bank Charter–Strategic Analysis, Draft Discussion Document, dated Nov. 1,
      2007, at 19 [EXAM10152682].
456   Memorandum, GMAC Mortgage to GMAC Bank Loan Transfer SAB99 Review, dated Jan. 6, 2009, at 2
      [EXAM12042904].
457   GMAC Mortgage: (1) resold Fannie Mae-eligible and Freddie Mac-eligible loans to those entities, who in
      turn deposited them into securitization trusts; and (2) deposited Ginnie Mae-guaranteed loans into
      securitization trusts itself and sponsored the issuance of mortgage-backed securities or certificates by such
      trust in whole-loan sales and securitizations. First Day Affidavit, ¶ 22; see also Int. of R. Groody, Dec. 17,
      2012, at 73:12–74:8.
458   Int. of R. Groody, Dec. 17, 2012, at 73:12–74:8, 85:10–86:9; see also Int. of A. Celini, Feb. 18, 2013, at
      29:3–15 (“The bank never funded or purchased any loans that . . . didn’t have a take-out investor.”). “Held
      for sale” loans were held on Ally Bank’s balance sheet for an average of twenty-seven days until the loans
      were sold. Letter from Arnold & Porter LLP to Board of Directors of Ally Bank (May 24, 2011), at 2
      [EXAM00000137].
459   Int. of R. Groody, Dec. 17, 2012, at 73:12–74:8, 18:9–12.
460   GMAC Mortgage Corporation Consolidated Financial Statements as of and for the years ended
      December 31, 2004 and 2003 (Restated), at 46 [EXAM00231260]; GMAC Mortgage Corporation
      Consolidated Financial Statements As of and for the years ended December 31, 2005 and 2004 (Restated), at
      51 [EXAM00231553]; ResCap Financial Statements-Related                   Party Footnotes—2006–2011
      [EXAM00229659].

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      3. The Master Mortgage Loan Purchase And Sale Agreement (Pre-July 2008)

               a. The 2001 MMLPSA

     The original Master Mortgage Loan Purchase and Sale Agreement (the 2001 MMLPSA)
was entered into between GMAC Mortgage and Old GMAC Bank on December 15, 2001, to
govern GMAC Mortgage’s purchases of loans (including both First Lien Loans461 and Second
Lien Loans462 such as home equity loans) from the Bank.463 Subject to certain amendments,464
the 2001 MMLPSA remained in place until the 2006 Bank Restructuring discussed in
Section V.A.465

     Most loans sold by Old GMAC Bank to GMAC Mortgage were loans originated by third-
party correspondent lenders.466 As noted above, the Bank also sold a small volume of loans
purchased from GMAC Mortgage pursuant to the Correspondent Agreement. In addition the
Bank sold a small volume of loans that were brokered by third parties and originated by the
Bank itself.467




461   As used in this Section, “First Lien Loan” shall mean (1) an individual mortgage loan (other than a HELOC)
      secured by a mortgage that creates a first priority lien upon the pledged collateral; and/or (2) in the context of
      an MMLPSA, a “First Lien Mortgage Loan” as defined in the applicable MMLPSA.
462   As used in this Section, “Second Lien Loan” shall mean (1) an individual mortgage loan secured by a
      mortgage that creates a second priority lien upon the pledged collateral; (2) a HELOC; and/or (3) in the
      context of an MMLPSA, a “Second Lien Mortgage Loan” as defined in the applicable MMLPSA.
463   2001 MMLPSA [ALLY_0018253].
464   Amendments to the 2001 MMLPSA include the Addendum to 2001 MMLPSA, dated Jan. 22, 2002
      [ALLY_0201226]; Second Addendum to 2001 MMLPSA, dated June 4, 2002 [ALLY_0018245]; Third
      Addendum to 2001 MMLPSA, dated Jan. 1, 2003 [ALLY_0018247]; Fourth Addendum to 2001 MMLPSA,
      dated Sept. 1, 2004 [ALLY_0018249].
465   GMAC Mortgage entered into a new MMLPSA with new GMAC Bank dated October 6, 2006. See Section
      V.B.3.b.
466   In January 2002, Old GMAC Bank acquired GMAC Mortgage’s correspondent lending business, pursuant to
      which Old GMAC Bank purchased closed mortgage loans from correspondents. See Int. of A. Celini, Feb 18,
      2013, at 53:9–15. By 2007, most purchases from correspondent lenders were conducted through GMAC
      Bank. See Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2008), at 5; see also Int. of R.
      Groody, Dec. 17, 2012, at 16:17–22.
467   Int. of R. Groody, Dec. 17, 2012, at 18:1–2; Int. of A. Celini, Feb. 18, 2013, at 40:17, 41:19–23.

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        Significant terms of the 2001 MMLPSA included the following:

                     (1) Loan Purchase Requirements

     The 2001 MMLPSA initially did not mandate that GMAC Mortgage purchase, or that
Old GMAC Bank sell, any particular loans, but instead simply provided a framework for sales
otherwise agreed upon through separate offers by the Bank and acceptances (as to some or all
of the offered loans) by GMAC Mortgage.468

     A June 2002 amendment mandated that GMAC Mortgage purchase and Old GMAC
Bank sell all “First Lien Mortgage Loans to be originated or acquired by” Old GMAC Bank469
(but did not include Second Lien/home equity loans in this obligation).470 Then, in a
September 2004 amendment, the purchase/sale obligation was limited to “any and all First
Lien Mortgage Loans to be originated by [the Bank] that are classified on the balance sheet of
the [Bank] as ‘held for sale.’”471

     To facilitate purchases and their coordination with GMAC Mortgage’s sales and
securitizations of packages of loans,472 Old GMAC Bank was required to provide GMAC
Mortgage with loan-level information.473 Identification of the specific loans to be included in a
particular purchase was then left to GMAC Mortgage, which was required to notify Old
GMAC Bank of its intent to purchase and submit a list of the loans to be purchased.474 While



468   2001 MMLPSA, Art. II [ALLY_0018253].
469   Second Addendum to 2001 MMLPSA, dated June 4, 2002, ¶ 3 [ALLY_0018245].
470   According to Celini, there was no hedging done for home equity loans as most were floating rate loans. As
      there was minimal interest rate and market risk, “the mandatory nature of the sale isn’t as explicit here . . . .
      But there was no change in the intent that . . . the affiliate would take us out.” Int. of A. Celini, Feb. 18, 2013,
      at 105:1–8.
471   Fourth Addendum to 2001 MMLPSA, dated Sept. 1, 2004, ¶ 2 [ALLY_0018249]. This change was made
      when the Bank decided to begin maintaining an HFI portfolio. Int. of A. Celini, Feb. 18, 2013, at 101:4–18.
472   According to Dondzila:
           [W]hat would, practically speaking, be happening is that the group within ResCap that pools loans
           would be looking at, collectively, its portfolio, meaning ResCap’s portfolio of saleable loans and
           Ally Bank’s portfolio of saleable loans, and would be looking to pool those loans for sale.
           And so, they don’t just say, ‘Oh, give me all the production,’ . . . [b]ut, . . . the onus was on the
           purchaser to say, “Here are the loans that I’m intending to purchase,” and then providing
           presumably some of this notification, and then those loans would subsequently be sold, and then
           ResCap would have already probably sold those loans to one of the agencies or into a Ginnie [Mae]
           securitization.
      Int. of C. Dondzila, Sept. 27, 2012, at 201:6–24; see also Int. of R. Groody, Dec. 17, 2012, at 85:16–86:9.
473   Second Addendum to 2001 MMLPSA, dated June 4, 2002, § 2.2(a) [ALLY_0018245].
474   Id. § 2.2(b), (c).

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mandating the purchase and sale of all of the Bank’s HFS loans, the 2001 MMLPSA, as
amended, did not specify a mechanism for assuring that all subject loans were purchased, or
deadlines for such purchases.475

                    (2) Servicing Rights

     The 2001 MMLPSA, as amended, provided that Old GMAC Bank would not retain
MSRs for loans sold under the agreement, but would instead sell the loans “as whole loans and
on a servicing-released basis.”476

                    (3) Purchase Price

     The 2001 MMLPSA initially provided that the Purchase Price for loans would be the
“unpaid principal balance” of the loan (“UPB”), plus “any accrued and unpaid interest,” plus a
“Purchase Price Premium” to be specified in Exhibits to the Agreement.477 Exhibit C to the
2001 MMLPSA specified that the Premium for (second-lien) Home Equity Loans was to be
450 basis points.478 However, the version of the first-lien loan pricing exhibit attached to the
2001 MMLPSA as Exhibit B says it is “TO BE SUPPLIED.”479 The parties’ productions did
not contain a version of Exhibit B specifying the original Purchase Price Premium for First
Lien Loans. A contemporaneous Old GMAC Bank Affiliate Transaction Memo prepared by
Celini, the Bank official primarily responsible for affiliate transactions,480 stated that the
Purchase Price Premium for loans was 250 basis points (without distinguishing between first-
lien and second-lien loans).481 In his interview, Celini explained that the first-lien loan pricing



475   Id. § 2.2; Fourth Addendum to 2001 MMLPSA, dated Sept. 1, 2004 [ALLY_0018249].
476   2001 MMLPSA, § 2.1 [ALLY_0018253]; Second Addendum to 2001 MMLPSA, dated June 4, 2002, § 2.1
      [ALLY_0018245]; Fourth Addendum to 2001 MMLPSA, dated Sept. 1, 2004, § 2.1 [ALLY_0018249].
477   2001 MMLPSA, §§ 1.21, 1.22, 2.4(c), 2.4(d) [ALLY_0018253]. As discussed in Section V.B.3.a(4), the
      development of these pricing provisions relates to issues regarding representations and warranties provided
      under the 2001 MMLPSA; accordingly, it is discussed in some detail here.
478   Id. Ex. C. The Premium for Home Equity Loans was later reduced to 175 basis points. Third Addendum to
      2001 MMLPSA, ¶ 2 [ALLY_0018247].
479   2001 MMLPSA, Ex. B [ALLY_0018253].
480   Celini, hired in 2000 to become the CFO of Old GMAC Bank, worked on the initial chartering process for
      the Bank, and then also served as chief credit and risk officer from 2003–2006. His primary responsibility
      was to expand the lending capacity of the Bank through the 250.250 exemption. Int. of A. Celini, Feb. 18,
      2013, at 6:15–17, 7:22–8:3, 9:3–10:13, 11:1–8. He became CFO of Ally Bank in November 2006. Celini’s
      responsibilities also included the Bank’s affiliate agreements. Int. of A. Celini, Feb. 18, 2013, at 8:14–18. He
      signed a number of the subsequent agreements and amendments addressed in this Section on behalf of the
      Bank, and authored several of the related Bank Affiliate Transaction Memoranda. He left the Bank in
      October 2009. Int. of A. Celini, Feb. 18, 2013, at 15:11–15.
481   GMAC Bank Affiliate Transaction Memorandum, Master Mortgage Loan Purchase and Sale Agreement,
      dated Dec. 14, 2001, at 2 [ALLY_0018320].

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had not been settled at this point, since the Bank started off by selling home equity loans
rather than first-lien loans, and first-lien loan pricing was not resolved until just over a month
later, when the parties adopted an Addendum to the 2001 MMLPSA.482

     The January 22, 2002 Addendum replaced the Purchase Price Premium Exhibit for First
Lien Loans with a new Exhibit B specifying that “Pricing for first mortgage loans sold from
GMAC Bank to [GMAC Mortgage] will be at the Bank’s cost basis in the loan (UPB +
Premium/Discount + SRP) as of the date of sale.”483 As noted above, “UPB” references the
unpaid principal balance on the loan. “Premium/Discount” references an adjustment made to
the carrying value of a loan where, e.g., the interest rate varies from the market rate because
the buyer pays points up front for a lower rate or accepts a higher rate but pays no points.484
“SRP” references the “servicing-released premium,” a payment by the purchaser of a
mortgage to the seller for the release of the servicing rights on the underlying loan.

     Celini and Groody485 explained that the effect of these provisions was that GMAC
Mortgage acquired First Lien Loans at Old GMAC Bank’s cost (rather than paying market
value for the loans), so that GMAC Mortgage recognized the gain (or loss) on sale for any
mortgage, including the benefit (or loss) resulting from any change in the market value of the




482   Int. of A. Celini, Feb. 18, 2013, at 51:11–21, 52:3–13, 53:22–24. This account is in some tension with
      Celini’s contemporaneous Bank Affiliate Transaction Memorandum’s recitation of a premium of “250 basis
      points” for “loans” generically. This does not appear to have been a reference to the premium for Home
      Equity Loans (as defined in the 2001 MMLPSA) and Lines of Credit (as defined in the 2001 MMLPSA),
      which were subject to the 450 basis point premium specified in Exhibit C. The “250 basis points” reference
      in the Affiliate Transaction Memorandum consequently might most readily be understood as a statement of
      the premium applicable to first-lien loans. But see Int. of A. Celini, Feb. 18, 2013, at 50:6–51:10.
483   Addendum to 2001 MMLPSA, dated Jan. 22, 2002, ¶ 2, Ex. B [ALLY_0201226] (emphasis added). The
      revision of Exhibit B is not entirely harmonious with the text of sections 1.21 and 1.22, which indicate that
      the Exhibit is simply supposed to set forth the “Purchase Price Premium.” 2001 MMLPSA, §§ 1.21, 1.22
      [ALLY_0018253]. The revised Exhibit B in the Addendum to the 2001 MMLPSA speaks not merely to the
      Purchase Price Premium, but sets forth the complete “Pricing for first mortgage loans.” Addendum to 2001
      MMLPSA, dated Jan. 22, 2002, Ex. B [ALLY_0201226].
484   Int. of A. Celini, Feb. 18, 2013, at 56:6–24.
485   Groody joined Old GMAC Bank as its CFO in May 2005, became Chief Mortgage Accountant of Ally Bank
      in the 2006 Bank Restructuring, and became Ally Bank’s EVP and COO in December 2007. Int. of R.
      Groody, Dec. 17, 2012, at 8:5–9:3, 9:19–25, 10:12–11:13, 60:15–20, 67:1–5, 280:24–281:8. He was a
      signatory to every version and amendment of the MMLPSA adopted after he joined Old GMAC Bank in
      May 2005, beginning with the 2006 MMLPSA; he also executed a number of Pipeline Swap and MSR Swap
      schedules and amendments. He left the Bank in May 2009. Id. at 11:24–12:1.

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loan before its sale under the MMLPSA.486 Thus, the 2001 MMLPSA was a forward sale
commitment that essentially served as a hedge for Old GMAC Bank against loan market-value
fluctuations.487 Old GMAC Bank’s revenue from the loans consisted of the net interest carry
for the period that the loan was on Old GMAC Bank’s books.488 According to Celini, the
pricing structure was the same for each of Old GMAC Bank’s loan channels—loans were
purchased at Old GMAC Bank’s cost basis.489

     These terms were not “market” terms, from either party’s perspective. In a sale to a third
party, Old GMAC Bank ordinarily would have retained the gain on sale, not merely the net
interest carry. However, Old GMAC Bank would have been un-hedged, could not have
purchased a similarly complete hedge in the market, and would have incurred significant
expense in constructing a (less complete) hedge through third-party arrangements.490

                    (4) Loan-Level Representations And Warranties

     In Article IV, Old GMAC Bank provided a lengthy series of “loan-level” representations
and warranties to GMAC Mortgage for “each Mortgage Loan sold” under the 2001
MMLPSA, including representations and warranties that the loan had been originated and
serviced in accordance with applicable law, was enforceable, etc.491

    Celini and Groody both asserted that, despite the presence of these representations and
warranties in the text of the 2001 MMLPSA, the parties’ “intent” was that Old GMAC Bank
not be held responsible for representations and warranties.492 While their recollection or




486   Int. of A. Celini, Feb. 18, 2013, at 55:1–18 (“So our goal for pricing would be for us to be taken out at our
      cost basis. In other words, whatever the basis of the asset that the bank had acquired the loan at, that it would
      be removed at that cost basis, so that this would be a risk-free transfer from the bank’s perspective.”); Int. of
      R. Groody, Dec. 17, 2012, at 88:17–89:6 (discussing cost basis under 2001 MMLPSA), 90:22–91:25, 92:21–
      93:6.
487   Int. of R. Groody, Dec. 17, 2012, at 96:20–97:18; see also GMAC Bank Affiliate Transaction Memorandum,
      Master Mortgage Loan Purchase and Sale Agreement Amended and Restated 6/1/07, dated Oct. 31, 2007, ¶ 2
      [ALLY_0017869] (explaining that the June 2007 MMLPSA functioned as a hedge for the Bank).
488   Int. of A. Celini, Feb. 18, 2013, at 232:8–233:14 (Bank revenues on first lien HFS loans were limited to net
      carry, and, in later years, revenues associated with retained MSRs under the MSR Swap); Int. of R. Groody,
      Dec. 17, 2012, at 96:20–97:15.
489   Int. of A. Celini, Feb. 18, 2013, at 59:5–13.
490   GMAC Bank Affiliate Transaction Memorandum, Master Mortgage Loan Purchase and Sale Agreement
      Amended and Restated 6/1/07, dated Oct. 31, 2007, ¶ 2 [ALLY_0017869].
491   2001 MMLPSA, §§ 4.1–4.26 [ALLY_0018253].
492   See Int. of R. Groody, Dec. 17, 2012, at 121:21–122:3; Int. of A. Celini, Feb. 18, 2013, at 159:6–8.

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knowledge of negotiations or discussions leading to the arrangement was limited, ResCap
personnel also uniformly understood that Old GMAC Bank was not to have any exposure for
representation and warranty liability.493

     Celini explained that the 2001 MMLPSA, including the representation and warranty
provisions, had been copied from a third-party arrangement.494 As noted above, Celini
believed that the pricing for First Lien Loans was not resolved at the time the parties first
entered into the 2001 MMLPSA. When they agreed upon cost-basis pricing in the Addendum
adopted in January 2002, Old GMAC Bank’s revenue on loans was limited to “net carry,”
while any gain on sale consequently would be recognized by GMAC Mortgage, rather than
Old GMAC Bank.495 Old GMAC Bank was acting simply as a funding vehicle for GMAC
Mortgage, and the “net carry” margin was too thin, Celini asserted, to support assumption of
representation and warranty liability.496 This was true even though the risk assumed—given
that the vast majority of loans had not been originated by Old GMAC Bank, but had been
purchased from correspondents (or GMAC Mortgage) who had themselves given
representations and warranties—was largely limited to credit risk.497 Celini advised that he
had discussed the matter with ResCap/GMAC Mortgage personnel in advance of the adoption
of the Addendum, and it was agreed that Old GMAC Bank would not have representation and




493   See, e.g., Int. of D. Bricker, Mar. 15, 2013, at 95:19–99:14; Int. of B. Bier, Feb. 22, 2013, at 22:15–24:9; Int.
      of S. Blitzer, Mar. 5, 2013, at 26:18–28:15.
494   Int. of A. Celini, Feb. 18, 2013, at 64:11–18 (“[W]e started most of our affiliate agreements with market
      terms. And these look like market terms as it applied to representations and warranties.”).
495   Id. at 58:14–18, 66:1–3. This was Bier’s understanding as well. See Int. of B. Bier, Feb. 22, 2013, at 27:4–
      28:1 (“. . . [G]enerally speaking, the bank was financing the loans. So, the bank was entitled to a financing
      spread, and to cover whatever its costs were related to the transactions. But, all the risk and reward from a
      capital markets perspective were retained by the mortgage company. So, essentially, that’s not . . .
      inconsistent with other financing type of arrangements . . . .”).
496   Int. of A. Celini, Feb. 18, 2013, at 88:25–89:12. Celini also noted that it would not have passed the scrutiny
      of the regulators or auditors. Id. at 89:13–18; see also Int. of B. Bier, Feb. 22, 2013, at 23:7–13, 45:12–46:15
      (agreeing, and noting that the Bank was set up as a financing vehicle and in financing, financier is entitled to
      its cost plus a spread).
497   Int. of A. Celini, Feb. 18, 2013, at 90:13–91:5.

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warranty obligations to GMAC Mortgage.498 Asked, why, if this had been discussed, the 2001
MMLPSA had not been revised accordingly in the January 2002 Addendum when the pricing
provision was revised, Celini said “we should have addressed the complete agreement at the
time,” and that “it was an error for us not to go back and make that change at the time.”499

     Groody, who joined the Bank in 2005, reached the same substantive result by a
somewhat different route. While asserting that the representation and warranty provisions in
the 2001 MMLPSA were intended to be in the agreement,500 Groody seems to have
understood the provisions to function essentially as pass-throughs or assignments of the
representations and warranties Old GMAC Bank had itself received from third-party
correspondents from whom it had purchased the loans,501 though that is not what the




498   Id. at 66:16–72:13. Celini also stated,
           when you look at the true cash flows and the financial activities [and] the intention of the parties at
           the time, we were funding loans and our specific intention was not to take market risk, not to take
           credit risk or any risk for the activity because we were providing interim funding. So we earned
           coupon interest and coupon interest only. We got no gain on sale. And because of that treatment, it
           was not the expectation of the parties that the depositary would take any reps and warrants on the
           loans that it originated . . . . And while the agreement indicates reps and warrants, that would not be
           a matching of the rewards and the benefits—the expenses and the revenues associated with the
           traditional mortgage banking practice.
      Id. at 65:20–66:15. Bricker and Blitzer, two GMAC Mortgage personnel that Celini recalled speaking with
      about representations and warranties, did not recall any such discussions but did not dispute that they spoke
      with Celini about the issue, and agreed that the Bank was not supposed to be retaining representation and
      warranty risk. Int. of D. Bricker, Mar. 15, 2013, at 107:25–108:6; Int. of S. Blitzer, Mar. 5, 2013, at 26:16–
      22, 86:16–87:20.
499   Int. of A. Celini, Feb. 18, 2013, at 74:14–16, 74:24–75:1. Celini also observed that “[a]t a point in the future,
      I do recall that we went back and did a cleanup of the agreement,” apparently referencing MMLPSA
      revisions in 2006 and 2007, discussed in Sections V.B.3.b and V.B.3.c. Id. at 74:17–19.
500   Indeed, Groody went so far as to suggest that later versions of the MMLPSA, which appear first to limit the
      effect of the representations and warranties to second-lien loans, and then to eliminate them altogether, were
      themselves errors. See Sections V.B.3.b(3), V.B.3.c(2); Int. of R. Groody, Dec. 17, 2012, at 86:19–87:23,
      120:16–122:11.
501   Int. of R. Groody, Dec. 17, 2012, at 122:4–11.

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provisions state.502 Normally, the representation and warranty claim would be pursued “up the
chain” and come to rest with the third party that originated the loan. Asked what would occur
if a third-party loan originator was insolvent and unable to satisfy the representation and
warranty claim, Groody concluded that “[w]e would have figured out a mechanism to put that
loss, if any, back to GMAC Mortgage,” because the “intent” and “understanding” of the
program was always that Old GMAC Bank would not actually bear this risk.503 In a number of
subsequent documents and in his interview, Groody expressed the maxim that, as between the
Bank and GMAC Mortgage, “the party [that] retains the Gain on sale of the mortgage loans
retains the rep and warrant risk.”504

     Barry Bier, who had held senior positions in capital markets and lending for GMAC
Mortgage since 1997,505 echoed this view, agreeing that GMAC Mortgage would bear the loss
if no recovery was possible from the third-party correspondent because the Bank was “really a
financing vehicle for the inventory” and GMAC Mortgage took all the risk and reward with
respect to the loans.506




502   Id. at 122:4–11. One might expect that, absent GMAC Mortgage’s receipt of representations and warranties
      from the Bank, or the Bank’s assignment in some form of the representations and warranties it had received
      from third-party correspondents, GMAC Mortgage would be unable to pursue representation and warranty
      claims against third parties. However, the terms of the parties’ agreements with the correspondents from
      whom the Bank purchased loans permitted GMAC Mortgage to pursue representation and warranty claims in
      these circumstances. Int. of A. Celini, Feb. 18, 2013, at 80:1–84:7; Int. of B. Bier, Feb. 22, 2013, at 36:8–
      37:17. Old GMAC Bank’s correspondent agreements provided indemnification and repurchase rights that
      explicitly extended to Old GMAC Bank’s affiliates. See Correspondent Agreement, dated Apr. 4, 2006, § 9
      [RCUW00140906]; Correspondent Agreement, dated Oct. 17, 2005, § 9 [RCUW00145416]; Correspondent
      Agreement, dated Sept. 24, 2004, § 9 [RCUW00141132]; see also Response to UBS Questions as of May 14,
      2010, dated Feb. 10, 2010, at EXAM11011434 [EXAM11011422] (“To the extent these loans were
      originated by third-parties and sold to [GMAC Mortgage] under the MMLPSA, [GMAC Mortgage] pursues
      recovery of losses from third-parties under breach of customary representation[s] and warranties.”).
503   Int. of R. Groody, Dec. 17, 2012, at 127:12–128:4. Groody’s belief that the Bank would be able to put any
      losses for unsatisfied representation and warranty claims on GMAC Mortgage was not tested during his
      tenure at Old GMAC Bank or at Ally Bank. The parties did not encounter any situations where insolvent
      third-party originators were unable to satisfy representation and warranty claims before he left in May 2009.
      Id. at 126:18–127:10.
504   E-mail from R. Groody to C. Dondzila, J. Peterson, and J. Whitlinger (Mar. 13, 2009) [ALLY_0329052]; Int.
      of R. Groody, Dec. 17, 2012, at 252:13–254:2; see also Int. of J. Whitlinger, Nov. 30, 2012, at 68:1–3 (“[M]y
      understanding at the time was that whoever got gain on sale got the rep and warranty:”); Int. of A. Celini,
      Feb. 18, 2013, at 58:14–19 (“We earned coupon interest during the period of holding and the asset was
      removed from our balance sheet at basis. We received no gain or loss on the transaction and it was not our
      intent to take any risk during that time.”).
505   Bier held various positions during his tenure with the companies, including Senior VP for Capital Markets of
      GMAC Mortgage when he joined the company in 1997, EVP of Capital Markets and Lending; COO of
      GMAC Mortgage, and EVP Asset Manager of ResCap. Int. of B. Bier, Feb. 22, 2013, at 5:18–6:4, 7:9–15.
506   Id. at 39:16–40:13.

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     Thus, Celini stated, it was normal practice for GMAC Mortgage to accept put-back
requests from Fannie Mae and Freddie Mac.507 GMAC Mortgage’s own Quality Control unit
was “charged with the responsibility of reviewing repurchase requests from all Investors on
GMAC Mortgage and GMAC Bank originated loans.”508 But such repurchase requests were
never tendered back to Old GMAC Bank.509 These loans included both loans originated by
Old GMAC Bank and loans originated by third-party correspondents.510

     Consequently, Celini noted, while GMAC Mortgage carried representation and warranty
reserves,511 Old GMAC Bank never carried a reserve for representation and warranty
exposure.512

                    (5) Termination

        Either party could terminate the 2001 MMLPSA without cause on 30 days’ notice.513

                    (6) Disposition Of The 2001 MMLPSA In The 2006 Bank Restructuring

    Neither the 2001 MMLPSA nor any contingent liabilities of Old GMAC Bank thereunder
were assumed by Ally Bank in the 2006 Bank Restructuring.514

     The OTS approved the transfer of assets under the 2006 Bank Restructuring subject to
certain conditions, including the provision of a “holding company guarantee confirming


507   Int. of A. Celini, Feb. 18, 2013, at 78:19–79:3, 79:23–25.
508   Executive Summary, Repurchases—December, 2004, at 1 [EXAM20056326] (emphasis added).
509   Int. of A. Celini, Feb. 18, 2013, at 78:19–79:3, 79:23–25.
510   Id. at 79:13–18, 83:6–9.
511   See ResCap Rep and Warranty Reserves as of November 30, 2006, dated Dec. 14, 2006, at 9
      [EXAM10183443]; Memorandum, Contingent Liability for Reps and Warranties related to Repurchase,
      dated Nov. 28, 2006, at EXAM10183454 [EXAM10183443].
512   Int. of A. Celini, Feb. 18, 2013, at 86:8–87:9 (discussing period from 2001 to January 2005); see also
      Memorandum, Ally Bank Representation & Warrant Position on Affiliate Mortgage Loan Sales, dated Mar.
      3, 2011, at 2 [EXAM20276496] (“As there is no exposure to [GMAC Mortgage], the Bank does not record
      an R&W reserve related to the sale with [GMAC Mortgage].”); see also id., at 3 (“Therefore, even though
      the Bank maybe the servicer of record for the loan and has an obligation under the agency seller and servicer
      guides, as seller [GMAC Mortgage] holds the initial obligation as between the Bank and [GMAC Mortgage],
      and as such records 100% of the R&W reserve for the loans it sells to the agencies.”).
513   2001 MMLPSA, § 7.1 [ALLY_0018253].
514   The 2001 MMLPSA was not listed as an “Acquired Asset” in the Purchase and Assumption Agreement nor
      was it listed in the Old GMAC Bank board minutes approving the assignment of certain affiliate agreements.
      Purchase and Assumption Agreement [ALLY_PEO_0021066]; Minutes of a Regular Meeting of the Board
      of Directors of GMAC Bank, Nov. 30, 2006, at 2 [ALLY_PEO_0020880]; Review of GMAC Bank Affiliate
      Agreements Assigned from GMAC Bank FSB to GMAC Bank ILB, dated Nov. 30, 2006, at
      ALLY_0260095–97 [ALLY_0260087].

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responsibility for any of [Old GMAC Bank’s] contingent liabilities following the
consummation of the transaction” and the receipt of written non-objection thereto from the
OTS.515 In a November 10, 2006 response, AFI agreed only to “indemnify, defend and hold
harmless [Old GMAC Bank] with respect to any post-closing claims or liabilities relating to
the assets sold to [GMAC Bank]” as described in the applications to the OTS.516 The OTS
issued a non-objection letter with respect to the indemnity AFI provided.517

               b. The 2006 MMLPSA

    In late 2006, GMAC Mortgage entered into a new MMLPSA with Ally Bank (the 2006
MMLPSA).518 The 2006 MMLPSA is dated October 31, 2006,519 shortly before the 2006
Bank Restructuring occurred in connection with the Cerberus acquisition of a majority interest
in AFI.520 The loans sold to GMAC Mortgage under the 2006 MMLPSA consisted of loans
purchased from third-party correspondents and from GMAC Mortgage itself, as well as
brokered loans originated in Ally Bank’s name.521

515   Letter from OTS to J. Feinberg (Aug.16, 2006) [EXAM10221739].
516   Letter from S. Khattri to R. Albanese (Nov. 10, 2006) [ALLY_0402156]. In consideration of AFI’s
      agreement to provide the holding company guarantee requested by the OTS, ResCap agreed to counter-
      indemnify AFI with respect to the same post-closing claims or liabilities. Letter from S. Khattri to B. Paradis
      (Nov. 10, 2006) [ALLY_0018335]. This indemnity was approved by the ResCap Board. Certificate of C.
      Quenneville (Nov. 22, 2006) [CERB001616].
517   Letter from R. Albanese to J. Feinberg (Nov. 20, 2006) [ALLY_0401904].
518   2006 MMLPSA [ALLY_0018291].
519   Groody, who executed the agreement on behalf of the industrial bank, did not become an officer of the
      industrial bank until the restructuring occurred on November 20, 2006, and consequently was at something of
      a loss to explain why the agreement was dated October 31, 2006. Int. of R. Groody, Dec. 17, 2012, at 64:21–
      68:13. He believed that the agreement was not actually executed until Old GMAC Bank and GMAC
      Automotive Bank consummated the Purchase and Assumption Agreement under which Old GMAC Bank
      transferred the bulk of its assets to GMAC Automotive Bank on November 22, 2006. Id. at 68:18–22; see
      also Section V.A (discussing the Purchase and Assumption Agreement).
520   See Section V.A.
521   Groody suggested that the Bank ceased producing brokered loans in 2006. Id. at 72:21–73:4. Compare
      GMAC Mortgage Corporation Consolidated Financial Statements as of Dec. 31, 2005 and 2004, at 6
      [EXAM00231553] (noting Bank loan production through “network of brokers and correspondents”) and
      GMAC Bank Audited Financial Statements as of Dec. 31, 2005 and 2004, at 5 [GOLDIN00091763], with
      GMAC Bank Consolidated Financial Statements as of Dec. 31, 2006, at 9, 23 [EXAM00231722]
      (referencing correspondents, not brokers), and GMAC Bank Consolidated Financial Statements as of Dec.
      31, 2007 and 2006, at 9 [EXAM00125246] (same). However, it appears that the Bank continued to have
      brokered loans through the life of the agreement. See E-mails among C. Dondzila, J. Cortese, S. Ruby, et al.
      (Feb. 10–11, 2010), at EXAM11891922 [EXAM11891921] (discussing continued production of brokered
      loans since 2006). There apparently was some confusion caused by the fact that the Bank in Q2 2006 placed
      its Broker Fulfillment group under the aegis of its Correspondent Lending operation. Id. It continued to close
      brokered loans “in the name of the Bank,” though the volume appears to have been relatively small. Id. Then,
      with the advent of the Broker Agreement at the end of 2008, loans brokered to Ally Bank by GMAC
      Mortgage were sold to GMAC Mortgage under the MMLPSA. See Section V.B.6.

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     The 2006 MMLPSA was modeled on the 2001 MMLPSA, but materially changed some
of the significant terms described above:

                   (1) Loan Purchase Requirements

     While the 2006 MMLPSA did not change the scope of the loans GMAC Mortgage was
obligated to purchase (First Lien HFS loans), or the procedures for selection of loans for
purchase, it did add a provision barring GMAC Mortgage from using “adverse selection
procedures” in choosing loans for purchase.522

                   (2) Servicing Rights

     While the 2001 MMLPSA only provided for the sale of loans on a “servicing-released”
basis, the 2006 MMLPSA permitted the Bank to sell loans on either “a servicing-retained or
servicing-released basis.”523 From at least as early as 2005, ResCap and Old GMAC Bank had
contemplated moving MSRs to the Bank, and ResCap and Bank personnel had embarked on a
project with this aim by the fall of 2006.524 This change from the 2001 MMLPSA was made to
align the agreement with this plan.525

                   (3) Loan-Level Representations And Warranties

     Potentially the most noteworthy language change effected by the 2006 MMLPSA was the
revision of Article IV’s loan-level representation and warranty provisions to eliminate their
application to First Lien Loans. As revised, the preamble to Article IV provided that Ally
Bank made such representations and warranties only “with respect to each Second Lien
Mortgage Loan sold and transferred to Purchaser.”526 GMAC Mortgage, of course, was still
required to make such representations and warranties on First Lien Loans to GSEs or other
third parties when it sold or securitized these loans.527



522   2006 MMLPSA, § 2.2(e) [ALLY_0018291].
523   Id. § 2.1.
524   See Section V.B.9.a.
525   Int. of R. Groody, Dec. 17, 2012, at 81:23–82:15.
526   2006 MMLPSA, Art. IV [ALLY_0018291]. The title of Article IV was also changed from “Representations
      and Warranties of Seller Relating to Mortgage Loans” to “Representations and Warranties of Seller Relating
      to Second Lien Mortgage Loans.” Id. (emphasis added). Compare 2001 MMLPSA, Art. IV
      [ALLY_0018253] with 2006 MMLPSA, Art. IV [ALLY_0018291].
527   There are two additional loan purchase agreements dated October 31, 2006, one between ResCap and Old
      GMAC Bank [ALLY_PEO_0021142], and the other between ResCap and GMACB Asset Management
      Corp. (a subsidiary of Old GMAC Bank) [CERB001537]. These agreements each govern the sale of discrete
      packages of existing loans to ResCap; notably, under Article IV of each agreement, all of the loans sold (not
      just second lien loans) are subject to substantially the same representations and warranties that were
      applicable under the 2001 MMLPSA.

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     Celini viewed the elimination of representations and warranties for First Lien Loans as a
“clean up” of the agreement to make it consistent with the parties’ understanding that the
Bank would not have representation and warranty liability.528 But he was at a loss to explain
why the 2006 MMLPSA explicitly retained representations and warranties for Second Lien
Loans, since he maintained that the Bank’s margins on those loans were also too thin to
support accepting representation and warranty liability and that it had been agreed in 2002 that
the Bank would have no such liability for any loans under the MMLPSA.529

      Groody, in contrast, asserted that, despite the revision to Article IV’s preamble, the
“understanding” remained that the representations and warranties applied to all loans sold
under the 2006 MMLPSA, including First Lien Loans.530 However, Groody was unable to
satisfactorily explain why, if this was the case, the preamble language had been changed.531 It
is difficult to read the preamble revisions as anything other than a statement that
528   Int. of A. Celini, Feb. 18, 2013, at 149:21–150:6.
529   Id. at 151:5–21, 156:1–157:23.
530   Int. of R. Groody, Dec. 17, 2012, at 86:19–87:8.
531   Groody noted that his “focus” had been on the individual representations and warranties, which continued to
      include provisions germane only to First Lien Loans. Id. at 87:9–23. For example, section 4.21 of the 2006
      MMLPSA provides a representation and warranty that loan proceeds “have been fully disbursed,” but
      expressly carves out “home equity lines of credit”—Second Lien Loans—from its application. 2006
      MMLPSA, § 4.21 [ALLY_0018291].

      Groody further observed that the term “Mortgage Loan” used throughout the individual representations and
      warranties (see, e.g., §§ 4.1, 4.2, 4.3) is elsewhere defined broadly, so that it would include First Lien Loans
      and home equity loans and lines of credit. Int. of R. Groody, Dec. 17, 2012, at 87:4–8; 2006 MMLPSA,
      § 1.17 [ALLY_0018291] (defining “Mortgage Loan”). However, the individual sections in Article IV were
      copied wholesale from the 2001 MMLPSA; the references to Mortgage Loans did not need to be revised or
      narrowed to give effect to the intent apparent from the revision of the preamble to limit the application of the
      representations and warranties to Second Lien Loans, which were a species of “Mortgage Loans.”

      AFI counsel noted that perhaps the reference to Second Lien Loans in the preamble was an error somehow
      produced because Second Lien Loans had not been encompassed in the 2001 MMLPSA. However, in fact,
      the 2001 MMLPSA, though it did not set forth either “First Lien Mortgage Loan” or “Second Lien Mortgage
      Loan” as separate defined terms, clearly encompassed both sorts of loans. See 2001 MMLPSA, § 1.15
      [ALLY_0018253] (definition of Mortgage Loan includes home equity loans and lines of credit), Ex. B, C
      (separate exhibits for “First Mortgage Pricing” and “Home Equity Loan/Line Pricing”).

      AFI counsel also suggested that the preamble should be ignored, citing section 8.11 of the agreement, which
      contains a commonplace provision stating that “Paragraph captions” are “for ease of reference only and shall
      be given no substantive or restrictive meaning or significance.” The difficulty with this argument is that
      section 8.11 applies to “captions,” not to preambles, and the various preambles in the agreement (including
      the preambles in Articles I, III, IV, and V) seem clearly to have been intended to have operative effect.
      Indeed, only the preambles to Articles III, IV, and V specify that the statements in the various sections of
      those articles are representations and warranties of the pertinent party; absent the preamble to Article V, for
      example, there would be nothing in the text of the various sections of that Article that explains that they are
      representations and warranties of the Purchaser, as opposed to mutual statements of understanding made by
      both parties.

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representations and warranties are not to apply to First Lien Loans.532 In any case, Groody
maintained his view was that, even though the Bank continued to provide representations and
warranties to GMAC Mortgage for First Lien Loans, the parties’ “intent” had always (even
under the 2001 MMLPSA) been that the Bank would not ultimately be held responsible for
any breach.533

     In any case, neither Celini nor Groody could provide an explanation for the 2006
MMLPSA representation and warranty provisions for Second Lien Loans that could be
reconciled with their respective explanations concerning the parties’ “intent” that there would
be no Bank representation and warranty liability for any loans.534 Moreover, as discussed in
Section V.B.3.a(3), while First Lien Loans were priced at the Bank’s cost,535 the purchase
price for Second Lien Loans under the 2006 MMLPSA included a purchase price premium
with a basis points component.536

     Individuals who only became involved in these matters in later years, including ResCap
officials involved in addressing the substantial “rep & warranty” issues and settlements with
Fannie Mae and Freddie Mac, were unaware or had no recollection that the Bank had ever
provided loan-level representations and warranties.537 As James Whitlinger noted, even if the
third-party originator was not solvent and no longer paying claims, “[w]e didn’t go back to
Ally Bank.”538




532   Kenneth Blackburn, the GMAC Mortgage employee who executed the 2006 MMLPSA on behalf of GMAC
      Mortgage, was unable to recall executing the agreement or any involvement in negotiating its terms; he
      speculated that he may have been called upon to execute the agreement because his office was near
      Groody’s. Int. of K. Blackburn, Mar. 26, 2013, at 13:17–14:8.
533   Int. of R. Groody, Dec. 17, 2012, at 121:21–122:18, 127:12–128:4.
534   Blackburn had no recollection of the agreement or its terms and therefore was unable to provide any insight
      on the representation and warranty provisions for Second Lien Loans. Int. of K. Blackburn, Mar. 26, 2013, at
      11:1–13:23. Blackburn “at a high level” was aware that the Bank sold loans to GMAC Mortgage, but was not
      involved in any of the transaction’s details and had no recollection of whether the Bank provided
      representations and warranties to GMAC Mortgage under the MMLPSA. Id.
535   2006 MMLPSA, § 1.24, Ex. B [ALLY_0018291].
536   Id. § 1.24, Ex. C [ALLY_0018291].
537   Int. of C. Dondzila, Sept. 27, 2012, at 213:20–219:13; Int. of J. Young, Sept. 28, 2012, at 262:22–263:23; Int.
      of J. Whitlinger, Nov. 30, 2012, at 51:2–14.
538   Int. of J. Whitlinger, Nov. 30, 2012, at 68:13–69:4.

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                   (4) Pricing And Termination Provisions

     The 2006 MMLPSA left unchanged the provisions of the 2001 MMLPSA (as amended)
concerning the purchase price of First Lien Loans539 and termination.540 The pricing of Second
Lien Loans still included a purchase price premium, with a basis-point component of 175 bps. 541

               c. The 2007 MMLPSA

     Effective June 1, 2007, GMAC Mortgage and Ally Bank entered into an “Amended and
Restated” MMLPSA (the “2007 MMLPSA”).542 This version of the MMLPSA, adopted as
ResCap was confronting worsening market conditions (though the market for conforming
loans, the loans principally at issue under the MMLPSA, was comparatively strong), made
several key revisions:

                   (1) Loan Purchase

     The 2007 MMLPSA imposed several new requirements concerning GMAC Mortgage’s
loan purchase obligations:

                   (1) First, GMAC Mortgage was now required to purchase not only First Lien
                       Loans HFS, but also “any and all Mortgage Loans to be originated or
                       acquired by Seller” classified on Ally Bank’s balance sheet as HFS (i.e.,
                       including Second Lien Loans HFS not previously subject to this
                       mandate).543

                   (2) Second, for all mortgage loans now subject to GMAC Mortgage’s
                       expanded purchase obligation, Ally Bank was given the right once a year
                       (on or about June 15th) to identify any loans that were aged 180 days or
                       more and require that GMAC Mortgage “promptly” purchase such loans.544




539   See 2006 MMLPSA, §§ 1.23 (Purchase Price), 1.24 (Purchase Price Premium), Ex. B [ALLY_0018291].
      These provisions replicate the MMLPSA as amended by the Addendum to 2001 MMLPSA, dated Jan. 22,
      2002 [ALLY_0201226], including the inharmonious aspects of those provisions discussed in Section
      V.B.3.a(3). See also Int. of R. Groody, Dec. 17, 2012, at 88:11–89:16.
540   See 2006 MMLPSA, § 7.1 [ALLY_0018291] (Termination without Cause).
541   See id. §§ 1.23 (Purchase Price), 1.24 (Purchase Price Premium), Ex. C [ALLY_0018291].
542   2007 MMLPSA [ALLY_0018275].
543   Id. § 2.1. Groody, while he could not recall the precise impetus for this change, explained that the general
      “intent” was that the Bank would not keep any HFS loans, but would instead sell them all to GMAC
      Mortgage. Int. of R. Groody, Dec. 17, 2012, at 104:1–105:16, 107:3–7.
544   2007 MMLPSA, § 2.2(c) [ALLY_0018275].

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                    (3) Third, for First Lien Loans, the Bank was entitled “from time to time” to
                        identify loans that had been “delinquent for a period of sixty (60) days or
                        more” and require that GMAC Mortgage “promptly” purchase the loans.545

Given that, for First Lien Loans HFS, GMAC Mortgage had been required to purchase all
such loans since adoption of the June 4, 2002 Second Addendum to the 2001 MMLPSA, the
latter two provisions essentially operated to provide deadlines for the purchase of loans that
GMAC Mortgage had not pooled for sale/securitization.546

                    (2) Loan-Level Representations And Warranties

      The 2007 MMLPSA eliminated all loan-level representations and warranties, including
those for Second Lien Loans that had been retained by the 2006 MMLPSA.547 Groody did not
recall why this change was made,548 but asserted that the “business understanding” remained
unchanged from prior versions of the agreement—that the Bank would pass on the
representations and warranties received from third parties to GMAC Mortgage, but would not
itself ultimately be responsible for remedying any breach.549 Celini, of course, believed that
this was simply a further clean-up of the Agreement to reflect the parties’ long-standing
intent.550




545   Id. § 2.2(f) [ALLY_0018275].
546   Celini noted that the clean-up of aging loans had been taking place in practice on an ad hoc basis and the
      parties amended the agreement to reflect their business practice. Int. of A. Celini, Feb. 18, 2013, at 76:12–
      77:18; see also Int. of R. Groody, Dec. 17, 2012, at 108:10–109:11; Int. of C. Dondzila, Sept. 27, 2012, at
      241:15–244:9. In the Letter Agreement Re: Performance Indemnification - GMAC Bank HFS to HFI
      Transfers, dated April 16, 2008 [ALLY_0017906], GMAC Bank agreed to forbear from exercising its rights
      under these provisions to require GMAC Mortgage to purchase certain loans with an unpaid principal
      balance of $166 million (and a carrying value of $118 million). (The Letter Agreement references MMLPSA
      “Section 2.2(d)” instead of section 2.2(c) or (f), but this appears to be in error.) In exchange, GMAC
      Mortgage agreed that if, over the next four years, any of the loans became so delinquent that GMAC Bank
      had to charge it off, GMAC Mortgage would indemnify GMAC Bank for any realized losses in an amount
      not to exceed the net carrying value of the loan as of April 1, 2008 (the principal balance reduced by any
      charge-offs or reserves). Groody explained that the Bank made this accommodation because of the “cash
      flow sensitivity of GMAC Mortgage” at the time that would have been exacerbated had GMAC Mortgage
      been required to purchase the loans in question. Int. of R. Groody, Dec. 17, 2012, at 288:7–17.
547   2007 MMLPSA, Art. IV [ALLY_0018275] (prior content of the section replaced with “[RESERVED]”).
548   Int. of R. Groody, Dec. 17, 2012, at 120:10–23, 125:14–18.
549   Id. at 121:5–7, 121:21–122:11.
550   Int. of A. Celini, Feb. 18, 2013, at 74:5–22.

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                   (3) Pricing Provisions

     The 2007 MMLPSA substantially revised the Purchase Price provisions, stating that the
price for a portfolio of Mortgage Loans:

                   shall be calculated as (a) the difference between [i] the Market
                   Value and [ii] the Cost Basis of such Mortgage Loans,
                   calculated as of [the last Business Day of the month preceding
                   the Closing Date], plus (b) the Cost Basis of the Mortgage
                   Loans calculated as of the Closing Date.551

The same pricing now applied to all “Mortgage Loans,” which included both First Lien Loans
and Second Lien Loans.552 The pricing for Second Lien Loans was revised and no longer
included the 175 basis points purchase price premium.553 The Market Value was defined as
“the market value of such Mortgage Loan, as determined by the Seller with reference to
independent pricing sources.”554 The “Cost Basis” of a loan was defined as “the sum of the
unpaid principal balance . . . plus premium and the Servicing released premium, plus accrued
interest minus any discount.”555 The language of these provisions appears to provide for sale at
a market price, adjusted by any changes in the Cost Basis from the end of the month preceding
the sale to the date of the sale. Groody recommended approval of the 2007 MMLPSA to the
Bank’s Board, explaining that it would “provide for the sale of the loans by the Bank at
market value as determined by independent pricing sources.”556

     According to an Affiliate Transaction Memorandum prepared by Celini in June 2007, the
pricing under the 2007 MMLPSA was stated to be at market value determined by GMAC
Bank using independent pricing sources.557 Celini prepared a revised version of this Affiliate
Transaction Memorandum in October 2007 which states that the sales to GMAC Mortgage



551   2007 MMLPSA, §§ 1.24 (Purchase Price), 1.10 (Cutoff Date) [ALLY_0018275].
552   Id. §§ 1.18 (Mortgage Loan), 1.24 (Purchase Price), 2.1 [ALLY_0018275].
553   As noted above, the 2007 MMLPSA also eliminated the loan-level representations and warranties for Second
      Lien Loans. ResCap’s representation and warranty reserve on loan sales for the quarter ended March 31,
      2007 was 170 basis points. GMAC–Residential Capital, LLC, Review Status–Quarter Ended September 30,
      2007, dated Nov. 1, 2007, at 12 [PWC00663]. Notably, when the MMLPSA was amended on May 1, 2012,
      the Bank agreed to accept responsibility for customary loan-level representations and warranties and
      increased the purchase price by the estimated cost plus a margin to compensate for this risk. 2012 MMLPSA,
      §§ 1.31, 2.5 [RC00027892].
554   Id. § 1.13 (Market Value) [ALLY_0018275].
555   Id. § 1.9 (Cost Basis) [ALLY_0018275].
556   Minutes of a Regular Meeting of the Board of Directors of GMAC Bank, June 19, 2007, at
      ALLY_PEO_0001435 [ALLY_PEO_0001400].
557   GMAC Bank Affiliate Transaction Memorandum, dated June 6, 2007 [ALLY_0017783].

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will occur at the actual market value price paid by Ally Bank to acquire such loan.558 When
asked about the discrepancy, Celini explained that the regulators had wanted to see a market-
based transaction.559 Originally the parties thought they would mark the loans to market but
the process turned out to be impractical.560 Despite the language of the 2007 MMLPSA, the
parties did not change their practice of selling loans at the Bank’s cost, described as the
market value paid by the Bank to acquire the loan from the third-party or affiliate
correspondent.561

      Groody similarly explained that, while these changes were made to the language of the
MMLPSA to make it “more in conformance with the affiliate transaction policy the Bank had,
which specified market terms,”562 the changes were essentially cosmetic. In fact, “the intent
never changed” and the Bank continued to sell loans on a cost basis, rather than on a basis
consistent with marking the loans to market after purchase.563 The “market price” utilized was
the price the Bank had paid for First Lien Loans, so that, for the Bank “there was never a gain
or a loss associated with the transactions.”564

558   GMAC Bank Affiliate Transaction Memorandum, dated Oct. 31, 2007 [ALLY_0017869] (stated: “[Rule]
      23b compliant pricing source for 1st Lien loan sales is arrived at through the following constructs: 1. Loan
      sales to Affiliate occur at the actual market value price paid by [Ally Bank] to acquire such loan from
      affiliated or third-party correspondents (+/- accrued interest, discount and premium)”) (emphasis added). The
      original, June 6, 2007 version of the Affiliate Transaction Memorandum notably does not include this
      language. It instead references the use of “independent pricing sources,” and “GAAP pricing source for loan
      sales . . . derived from various market inputs—(including but not limited to Wall Street Analytics, Yield
      Book, observed market price sales, current/forward yield curves) and are identical to values utilized within
      primary accounting systems utilized to drive mark to market valuations for [Ally Bank] GAAP financial
      statements.” GMAC Bank Affiliate Transaction Memorandum, Master Mortgage Loan Purchase and Sale
      Agreement Amended and Restated 6/1/07, dated June 6, 2007, at 1, 2 [ALLY_0017783]. On October 31,
      2007, the date of the revised Affiliate Transaction Memorandum, Jonathan Andrews issued a Memorandum
      to the Bank Board certifying that, based on his review of the Agreement and the revised Memorandum, and
      assuming their content to be accurate, the Agreement complied with Federal Reserve Act sections 23A and
      23B, and with Regulation W. GMAC Bank Affiliate Transaction Memorandum, Master Mortgage Loan
      Purchase and Sale Agreement Amended and Restated 6/1/07, dated Oct. 31, 2007 [ALLY_0017867].
559   Int. of A. Celini, Feb. 18, 2013, at 170:22–25; see also ResCap Controls Follow-Up Materials, dated May 15,
      2007, at 17 [EXAM10241180] (“In view of the new regulator (FDIC) mngmnt will be changing their process
      of selling loans to affiliates, which will utilize a monthly mark-to-market that will provide the Bank with a
      market price for all assets sold to [GMAC Mortgage].”).
560   Int. of A. Celini, Feb. 18, 2013, at 177:6–13 (noting that they would have to also mark-to-market the forward
      commitment (the MMLPSA)).
561   Id. at 174:5–7 (“[I]t basically restates what we always had been doing, except the fact that we tried to
      articulate to the regulator that this is market.”); see also Minutes of a Regular Meeting of the Board of
      Directors of GMAC Bank, Jan. 22, 2008 [ALLY_PEO_0001488] (discussing proposed changes to
      MMLPSA, apparently never adopted, to conform pricing language to the October 2007 version of the GMAC
      Bank Affiliate Transaction Memorandum).
562   Int. of R. Groody, Dec. 17, 2012, at 112:24–113:3, 111:12–21.
563   Id. at 110:11–111:10.
564   Id. at 113:21–114:2.

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     David Bricker executed the 2007 MMLPSA on behalf of GMAC Mortgage. While his
recollection was limited, he concurred that loans historically had been purchased at cost565 and
believed that the 2007 MMLPSA had not changed to market-basis pricing.566

      Based on a review of loan accounting examples,567 this appears to be what in fact
happened. The purchase price paid by GMAC Mortgage under the 2007 MMLPSA was
consistent with the historical pricing under prior agreements, and defined there as the Bank’s
“cost” basis: the unpaid principal balance (UPB) plus or minus the premium or discount. The
individual loans were carried at this “cost” basis in the accounting records throughout this
process and were not adjusted to market value at any point in time. Until the Bank began
selling Fannie Mae and Freddie Mac loans on a servicing-released basis in August 2007 (and
continuing for Ginnie Mae loans thereafter), the purchase price also included the servicing-
released premium (the amount paid to acquire the MSRs). For loans where interest had
accrued, the interest was a component of both the purchase price paid by GMAC Mortgage to
the Bank and the purchase price received by GMAC Mortgage upon sale of the loan to third-
party investors.568 The Bank recorded the net interest earned during the period it held the loan
as income. GMAC Mortgage recorded the difference between the purchase price paid to the
Bank (the Bank’s cost) and the purchase price received from the third-party investors as a gain
on sale. For loans GMAC Mortgage sold to the Bank, it retained the origination income,
including points paid by borrowers and processing or underwriting fees net of origination
expenses.569 Celini testified that the Bank likewise retained only net interest carry on brokered
loans, with the effect of origination fees, premium pricing, etc., passing to GMAC Mortgage
under the MMLPSA.570

    Consequently, the 2007 MMLPSA continued to act as a hedge for the Bank, so that it was
“exposed to no negative pricing risk during its holding period.”571 Further, in the Affiliate



565   Int. of D. Bricker, Mar. 15, 2013, at 94:17–23.
566   Id. at 109:20–110:4. Bricker did not recall negotiating with Groody any revisions to the pricing provision of
      the 2007 MMLPSA and did not seem to understand the changes to this provision during his interview. Id.
      at 105:11–109:17.
567   The parties produced accounting entries and supporting detail for sample loans with varying characteristics
      for the period September 2005 to November 2012. Loan Summary [EXAM00229653]; Loan Summary
      [EXAM00233017]; Examiner Loan Selections 03 11 13 [EXAM00339939]; Examiner Loan Selections 04 15
      13 [EXAM00345279].
568   Note that GMAC Mortgage’s purchase of loans from the Bank occurred shortly before their sale to third-
      party investors, as further described in Section V.B.12.a.
569   See Loan Summaries, at Example Nos. 2, 3, 5 [EXAM00229653]. These loan examples are loans funded by
      GMAC Mortgage, and reflect that it retained the origination income.
570   Int. of A. Celini, Feb. 18, 2013, at 59:5–19.
571   GMAC Bank Affiliate Transaction Memorandum, Master Mortgage Loan Purchase and Sale Agreement
      Amended and Restated 6/1/07, dated Oct. 31, 2007, at 2 [ALLY_0017869].

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Transaction Memo prepared to document compliance with federal regulatory restrictions on
affiliate transactions, Bank officials stated that because such a complete hedge—which
protected the Bank from “all interest rate, credit and fallout risk”—was not commercially
available in the marketplace, and because the Bank was able to avoid the cost of purchasing
“stand alone derivatives to hedge its risks,” the 2007 MMLPSA provided terms “better than
those prevailing at the time for comparable transactions with unaffiliated parties in the
marketplace.”572 The memo, seeking to portray the pricing to the Bank as better than “market
pricing,” notably does not explicitly acknowledge that the gain on sale is being passed on to
GMAC Mortgage, the buyer (even though in arm’s-length market transactions it typically would
be retained by the seller).

                   (4) Termination Provision

    While earlier versions of the MMLPSA permitted either party to terminate without cause
upon appropriate notice, the 2007 MMLPSA provided only Ally Bank with this right.573 The
2007 MMLPSA had no expiration date, so GMAC Mortgage could terminate only for cause.

      4. The Pipeline Swap (Pre-July 2008)

      The original Pipeline Swap was entered into between GMAC Mortgage and Old GMAC
Bank as of October 1, 2004. It was documented under an International Swaps and Derivatives
Association (“ISDA”) Master Agreement—Multicurrency-Cross Border (1992 form) and
related Schedule.574 As discussed below, until 2008, the Pipeline Swap covered only the
Bank’s HFI portfolio.575 The swap was designed to insulate the Bank from changes in the
market value of loans (generally due to market interest rate changes) between “rate lock”
(when the funding price to the borrower or purchase price to a third party was fixed) and
“funding” (the date on which the loan was funded to the Borrower or purchased from a
correspondent by the Bank). This allowed Old GMAC Bank to avoid recognizing a loss (or
gain) on the date they were funded for the loans that it intended to hold as an investment.576




572   Id.
573   2007 MMLPSA, § 7.1 [ALLY_0018275].
574   2004 Pipeline Swap [ALLY_0041583]; 2004 Pipeline Swap Schedule [ALLY_0041808]. Derivative
      contracts are typically documented with an ISDA Master Agreement, one or more schedules, and one or
      more confirmations. Until later years (when the Bank and GMAC Mortgage changed the forms of their
      derivative contract documentation in response to FDIC criticism), the Pipeline Swap (and the MSR Swap,
      discussed in Section V.B.9), were documented only on a Master Agreement and schedules, without use of
      confirmations.
575   HFS loans were sold to GMAC Mortgage under the MMLPSA and already hedged under that agreement. See
      Section V.B.3.a(3).
576   Int. of R. Groody, Dec. 17, 2012, at 134:18–135:21; Int. of J. Whitlinger, Nov. 30, 2012, at 122:12–123:4;
      Int. of A. Celini, Feb. 18, 2013, at 108:9–18.

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      So long as the Pipeline Swap remained limited to HFI loans, there was no real benefit to
GMAC Mortgage if the arrangement is considered independently of the parties’ other
arrangements.577 It was understood that GMAC Mortgage, rather than retaining the hedged
risk, would in turn hedge the risk in the market.578 Assuming its hedges were effective, GMAC
Mortgage would realize neither profit nor loss from the HFI Pipeline Swap.579 However,
GMAC Mortgage presumably incurred some incremental hedging expense, which, under the
terms of the Swap, the Bank was not required to reimburse. Bier noted that, at this time, Old
GMAC Bank and GMAC Mortgage were owned by the same holding company, with the
trading desk in GMAC Mortgage. He posited that, given the objective to be “business
efficient,” it was appropriate that GMAC Mortgage do the hedging for the Bank’s loans.580

               a. The 2004 Pipeline Swap For HFI Loans

     The 2004 Pipeline Swap identified as “Subject Transactions” covered by the swap legally
binding commitments by Old GMAC Bank:

               (A) to originate a loan or purchase a loan that has not been originated by [GMAC
                   Mortgage], that is . . . secured by a mortgage on [U.S.] residential real estate
                   . . . and that [Old GMAC Bank] intends to originate or purchase for its “Held
                   For Investment” (HFI) portfolio;581




577   Int. of A. Celini, Feb. 18, 2013, at 175:22–176:10.
578   Id. at 116:18–21; Int. of S. Blitzer, Mar. 5, 2013, at 47:3–9.
579   Int. of A. Celini, Feb. 18, 2013, at 282:21–283:8; see also Int. of S. Blitzer, Mar. 5, 2013, at 38:23–39:8 (“My
      general understanding of how the swap worked was that it was intended to keep economics neutral between
      the mortgage company and the bank. . . . [I]f the loans increased or decreased in value, no one side should
      have seen a large gain or loss based on that change in value because in relation to it, there were hedges that
      should have been acting in an opposite but highly correlated manner.”).
580   Int. of B. Bier, Feb. 22, 2013, at 50:17–52:7 (noting also that the holding company “had a business intent that
      was around utilizing the resources that were available within the holding company, organization structure to
      basically manage risk prior to the loans going on the bank’s balance sheet.”).
581   Dondzila and Whitlinger were surprised in their interviews to see that the language of the earlier versions of
      the Pipeline Swap limited its coverage to the HFI portfolio, asserting that their understanding was that the
      Pipeline Swap had always covered HFS loans. See Int. of C. Dondzila, Nov. 9, 2012, at 13:6–10; Int. of
      J. Whitlinger, Nov. 30, 2012, at 126:19–21. Other personnel, including Joe Cortese and Nikki Rock, asserted
      likewise in meetings with the Examiner’s Professionals. This appears to be a misconception arising from
      their understanding that the HFS portfolio was hedged and an assumption that the hedging was accomplished
      through the Pipeline Swap; in fact, as discussed above, before 2008, the MMLPSA, through its cost-based
      pricing, is the instrument that functioned as a hedge on the Bank’s HFS portfolio. See Int. of J. Whitlinger,
      Feb. 27, 2013, at 14:10–17:12 (acknowledging that this may be correct). Blitzer believed GMAC Mortgage
      was hedging HFS loans for the Bank before the July 2008 amendment to the Pipeline Swap, but he but did
      not recall whether the HFS hedging at that time (before 2008) was governed by the Pipeline Swap or not. Int.
      of S. Blitzer, Mar. 5, 2013, at 60:13–61:20.

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                 (B) that has been entered into by [Old GMAC Bank] with a borrower or a mortgage
                     correspondent that is not an Affiliate of [Old GMAC Bank or GMAC
                     Mortgage];

                 (C) in respect of which the funding price to the borrower or the purchase price from
                     the mortgage correspondent has been fixed; and

                 (D) in respect to certain loan products listed in [an attached schedule (such as six-
                     month LIBOR loans and jumbo fixed-rate loans)].582

     For loans that had been funded (“Funded Loans”), the 2004 Pipeline Swap tracked
changes in the loan’s fair market value (“FMV Changes”) from the price at which the loan had
been locked (“Lock FMV”) to the value on the funding date (“Funding FMV”).583 On each
“Payment Date” (the fifth day of each month), positive FMV Changes in the preceding month
required the Bank to make payments to GMAC Mortgage, and negative changes required
GMAC Mortgage to make payments to the Bank.584 The Swap similarly covered changes in
the fair market value of loans that had not yet been funded (“Pipeline Loans”), measured from
the Lock FMV to the fair market value as of the last day of the preceding month (such changes
were referred to as the “Pipeline FMV”).585

     The 2004 Pipeline Swap had a one-year term, but was subject to automatic one-year
extensions absent prior notice by either party that the termination date would not be
extended.586

                 b. The March 2005 Amended Schedule Eliminated Bank-“Originated” Loans
                    From The Pipeline Swap

     The Pipeline Swap’s Schedule was amended as of March 30, 2005.587 The amended
Schedule revised the definition of Subject Transaction to eliminate references to loans
“originated” by the Bank, limiting its scope to loans “purchased” by the Bank.588 Thus, loans




582   2004 Pipeline Swap Schedule, part 6(a)(xiii) [ALLY_0041808] (emphasis added).
583   Id. parts 6(a)(iv), (vi), (viii), (ix).
584   Id. parts 6(a)(x), (d).
585   Id. parts 6(a)(iv)(B), (xi), (xii).
586   Id. part 6(a)(xiv).
587   2005 Pipeline Swap Schedule [ALLY_0041601].
588   Id. part 6(a)(xiii)(A).

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brokered to the Bank and originated by it (that is, funded in Old GMAC Bank’s name),
apparently were eliminated from the scope of the Swap’s coverage.589

    In addition, the 2005 Pipeline Swap Schedule revised the term provisions, eliminating the
automatic extension provisions and setting a fixed Termination Date of March 31, 2006.590

               c. It Appears That The Pipeline Swap Was Not In Effect From April 1, 2006 To
                  April 30, 2007

      The parties produced no Pipeline Swap agreements or schedules effective after March
2006 and before May 2007. There is some evidence suggesting that the Swap was nonetheless
in place during this period. In particular, documentation of contracts being assumed in the
2006 Bank Restructuring suggest that an agreement hedging HFI pipeline risk is being
assumed.591 However, documentation from approval of the next Schedule for which the
Examiner’s Professionals found copies of agreements, the 2007 Pipeline Swap Schedule
discussed in Section V.B.4.d, indicates that it was modeled on an Old GMAC Bank agreement
in place from 2005 through 2006, suggesting that the Swap had not been in place in the
interim.592 Celini believed that the Pipeline Swap should have continued and did so during this
period even if there was not an agreement in place.593 Groody and Sandy Blitzer, who was
responsible for hedging the loans in the market on behalf of GMAC Mortgage, were unable to
recall whether the Pipeline Swap had lapsed during this period.594 While it was difficult for
ResCap personnel to find accounting documentation reflecting the results of the Pipeline Swap




589   Groody was not certain of the reason for this change, but noted his belief that the Bank ceased originating
      brokered loans at some point, and thought this might reflect that shift. Int. of R. Groody, Dec. 17, 2012, at
      18:1–8, 73:1–4, 73:9–11. Blitzer also could not recall why reference to originated loans was deleted,
      surmising that the deletion could have been because the Bank was no longer originating loans. Int. of S.
      Blitzer, Mar. 5, 2013, at 48:20–49:18. However, it appears that the Bank continued to have brokered loans
      until at least the fall of 2008 (and that it thereafter originated loans brokered by GMAC Mortgage under the
      Broker Agreement). E-mails among C. Dondzila, J. Cortese, S. Ruby, et al. (Feb. 10–11, 2010)
      [EXAM11891921]. There apparently was some confusion caused by the fact that the Bank in Q2 2006 placed
      its Broker Fulfillment group under the aegis of the Correspondent Lending operation. Id. It continued to close
      brokered loans “in the name of the Bank,” though the volume appears to have been relatively small. Id. These
      loans would not have been “purchased” and therefore would not have been subject to the Pipeline Swap.
590   2005 Pipeline Swap Schedule, part 6(a)(xiv) [ALLY_0041601].
591   See Review of GMAC Bank Affiliate Agreements Assigned from GMAC Bank FSB to GMAC Bank ILB,
      dated Nov. 30, 2006, at ALLY_0260095 [ALLY_0260087].
592   See Approval of GMAC Bank Affiliate Agreements, dated May 17, 2007, at ALLY_PEO_0005523
      [ALLY_PEO_0005512].
593   Int. of A. Celini, Feb. 18, 2013, at 114:12–22.
594   Int. of R. Groody, Dec. 17, 2012, at 138:5–18; Int. of S. Blitzer, Mar. 5, 2013, at 71:3–17, 73:2–11 (“I have
      zero recollection as to when or when it was not in place.”). Blitzer did not recall any change in his market
      hedging activity with respect to loans held by the Bank during this time. Id. at 73:12–20.

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for HFI loans, they eventually located such records. The documents located notably include
records from the inception of the Pipeline Swap through March 2006, and from and after
May 1, 2007; thus, there is a gap in the accounting records that corresponds to the gap in the
periods covered by the written agreements that have been produced.595 Accordingly, while
there is some evidence to the contrary, it appears that the Pipeline Swap was not in effect from
April 1, 2006 through April 30, 2007.

                d. The May 2007 Pipeline Swap Remained Limited To Purchased HFI Loans And
                   Limited GMAC Mortgage’s Ability To Block Automatic Renewal

     GMAC Mortgage and Ally Bank entered into a new Pipeline Swap schedule effective
May 1, 2007.596 The substantive provisions of the 2005 Pipeline Swap Schedule were
unchanged, including the limitation of the Swap’s application to “purchased,” as opposed to
“originated” loans.597 The term provision was revised, setting a May 1, 2008 termination date,
subject to automatic one-year extensions absent (1) a default by the Bank continuing on the
day before termination, or (2) notice by the Bank of non-renewal.598 Unlike the automatic-
extension provisions of earlier versions of the Pipeline Swap that allowed either party to
prevent renewal upon notice to the other, GMAC Mortgage had no right to block the extension
of the Swap, absent a breach by the Bank. This revision notably paralleled the June 2007
amendments to the MMLPSA’s termination provisions, which eliminated GMAC Mortgage’s
right to terminate the MMLPSA without cause.

                e. The March 2008 Pipeline Swap Schedule Prevented Application Of The Swap
                   To HFI Loans The Bank Purchased From Certain Correspondent Lenders Not
                   Acceptable To GMAC Mortgage

     The parties entered into a new Schedule to the Pipeline Swap dated March 14, 2008.599
The “Subject Transaction” definition continued to be limited to loans the Bank intended to
“purchase for its ‘Held for Investment’ (HFI) portfolio,” but added a further restriction,
limiting the loans covered to those “whose ‘pipeline risk’ is managed by the ResCap Capital




595   Bank HFI Swap [EXAM00344897]; Bank Flow HFI Portfolio (May 2007–Mar. 2008) [EXAM00344891–902].
596   2007 Pipeline Swap Schedule [ALLY_0041789].
597   See id. 7–8.
598   Id. part 6(a)(xiv).
599   March 2008 Pipeline Swap Schedule [ALLY_0018074]. There are several anomalies in this Schedule,
      including: (1) a definition of “Commencement Date” as “May 1, 2007” (unchanged from the 2007 Pipeline
      Swap Schedule); and (2) even though the Schedule is fully executed, a header on each page after the first
      page reading “DRAFT DATED 5/7/07.” Id. part 6(a)(ii)), 2–9. These appear to be clerical errors in
      completion of the document arising from use of the prior version as a template; Groody’s best understanding
      was that this Schedule became effective March 14, 2008. Int. of R. Groody, Dec. 17, 2012, at 150:11–151:20.

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Markets Group [sic] a legally binding commitment.”600 Groody explained that this provision
was added because Ally Bank had begun to purchase HFI loans from new correspondents who
had not previously been GMAC Mortgage correspondent lenders, and that GMAC Mortgage
did not want to assume the risk for such loans.601 The reference to risks managed by the
ResCap Capital Markets Group served to exclude such loans from the Pipeline Swap.

      5. The July 2008 Amendments To The MMLPSA And The Pipeline Swap

      Effective July 1, 2008, GMAC Mortgage and Ally Bank agreed to amended versions of
the MMLPSA and the Pipeline Swap.602 Groody explained that these amendments were
interrelated and were prompted, at least in part, by the FDIC’s urging that Ally Bank
document its hedges with a standard ISDA Master Agreement and appropriate supplemental
documentation.603 The MMLPSA, as noted above, had functioned as a hedge for Old GMAC
Bank and Ally Bank by virtue of its cost-based pricing, but was not in the form of an ISDA
derivative contract. According to Groody, to address the FDIC’s criticism, the parties decided
to add Ally Bank’s HFS loans to the Pipeline Swap, while amending the MMLPSA’s pricing
provisions.604 While the documentation was changed, however, the goal was to preserve the
existing economics, so that the Bank would earn the net interest carry for the period the loan
was on its books, and would be hedged against market, interest, and fallout risk, while GMAC
Mortgage would earn the gain on sale, and would accept all market, interest, and fallout
risk.605 As described below, the loan accounting examples reviewed confirm that there were,
in fact, no changes in the underlying loan accounting following implementation of the July
2008 agreements.

               a. The Principal July 2008 Pipeline Swap Revisions

     The July 2008 Pipeline Swap Schedule redefined the “Subject Transaction[s]” to which
the swap applied to include both HFS and HFI loans; the revised definition is “a legally
binding commitment by [the Bank] to purchase, either for its ‘Held for Sale’ (HFS) portfolio




600   March 2008 Pipeline Swap Schedule, part 6(a)(xiii) [ALLY_0018074].
601   Int. of R. Groody, Dec. 17, 2012, at 147:2–150:2.
602   2008 MMLPSA [ALLY_0201210]; July 2008 Pipeline Swap Schedule [ALLY_0018237].
603   Int. of R. Groody, Dec. 17, 2012, at 156:2–8, 159:2–161:13. The impetus is described somewhat differently
      in the Minutes of a Regular Meeting of the Board of Directors of GMAC Bank, July 22, 2008, at
      ALLY_PEO_0001551 [ALLY_PEO_0001488] (reporting that GMAC Bank General Counsel J. Andrews,
      presenting the revisions for approval, said that “the proposed amendments respond to comments made by the
      Federal Deposit Insurance Corporation (‘FDIC’) recommending clarification of certain provisions pertaining
      to pricing.”) (emphasis added).
604   Int. of R. Groody, Dec. 17, 2012, at 160:14–161:3, 164:22–165:10, 167:2–20.
605   Id. at 167:6–174:11. GMAC Mortgage, in turn, would hedge these risks in the market as part of its broader
      hedging program.

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or its ‘Held for Investment’ (HFI) portfolio” loans from certain loan products or programs “for
which ‘Pipeline Risk’ is managed by the ResCap Capital Markets Group.”606

     While the July 2008 Pipeline Swap Schedule added HFS loans to the Pipeline Swap, it
continued to limit the scope of the Pipeline Swap to loans “purchased” by the Bank, and did
not revise the language to include loans “originated” by the Bank.

     Further, the July 2008 Pipeline Swap Schedule did not change the Swap’s terms
governing the period over which valuation changes were measured. The agreement’s language
continued to state that it applied to changes from rate lock to funding (as discussed at Section
VII.L.2.c).607 For HFI loans (which the Bank intended to keep as an investment), the language
made sense because the Bank sought to avoid recognizing losses (or gains) on the loans
between rate lock and funding when it recorded the loans on its books.608 After initially
booking HFI loans, Ally Bank generally would continue to carry them at its original basis less
a reserve, without having to mark them to market. For HFS loans, however, the language
failed.

      For HFS loans to be fully hedged by the Pipeline Swap, the Swap needed to cover not
just the period from rate lock to funding, but from rate lock to sale. By its written terms, the
July 2008 Pipeline Swap Schedule left Ally Bank un-hedged (and exposed to shifts in market
value) for the period from loan funding until sale of the loan to GMAC Mortgage.609 The
Bank’s contemporaneous June 2008 Affiliate Transaction Memo expressly stated that the
swap covered only the period “from the rate lock date to the time of funding for HFI and
HFS.”610

     Despite the terms of the Pipeline Swap, several witnesses asserted that their understanding
was that loans were hedged from rate lock all the way to sale.611 An April 2010 Ally Bank
Affiliate Transaction Memo, revisiting the July 2008 Pipeline Swap Schedule, asserts that it




606   July 2008 Pipeline Swap Schedule, part 6(a)(xvi) [ALLY_0018237] (emphasis added).
607   Id. part 6(a)(iv)(A), (viii).
608   See Section V.B.4; Int. of J. Whitlinger, Nov. 30, 2012, at 122:12–123:4; Int. of R. Groody, Dec. 17, 2012, at
      131:25–132:11, 134:14–135:21.
609   See Int. of C. Dondzila, Nov. 9, 2012, at 10:13–21; Int. of R. Groody, Dec. 17, 2012, at 162:6–163:17.
610   GMAC Bank Affiliate Transaction Memorandum, July 1, 2008 Schedule to ISDA Master Agreement, dated
      June 30, 2008, ¶ 2 [ALLY_0017919] (emphasis added).
611   Int. of J. Young, Sept. 28, 2012, at 202:13–205:14; Int. of J. Young, Oct. 10, 2012, at 9:17–10:12; Int. of
      C. Dondzila, Sept. 27, 2012, at 252:14–253:2; Int. of C. Dondzila, Nov. 9, 2012, at 13:1–10; Int. of J.
      Whitlinger, Nov. 30, 2012, at 134:19–135:5, 137:10–20, 147:25–148:11.

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covers “from the lock date to the time of funding (for HFI) and from funding to final sale (for
HFS).”612 Blitzer recalled hedging loans acquired from the Bank all the way to sale.613

               b. The 2008 MMLPSA’s Revised Pricing Provisions

     The 2008 MMLPSA defined the “Purchase Price” for First Lien Mortgage Loans as “the
Cost Basis plus reserves associated” with the loan.614 “Cost Basis,” in turn, was defined to mean:

                    with respect to a Mortgage Loan, its net carrying value, as
                    defined by accounting principles generally accepted in the
                    United States of America (as amended) to include without
                    limitation the unpaid principal balance of such Mortgage Loan,
                    plus or minus any premium or discount paid, net deferral fees or
                    costs, accrued interest and basis adjustments from derivative
                    loan commitments, hedge accounting or lower of cost or market
                    adjustments.615

Witnesses explained that, based on the understanding that the Pipeline Swap applied from rate
lock to sale, the loans were accounted for on a hedge-accounting basis, and this meant that
they were “marked to market” and sold to GMAC Mortgage at market value (rather than Ally
Bank’s cost, notwithstanding the use of the term “Cost Basis” in the agreement).616 In theory,
through application of the Pipeline Swap, GMAC Mortgage would then recover (or pay) the
difference between the market price it had paid under the MMLPSA and the Bank’s cost basis
(as defined in prior MMLPSAs) in the loan. Thus, the combined application of the revised
2008 MMLPSA and the Pipeline Swap would be to preserve the same economics that had
prevailed under prior versions of the MMLPSA.617




612   Ally Bank Affiliate Transaction Memorandum, July 1, 2008 Schedule to ISDA Master Agreement, dated
      April 30, 2010, ¶ 2 [ALLY_0018059]; see also Ally Bank Pipeline Swap with GMAC Mortgage, LLC
      [EXAM10880562] (attached to E-mail from N. Rock (Nov. 15, 2010) [EXAM10880561]) (“The principal
      purpose of the Pipeline Swap is to insulate the Bank from the volatility in the valuation change of HFS assets
      from the time of interest rate commitment through the time of loan sale.”).
613   Int. of S. Blitzer, Mar. 5, 2013, at 105:21–107:24. Blitzer’s recollection of the terms of the Pipeline Swap, of
      which he signed several iterations, was minimal.
614   2008 MMLPSA, § 1.24 [ALLY_0201210].
615   Id. § 1.9 [ALLY_0201210] (emphasis added).
616   See Int. of C. Dondzila, Sept. 27, 2012, at 228:14–229:11; Int. of C. Dondzila, Nov. 9, 2012, at 142:22–
      143:10; Int. of J. Whitlinger, Nov. 30, 2012, at 105:24–108:11.
617   Whitlinger observed that, consistent with this view of the Pipeline Swap and MMLPSA, GMAC Mortgage/
      ResCap entered into hedging transactions with third parties predicated on the view that GMAC Mortgage
      bore the risk from rate lock to sale, not just lock to funding. Int. of J. Whitlinger, Nov. 30, 2012, at 134:19–
      137:20.

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     However, if the July 2008 Pipeline Swap Schedule were applied as written and covered
only the period from rate lock to funding, rather than sale, then (1) application of hedge
accounting would be improper under GAAP,618 so that the MMLPSA pricing would not be a
marked-to-market price, and (2) the changes in the fair market value of the loans between
funding and sale would not flow to GMAC Mortgage under the Pipeline Swap, and this risk
would instead reside with the Bank. Further, the Pipeline Swap would be inapplicable to
brokered loans originated by the Bank (rather than purchased).

               c. Implementation Of The HFS Swap/Pricing Revisions

     Based on a review of accounting records for sample loans and interviews with accounting
personnel,619 the combined effect of the accounting for MMLPSA sales and the Pipeline Swap
was to preserve the same economics that had prevailed under prior versions of the MMLPSA,
as though the Pipeline Swap applied from rate lock to sale (and as though it applied to
brokered/bank-originated loans, and not merely to purchased loans). But the accounting
process through which this was accomplished was not what one would expect, with fair
market value pricing under the MMLPSA (due to application of hedge accounting), and the
change in value between rate lock and sale exchanged under the Pipeline Swap.

     Instead, for purposes of the MMLPSA, loans were not marked to market by Ally Bank
and sold to GMAC Mortgage at a market price. The accounting records for sales under the
MMLPSA reflect that the purchase price paid by GMAC Mortgage continued to be the Bank’s
cost basis as historically defined (UPB plus or minus premium or discount plus servicing
released premium where the Bank did not retain servicing rights).620 Thus, the MMLPSA
pricing was unchanged despite implementation of the July 2008 agreements.


618   See Int. of C. Dondzila, Nov. 9, 2012, at 73:18–74:9. Dondzila explained that the Bank had designated the
      Pipeline Swap as a hedge of its HFS portfolio under FAS 133, and that “the held for sale portfolio would
      have been marked to fair value consistent with the mark on its derivative, in this case the hedge, which was
      the held for sale swap.” Id. at 74:4–9. In accordance with FAS 133, if changes in the fair value of the loans
      were highly correlated to changes in the fair value of the Pipeline Swap, the loans would properly be carried
      at an estimated fair value with unrealized gains and losses recorded in the statement of operations. Id.
      However, if the Pipeline Swap did not cover the period from funding to sale, then changes in the value of the
      Swap would not be highly correlated to changes in the loan value for that period. If FAS 133 were not
      applicable, the GAAP carrying value would change to the lower of the cost of the loan or its market value.
      The net effect would be to subject the Bank to reductions in the value of the loans during the holding period
      between funding and sale.
      FAS 133, “Accounting for Derivative Instruments and Hedging Activities (as amended), was superseded by
      the FASB Accounting Standards Codification (“ASC”) 815, “Derivatives and Hedging” on September 15,
      2009.
619   Meeting with C. Dondzila and N. Rock in Fort Washington, P.A. (Jan. 16, 2013).
620   Loan Summary [EXAM00229653]; Loan Summary [EXAM00233017]; Examiner Loan Selections 03 11 13
      [EXAM00339939]; Examiner Loan Selections 04 15 13 [EXAM00345279]; see E-mail from C. Dondzila to
      M. Sitlinger and N. Rock (Nov. 22, 2011) [EXAM11892942] (“When the loans are actually ‘delivered’ to
      [GMAC Mortgage] under the MMLPSA the transfer is recorded at Bank[’]s cost.”).

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      In separate accounting records maintained for the Pipeline Swap, changes in loan value
were assessed for the Bank’s whole HFS portfolio on a daily basis, and the net gain or loss
was settled daily through the Pipeline Swap.621 Upon sale of the loan to GMAC Mortgage,
however, the Pipeline Swap entries were simply reversed, resulting in repayment under the
Pipeline Swap of any amounts that had been previously paid by either party with respect to
that loan under the Pipeline Swap.622

      Thus, upon sale of a loan, the net payments made after lock under the Pipeline Swap for
that individual loan totaled $0, and the loan was sold at the Bank’s “cost” basis (as historically
defined under the MMLPSA).623 Although this accounting does not actually align with the
terms of the agreements, the net effect was to obtain the same economic result (if the Pipeline
Swap is understood to include the period from funding to sale, and originated loans).

      6. The Broker Agreement, Fair Value Election, And The Allocation Of Net Revenues
         Between Ally Bank And GMAC Mortgage

     On November 20, 2008, GMAC Mortgage and Ally Bank entered into a “Broker
Agreement” pursuant to which GMAC Mortgage brokered loans to the Bank.624 GMAC
Mortgage then essentially ceased originating loans and instead channeled its production through
Ally Bank (except in four states (later two) where Ally Bank could not originate loans).625 As
discussed below, there are substantial issues about how revenues related to the loans brokered
under this arrangement were allocated between GMAC Mortgage and the Bank.




621   ResCap—Pipeline Swap Template [EXAM00231094]. Beginning in October 2008, the parties settled two
      days in arrears; beginning in May 2009, they switched to settle daily one day in arrears with a monthly “catch
      up”; and in January 2011, they switched to a weekly “catch up.” Meeting with C. Dondzila, J. Whitlinger,
      et al. in Fort Washington, P.A. (Dec. 11, 2012).
622   E-mails among J. Cortese, T. Kushman, et al. (Mar. 13, 2012) [ALLY_0381701]; E-mail from J. Cortese to
      C. Dondzila (Nov. 22, 2011) [EXAM11892955] (example of loan accounting entries showing “Loan Sold” at
      “Loan Origination Cost,” rather than marked to market “Adjusted Fair Value,” with offsetting positive and
      negative “MTM Swap” entries reflecting the “MTM while in HFS”).
623   See E-mail from K. Walsh to C. Dondzila and J. Kothe (July 31, 2009) [EXAM12056469] (“[H]ow the swap
      works is that the Bank is made whole at cost by the time we get to sale.”).
624   Broker Agreement [RC00030534]. GMAC Mortgage subsidiary ditech, LLC is also a party to the Broker
      Agreement, and, together with GMAC Mortgage, is identified as the “Broker” in the agreement. Broker
      Agreement, Preamble [RC00030534].
625   Detailed Analysis of Ally Bank’s Affiliate Agreements, dated June 12, 2012, at 29 [SOP0000380]; E-mail
      from L. Kelly (July 23, 2009) [EXAM10115666] (loans originated by GMAC Mortgage in four states
      represent less than 5% of the Bank’s HFS portfolio).

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               a. Genesis Of The Brokering Consumer Loans To Bank Project

      In or around March 2008, as ResCap faced severe liquidity issues,626 ResCap and Ally
Bank personnel began work on the “Brokering Consumer Loans to Bank” (or “Broker to
Bank”) project.627 The Bank, in contrast to ResCap, had excess liquidity, and was looking for
ways to grow consistent with its regulator-approved business plan.628 As noted above, the
Bank’s ability to purchase loans originated by GMAC Mortgage was limited under the
250.250 exception to 50% of GMAC Mortgage’s production over the preceding twelve
months.629 The 250.250 program sales to the Bank were reaching this limit in the summer and
fall of 2008 (and, in at least one instance, the limit was exceeded).630 However, loans brokered
to the Bank by GMAC Mortgage and then originated by the Bank in its own name would not
be subject to this limit.631 Further, switching to a broker model not only offered the prospect of
increasing the number of loans which could be funded through the Bank (with a projected
savings to GMAC Mortgage of 10 to 21 basis points over loans originated by GMAC
Mortgage),632 but would increase the volume of MSRs that could be retained by the Bank.633
As Celini, the “Sponsor” of the Broker to Bank Project for the Bank,634 noted, “there was very
widespread knowledge that the affiliate had high cost liquidity or no liquidity and that if we
didn’t do this, if we didn’t find a way to do this that there would be a bad outcome on the
other side.”635 The project “was made a priority,”636 and the assembled project team, under the
direction of Bank Project Leader (and Celini’s subordinate) Debra Scott,637 was “basically
working this during the day and had to do [their] other jobs at night.”638




626   See Section III.G.
627   Int. of A. Celini, Feb. 18, 2013, at 207:23–209:18; Brokering Consumer Loans to GMAC - Project Overview,
      dated Mar. 11, 2008, ¶¶ 1–2 [EXAM10087770] (noting that project will expand use of Bank’s lower cost
      funding, deepen liquidity, avoid 250.250 limitations, and allow the bank to build its MSR position faster).
628   Int. of A. Celini, Feb. 18, 2013, at 208:7–17.
629   See Section V.B.1.b.
630   Int. of A. Celini, Feb. 18, 2013, at 41:2–10; Minutes of Mortgage Credit Policy Committee Meeting, June 25,
      2008, at 3 [EXAM11445640].
631   Int. of A. Celini, Feb. 18, 2013, at 208:13–17.
632   Brokering Consumer Loans to Bank Project Charter, dated Nov. 10, 2008, at 6 [EXAM12253233].
633   Int. of A. Celini, Feb. 18, 2013, at 209:9–18.
634   Brokering Consumer Loans to Bank Project Charter, dated Nov. 10, 2008, at 4 [EXAM12253233].
635   Int. of A. Celini, Feb. 18, 2013, at 220:11–15.
636   Id. at 208:25.
637   Brokering Consumer Loans to Bank Project Charter, dated Nov. 10, 2008, at cover page, 5
      [EXAM12253233].
638   Int. of A. Celini, Feb. 18, 2013, at 220:3–5.

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     It should also be noted that a significant accounting issue had arisen as to whether the
250.250 program sales were actually “true sales” or were instead required to be accounted for
as a financing, given that the MMLPSA required that loans be sold back to GMAC
Mortgage.639 This posed a significant problem, given that an extension of credit by the Bank to
GMAC Mortgage would have required collateral, and for non-cash collateral (such as the
loans), the collateral posted would have to equal 110% or 120% of principal.640 While it is not
clear whether this problem was one of the initial reasons for the brokering project, Bank
personnel recognized that “the 250.250 issue will be greatly reduced” by implementation of
the Broker-to-Bank arrangement.641

               b. The Parties’ Agreement To Maintain The Existing Economics, Under Which
                  The Bank Received Only Net Interest Carry For The Period Loans Were On Its
                  Books

     As discussed above, for loans GMAC Mortgage sold under the Correspondent
Agreement pursuant to the 250.250 exception,642 the Bank recognized as revenue only the “net
interest carry” for the period the loan was on the Bank’s books. GMAC Mortgage realized the
benefit of any points or other origination fees charged. One of the key issues addressed by the
Brokering Consumer Loans to Bank team was how revenues and expenses would be allocated
under a brokering arrangement. Matthew Whitehead, a ResCap representative, was tasked
with mapping out and getting agreement on these issues.643

    As detailed in a Tuesday, September 2, 2008, e-mail exchange between Celini and
Whitehead, as Celini confirmed in his interview with the Examiner’s Professionals, and as




639   Memorandum, GMAC Mortgage to GMAC Bank Loan Transfer Accounting Review, dated Nov. 24, 2008, at
      1, 2–3 [EXAM00233961] (noting that the Bank Controller’s “Q4 2007 Senior Financial Officer Controls
      Certification” had noted that the Bank was reviewing the 250.250 purchases for sales treatment, and that in
      Q2 2008, the qualification was revised to note that “as reported in prior quarter, and concluded this quarter,
      Bank purchases from [GMAC Mortgage] under 250.250 do not qualify for sale treatment”) (emphasis
      added); E-mail from K. Walsh to C. Dondzila, et al. (Dec. 23, 2008), at EXAM12378491 [EXAM12378490]
      (“The 250.250 program . . . never qualified for transfer accounting by [GMAC Mortgage] under FAS 140
      (and therefore purchase accounting by Bank) as a true-sale opinion is unattainable (confirmed with outside
      counsel earlier this year”).
640   E-mail from K. Walsh to C. Dondzila, et al. (Dec. 23, 2008), at EXAM12378491–92 [EXAM12378490]; see
      Section V.B.1.b (regulatory discussion).
641   E-mail from K. Walsh to C. Dondzila, et al. (Dec. 23, 2008), at EXAM12378492 [EXAM12378490] (noting
      that the issue would remain problematic for states where the broker arrangement could not be put into effect,
      and where loans would continue to be sold to the Bank under the 250.250 program).
642   See Section V.B.2.
643   Int. of A. Celini, Feb. 18, 2013, at 221:21–22:8; Brokering Loans to Bank Project Issue Log, dated July 3,
      2008, at 4 [EXAM20052676]; see also E-mail from D. Scott (July 3, 2008) [EXAM20052672] (circulating
      log).

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Scott stated when interviewed by KPMG in early 2012, the agreement ultimately reached was
to maintain the same economics that had been in place for loans sold under the 250.250
program.644 In the e-mail exchange, Whitehead recapitulated the conclusions reached in a call
the preceding Friday, and asked that Celini confirm his understanding; Celini responded by
interlineating the word “Correct” at several junctures in response to Whitehead’s
statements.645 As interlineated, the e-mail reads as follows in pertinent part:

                   Based on our conversation on Friday, I wanted to confirm that
                   {the} only revenue the Bank is going to recognize is the Net
                   Carry (i.e. Interest Income/Expense). All of the other income/
                   fees (i.e. Origination Fee, Loan Discount Fee income (points),
                   Rate Lock Fee, Overage/Shortage/Subsidies, Underwriting Fee,
                   other ancillary fees) will be payable to the Bank (lender) from
                   the borrower, and will be capitalized within the cost basis of the
                   loan and essentially sold to Mortgage at that cost basis as the
                   purchase price. CORRECT. All the traditional rev{enue}/
                   exp{ense} reimbursement items that normally {would} be
                   recognized by the originator {will} be born by GMACB{ank}
                   and capitalized into the loan basis {in} accordance with GAAP.
                   These items will not reside on the Bank P&L [deferred onto
                   B{alance}/S{heet}] and will be recognized on the Mortgage
                   P&L once the loan is sold to GSEs. Likewise, the Broker Fee
                   will be paid to Mortgage from the Bank and will also be
                   capitalized within the basis of the loan and sold to Mortgage at
                   which time it would be recognized as a{n} expense and offset
                   [eliminated in consolidation] any Broker Fee income on the
                   Mortgage entity. This would effectively make the Bank P&L
                   neutral to the way it currently conducts business and would act
                   essentially as a funder of loans and not impacted by any market
                   or interest rate movement. [correct].646


644   Int. of A. Celini, Feb. 18, 2013, at 242:22–24 (“We essentially replicated the economics of the 250.250
      transaction in a broker form.”); E-mails between M. Whitehead and A. Celini (Sept. 2, 2008)
      [EXAM00003975]; Ally Global Security Investigation Report, dated Mar. 14, 2012, at RC40022063–64
      [RC40022044] (summary of KPMG interview of Debra Scott) (“In her opinion the bank was suppose[d] to
      receive the same income as it received from the prior 250/250 agreement and the bank was to ‘remain
      income neutral’ . . . any points or premium pricing income would be discounted from the price [when]
      GMAC Mortgage purchased the loan from Ally Bank”); see also E-mail from D. Scott to M. Whitehead, et
      al. (Aug. 28, 2008) [EXAM10286218].
645   E-mails between M. Whitehead and A. Celini (Sept. 2, 2008) [EXAM00003975]; Int. of A. Celini, Feb. 18,
      2013, at 225:1–226:19 (confirming the “correct” interlineations were Celini’s, and his continued agreement
      with Whitehead’s statements).
646   E-mails between M. Whitehead and A. Celini (Sept. 2, 2008) [EXAM00003975] (alterations in original)
      (emphasis added) (material with “{ }” added).

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In the e-mail forwarding the interlineation, Celini further noted his understanding that the
arrangement “would have Bank Legal entity recognize the typical[ ] revenues of an
originator, bear the cost of U/W, pay the broker a Respa/23B fee for taking the application and
bringing the loan to [the Bank] and processing it to close,” but then,

                    [T]he appropriate items would be capitalized into the loan basis
                    such that when the loan is sold under the MMLPSA (fwd sale
                    agreement) there would be no gain or loss on sale for the [Bank]
                    Legal entity. I would believe this to be “market risk
                    neutral[.]”647

     A few days earlier, Scott had exchanged e-mails with Whitehead and others that similarly
described the arrangement as:

                    (1) [GMAC Mortgage] will broker loan to bank at the channel price sheet;

                    (2) If loan is underwritten and approved by [the Bank], loan is funded by [the
                        Bank];

                    (3) All traditional non-pass through fees (application, origination, copying,
                        courier, etc) and points are paid to [the Bank];

                    (4) [The Bank] pays [GMAC Mortgage] broker fee for services rendered;

                    (5) [GMAC Mortgage] records broker fee as income (will get eliminated in
                        consolidation);

                    (6) [The Bank] capitalizes the broker and origination fee in accordance with
                        GAAP. Any portion of the broker fee not capitalized should be off-set by
                        fees collected from borrower;

                    (7) [The Bank] records loan origination at cost (includes origination fee
                        income648 and broker and admin services expense);



647   E-mails between M. Whitehead and A. Celini (Sept. 2, 2008) [EXAM00003975] (emphasis added).
648   It has been suggested by AFI counsel that Scott’s e-mail does not address the capitalization of “points”
      income. However, as discussed below, under FAS 91, “origination fee income” includes “points”; thus,
      Scott’s reference to the inclusion of “origination fee income” in the cost-basis pricing of the loan reflects an
      understanding that the loan’s cost would be reduced where points had been paid. See Section V.B.6.d; FIN.
      ACCOUNTING STANDARDS BD., STATEMENT OF FINANCIAL ACCOUNTING STANDARDS NO. 91, Accounting
      for Nonrefundable Fees and Costs Associated with Originating and Acquiring Loans and Initial Direct Costs
      of Leases, ¶ 80 (Dec. 1986). FAS 91, “Accounting for Nonrefundable Fees and Costs Associated with
      Originating or Acquiring Loans and Initial Direct Costs of Leases (as amended),” was superseded by the
      FASB Accounting Standards Codification (“ASC”) 310–20, “Nonrefundable Fees and Other Costs” on
      September 15, 2009.

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                   (8) [The Bank] sells loan to [GMAC Mortgage] at cost (no gain or loss to [the
                       Bank]) which means that loan is net of expense incurred not covered by
                       borrower or capitalized. [The Bank] retains float income during . . . the
                       hold period;

                   (9) [GMAC Mortgage] hedges loan in accordance to the existing [Bank/GMAC
                       Mortgage] swap agreement;

                   (10) [GMAC Mortgage] sells loan to GSE - (eliminates broker and admin fee)
                       and realizes gain or loss; and

                   (11) [The Bank] should not have gains or losses due to this transaction.649

Thus, the agreement reached was that GMAC Mortgage would continue to retain the profit
and loss impact of origination fees and expenses for loans brokered to the Bank, just as it had
when it sold loans to the Bank under the 250.250 program, while the Bank would have no
“gains or losses,” earning only net interest carry—the “float income during the hold period.”

      There are two significant alternative scenarios to bear in mind in connection with
understanding the impact of this arrangement—“discount points” and “premium pricing”650—
illustrated in Exhibit V.B.6.b:




     As illustrated in Loan Scenario 1, a borrower may pay “discount points” in connection
with a loan to reduce the rate from 5.00% to 4.50%. The total mortgage discount points paid to
obtain the desired mortgage note rate are $4,000 ($2,000 x 2) and the bank’s cost basis is
$197,500 ($200,000 UPB - $4,000 points collected + $1,500 broker fee). The reduced note
rate will negatively affect the gain on sale recognized when the loan is sold to an investor due
to the note rate being below par.


649   E-mail from D. Scott to M. Whitehead, et al. (Aug. 28, 2008) [EXAM10286218] (emphasis added).
650   These two examples illustrate two common scenarios that help illuminate the issues addressed; there are, of
      course, many other alternative scenarios not described here.

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     Conversely, as illustrated in Loan Scenario 2, a borrower may instead accept a higher
mortgage interest rate (“premium pricing”) while paying “no discount points.” In this
scenario, the borrower qualifies for a mortgage par rate of 5.00%, but the bank offers a rate of
5.50% using a “lender credit” to cover the borrower’s closing costs. This is known as a “no-
closing cost loan” and is considered “premium pricing.” In this scenario, the bank’s cost basis
is $203,500 ($200,000 UPB + $2,000 bank-paid closing costs + $1,500 broker fee). The
increased, above-par note rate will positively affect the gain on sale recognized when the loan
is sold to an investor. Furthermore, a portion of this gain on sale, referred to as the “day one
gain on sale” relates to the difference between the Bank’s cost and the value of the loan on the
day the loan is recorded on the Bank’s books (the Capital Markets Required Price or
“CMRP”); as discussed below, this “day one gain on sale” was treated as a form of origination
income.
      The accounting treatment for nonrefundable fees and costs associated with lending,
committing to lend, or purchasing a group of loans was governed by Statement of Financial
Accounting Standards No. 91 (“FAS 91”).651 Under FAS 91, nonrefundable fees include
origination fees (points and placement fees), commitment fees (application fees, management
fees, and restructuring fees), and syndication fees.652 Origination fees are fees charged to the
borrower in connection with the process of originating, refinancing, or restructuring a loan and
include (but are not limited to) points, management fees, arrangement fees, placement fees,
application fees, and underwriting fees.653 FAS 91 specifies that loan origination fees and
related direct loan origination costs for a given loan shall be offset, and only the net amount
shall be deferred and recognized as an adjustment to the cost basis of the loan.654 For example,
if a lender pays a broker fee of $2,000 and collects points of $1,500, the net deferred amount
is an expense of $500 ($2,000 broker expense less $1,500 fee income). For loans classified as
held for sale, the deferred amount is not amortized before the sale, but is recognized through
the income statement as a component of gain on sale when the loan is sold.655
      Thus, Scott’s e-mail and Celini’s exchange with Whitehead reflect that origination fees
(e.g., discount points) would be paid by the borrower to the Bank in the first instance, and the
Bank would then defer and “capitalize” the income under FAS 91, reducing the cost basis of
the loan. This, in turn, would serve to reduce the price charged to GMAC Mortgage when it
purchased the loan from the Bank, due to the combined effect of the MMLPSA and the
Pipeline Swap (which, as discussed above, were designed to operate together to result in the
transfer of loans to GMAC Mortgage at the Bank’s cost).656
651   FIN. ACCOUNTING STANDARDS BD., STATEMENT OF FINANCIAL ACCOUNTING STANDARDS NO. 91,
      Accounting for Nonrefundable Fees and Costs Associated with Originating and Acquiring Loans and Initial
      Direct Costs of Leases (Dec. 1986).
652   Id. ¶ 2.
653   Id. Appx. C.
654   Id. ¶ 5.
655   Id. ¶ 27c; Ally Accounting Policy 2740, Loan Premiums, Discounts, and Deferred Fees or Costs, dated Jan.
      1, 2012, at 10 [RC40000936].
656   See Section V.B.5.

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     In contrast, in the “premium pricing” scenario, the Bank would defer and capitalize the
amounts related to uncompensated origination expenses (such as underwriting expense and
other closing costs). The market value of the loan (and day one gain on sale) would be higher
(because of the above-market note rate), but the Bank would, under FAS 91, capitalize a
corresponding expense item for its uncompensated origination expense. The deferral of these
expenses would increase the price of the loan to GMAC Mortgage under the combined cost-
basis pricing effect of the MMLPSA and Pipeline Swap.

     The Celini/Whitehead and Scott e-mails discussed above reflect an intent to maintain
cost-based pricing for loans brokered to the Bank, so that the Bank would recognize neither
gains nor losses on sale of the loans.657 While the parties also contemplated that GMAC
Mortgage would charge the Bank a broker fee, this expense would likewise be capitalized and
deferred under FAS 91, so that it would serve to increase the price of the loan under the
MMLPSA/Pipeline Swap. Thus, the Bank would recoup the cost of the broker fee from
GMAC Mortgage when GMAC Mortgage purchased the loan.658

     The parties’ agreement about the allocation of revenue on brokered loans is further
reflected in a slide presentation dated November 19, 2008 (the day before the Broker
Agreement was executed), entitled “Brokering Consumer Loans 2 Bank Project (BCL2B),
Legal Entity Revenue, Expense, and Broker Fee Proposal” (the “BCL2B Presentation”).659
The BCL2B Presentation describes the “Base Assumptions” for the Broker to Bank Project,
including:

         •   “[GMAC Bank], acting as the lender[,] will remain P&L neutral from the brokered
             transaction with the exception of net interest carry”;

         •   “FAS91 will be booked on [GMAC Bank] at loan level to include deferrable fees
             and expenses” and “will include Broker Fee expense”; and




657   E-mails between M. Whitehead and A. Celini (Sept. 2, 2008) [EXAM00003975]; E-mail from D. Scott to
      M. Whitehead, et al. (Aug. 28, 2008) [EXAM10286218]. Celini also stated that this also replicated the
      economics of other brokered loans originated by the Bank. Int. of A. Celini, Feb. 18, 2013, at 229:20–230:7
      (explaining that for other bank-originated loans before the advent of the Broker Agreement with GMAC
      Mortgage, “the affiliate” (GMAC Mortgage) received the P&L impact of origination income and expenses,
      noting “we were not recognizing gains and losses on these activities”).
658   E-mails between M. Whitehead and A. Celini (Sept. 2, 2008) [EXAM00003975]; E-mail from D. Scott to
      M. Whitehead, et al. (Aug. 28, 2008) [EXAM10286218].
659   Materials for Audit Committee Meeting of Residential Capital, LLC, Mar. 20, 2012, at RC40022103–24
      [RC40022044].

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       •   “GMAC[ Bank] will receive payment for that loan upon sale to Mortgage that is
           equal to the originated cost basis of the loan rather than a purchase price equal to the
           capital markets required price,” and “[t]he Cost basis of the loan would include any
           origination and loan processing fee income and any broker fee expenses.”660

     Elsewhere the BCL2B Presentation similarly states that the Bank will “recognize”:
                  - (G) Income related to:

                     •   Fees paid by the borrower for loan origination services performed
                         by [GMAC Mortgage] (broker) on behalf of GMAC Bank (lender)

                     •   Origination fee and ditech/GMAC fee (may be renamed)

                     •   Fee/income for loan discount/rate buydowns

                     •   Fees for services provided with locking the rate on the loan being
                         originated

                     •   Fees for underwriting services performed by the bank underwriters

                     •   Other miscellaneous ancillary fees or “Lender Loan Services Fee:
                         (i.e. document prep, processing, etc.)

                  - (H) Receive overage/shortage or pricing subsidies

                  - (I) Net Carry while loan is in pipeline at the bank

                  - (J) Will pay “Broker fee” to GMACM (broker for loan origination
                  expenses through a broker agreement (inter-company transaction) and
                  offset by (A) on GMACM. Eliminated in ELIM17 for management
                  reporting purposes

                  - (K) Expense for headcount and related expense associated with the
                  underwriting and credit decisioning
660 BCL2B Presentation, at 5 [EXAM00075395] (emphasis added). Counsel for AFI notes that, on the same page, the

  Presentation, after stating that “[c]ompensation in the form of a ‘Broker Fee’ must be paid to [GMAC Mortgage]
  (Broker) and disclosed to borrower in order to remain RESPA compliant,” then states that “No yield spread
  premium or admin services fee will be paid to [GMAC Mortgage].” AFI and Young suggest that the reference to
  “yield spread premium” is a reference to premium pricing, indicating that GMAC Mortgage was not to get the
  benefit of premium pricing. Int. of J. Young, Mar. 15, 2013, at 202:1–5. However, “yield spread premium” is a
  typical component of many broker fee arrangements. See DEP’T OF HOUS. AND URBAN DEV. REAL ESTATE
  PROCEDURES ACT (RESPA) STATEMENT OF POLICY 1999-1 REGARDING LENDER PAYMENTS TO MORTGAGE
  BROKERS, FINAL RULE (1999), at 3, http://www.hud.gov/offices/hsg/ramh/res/fr-4450.pdf. The BCL2B
  Presentation thus makes clear that the Broker Fee to be paid to GMAC Mortgage is not to include such a
  component. It then goes on in the next entries, quoted in text, to state that the Bank “will remain P&L neutral . . .
  with the exception of net interest carry,” that FAS 91 deferrals to be booked by the Bank “will include Broker Fee
  expense,” and that the loans will be transferred at “the originated cost basis of the loan rather than . . . the capital
  markets required price,” with “any origination and loan processing fee income and any broker fee expenses”
  included in the cost basis. BCL2B Presentation, at 5 [EXAM00075395].

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                    - (L) Receive and fund the capitalized servicing asset [MSR] on the
                    balance sheet

                    - (M) Fees and expenses will be deferred through FAS91 and
                    capitalized in cost basis of loan on balance sheet (related to
                    items G, H, J, and K).661

Thus, while the Bank would “recognize” origination income, overage/shortage or pricing
subsidies, broker fees, and underwriting expense (items G, H, J and K), these items would be
deferred and capitalized, and their resulting economic effects would be transferred to GMAC
Mortgage through the MMLPSA and Pipeline Swap upon sale of the loan. The Bank would
retain Net Carry (item I), and would retain the MSR (item L) upon sale of the loan.

     Further, the BCL2B Presentation explained that the Broker Fee would be set at GMAC
Mortgage’s cost. The Presentation identified the fees (in terms of basis points) to be charged
for conventional/conforming loans and for government loans,662 demonstrating that the fees
had been calculated on a cost basis and “[d]id NOT include a premium on top of the actual
expenses.”663 This pricing reflected the fact that the Broker Fee would ultimately be a “wash,”
since it would be paid to GMAC Mortgage by the Bank and then recouped through including
this amount as a FAS 91 deferral, increasing the MMLPSA/Pipeline Swap cost-based
purchase price of the loan.664

     Finally, the BCL2B Presentation provided loan-level accounting examples and a 2009
consumer lending operating plan profit and loss statement (comparing GMAC Mortgage and
the Bank), illustrating the allocation of revenues and expenses just described. The sample
loan-level accounting journal entries associated with an HFS loan brokered from GMAC
Mortgage to the Bank included origination fee income, loan discount income and broker fee



661   BCL2B Presentation, at 7 [EXAM00075395] (emphasis added).
662   Id. at 4; see also GMAC Bank Affiliate Transaction Memorandum Re Broker Agreement - GMAC Mortgage
      LLC & GMAC Bank, dated Nov. 30, 2008, at 1 [ALLY_0017944] (reciting same fees reflected in the
      BCL2B Presentation); Int. of A. Celini, Feb. 18, 2013, at 240:21–243:3.
663   BCL2B Presentation, at 11 [EXAM00075395]. The February 2012 Sandler O’Neill presentation to the Bank
      Board (discussed in Section V.B.10.c) noted that the broker fee was not on market terms. At the time of that
      presentation—February 2012—the Bank was paying GMAC Mortgage a broker fee of 65 basis points to
      cover a number of GMAC Mortgage’s costs, including loan officer compensation, overhead, infrastructure
      and marketing costs. Sandler O’Neill noted that this fee was below market, observing that the market was
      paying 50–75 basis points for loan officer compensation alone. Based on that observation, Sandler O’Neill
      stated that it “would expect the total origination fee paid by knowledgeable market participants to be greater
      than 50–75 basis points because originators would need to cover additional costs (e.g., overhead,
      infrastructure and marketing costs) over and above loan officer compensation.” Sandler O’Neill Report to the
      Board of Directors of Ally Bank Re: Analysis of Financial Terms of Certain Affiliate Agreements between
      Ally Bank and GMAC Mortgage LLC, dated Feb. 28, 2012, at 59 [ALLY_PEO_0084709].
664   Int. of A. Celini, Feb. 18, 2013, at 236:22–237:13.

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expense as components of the FAS 91 deferral.665 The 2009 operating plan identified the
projected income statement impact upon implementation of the Broker to Bank Project. The
loan-level accounting samples and the profit and loss statements illustrated the elimination of
the broker fee and the recognition of the economics of the FAS 91 deferrals by GMAC
Mortgage.666

      In connection with implementation of the Broker to Bank Project, approximately 65
ResCap/GMAC Mortgage underwriters were transferred to Ally Bank.667 ResCap received no
compensation in exchange for the transfer of this unit.668 This absence of consideration can be
justified by the structure of the contemplated arrangement through which the underwriters
were not to function as a profit center for the Bank but instead as a cost center whose expense
was to be capitalized, deferred, and passed on to GMAC Mortgage when it purchased the
loans. Had it been intended that the Bank would realize additional profits by virtue of
assuming the underwriting and origination functions, one would expect that GMAC Mortgage
would have been compensated for the transfer of this unit.

     The only new written agreement into which the parties entered in connection with the
BCL2B was the November 20, 2008 Broker Agreement. The Broker Agreement notably does
not specify the fee that is to be paid to GMAC Mortgage for acting as a broker.669 A
November 30, 2008 GMAC Bank Affiliate Transaction Memo (authored by Celini) addressing
the Broker Agreement discusses the broker fees to be charged, reciting the same figures as the
BCL2B Presentation and the services to be provided by GMAC Mortgage.670 Subsequent
documentation (including the report of a review performed by KPMG in 2012, discussed




665   BCL2B Presentation, at 20 [EXAM00075395]. The journal entries include an origination fee credit of
      ($1,179.00), a discount for net loan discount income debit of $640.92 and broker fee expense debit of
      $1,568.00. The combination of these line items ($1,568.00 + $640.92—$1,179.00) equals the FAS 91
      Deferral of $1,029.92.
666   BCL2B Presentation, at 8 [EXAM00075395].
667   E-mail from S. McCumber to L. Gess (July 7, 2008) [EXAM20052672]; Brokering Contact List
      [EXAM20052675]; see also Int. of A. Celini, Feb. 18, 2013, at 217:12–218:8.
668   Int. of A. Celini, Feb. 18, 2013, at 217:6–19.
669   See Broker Agreement, § 4 [RC00030534] (“Broker Compensation” provision specifies circumstances in
      which fee is to be paid, requires appropriate consumer disclosures, and provides that the Bank can limit the
      fee where it exceeds the normal market price, but does not specify the fee).
670   GMAC Bank Affiliate Transaction Memorandum Re Broker Agreement- GMAC Mortgage LLC & GMAC
      Bank, dated Nov. 30, 2008, at 1–3 [ALLY_0017944]. The Memorandum notably does not address the
      revenue allocation that will apply to the brokered loans by operation of the MMLPSA and the Pipeline Swap.

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below) and witness interviews confirm that the broker fee GMAC Mortgage charged over the
ensuing years was based on its cost, rather than a market-based fee, and that the parties
periodically reevaluated the fee to assure that it equated to actual cost.671

     It does not appear that the parties thought any further agreements or modifications to
existing agreements were necessary to effectuate their agreed-upon allocation of revenues and
expenses.672 Celini explained that the contemplated allocation of revenues and expenses
generally was the same as that under the existing contractual arrangements;673 in particular, for
pre-Broker Agreement third-party brokered loans, the economic impact of “points” and the
day one gain on sale were being passed on to GMAC Mortgage and were not retained by Ally
Bank.674 AFI counsel confirmed that pre-Broker Agreement loan accounting shows that this
was the case,675 and sample brokered loans from this period676 show that the Bank, as Celini
indicated, was not “recognizing gains or losses on these activities.”677 The cost-based pricing




671   See, e.g., Int. of C. Dondzila, Nov. 9, 2012, at 50:24–52:10; ResCap Audit Committee Presentation, dated
      Mar. 20, 2012, at RC40022051 [RC40022044] (noting GMAC Mortgage will “realize a net loss” on each
      transaction unless the broker fee is “increased significantly”); KPMG Report, at RC40022079 [RC40022044]
      (“[T]he broker fee would likely not cover GMAC [Mortgage’s] costs to perform services to broker loans to
      the Bank.”); see also Ally Bank Affiliate Transaction Memorandum Re Broker Agreement- GMAC
      Mortgage LLC & GMAC Bank, dated Sept. 7, 2011, at 1 [ALLY_0018206] (reflecting updated broker fees).
672   Int. of A. Celini, Feb. 18, 2013, at 244:2-19; Int. of R. Groody, Dec. 17, 2012, at 176:21–177:25.
673   Int. of A. Celini, Feb. 18, 2013, at 229:20–230:7 (for pre-Broker Agreement bank-originated loans “the
      affiliate” (GMAC Mortgage) received the P&L impact of origination income and expenses; “we were not
      recognizing gains and losses on these activities”).
674   It appears that there were two categories of items whose impact accrued to the Bank for earlier brokered
      loans that were to be deferred under the new arrangement: First, it appears that there were several ancillary
      fees sometimes charged by the Bank that were being retained by the Bank, including tax service fees and
      loan processing fees. Second, even though FAS 91, paragraph 65 specifically contemplates that broker fees
      are to be deferred, historically the Bank had not done so. As part of the new process, the parties agreed that
      the broker fee should be treated as part of the Bank’s cost to originate the loan, and that it therefore, was to
      be included in the FAS 91 deferral. See E-mail from L. Corrigan to S. Bode, S. Ruby, et al. (Oct. 28, 2009)
      [EXAM12008765]; Section V.B.6.c. Of course, had this expense not been deferred, it would have been paid
      by the Bank to GMAC Mortgage and would not then have been recouped through application of the
      MMLPSA and Pipeline Swap on sale of the loan to GMAC Mortgage; in other words, revising the parties’
      prior practice and deferring the broker expense benefited the Bank.
675   Meeting with Kirkland & Ellis, AFI Counsel, in N.Y., N.Y. (Apr. 11, 2013).
676   Broker Loans Before 2009 [ALLY_0434976]. As discussed above, the sample loans show that the Bank was
      receiving, in addition to net interest carry, certain miscellaneous fees such as tax service fees, but was not
      recognizing other gains or losses, which instead were recognized by GMAC Mortgage.
677   Int. of A. Celini, Feb. 18, 2013, at 229:20–230:7

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for loans purchased (effectuated under the 2008 MMLPSA and July 2008 Pipeline Swap as
implemented) would have captured the effect of the FAS 91 deferrals.678
     Further, Celini stated that to effectuate any change in these economics (or any change in
the accounting that resulted in such a change) would have required “a change in affiliate
agreements” then in place.679
               c. Ally Bank Initially Realized Only Net Interest Carry On GMAC Mortgage
                  Brokered Loans
     When Ally Bank and GMAC Mortgage initially implemented the broker arrangement,
the revenue and expense allocation was implemented as they had agreed. From January 1,
2009 to July 31, 2009 (when the Bank elected an accounting change discussed below), the
Bank realized only the net interest carry on the loans, while also retaining the MSRs on the
increased volume of loans passing through the Bank by virtue of avoiding the 250.250 limits.
GMAC Mortgage, through the impact of FAS 91 deferrals (inclusive of discounts/premiums/
day one gains on sale), continued to reap the profit and loss (“P&L”) benefit of points and
other origination-related revenues, as well as the impact of capitalized expenses. In a review
performed several years later, Joe Cortese680 summarized the accounting for brokered loans
during this initial period from January 1, 2009, to July 31, 2009, as follows:
                    Upon origination, the carrying value of the loan on the Bank
                    consisted of the UPB, plus or minus discount/premium
                    (collected from borrower and CMRP);681 and net deferred fees
                    (FAS91). Net deferred fees consisted of premium/discount
                    collected/paid at closing; the capital markets required price
                    (CMRP); broker fee expense; and a per unit deferral for internal
                    costs. Upon sale of the loan, the UPB was derecognized; the net
                    deferred fee was reversed into earnings; the discount/premium
                    on the loan was derecognized; and interest income representing
678   Indeed, the 2008 MMLPSA pricing provisions specifically stated that, for MMLPSA pricing purposes, the
      loan’s “net carrying value” determined in accordance with GAAP, was
           to include without limitation the unpaid principal balance of such Mortgage Loan, plus or minus
           any premium or discount paid, net deferral fees or costs, accrued interest and basis adjustments
           from derivative loan commitments, hedge accounting or lower of cost or market adjustments.
      2008 MMLPSA, § 1.9 [ALLY_0201210] (emphasis added).
679   Int. of A. Celini, Feb. 18, 2013, at 246:4–248:18; see also Int. of R. Groody, Dec. 17, 2012, at 259:25–260:11
      (agreeing change from cost-basis pricing would have required amendment of agreements).
680   Cortese joined Old GMAC Commercial Mortgage as an accounting director in June 2000 before leaving in
      October 2004. In July 2008, Cortese joined ResCap as an accounting director. He became Chief Accounting
      Officer for Ally Bank in August 2009, and became Ally Bank Mortgage Controller in August/September
      2012. Int. of J. Cortese, Mar. 7, 2013, at 7:19–25, 9:15–25, 10:20–12:3.
681   “CMRP,” or “Capital Markets Required Price,” is a market valuation of the loan; as Cortese explained, the
      discount/premium consisted of loan discount income, which was “inclusive of what they’re referring to as the
      capital markets required price, which again, is the day one estimate of the gain on sale.” Int. of J. Cortese,
      Mar. 7, 2013, at 68:15–69:3.

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                   the carry of the loan was recognized. These items were offset to
                   intercompany with [GMAC Mortgage]. An entry was then
                   recorded to transfer the net deferred fee to [GMAC Mortgage]
                   (DR to revenue) with offset to intercompany with [GMAC
                   Mortgage]. The net intercompany balance would be settled with
                   a cash transfer. Net revenue to the Bank consisted of interest
                   carry only.682

The accounting for sample loans from this period produced by the Debtors confirms the
above-described treatment.683 Further, this accounting also matched the sample loan-level
accounting provided by the BCL2B Presentation.684

     The net P&L benefit to GMAC Mortgage from adjusting the purchase price of the
brokered loans by the FAS 91 deferrals—not only for points, fee revenues and the day one
gain on sale (which benefited GMAC Mortgage by making loans less expensive) but also for
lender-paid closing costs and broker fee expense (which adversely affected GMAC Mortgage
by making loans more expensive)685—was $47.18 million for the period January 1, 2009
through July 31, 2009.686




682   Broker to Bank Contract Accounting Review, at 2 [EXAM12253506] (attached to e-mail from J. Cortese to
      C. Dondzila, J. Young, J. Whitlinger, and J. Andrews (Feb. 27, 2012) [EXAM12253505]) (emphasis added).
683   See Loan Summary [EXAM00229653]; Loan Summary [EXAM00233017]; Examiner Loan Selections
      03 11 13 [EXAM00339939]; Examiner Loan Selections 04 15 13 [EXAM00345279].
684   The overall net effect of the accounting resulted in the Bank receiving interest income and GMAC Mortgage
      receiving the risks and rewards associated with the loan, including points paid, gain on sale and origination
      fees.
685   To effectuate the appropriate accounting upon implementation of the broker to bank process in January 2009,
      manual adjustment to the general ledger was required relating to the appropriate FAS 91 deferral. The entry
      had no net income effect and represented a reclassification of the appropriate income statement line item.
      The FAS 91 fee entry was net of loan revenue (origination fees, loan processing income, etc.) and broker fee
      expense. E-mail from L. Corrigan to S. Bode, S. Ruby, C. Cowley, and C. Dondzila (Oct. 28, 2009)
      [EXAM12008765]. As part of the month-end process whereby the FAS 91 deferral was reallocated from
      “gain on sale” line item to the appropriate income statement line items, the broker fee expense was excluded
      in error. Id. In October 2009, a correcting entry was made to reclassify $39.8 million (for the period
      January 1, 2009 through September 30, 2009) and $7.1 million (for the quarter ending September 30, 2009).
      Id. The correcting entry was a debit to “gain on sale” and a credit to “other expenses” and had no impact on
      the economics of the transaction. Id.
686   E-mail from S. Ruby to J. Cortese, C. Dondzila, et al. (Dec. 16, 2011) [EXAM12253153], attaching Ally
      Bank Consumer-Broker to Bank, HFS Loans Income Statement [EXAM12253154]; Memorandum to ALLY
      Bank 2011 Financial Statement Files, SAB 99 & 108 Analysis – Broker to Bank Error (Mar. 13, 2012)
      [ALLY_0401565].

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               d. Ally Bank (Unwittingly, And Without GMAC Mortgage’s Agreement) Altered
                  The Net Revenue Allocation Through Its August 1, 2009 Fair Value Accounting
                  Election

     Effective August 1, 2009, Ally Bank elected to implement the fair value option to
account for HFS loans687 in accordance with Statement of Financial Accounting Standards
(“FAS”) No. 159, The Fair Value Option for Financial Assets and Financial Liabilities.688 The
Bank reportedly made this election because the mechanics of implementing fair value
accounting were simpler than those for hedge accounting.689 Under the fair value election,
loans were required to be marked to market.690 The Bank ostensibly was doing this already as
a function of applying hedge accounting for HFS loans based on the applicability of the
MMLPSA and the Pipeline Swap (though, as discussed above, this in fact is not quite how the
Bank performed the loan-level accounting for these transactions).691 Consequently, witnesses
suggested, the fair value election really should not have made a difference in loan pricing.692
This view, however, ignores that the combined effect of the 2008 MMLPSA and the Pipeline
Swap was to transfer loans to GMAC Mortgage not at market value (or even at the Bank’s
“carrying value”), but at Ally Bank’s cost (UPB + discount/premium + SRP).693 Most
significantly, this view also disregards the fact that when it elected fair value accounting, Ally
Bank no longer recorded FAS 91 deferrals.694

687   Audit Committee Meeting Presentation, Significant Judgments and Estimates and Other Accounting Matters,
      dated Oct. 29, 2009, at RC40017984 [RC40017954]; KPMG Report, at RC40022072 [RC40022044].
688   FAS 159, “The Fair Value Option for Financial Assets and Financial Liabilities (as amended), was
      superseded by the FASB Accounting Standards Codification (“ASC”) 825, “Financial Instruments” on
      September 15, 2009.
689   Int. of C. Dondzila, Nov. 9, 2012, at 130:17–31:19; Audit Committee Meeting Presentation, Significant
      Judgments and Estimates and Other Accounting Matters, dated Oct. 29, 2009, at RC40017984
      [RC40017954].
690   FINANCIAL ACCOUNTING STANDARDS BOARD, STATEMENT OF FINANCIAL ACCOUNTING STANDARDS
      NO. 159, The Fair Value Option for Financial Assets and Financial Liabilities (Feb. 2007); GMAC Fair
      Value Measurements, DRAFT Accounting Policy #1060, Sept. 1, 2009, at 2 [EXAM12299919]; Int. of C.
      Dondzila, Nov. 9, 2012, at 132:3–15.
691   As discussed in Section V.B.5.c, the Bank was not transferring the loans at market price under the MMLPSA,
      and recovering the difference between its cost and the market price under the Pipeline Swap hedge, as
      specified by the agreements. Instead, the Bank was transferring the loans at cost (UPB+discount/
      premium+SRP (where the Bank released the servicing rights)) and, after accounting for market value shifts
      under the Pipeline Swap at various junctures before sale, “zeroing out” the payments under the Pipeline Swap
      at sale, so that the net cumulative payments under the Pipeline Swap on any given loan were always $0 when
      sold under the MMLPSA.
692   Int. of C. Dondzila, Nov. 9, 2012, at 89:23–90:7.
693   See Section V.B.5.c.
694   FINANCIAL ACCOUNTING STANDARDS BOARD, STATEMENT OF FINANCIAL ACCOUNTING STANDARDS
      NO. 159, The Fair Value Option for Financial Assets and Financial Liabilities (Feb. 2007). According to
      paragraph 3, “Upfront costs and fees related to items for which the fair value option is elected shall be
      recognized in earnings as incurred and not deferred.”

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    Thus, the Bank ceased capitalizing and deferring points and other origination income,
and ceased capitalizing and deferring premium pricing-related expense and broker fees.
Consequently, as Cortese later summarized the change:

                    Post-Fair Value Election—Upon origination, the carrying value
                    of the loan on the bank consists of the UPB; plus or minus
                    discount/premium (collected from borrower and CMRP). Upon
                    sale, the UPB would be derecognized; discount/premium would
                    be reversed; and interest income representing the carry of the
                    loan is recognized. These items are offset to intercompany with
                    [GMAC Mortgage]. The net intercompany balance is then
                    settled with a cash transfer. Net revenue to the Bank consists of
                    discount/premium; broker fee paid; and interest carry.695

Cortese further explained in his interview that the discount/premium consisted of loan
discount income, which he defined as “any points that the Bank has received from the
borrower, net of any expenses that the Bank paid on origination directly to the borrower for
the net premium pricing . . . inclusive of what they’re referring to as the capital markets
required price, which again, is the day one estimate of the gain on sale.”696 GMAC Mortgage
no longer received the net FAS 91 deferred income and expenses, and the Bank began
keeping, inter alia, a portion of the “gain on sale.”

     As a result, beginning August 1, 2009, rather than realizing the P&L benefit of points and
the gain on sale as the parties had agreed (and as it had received under the 250.250 program
and for third-party brokered loans), GMAC Mortgage instead received the cost-based, below-
market broker fee (which, since it was no longer capitalized, GMAC Mortgage did not have to
repay to Ally Bank when it purchased the loan). Of course, GMAC Mortgage had agreed to
such a fee with the understanding that, whatever the fee charged, the fee would be a “wash”
because of the FAS 91 deferrals, and with the expectation that it would continue to receive the
P&L benefit of the FAS 91 deferrals.




695   Broker to Bank Contract Accounting Review, at 2 [EXAM12253506] (attached to e-mail from J. Cortese to
      C. Dondzila, J. Young, J. Whitlinger, and J. Andrews (Feb. 27, 2012) [EXAM12253505]) (emphasis added).
696   Int. of J. Cortese, Mar. 7, 2013, at 68:18–69:3.

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     Thus, with this shift, the Bank got to “have its cake and eat it too,” keeping a significant
portion of the gain on sale, but still assuming no representation and warranty exposure or
hedge exposure, and paying a below-market broker fee in the bargain. The changed allocation
of revenues is illustrated in Exhibit V.B.6.d below:




     As noted above, Celini stated that any change from the revenue allocation agreed upon in
the Brokering Consumer Loans to Bank Project, particularly any change resulting from the
adoption of fair-value accounting, would have required a change in the parties’ agreements.697
There appears to be no evidence that this change in the underlying economics was understood
and agreed to by GMAC Mortgage. Indeed, there appears to be no evidence that the parties
even recognized at the time that the fair-value election would have the effect described above.
Celini, for example, did not believe there were “any changes to intention” when the fair-value
election was made.698 In fact, it appears that the impact of the change was not discovered until
two years later, in late 2011.




697   Int. of A. Celini, Feb. 18, 2013, at 246:4–248:18.
698   Id. at 246:4–21.

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               e. Glassner’s Discovery Of The Net Revenue-Allocation Issue

     The matter appears to have come to light in December 2011, when an issue was raised by
Ally Bank Senior Managing Director Adam Glassner (who also served the functional role of
Executive VP and Managing Director for Ally Capital Markets)699 with Young (who had
become the Bank’s Chief Financial Executive in 2011), and Whitlinger (then ResCap’s CFO,
Mortgage Operations).700

      In his Ally Bank capacity, Glassner was responsible for warehouse and correspondent
lending, and also became “the point of contact for Ally Bank’s mortgage business with both
the FDIC and the Utah Department of Financial Institutions.”701 In his Capital Markets
function, Glassner’s responsibilities included, inter alia, pricing for each of the Bank and
ResCap loan channels.702 When he raised the issue, Glassner was on the verge of leaving the
Bank to take a position with Fannie Mae; he resigned January 3, 2012, but was asked to stay
until January 26, 2012.703

     According to Glassner, the issue arose when he was reviewing a report or presentation
concerning profitability by origination channel and by legal entity, and “the revenue
recognition by legal entity was more in the bank and less in ResCap” than he believed it
should be, based on his “high level” understanding of the economics.704 Glassner’s
understanding—echoing the views expressed by Celini, Groody and others in their
interviews—was that under the parties’ agreements, GMAC Mortgage was supposed to
receive the “gain on sale,”705 and it appeared that the Bank was retaining a portion of this
revenue.706




699   Glassner had joined Ally Bank as Senior Vice President in May 2009, and was one of a number of former
      Bank of America executives who joined AFI or its affiliates during this timeframe, including Al de Molina.
      Int. of A. Glassner, Mar. 20, 2013, at 8:11–9:12; Section V. Glassner took on the responsibilities of
      Executive Vice President and Managing Director of Capital Markets in July 2009, though he believes he was
      never formally given this title. Int. of A. Glassner, Mar. 20, 2013, at 14:12–22.
700   Ally Global Security Investigation Report, dated Mar. 14, 2012, at RC40022053 [RC40022044].
701   Int. of A. Glassner, Mar. 20, 2013, at 26:7–10, 16:6–9. See also Section V.B.9.d(1) (discussing Glassner’s
      2010 involvement in responding to FDIC criticisms of the interest rate applicable to the MSR Swap Funding
      Fee).
702   Id. at 16:6–17:13.
703   Id. at 98:5–8; 133:22–134:19.
704   Id. at 135:10–136:23.
705   Id. at 148:15–19, 150:7–18 (noting that his opinion “around the gain on sale” was formed in conversations
      several years earlier with Bank officials Mark Hales, Groody, and Celini “in an attempt to understand the
      business”).
706   Id. at 136:15–137:9.

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     Glassner asked Whitlinger and Young “to investigate the split of the revenue between the
legal entities by channel to make sure that they were appropriately being accounted for and
transacted for under the swap agreements—and given, again, at a high level that that split was
incongruous with my generic understanding of [the proper revenue allocation].”707 Glassner
further raised the concern with Young and Whitlinger that, if he was correct, the Bank “would
have overstated [its] earnings and, thus, capital at the bank.”708

     In a December 14, 2011 e-mail, Young, noting that he (Young) had “spoken with Adam,”
requested that Cortese meet with Dondzila and Rock the following day to discuss “consumer
loan/HFS swap accounting.”709 The next day, Cortese e-mailed back that the meeting had
occurred and reported:

                    The consensus is that a piece of [Gain on Sale] is being recorded
                    in the Bank as loan discount. We believe that the intent of the
                    Broker to Bank initiative was not to have any piece of sale
                    execution revenue at the Bank. This treatment appears to have
                    begun in the beginning of 2009 when the program started. We
                    are working to quantify the amount, however for 2011 thru [sic]
                    November it was $136MM.

                    This issue does impact the amount of broker fee that Bank pays
                    Mortgage, as the intent is for Bank to be neutral for originating
                    consumer loans. . . . [W]e are continuing to work on
                    quantification and determination of intent.710




707   Int. of A. Glassner, Mar. 20, 2013, at 138:11–18. Whitlinger later suggested that Glassner initially inquired of
      Whitlinger as to whether ResCap would earn more if loan pricing were structured to result in more premium
      pricing arrangements, rather than the payment of points, an objective Whitlinger suggested would raise
      regulatory concerns. See Ally Global Security Investigation Report, dated Mar. 14, 2012, at RC40022057
      [RC40022044]; see also Int. of J. Whitlinger, Nov. 30, 2012, at 187:24–88:13. In his interview, Glassner
      vehemently denied making such an inquiry. Int. of A. Glassner, Mar. 20, 2013, at 138:3–139:23
      (“[a]bsolutely 100 percent false”). Glassner also explained that it would not really be possible, given the
      market environment, to achieve such a result through structuring pricing to encourage one form of loan
      instead of another. Id. at 141:6–143:18. This issue is discussed further in Section V.B.6.f.
708   Int. of A. Glassner, Mar. 20, 2013, at 169:1–6. Glassner initially suggested that he “raised the concern that it
      would present regulatory problems to the bank because if the accounting for the issue was wrong, we would
      have had different income, thus different capital.” Id. at 162:17–21; 163:1–8. Later, he indicated that he did
      not specifically recall going beyond the statements about potential overstatement of the Bank’s income and
      capital to say that this would pose regulatory problems for the Bank. Id. at 170:1–171:7.
709   E-mails among J. Young, J. Cortese, J. Mackey, et al. (Dec. 14–15, 2011), at 1–2 [ALLY_0387143].
710   Id. at 1 (emphasis added).

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     In an e-mail exchange with Cortese the following day, Ally Bank Accounting Director
Sylvia Ruby documented the $47.18 million in FAS 91 deferrals (net of expense, including
broker fees) that had flowed to GMAC Mortgage from January 1, 2009 to July 31, 2009.711
Ruby’s analysis also reflected the value for the period from August 1, 2009 to November 2011
of the points and day one gain-on-sale revenues that had accrued to the Bank instead of
GMAC Mortgage; these items alone (excluding other FAS 91 deferrals) totaled $253.5 million
(loan discount income of $444.4 million net of $190.9 million in broker fees paid but not
deferred/recouped by the Bank for this period).712 For the later years, these numbers were
substantially a function of the day one gain on sale on “no points,” premium pricing loans,
which had become an increasingly popular option for refinancing as interest rates declined.

     Glassner himself conducted limited additional inquiry before resigning on January 3,
2012.713 Another employee who was cleaning up files belonging to an employee who had left
the company provided a mortgage-related file to Glassner to determine whether its contents
were worth keeping, and he found among them a copy of the BCL2B Presentation, which he
in turn provided to Young and Whitlinger.714 Glassner reviewed the Swap agreements and
prior presentations to the FDIC and the DFI, confirming that they were consistent with his
views that the Bank was not to receive gain on sale revenues.715 He did not review other
documents related to the Broker to Bank Project,716 and does not recall speaking with any of
the personnel involved in the project.717 With respect to the BCL2B Presentation, Glassner
concluded that the document as a whole was consistent with his general conclusion, though
there were parts of it that he did not understand, and, in particular, he did not fully understand
FAS 91 or the impact of the Presentation’s statements concerning FAS 91.718 Glassner
maintained that the Bank was not supposed to receive any gain on sale income; however,
reflecting his lack of understanding concerning the impact of deferring origination point and




711   E-mail from S. Ruby (Dec. 16, 2011) [EXAM12253153]; Ally Bank Consumer—Broker to Bank, HFS
      Loans Income Statement [EXAM12253154].
712   E-mail from S. Ruby (Dec. 16, 2011) [EXAM12253153]; Ally Bank Consumer—Broker to Bank, HFS
      Loans Income Statement [EXAM12253154].
713   Int. of A. Glassner, Mar. 20, 2013, at 159:14–23.
714   Id. at 144:20–146:11. Whitlinger later stated that he provided the BCL2B presentation to Glassner. Ally
      Global Security Investigation Report, dated Mar. 14, 2012, at RC40022058 [RC40022044].
715   Int. of A. Glassner, Mar. 20, 2013, at 146:18–147:1–4, 148:24–149:6.
716   Id. at 162:1–9.
717   Id. at 147:5–148:9. Glassner thought that he might have spoken with Jill Horner, but does not specifically
      recall doing so. Id.
718   Id. at 153:12–15 (“At the most high level, I understand what FAS 91 is. . . . But I could not make a FAS 91
      adjustment if my life depended on it”); id. at 153:25–154:6 (“I understood that certain expenses were
      amortized under rules within FAS 91 over the asset and included in the amortized cost of the asset. Outside
      of that, the extent of my knowledge around FAS 91 or really any accounting issues is zero”).

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fee income under FAS 91, Glassner believed that these revenues were intended to flow to the
Bank.719 In late January 2012, just as he was about to leave the company, Glassner voiced his
concerns about the propriety of the revenue recognition that had occurred to AFI’s General
Auditor, Ann Cummings.720 He then refused to sign a Sarbanes Oxley certification 721 upon his
departure. 722

               f. The January 1, 2009 To July 31, 2009 Allocation Of Net Revenues Is Labeled
                  An “Accounting Error” And ResCap Is Required To Pay Ally Bank The
                  $47.4 Million Received For That Period, Plus Interest

     The response to Glassner’s concerns was threefold. First, in an effort that appears to have
been coordinated by Young, Cortese (for Ally Bank), and Dondzila (for ResCap) prepared
virtually identical memoranda addressing the issue dated, respectively, March 13 and
March 10, 2012.723 Second, AFI General Counsel William Solomon retained the accounting
firm KPMG to investigate the matter on AFI’s behalf, and KPMG formally delivered its report
on March 16, 2012.724 Third, Ally Global Security conducted an internal investigation,
delivering a report dated March 14, 2012 (but which quotes extensively from the KPMG
Report delivered two days later, and, with one exception, appears to rely on the same materials
as the KPMG Report).725




719   Id. at 168:7–9 (points and fees to be recognized by the Bank); 172:23–173:3 (same); 153:16–25
      (acknowledging lack of understanding of impact of FAS 91 deferral of income and expenses described in
      BCL2B Presentation).
720   Ally Global Security Investigation Report, dated Mar. 14, 2012, at RC40022053 [RC40022044].
721   The Sarbanes-Oxley Act of 2002, § 302, requires the principal executive officer or officers and the principal
      financial officer or officers, or persons performing similar functions, of publicly traded companies to certify
      the appropriateness of their financial statements and disclosures and to certify that they fairly present, in all
      material respects, the operations and financial condition of the company. The Sarbanes-Oxley Act of 2002,
      Pub. L. 107-204, 116 Stat. 745 (2002).
722   Int. of J. Whitlinger, Nov. 30, 2012, at 109:1–110:13; Int. of C. Dondzila, Nov. 9, 2012, at 43:4–44:2; KPMG
      Report, at RC40022071 [RC40022044]; Ally Global Security Investigation Report, dated Mar. 14, 2012, at
      RC40022053 [RC40022044].
723   Memorandum, SAB 99 & 108 Analysis—Broker to Bank Error, dated Mar. 13, 2012 [ALLY_0401565];
      Memorandum Re SAB 99 & 108 Analysis - Broker to Bank Error, dated Mar. 10, 2012 [EXAM12219169].
724   KPMG Report, at 2 [RC40022044].
725   Ally Global Security Investigation Report, dated Mar. 14, 2012, at RC40022052 [RC40022044].

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                    (1) The Internal Accounting Memos

     The Cortese and Dondzila memos announce a conclusion that the revenue recognition for
January 1, 2009 to July 31, 2009, “was done in error.”726 They then analyze whether the error
requires an out-of-period accounting adjustment (involving a restatement of the relevant
party’s prior-period financials), concluding that the $47 million error is too small to require
such an adjustment.727 As Cortese acknowledged in his interview, had the conclusion instead
been that the post-July 31, 2009 revenue allocation was an error, given the increased
magnitude of the error, there is a “very strong likelihood” that restatement of the Bank’s prior-
period financials would have been required.728

     With respect to the “error,” the memos state that there were “conflicting corporate
evidential documents, which in certain cases clearly describe an intention that Ally Bank
would not recognize gains or losses with respect to loans originated under the Broker
Agreement other than net carry,” and in others “contradict this intention and suggest that Ally
Bank, as originator was entitled to all fees, including points, and would merely pay GMAC
Mortgage a market rate broker fee for the services it provided.”729 The conflict, Cortese
explained in his interview, was between statements that the Bank would “recognize” certain
revenues (such as points) and statements that the P&L impact of those items would
nonetheless accrue to GMAC Mortgage, which he thought suggested that “those items don’t
get recognized by the Bank ever”; he characterized this as a “technical accounting”
inconsistency.730

     In fact, however, for the loan examples from the January 1, 2009 through July 31, 2009
reviewed as part of this Investigation, and for the loan accounting examples in the BCL2B
Presentation Exhibit D (which Cortese had not reviewed),731 the deferred revenues and costs
were recognized in the Bank’s income statement; they were then derecognized upon sale of
the loan to GMAC Mortgage through the FAS 91 accounting entries. From a technical
accounting perspective, the Bank did in fact “recognize” the net deferred fees during this
period. Moreover, in the view of the Examiner’s Financial Advisors, the accounting


726   Memorandum, SAB 99 & 108 Analysis—Broker to Bank Error, dated Mar. 13, 2012, at 2 [ALLY_0401565];
      C. Dondzila, Memorandum Re SAB 99 & 108 Analysis—Broker to Bank Error, dated Mar. 10, 2012, at 2
      [EXAM12219169].
727   Memorandum, SAB 99 & 108 Analysis—Broker to Bank Error, dated Mar. 13, 2012, at 2, 10
      [ALLY_0401565]; C. Dondzila Memorandum Re SAB 99 & 108 Analysis—Broker to Bank Error, dated
      Mar. 10, 2012, at 2, 12 [EXAM12219169].
728   Int. of J. Cortese, Mar. 7, 2013, at 172:20–173:20.
729   Memorandum, SAB 99 & 108 Analysis—Broker to Bank Error, dated Mar. 13, 2012, at 2 [ALLY_0401565];
      C. Dondzila, Memorandum Re SAB 99 & 108 Analysis—Broker to Bank Error, dated Mar. 10, 2012, at 2
      [EXAM12219169].
730   Int. of J. Cortese, Mar. 7, 2013, at 122:15–123:21; 124:19–125:16.
731   Id. at 119:14–20:19.

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methodology of capitalizing and deferring origination related fees and costs, as reflected in
these loan examples, was in accordance with GAAP as required by FAS 91. Notably, neither
the Cortese nor the Dondzila memo concluded that pre-August 2009 accounting was not in
accordance with GAAP.732 Of course, even if it were not, the ultimate issue to be addressed in
determining whether the parties’ agreement was complied with is not whether the accounting
they agreed upon to determine the revenue allocation for purposes of the broker arrangement
was GAAP-compliant, but whether the allocation of revenues was as they had agreed.

                   (2) The KPMG And Ally Global Security Reports

     AFI tasked KPMG with (1) “[a]ssess[ing] whether or not the accounting for the
transaction was consistent with the agreements,” and (2) “[a]ssessing whether or not the
Company’s accounting policies for the transaction have been consistently applied.”733 With
respect to the second assessment AFI sought—as to whether the company’s accounting
policies had been applied consistently—KPMG concluded only that the policies had been
applied consistently “after the fair value election,”734 while elsewhere acknowledging that a
different accounting treatment had been applied before the fair-value election.735

     With respect to the first portion of the assignment, KPMG provided an assessment only
as to whether the post-fair value election accounting could be reconciled with the parties’
agreements. The KPMG Report curiously notes that it “will not cover the accounting for the
transaction prior to the fair value election,” adding, in an apparent reference to the Cortese
and Dondzila memos, that Ally had already concluded that the accounting implemented from
January 1, 2009 to July 31, 2009 was the result of an error.736 The documents produced do not
disclose KPMG’s view of the accounting for this pre-fair value period (and whether or not it,
too, complied with GAAP or the parties’ agreements in KPMG’s view), or whether KPMG
was directed not to opine on this period by AFI.737
732   Memorandum, SAB 99 & 108 Analysis—Broker to Bank Error, Mar. 13, 2012, at 2 [ALLY_0401565]; C.
      Dondzila, Memorandum Re SAB 99 & 108 Analysis—Broker to Bank Error, Mar. 10, 2012, at 2
      [EXAM12219169]. The Cortese and Dondzila memos were provided to Deloitte, AFI’s and ResCap’s
      auditors, to support the position that no out-of-period adjustment was required. Deloitte accepted the
      conclusion that no such adjustment was required; while Deloitte echoed the Cortese/Dondzila conclusion that
      the pre-August 2009 accounting had been an “error” in application of the parties’ agreements, it notably did
      not conclude that the pre-August 2009 accounting was not in accordance with GAAP. Memorandum, Broker
      to Bank Retrospective Adjustment Overview, at 3 [DT032536]. Deloitte representatives indicated that they
      accepted ResCap’s conclusion that the issue stemmed from a misinterpretation of contractual terms leading
      to accounting that did not reflect the intent of the parties, rather than a misapplication of GAAP. However,
      Deloitte representatives were unable to explain what aspect of the parties’ agreements precipitated the pre-
      August 2009 accounting “error.” Meeting with Deloitte, AFI’s and ResCap’s Auditors (Apr. 18, 2013)
      (telephonic).
733   KPMG Report, at RC40022079 [RC40022044].
734   Id. at RC40022072.
735   Id.
736   Id.
737   Solomon could not recall details concerning this issue. Int. of W. Solomon, Mar. 19, 2013, at 157:10–18.

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     KPMG was provided with copies of certain (but not all) versions of the MMLPSA,
Pipeline Swap and MSR Swap, the Broker Agreement, the BCL2B Presentation, and the
Bank’s November 30, 2008 Affiliate Transaction Memo.738 KPMG was provided two loan-
level accounting examples, one for the period from January 1, 2009 to July 31, 2009, and one
from the period after the Bank’s fair-value election. Neither KPMG, nor, for that matter, any
of the other persons or entities who investigated this issue in early 2012 reviewed pre-2009
loan-level accounting examples.739 Further, KPMG apparently was not provided a copy of the
September 2008 e-mail exchange between Celini and Whitehead described above,740 even
though Scott had located it and, noting that it supported her view of “the broker project being
economically neutral to the Bank,” circulated it in early March 2012 to Young and Cortese,
who forwarded it on to Whitlinger, Dondzila and Cummings.741 Nor does it appear that KPMG
received a copy of the August 28, 2008, Scott/Whitehead e-mail exchange.

     KPMG interviewed Glassner, six current Ally and Ally Bank officials (including Young
and Cortese), and three current ResCap officials, including Whitlinger.742 Only one of the
KPMG interviewees, Scott, was involved in the Broker to Bank Project revenue-allocation
discussions.743

      Glassner explained that his view was that from 2009 through 2011, “gain on sale income
and fee income from mortgage loan origination and sale was incorrectly credited to GMAC
Bank,” that “today’s interpretation [of the agreements] is a stretch as the agreements do not
talk about the impact from fair value option accounting,” and “the Bank does not have ‘hedge
risk, eligibility risk or default risk,’ and therefore should not obtain gain on sale or premium
pricing income.”744



738   See KPMG Report, Appx. I [RC40022044].
739   Id. at RC40022076; Int. of J. Cortese, Mar. 7, 2013, at 119:5–21:7; Int. of C. Dondzila, Nov. 9, 2012, at
      104:20–05:14; Int. of J. Whitlinger, Nov. 30, 2012, at 109:11–110:13; Int. of J. Young, Mar. 15, 2013, at
      198:6–199:25.
740   KPMG Report, at Appx. I [RC40022044].
741   E-mail from D. Scott to J. Young and J. Cortese (Mar. 1, 2012) [EXAM00003975].
742   KPMG Report, Appx. II [RC40022044]. The Report mis-identifies Nikki Rock as an Ally Bank Senior
      Accounting Director. Id.; compare Ally Global Security Investigation Report, dated Mar. 14, 2012, at
      RC40022061 [RC40022044] (identifying Rock’s affiliation as ResCap Capital Markets Accounting).
743   The only ResCap-side officials interviewed, Dondzila and Whitlinger, were not involved in the Broker to
      Bank Project. Dondzila and Whitlinger were relied upon primarily to provide an overview of the MMLPSA,
      Pipeline Swap, and Broker Agreement, though they were not involved in the development of the MMLPSA
      or Pipeline Swap, and, in the interviews conducted by the Examiner’s Professionals, they professed limited
      familiarity with the terms of those agreements (though they had some familiarity with how loans subject to
      those agreements had been accounted for). See Int. of C. Dondzila, Sept. 27, 2012, at 41:11–17, 180:17–
      181:8, 271:6–13, 286:21–287:20; Int. of J. Whitlinger, Nov. 30, 2012, at 41:1–15, 44:25–45, 111:11–15,
      126:7–16, 239:5–23.
744   Ally Global Security Investigation Report, dated Mar. 14, 2012, at RC40022062 [RC40022044].

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     Scott asserted that “the bank was suppose[d] to receive the same income as it received
from the prior 250/250 agreement and the bank was to ‘remain income neutral.’”745 She is
further reported to have “felt that any points or premium pricing income would be discounted
from the price [for which] GMAC Mortgage purchased the loan from Ally Bank.”746 The
summary for KPMG’s interview dismisses Scott’s summary of how revenues were to be
allocated as “mechanical,” observing that she was unable to “describe how this transaction
was accounted for” or “how the accounting practices impacted the economics.”747

      KPMG did not interview Celini. Ally Global Security interviewed Celini (then at Freddie
Mac) telephonically748 without KPMG involvement; this interview is omitted from the KPMG
Report’s list of interviews conducted and is not referenced in KPMG’s report.749 No
documents were provided to Celini for review beforehand or during the interview.750 The Ally
Global Security account of his interview attributes statements to Celini to the effect that the
Bank would receive income from points and premium pricing,751 statements at odds with those
in his interview with the Examiner’s Professionals discussed in Section V.B.6.e and in his
September 2008 e-mail exchange with Whitehead. Celini, however, specifically denied that
his statements in the telephonic interview concerning the Broker to Bank arrangement and the
agreed allocation of revenues were in any way different from those made when he was
interviewed by the Examiner’s Professionals (that the Bank was to receive only net interest
carry, while GMAC Mortgage received the gain on sale and other economics), which notably
were made in conjunction with a review of the contemporaneous documentation.752

     KPMG did interview Ally Bank General Counsel Jonathan Andrews, who was involved
in the Broker to Bank Project, but does not appear to have been involved in the discussion of
revenue allocation.753 Andrews opined that he “believe[d] that it was the intention of the
parties that the Bank, in its capacity as an originator of brokered loan applications, receive
income traditionally received by a mortgage lender, consistent with market terms (including
pricing),” and that to deviate from market pricing would “result[ ] in excessive income” to



745   Id. at RC40022064.
746   Id.
747   Id.
748   Id.
749   KPMG Report, Appx. II [RC40022044].
750   Int. of A. Celini, Feb. 18, 2013, at 288:2–14.
751   Ally Global Security Investigation Report, dated Mar. 14, 2012, at RC40022064 [RC40022044].
752   Int. of A. Celini, Feb. 18, 2013, at 288:2–20.
753   E-mails between M. Whitehead and A. Celini (Sept. 2, 2008) [RC40057139]; E-mail from S. McCumber to
      L. Gess (July 7, 2008) [EXAM20052672]; Brokering Contact List [EXAM20052675]; Brokering Consumer
      Loans to Bank Project Charter, dated Nov. 10, 2008 [EXAM12253233]; Project Issues Log
      [EXAM20052676].

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GMAC Mortgage, potentially violating Rule 23A.754 However, Andrews responded to a
KPMG request that he “provide a formal opinion” that the shift in economics would constitute
a regulatory violation not by providing such an opinion but by indicating that an analysis of
the economics in comparison with the economics of market transactions would be required.755
Absent from the summary of KPMG’s Andrews interview is any suggestion that Andrews was
shown the BCL2B Presentation, that he explained the pre-Broker Agreement economics under
the agreements, or that he acknowledged the demonstrably non-market terms of the MMLPSA
and Pipeline Swap, including the fact that the Bank avoided representation and warranty risk
while giving up the gain on sale.756

     Young, both in his interview with KPMG and in his interview with the Examiner’s
Professionals, echoed the view that the revenue to the Bank would be inadequate if it were to
give up the revenue items it kept after July 31, 2009.757 In his interview with the Examiner’s
Professionals, Cortese asserted a similar position758 (despite his initial, unvarnished reaction in
December 2011 that the “the intent of the Broker to Bank initiative was not to have any piece
of sale execution revenue at the Bank”).759 Young and Cortese both suggested that the Bank,
as the originator who funded the brokered loans, would have expenses not covered by this
arrangement.760 But, as discussed above, the Bank’s origination expenses, including,
specifically, its underwriting expenses, were capitalized and recovered by the Bank from
GMAC Mortgage. While Cortese asserted that some component of expense was not recouped
by the Bank through deferrals,761 he acknowledged that he did not know how much or what
was not included, or whether the quantum of expense not captured was more than a very small




754   Ally Global Security Investigation Report, dated Mar. 14, 2012, at RC40022060 [RC40022044].
755   Id.
756   Id. The other KPMG interviewees addressed the mechanics of how the loans had been accounted from
      January 1, 2009, to July 31, 2009, and under the fair-value election, but do not appear to have provided
      evidence of the parties’ intent (nor do they appear to have been competent to do so). See id. at RC40022059–
      64 (summaries of the remaining interviews).
757   Id. at RC40022061; Int. of J. Young, Mar. 15, 2013, at 204:3–207:24.
758   Int. of J. Cortese, Mar. 7, 2013, at 59:12–62:18.
759   E-mails among J. Young, J. Cortese, J. Mackey, et al. (Dec. 15, 2011), at 1 [ALLY_0387143].
760   Ally Global Security Investigation Report, dated Mar. 14, 2012, at RC40022061 [RC40022044]; Int. of
      J. Young, Mar. 15, 2013, at 196:17–24; Int. of J. Cortese Mar. 7, 2013, at 137:4–138:10.
761   Int. of J. Cortese, Mar. 7, 2013, at 74:10–24.

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fraction (or a large multiple) of the amounts that were deferred.762 (Of course, the
contemporaneous BCL2B materials appear to contemplate that the Bank would defer all
related expenses.)763

      To this, Young and Whitlinger added an additional concern that transferring the loan
economics other than net interest carry to GMAC Mortgage would pose a Regulation W issue
by empowering the Capital Markets group to skew the pricing on points and no-points loans to
favor GMAC Mortgage at the Bank’s expense.764 Whitlinger suggested that Glassner’s
original inquiry concerned the possibility of manipulating pricing in this fashion;765 Glassner
vehemently denied this assertion as “[a]bsolutely 100 percent false.”766 It is not clear why
Glassner, the Bank EVP with principal responsibility for dealing with the Bank’s regulators
would have had such an agenda (particularly given that he was then about to accept other
employment). More to the point, as Glassner further explained, in light of the market context,
it seems apparent that such an effort would be doomed to failure:

                    Clearly, ResCap, GMAC Mortgage and Ally is not bigger than
                    the residential mortgage loan market, so while its tactics and
                    strategies may be relevant, at the end of the day, the market is
                    the key driver of that activity. I have views on that from an
                    opinion perspective. At this point in time, the market is heavily
                    refinanced—a refinanced transaction, and my view is that in a
                    heavily refinanced transaction very rarely do consumers pay
                    points or any money out of pocket. So, you can implement a
                    strategy to want to collect points and fees upfront and you are
                    most likely to not get any loans because that’s not the market
                    and the loan that the consumers want.

                                                           ...




762   Id. at 75:15–77:4 (“I couldn’t venture to guess right now.”).
763   AFI’s counsel suggested that, if the Bank did not keep the “day one gain on sale,” the revenues to the Bank
      would be inadequate to cover the broker fee paid to GMAC Mortgage. But, of course, this presupposes that
      the broker fee would not be recaptured by the Bank through its inclusion in the cost-basis price charged for
      the loan under the MMLPSA/Pipeline Swap, as the parties did from January 1, 2009 to July 31, 2009 (and as
      the contemporaneous documents from negotiation of the broker arrangement show they agreed to do).
764   Ally Global Security Investigation Report, dated Mar. 14, 2012, at RC40022059, RC40022061
      [RC40022044]; Int. of J. Whitlinger, Nov. 30, 2012, at 186:16–187:14; Int. of J. Young, Mar. 15, 2013, at
      196:17–197:1.
765   Ally Global Security Investigation Report, dated Mar. 14, 2012, at RC40022059 [RC40022044]; Int. of
      James Whitlinger, Nov. 30, 2012, at 187:24–188:19.
766   Int. of A. Glassner, Mar. 20, 2013, at 139:19–20.

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                   And so you can attempt to dictate things to the market—
                   generally speaking, the market is highly efficient and will not
                   react to whatever you dictate no matter your size or scope.767

     The KPMG Report ultimately concluded that the post-fair value election accounting was
consistent with the parties’ agreements.768 First, it concluded that the agreements and the
BCL2B Presentation are not clear, though it does not explain why it comes to this
conclusion.769 The KPMG Report’s description of the BCL2B Presentation inexplicably omits
any acknowledgement of the Presentation’s explicit references to FAS 91 deferrals of fees and
expenses,770 and instead simply notes that “this document is unclear,”771 without specifying
what is unclear.772 Consequently, the KPMG Report does not explain how KPMG understands
the BCL2B Presentation’s seemingly unambiguous comments about the allocation of revenues
accomplished through FAS 91 deferrals, or reconcile the Bank’s retention of the day one gain
on sale with the repeated statements that the Bank is not to realize any gain or loss on these
transactions. The KPMG Report likewise does not address the sample accounting provided
with the BCL2B Presentation, or the fact that it aligns with the accounting treatment
implemented from January 1, 2009 to July 1, 2009 by those who had just negotiated the broker
arrangement, but not with the accounting treatment implemented after the Bank’s fair-value
election.

     Rather than relying on the agreements or the BCL2B Presentation (or the September 2,
2008 Whitehead/Celini e-mail exchange, or the August 28, 2008 Scott/Whitehead e-mail
exchange), to divine the parties’ intent, the KPMG Report ultimately rests instead on the
conclusion that “had the economics not been shared between the two parties as was done
[post-fair value election], the two entities would have been in violation of Regulation W.”773

767   Id. at 141:6–20, 142:6–10; see also id. at 142:24–143:18.
768   KPMG Report, at RC40022080–81 [RC40022044].
769   Id. at RC40022071 (asserting that the agreements “do not provide sufficiently specific details on the revenue
      sharing arrangement”); id. at RC4002280–81.
770   KPMG Report, at RC40022073 [RC40022044]; see Section V.B.6.b; BCL2B Presentation, at 5, 7
      [RC40037557].
771   KPMG Report, at RC40022080–81 [RC40022044].
772   The Ally Global Security Investigation Report notes that the BCL2B Presentation refers principally to [the
      deferral of] origination fees, and does not explicitly address premium pricing expense deferrals. Ally Global
      Security Investigation Report, dated Mar. 14, 2012, at RC40022062 [RC40022044]. But, ironically, this only
      shows that the BCL2B Presentation is particularly clear about the deferrals that would benefit GMAC
      Mortgage by reducing loan prices (origination fee deferrals), as opposed to deferrals that would increase loan
      prices (for premium pricing-related expense).
773   KPMG Report, at RC40022080 [RC40022044]. While the KPMG Report suggests that Celini’s
      November 30, 2008 Affiliate Transaction Memorandum supports this conclusion, that Memorandum simply
      addresses the broker fee, which it asserts meets regulatory requirements, without discussing the overall
      allocation of revenues. GMAC Bank Affiliate Transaction Memorandum Re Broker Agreement—GMAC
      Mortgage LLC & GMAC Bank, dated Nov. 30, 2008, at 1–3 [ALLY_0017944].

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This is not a conclusion about what the parties actually agreed to when they negotiated the
broker arrangement in 2008, but an attempt to divine their intent from statements about
potential regulatory considerations first made years later. Indeed, in his interview, Young
tellingly suggested that, from his review of the BCL2B Presentation in 2012, he was left
“wondering if this team even thought about regulatory,” and saw “nothing in [the
Presentation] about regulatory considerations.”774

      The evidence, moreover, is that the terms of the pertinent agreements were never on
market terms. While there is extensive evidence that there was close regulatory scrutiny of
these agreements from well before the inception of the Broker Agreement, there is no
evidence that any regulator ever made the claim that regulatory requirements would be
violated by a revenue allocation in which the Bank did not retain the gain on sale. This is true
not only for the period from January 1, 2009 to July 31, 2009, but for earlier periods; the same
economics—in which the Bank received only “net interest carry”—had been in place for
years. Given that GMAC Mortgage would be absorbing the Bank’s expenses, and would be
accepting the representation and warranty risk, hedge risk, and eligibility risk or default risk, it
is difficult to see how this allocation of revenues is any more objectionable than that for the
remainder of the loans sold under the MMLPSA.

     Indeed, the revised allocation of revenues effected by the Bank’s fair-value election is
plainly at odds with the fundamental tenet of the arrangement described by Groody and Celini
from the advent of the MMLPSA, in which the Bank receives net interest carry, while the
remainder of the economics pass to GMAC Mortgage in exchange for its acceptance of
representation and warranty liability, hedging risk, and other risk; “the party [that] retains the
Gain on sale of the mortgage loans retains the rep and warrant risk.”775

     The Ally Global Security Investigation Report, citing the KPMG Report and the same
evidence as that Report (plus a summary of Celini’s interview), concludes that “[t]he
investigation revealed that $47.2 million of income was inappropriately credited to GMAC
Mortgage prior to the election of fair value accounting (January 1, 2009 to July 31, 2009).”776



774   Int. of J. Young, Mar. 15, 2013, at 194:24–195:1. Young notably was forwarded a copy of the BCL2B
      Presentation on November 20, 2008, for a meeting on November 21, 2008. E-mail from J. Young (Nov. 20,
      2008) [EXAM10608856]. Young does not recall reviewing the BCL2B Presentation at the time. Int. of J.
      Young, Mar. 15, 2013, at 185:15–186:18; 194:5–22. The documents produced do not include any suggestion
      that, when analyzing the broker arrangement in 2008, Young, or, for that matter, anyone else, raised a claim
      that the contemplated revenue allocation would violate regulatory requirements.
775   E-mail from R. Groody to C. Dondzila, J. Peterson, and J. Whitlinger (Mar. 13, 2009) [ALLY_0329052]; Int.
      of R. Groody, Dec. 17, 2012, at 252:13–254:2; see also Int. of J. Whitlinger, Nov. 30, 2012, at 68:1–3 (“[M]y
      understanding at the time was that whoever got gain on sale got the rep and warranty”); Int. of A. Celini, Feb.
      18, 2013, at 58:14–19 (“We earned coupon interest during the period of holding and the asset was removed
      from our balance sheet at basis. We received no gain or loss on the transaction and it was not our intent to
      take any risk during that time”).
776   Ally Global Security Investigation Report, dated Mar. 14, 2012, at RC40022052 [RC40022044].

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As previously noted, the KPMG Report explicitly stated that it was not assessing whether the
pre-fair value accounting was consistent with the parties’ agreements.777 The Ally Global
Security Investigation Report suggests, without further analysis, that the evidence shows the
accounting for this period was “the result of a potential miscommunication regarding the
economics associated with the loan sale agreements that led to FAS 91 fees being
inappropriately reversed back to GMAC Mortgage.”778

    Following issuance of these reports, they were presented by AFI’s General Auditor, Ann
Cummings, at a March 20, 2012 meeting of ResCap’s Audit Committee.779 The Audit
Committee reviewed management’s conclusion that no out of period adjustment was
necessary. There notably is no record of any approval of a settlement of these matters by the
ResCap Independent Directors or the ResCap Board.

     ResCap personnel then acquiesced to demands that ResCap reimburse Ally Bank for the
$47.2 million received for the January 1, 2009 to July 31, 2009 time period, plus interest. On
March 27, 2012, GMAC Mortgage remitted $51,419,494 to Ally Bank.780 At the same time,
contingent on GMAC Mortgage’s payment to Ally Bank, AFI forgave an equivalent amount
of debt.781




777   KPMG Report, at RC40022072 [RC40022044].
778   Ally Global Security Investigation Report, dated Mar. 14, 2012, at RC40022052 [RC40022044].
779   Materials for Audit Committee Meeting of Residential Capital, LLC, dated Mar. 20, 2012 [RC40022044];
      Minutes of a Meeting of Audit Committee Meeting of Residential Capital, LLC, dated Mar. 20, 2012
      [RC40019158]. The Audit Committee tabled approval of the financial statements pending further advice.
780   AFI Letter re: Forgiveness of Certain Indebtedness under LOC Loan Agreement, dated Mar. 27, 2012
      [EXAM40066674]; Transaction Detail Archive, dated Mar. 28, 2013 [EXAM00339992].
781   See E-mails between J. Whitlinger and J. Mackey (Mar. 22, 2012) [EXAM00072999]; E-mail from J. Ruhlin
      (Mar. 23, 2012) [EXAM11004221]; AFI Letter re: Forgiveness of Certain Indebtedness under LOC Loan
      Agreement, dated Mar. 27, 2012 [EXAM40066674]; GMAC ResCap Report, dated May 9, 2012 (cell D6
      comment showing subtraction of $51,419,494) [EXAM00339993].

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             g. The Financial Impact On GMAC Mortgage

     Exhibit V.B.6.g below reflects the revenues that the Bank retained from the August 1,
2009, fair value election through April 2012 that would have been allocated to GMAC
Mortgage under the revenue allocation implemented from January 1, 2009 through July 31,
2009. As it illustrates, in addition to the $51.4 million ($47.18 million plus interest) GMAC
Mortgage paid in March 2012, from August 2009 to April 2012, Ally Bank retained a further
$469.1 million that would have been paid to GMAC Mortgage had the revenue allocation
originally agreed to remained in place:




     As discussed above, given its expectations about the application of FAS 91 deferrals,
GMAC Mortgage agreed to a below-market, cost-based broker fee. As the KPMG Report
acknowledged, the fees actually charged “would likely not cover GMAC Mortgage’s costs to
perform services to broker loans to the Bank.”782 In December 2011, Whitlinger undertook an
analysis of the difference between the cost-based broker fees GMAC Mortgage charged and




782   KPMG Report, at RC40022079 [RC40022044].

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the fees it would have received had it charged a “Broker’s Fee at Arm’s Length” for the years
2009 through 2011.783 His analysis produced a range of estimates, with a difference of
$162.1 million at the low end, a mid-range estimate of $236.9 million, and an upper-end
estimate of $343.9 million.784

      7. The April 2009 Pipeline Swap First Amendment

     Effective April 6, 2009, the parties entered into a First Amendment to the ISDA Master
Agreement.785 The sole revision wrought by this First Amendment was the elimination of HFI
loans from the Pipeline Swap by re-defining “Subject Transaction” to include only loans
purchased for Ally Bank’s “’Held for Sale’ (HFS) portfolio.”786 Thus, the Pipeline Swap,
which had covered only HFI loans until July 2008, now covered only HFS loans. Groody
explained that this likely reflected the fact that the Bank was no longer purchasing HFI loans,
so that there was no longer a need for the HFI lock-to-funding hedge.787

      8. The Original Servicing Agreement

     GMAC Mortgage and Old GMAC Bank entered into the Original Servicing Agreement
in 2001 at the time Old GMAC Bank received its charter to operate as a federal savings bank.
As noted above, Old GMAC Bank had just commenced the mortgage loan business and did
not have the infrastructure to service the loans it owned so it engaged GMAC Mortgage to do
so. The Original Servicing Agreement was a largely bare-bones agreement designed to cover
home equity loans although it also covered other loans before their sale by the Bank.788
GMAC Mortgage was required under the Original Servicing Agreement to service loans in
accordance with all laws and regulations, the Original Servicing Agreement, and the terms of
the GMAC Bank Servicing Guides (as incorporated into the Original Servicing Agreement by
reference).789 Servicing activities included all operational servicing functions with respect to
these loans.790




783   Int. of J. Whitlinger, Nov. 30, 2012, at 212:3–220:11; Consumer-Broker to Bank HFS Loans [RC40056678].
784   Consumer-Broker to Bank HFS Loans, at 1 [EXAM00003654]; see also Memorandum, Affiliate
      Transaction, dated Apr. 9, 2010 [SOP0016050] (comparing fees to those that would be paid to third-party
      brokers).
785   First Amendment to ISDA Master Agreement, dated Apr. 6, 2009 [ALLY_0017963].
786   Id. ¶ 1.
787   Int. of R. Groody, Dec. 17, 2012, at 175:12–176:10.
788   Original Servicing Agreement [ALLYKE000000741].
789   Id. § 2.2(b).
790   Id. This would include collecting the monthly mortgage payments from the borrowers, remitting principal
      and interest due to the investor in the loan, paying property tax and insurance bills from the escrow funds
      collected from the borrowers, and performing collection activity with respect to delinquent borrowers.

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        Important terms of the Original Servicing Agreement included the following:

                   a. Compensation

     GMAC Mortgage earned the greater of (1) a $15,000 per month minimum servicing fee
and (2) the aggregate of the base fees which was $8.25 per serviced loan for home equity
loans and a fee based on principal amount for agency loans.791 All collections on the loans
were for the account of Old GMAC Bank.792 The agreement provided that if either party
believed that the compensation was less favorable than what it could obtain from an
independent third party the parties would enter into good faith negotiations to adjust the
compensation.793

                   b. Indemnity Provisions

      GMAC Mortgage and Old GMAC Bank each agreed to indemnify the other for all losses
arising from an event of default by the other party.794 Most significantly, GMAC Mortgage’s
maximum liability under the Original Servicing Agreement was limited to the total
compensation paid by Old GMAC Bank to GMAC Mortgage under the Agreement within the
twelve-month period before a demand for payment pursuant to these provisions.795 The
obligation was contingent on the receipt of timely notice of the claim, an opportunity to
defend the claim, and cooperation of the non-defaulting party.796 The Original Servicing
Agreement provided that the indemnity provisions would survive termination.797 In addition,
the agreement expressly relieved GMAC Mortgage of liability related to the purchase or
origination of any loan or for any prior servicing of a loan.798

791   Id. Ex. A.
792   Id. § 2.1. The agreement provided a separate pricing schedule for GSE First Lien Mortgage Loans which
      provided for fees of between 0.25% and 0.50% of the principal amount. All ancillary income and principal
      and interest and escrow float related to such loans was for the account of GMAC Mortgage. In addition,
      GMAC Mortgage earned certain additional fees for matters such as delinquent loan handling and credit line
      increases. See id. § 3.3, Ex. A. Old GMAC Bank was required to reimburse GMAC Mortgage for certain out-
      of-pocket expenses and other expenses it expressly agreed to pay. Id. § 3.5. GMAC Mortgage was required to
      advance money to fund draws on the loans and Old GMAC Bank was required to reimburse GMAC
      Mortgage for the advances. These payments were made on a net basis by deducting such amounts from
      principal and interest payments received by GMAC Mortgage on account of the loans. Id. Art. 4.
793   Id. § 10.2.
794   Id. § 7.3.
795   Id. § 8.2 (“Anything to the contrary not-withstanding, [GMAC Mortgage’s] maximum liability under this
      Agreement shall in no event exceed the Servicing Compensation paid by the Bank to [GMAC Mortgage]
      within the twelve-month period prior to a demand for payment made by the Bank to [GMAC Mortgage],
      resulting from [GMAC Mortgage’s] liability under this Agreement.”).
796   Id. § 7.3.
797   Id. § 7.3.
798   Id. § 7.1.

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     The Original Servicing Agreement did not contain a specific provision governing
indemnification in the event that loans were modified. As noted above, the agreement did
require GMAC Mortgage to service the loans in accordance with all applicable laws and
regulations and the terms of the GMAC Bank Servicing Guide stated to be attached as an
exhibit to the Original Servicing Agreement (as amended from time to time) and failure to do
so would constitute an event of default.799 Furthermore, the Fourth Addendum to Original
Servicing Agreement permitted certain modifications without Ally Bank consent.800

                   c. Events Of Default

     Events of default included: (1) failure to make any payment required to be made under
the terms of the Original Servicing Agreement; (2) breach of any representation and
warranty;801 and (3) bankruptcy.802

                   d. Term

     The term of the Original Servicing Agreement was from August 21, 2001 through
August 21, 2004 (unless previously terminated pursuant to the agreement). The agreement
would automatically extend for additional one-year terms unless either party gave the other
party 120 days’ prior notice of its intent not to extend.803

                   e. Addenda

     Although, as noted above, the Original Servicing Agreement provided for re-negotiation
of the pricing provisions, no amendments were executed until July 2004 when GMAC
Mortgage and Old GMAC Bank entered into an Addendum to the Original Servicing


799   Material failure to perform any obligations under the Original Servicing Agreement within 60 days following
      receipt of a written notice constitutes an event of default. Id. §§ 2.2(b), 8.1.
800   The Approval Matrix attached to the Fourth Addendum to the Original Servicing Agreement provided the
      parameters for when the approval of Ally Bank would be required for particular actions with respect to the
      loans. Specifically, with respect to loan modifications, any loan modifications (i) which did not reduce the
      interest more than 2% or extend the maturity beyond 480 months or (ii) where capitalization of delinquent
      interest, escrow and/or servicing advances did not exceed $20,000 over the original principal balance did not
      require Ally Bank approval. Fourth Addendum to Original Servicing Agreement, dated Sept. 1, 2007
      [ALLYKE000000741].
801   Under the Original Servicing Agreement, in addition to the normal corporate representations and warranties,
      GMAC Mortgage represented that the terms of the Original Servicing Agreement were no less favorable to
      Old GMAC Bank than those that would be offered by GMAC Mortgage to a third party. Original Servicing
      Agreement, § 7.8 [ALLYKE000000741]. Old GMAC Bank also represented that all loans to be serviced
      pursuant to the Original Servicing Agreement were originated in compliance with all applicable state and
      federal laws and regulations except to the extent that the failure to so comply would not have a material
      effect on the servicing of any such loan. Id. § 7.9.
802   Id. §§ 8.1 (Default by GMAC Mortgage), 8.3 (Default by Ally Bank).
803   Id. § 9.1.

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Agreement.804 The Addendum allocated certain ancillary income between GMAC Mortgage
and Old GMAC Bank. Line fees and late charges as well as principal and interest float were
for the account of Old GMAC Bank while tax and insurance float was for the account of
GMAC Mortgage.805 The agreement further provided that the principal and interest payments
were passed on to Old GMAC Bank as received rather than being held by the servicer until the
payments were due to the investor in the loan.806 Thus, GMAC Mortgage did not earn the
“float” on the principal and interest payments. The fee schedule was again amended in April
2005.807

    The Original Servicing Agreement, as amended, was assumed by GMAC Bank in
November 2006.808

      9. The MSR Swap
               a. Genesis Of The MSR Swap

     When ResCap was formed, its subsidiaries GMAC Mortgage and RFC owned substantial
portfolios of mortgage servicing rights (MSRs), which are contractual rights to service loans
and receive the related fees and certain ancillary income. As an accounting memorandum
discussing the MSR Swap explained:

                   MSRs represent the capitalized value of the right to receive
                   future cash flows from the servicing of mortgage loans for
                   others. Because residential mortgage loans typically contain a
                   prepayment option, borrowers often elect to prepay their


804   Addendum to Original Servicing Agreement, dated July 1, 2004 [ALLYKE000000741]. For pre-July 2004
      first mortgage loans classified as HFI and all first mortgages classified as HFS there was “no change from the
      practice of passing through net interest [to the investor] after deducting the applicable servicing fee (25 or
      37.5 bps depending on the loan type)” on the outstanding unpaid principal balance. For first lien loans funded
      after June 30, 2004 and classified as HFI, the fee was 1.62 basis points per annum. For home equity loans,
      the fee was 16.18 basis points per annum and for HELOCs the fee was 23.43 basis points per annum. Id.
      Ex. A.
805   Id. Ex. A.
806   Id.
807   Second Addendum to Original Servicing Agreement, dated Apr. 1, 2005 [ALLYKE000000741]. The Second
      Addendum distinguished between “prime” and “ALT-A” first lien loans and amended the fee schedule to
      provide for a 2.0 basis points per annum fee on ALT-A loans.
808   The Original Servicing Agreement was not listed as an “Acquired Asset” in the Purchase and Assumption
      Agreement but the materials for the board of directors meeting approving the assumption of affiliate
      agreements lists the Servicing Agreement; see Purchase and Assumption Agreement, at Schedule A
      [ALLY_PEO_0021066]; Minutes of a Regular Meeting of the Board of Directors of GMAC Bank, Nov. 30,
      2006, at 2 [ALLY_PEO_0020880]; Agenda and Supporting Materials, GMAC Bank Board of Directors
      Meeting, dated Nov. 30, 2006, at 9–12 [ALLY_0260087]. The parties also entered into a Third Addendum to
      Original Servicing Agreement, dated June 1, 2007 [ALLYKE000000741].

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                   mortgage loan by refinancing at lower rates during declining
                   interest rate environments. When this occurs, the stream of cash
                   flows generated from servicing the original mortgage loan is
                   terminated. As such, the market value of mortgage servicing
                   rights has historically been very sensitive to changes in interest
                   rates and tends to decline as market interest rates decline and
                   increase as interest rates rise.809

Further, one of the obligations attendant to being the servicer of record who holds an MSR is
an obligation to make servicer advances where the borrower does not make timely payments,
advancing the delinquent amounts to the owner of the loan (with rights to recoup the payment
from later collections).810

     These assets were notoriously difficult to value; while there was some limited market
trading activity for conforming loan MSRs, there was little or no observable market trading
activity in non-conforming MSRs.811 RFC and GMAC Mortgage initially had different
discounted cash flow models (proprietary to RFC/GMAC Mortgage) used to value their MSR
portfolios; each used a different third-party vendor’s “platform,” and each engaged in different
third-party “benchmarking” as a check on its proprietary valuation.812 In the first quarter of
2007, the GMAC Mortgage valuation model was adopted for the whole portfolio.813 Further,
MSR values were volatile due to their sensitivity to interest rate and prepayment risk, and
consequently were particularly difficult to finance through third-party lenders, who would
lend only with relatively low “advance” rates. For example, the Citibank MSR credit facility




809   Memorandum, Ally Bank/GMAC Mortgage Affiliate Total Return Swap Accounting Analysis Revised for
      April 2011 Agreement, dated (Jul. 25, 2011), at 6 [ALLY_0171117].
810   COMPTROLLER OF THE CURRENCY, ADMINISTRATOR OF NATIONAL BANKS, MORTGAGE BANKING
      COMPTROLLER’S HANDBOOK (1998), at 2–3, http://www.occ.gov/publications/publications-by-type/
      comptrollers-handbook/mortgage.pdf.
811   Int. of R. Flees, Jan. 18, 2013, at 198:1–13, 194:5–9 (“[E]ven at the best days of the mortgage environment,
      very few firms sold servicing rights. So you did not have an active market in which you could see trades.”);
      Memorandum, Ally Bank/GMAC Mortgage Affiliate Total Return Swap Accounting Analysis Revised for
      April 2011 Agreement, dated July 25, 2011, at 6 [ALLY_0171117] (“[O]bservable market prices are not
      available.”).
812   Int. of R. Flees, Jan. 18, 2013, at 201:1–204:12. MSR Value was benchmarked against peer survey data,
      broker quotes, bulk trades and the IO market. E-mail from N. Rock (Dec. 10, 2010), at EXAM10872298
      [EXAM10872295].
813   Int. of R. Flees, Jan. 18, 2013, at 195:22–197:15; E-mail between R. Flees, J. Lundgren, et al. (May 16–18,
      2006) [EXAM11604538]; Memorandum, Change in Estimate Conclusion regarding MSR replatform in Q1
      2007, dated Apr. 27, 2007 [EXAM10131487]; Draft Memorandum, Conclusion regarding Q1 2007 change in
      value of Master Mortgage Servicing Rights (MMSRs), dated Apr. 30, 2007 [EXAM10130221].

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that GMAC Mortgage had in place from September 10, 2007 through 2012 had an advance
rate of only 60%, meaning that Citibank would lend only 60% of the value of the MSRs used
to collateralize the loan.814

     While the MSR Swap did not become effective until August 2007, plans to enter into
such an arrangement had been on the “drawing board” since 2005 or earlier, before the
Cerberus acquisition, the 2006 Bank Restructuring, and the advent of ResCap’s financial
troubles.815 Old GMAC Bank and ResCap had undertaken a review of the GMAC and ResCap
businesses in the summer and fall of 2005 to analyze how the Bank could better serve its
primary purpose of serving as a funding vehicle for GMAC Mortgage and ResCap.816 One of
the conclusions reached was that the Bank should be used to hold MSRs.817 The difficulty
with financing MSRs through regular lending channels (with low advance rates) made use of
the Bank (financing the asset through deposits) particularly desirable.818 Moving the MSRs to
the Bank was projected to result in savings of approximately 206 basis points.819 Further, from
early on, the personnel involved contemplated that the movement of the MSRs to the Bank
would be accompanied by a “total return swap,” transferring the MSRs’ economics (positive
and negative) back to ResCap in exchange for providing the Bank a fixed rate of return.820
ResCap would continue to service the MSRs under the Original Servicing Agreement.821




814   Loan and Security Agreement, dated Sept. 10, 2007 [GOLDIN00044759]; see also Sandler O’Neill Report to
      the Board of Directors of Ally Bank Re: Analysis of Financial Terms of Certain Affiliate Agreements
      between Ally Bank and GMAC Mortgage LLC, dated Feb. 28, 2012, at 38 [ALLY_PEO_0084709]; Morgan
      Stanley Project Duvall Presentation, MSR Facility—Discussion Materials, dated Apr. 14, 2008, at 4
      [EXAM10279337] (“Advance rates on agency MSR assets are ranging between 50% and 60%.”).
815   According to Celini, the retention of MSRs was contained in the business plan for Old GMAC Bank in 2001,
      but the OTS rejected the idea. Int. of A. Celini, Feb.18, 2013, at 127:6–16.
816   See Int. of R. Groody, Dec. 17, 2012, at 19:5–20; Build out GMAC Bank, dated Aug. 29, 2005
      [EXAM10181192].
817   Int. of R. Groody, Dec. 17, 2012, at 26:22–27:17.
818   Id. at 197:23–198:20, 53:6–60:9 (explaining that the proposal did not stem from the Cerberus acquisition or
      related Bank restructuring); Int. of J. Whitlinger, Nov. 30, 2012, at 228:1–229:4; Int. of B. Bier, Feb. 22,
      2013, at 81:18–24; Build out GMAC Bank, dated Aug. 29, 2005 [EXAM10181192] (“Strategies and
      Actions” include “[b]uild investment philosophy to include . . . [m]ortgage servicing rights”); GMAC Bank
      Presentation on Retention of MSRs by the Bank, dated Mar. 27, 2006 [EXAM10607865].
819   GMAC Bank Inter-office Memorandum, from R. Groody and K. Lunde to J. Peterson, dated Oct. 16, 2007
      [EXAM10092812] (noting that, under the swap arrangement, half of the savings would remain in the Bank).
820   Preliminary Analysis of Bank Opportunity [EXAM11248134] (referring to total return swap) (attached to
      e-mail from B. Bier (Dec. 14, 2006) [EXAM11232773]).
821   See Section V.B.8.e (Original Servicing Agreement, Addendum 4).

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     By the fall of 2006, ResCap/GMAC Mortgage personnel and Bank personnel were
actively engaged in a project aimed at moving MSRs to the Bank.822 The project involved
substantial work within ResCap and the Bank on a number of complex systems and process
issues, GSE approval of the Bank as a master servicer, and regulatory approval of (1) a Bank
business plan involving the retention of MSRs and (2) the Bank’s acquisition of existing
MSRs from ResCap. The project, at least initially, seems to have been slowed by the 2006
Bank Restructuring (which resulted in the mortgage banking business being moved to a
different entity with a different regulator, and involved substantial efforts by the parties’
personnel).823 By March 2007, the project was again a focal point of the parties’ efforts.824
According to Celini, at the time Ally Bank had excess capital and management felt that
building an MSR portfolio would enhance the Bank’s balance sheet and portfolio.825 At the
same time ResCap’s liquidity position was weak and Ally Bank viewed this as a “win-win”
situation for the parties.826

     While the FDIC eventually approved Ally Bank’s retention of MSRs on loans sold by the
Bank to GMAC Mortgage, it refused to approve the Bank’s acquisition of existing MSRs from
ResCap entities; indeed, it repeatedly refused such applications to have the Bank acquire an
existing ResCap-affiliate MSR portfolio.827 Further, while the Bank gained approval to act as a
master servicer on Fannie Mae and Freddie Mac loans, the parties ran into an insuperable
obstacle on Ginnie Mae loans. Ginnie Mae’s governing statute and regulations prohibited
designation of more than one affiliated entity as a master servicer; because GMAC Mortgage
retained possession of a portfolio of MSRs it could not transfer to the Bank, it continued as the
designated Ginnie Mae master servicer, and the Bank continued to sell Ginnie Mae loans to
GMAC Mortgage on a servicing-released basis.828

     The regulators were opposed to Ally Bank’s retention of the MSRs without the protection
of the MSR Swap, as discussed below, which finally went into effect on August 31, 2007.
This came just as ResCap had experienced significant liquidity problems and the disruption in




822   E-mail from B. Bier (Dec. 14, 2006) [EXAM11232773]; Preliminary Analysis of Bank Opportunity
      [EXAM11248134].
823   Int. of R. Groody, Dec. 17, 2012, at 53:18–54:24 (discussing delay in getting business plan approval due to
      restructuring).
824   Grow the Bank Balance Sheet Strategy, dated Mar. 23, 2007 [EXAM10060869]; E-mail from T.
      Grzeskiewicz (Mar. 27, 2007) [EXAM10060574]; GMAC Bank Presentation on Retention of MSRs by the
      Bank, dated Mar. 27, 2006 [EXAM10607865].
825   Int. of A. Celini, Feb. 18, 2013, at 133:1–134:21.
826   Id. at 134:6.
827   Int. of R. Groody, Dec. 17, 2012, at 278:3–17; E-mail from J. Peterson (Sept. 24, 2008) [EXAM10839861].
828   Int. of R. Groody, Dec. 17, 2012, at 298:2–300:15; E-mails between K. Walsh, A. Celini, R. Groody et al.
      (Sept. 19–22, 2008) [EXAM10286196].

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credit markets that occurred in mid-August 2007.829 Nonetheless, Groody stated that the
timing of the MSR Swap was not driven by these factors, but by the fact that the parties had
finally gotten all of the necessary approvals and completed all the groundwork necessary to
put the swap into effect.830 Given that the regulators did not approve the Bank’s acquisition of
ResCap’s existing MSR portfolio, the initial economic impact of the transaction was small: the
Bank’s MSR portfolio, which grew organically as the Bank sold (non-Ginnie Mae) loans to
GMAC Mortgage, was only $120 million at the end of 2007,831 grew to $420 million by the
end of 2008,832 and then, as more of GMAC Mortgage’s loan production was routed through
the Bank under the Broker Agreement, grew to $1 billion in 2009, and $1.7 billion by year-
end 2010.833

                  b. 2007 MSR Swap

    The original MSR Swap is documented on an ISDA Master Agreement834 and two
Schedules—the FMV Schedule and the Net Funding Schedule, each dated August 31, 2007.835

                    (1) The FMV Schedule

     The FMV Schedule applied to the “dollar amount of mortgage servicing rights owned by
[Ally Bank] as reported on the accounting general ledger of [the Bank].”836 The FMV
Schedule required payments for the “FMV Change,” defined as the “FAS 156 mark to market
for the Valuation Period as recorded by [the Bank] against the mortgage servicing right
asset.”837 The FMV Change was to be measured each business day; if the change was positive




829   See Sections III.F (financial history), V.F (healthcare asset sale).
830   Int. of R. Groody, Dec. 17, 2012, at 197:20–199:2; see also Int. of A. Celini, Feb. 18, 2013, at 134:22–140:17
      (Celini noted that MSR retention had been in the Bank’s business plan for a long time and part of its ongoing
      strategic planning process, but did not recall what drove the particular timing of the MSR Swap).
831   GMAC Bank Consolidated Financial Statements as of Dec. 31, 2008 and 2007, at 2 [RC00034535].
832   Id. at 2.
833   December 2009 Business Review—Core Mortgage Business & Operations, dated Jan. 25, 2010 at 37
      [ALLY_0222595]; Ally Financial Inc. 4Q and Full Year 2010 Earnings Review, dated Feb. 1, 2011, at 38
      [ALLY_PEO_0069372]; see Section V.B.12.b (analyzing economic impact of the MSR Swap).
834   ISDA Master Agreement, dated June 12, 2007 [ALLY_0041610].
835   2007 FMV Schedule [RC00027822]; 2007 Net Funding Schedule [RC00027852].
836   2007 FMV Schedule, part 6(a)(v) [RC00027822].
837   Id. part 6(a)(iii). FAS 156, “Accounting for Servicing of Financial Assets (as amended),” was superseded by
      the FASB Accounting Standards Codification (“ASC”) 860, “Transfers and Servicing” on September 15,
      2009.

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(i.e., if the combined value of the MSRs838 on the Bank’s books had increased), then the Bank
owed GMAC Mortgage the amount of the increase, and if the change was negative (the value
of the Bank’s MSR portfolio had decreased), then GMAC Mortgage owed the Bank the
amount of the decrease.839

     Thus, the FMV Schedule applied not to shifts in the value of individual MSRs, but to
changes in the value of the Bank’s MSR portfolio as a whole. Such FMV changes could be the
result of changes in the market valuations of MSRs, triggered, e.g., by shifts in interest rates or
in borrower delinquency rates (which affect the cost to service the loan) and severity
(affecting the financial impact of the master servicer’s obligation to make servicing advances).
As discussed in Section V.B.10.b(2), there is a substantial issue concerning the applicability of
the FMV Schedule where the value of the Bank’s MSR portfolio increases through the
capitalization or purchase of new MSRs.




838   The “mortgage servicing rights asset” on the Bank’s general ledger included not just MSRs, but “excess
      servicing rights” as well. Excess servicing rights arise where the borrower note rate exceeds the interest
      provided to investors when a loan is sold or securitized and the mortgage servicing fees payable under the
      MSR. The remaining amount of interest is considered an “excess servicing fee” and is often retained by the
      holder of the MSR. Excess servicing rights are a form of cash flow associated with future “Interest Only”
      (“I/O”) income; they do not include ancillary income such as float or late fees. See Ally Bank Excess
      Servicing Transaction Presentation, at 2 [ALLY_PEO_0065951]. The excess servicing right asset represents
      the interest collected and retained by the servicer that is not considered payment for the actual services being
      performed. This asset is also referred to as an interest-only strip, and ResCap reported it as part of the MSR
      assets on its balance sheet. FINANCIAL ACCOUNTING STANDARDS BOARD, STATEMENT OF FINANCIAL
      ACCOUNTING STANDARDS NO. 156, Accounting for Servicing of Financial Assets, an amendment of FASB
      Statement No. 140, at ¶¶ 14, 63, 65. For purposes of the MSR Swap, excess servicing rights were generally
      treated in the same way as MSRs (with one exception discussed in Sections V.B.9.b(4) and V.B.12.b(1)).
      Bank MSR TRS Daily Settlement, May 2011 [EXAM00234419]; ResCap—MSR Cash Summary
      [EXAM00231039]; MSR ARB Interest Expense Allocation, dated Mar. 31, 2012 [EXAM00233968]. For the
      sake of convenience, the term MSR is used generically in Section V.B to refer to both MSRs and excess
      servicing rights, except where the distinction is significant. (See, eg., Sections V.B.9.b(4), V.B.12.b(1)).
839   2007 FMV Schedule, parts 6(a)(vii), 6(d) [RC00027822].

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                    (2) The Net Funding Schedule

        The Net Funding Schedule provided for two payments.

                        (a) The Net Servicing Fee Paid To GMAC Mortgage

        The Schedule obligated the Bank to pay GMAC Mortgage a “Net Servicing Fee,” defined
as:

                    the sum of the amounts posted to the general ledger of [the
                    Bank] for amounts collected or earned by [the Bank] (i.e.[,]
                    normal servicing fees and ancillary income) less any associated
                    servicing expenses paid or incurred, as is customary for normal
                    servicing of residential mortgage loans.840

Thus, the Bank was required to pay GMAC Mortgage all the servicing income it received on
its portfolio of MSRs, net of expenses incurred.

     The expenses to be deducted included the fees paid to GMAC Mortgage under the
Original Servicing Agreement for Bank-owned MSRs.841 In connection with the MSR Swap,
the parties entered into a Fourth Addendum to Servicing Agreement amending the fee
schedule pertaining to loans for which Ally Bank held the MSR.842 The servicing fee for such
loans was changed to a flat $46.00 per annum from a fee based on a percentage of principal,
subject to quarterly adjustment based on GMAC Mortgage’s actual cost to service the loans.
On the other hand, while the Addendum specifies that all float on principal and interest
payments and on tax and insurance escrows, as well as other ancillary income, will be for the
account of GMAC Bank,843 this income was part of the normal “ancillary” servicing income
required to be paid to GMAC Mortgage under the MSR Swap.844




840   2007 Net Funding Schedule, parts 6(a)(v), 6(d) [RC00027852] (emphasis added).
841   Int. of C. Dondzila, Sept. 27, 2012, at 294:1–15; Int. of J. Young, Sept. 28, 2012, at 210:24–211:13; Int. of R.
      Groody, Dec. 17, 2012, at 232:16–233:16. Consequently, whether the fees paid to GMAC Mortgage for
      servicing the Bank’s MSR portfolio were at market or at cost seems to be immaterial, given that the cost
      would have been passed back to GMAC Mortgage through the Net Servicing Fee. “So if you charged a
      gazillion dollars per loan for the subservicing . . . then a gazillion dollars would come back through the
      swap.” Int. of J. Whitlinger, Feb. 27, 2013, at 93:25–94:4. (Of course, this is not true for the fees charged to
      service the bank’s HFI portfolio.)
842   Fourth Addendum to Original Servicing Agreement, dated Sept. 1, 2007 [ALLYKE000000741].
843   Id.
844   2007 Net Funding Schedule, part 6 [RC00027852].

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                         (b) The Funding Fee Paid To Ally Bank

     The Net Funding Schedule also required GMAC Mortgage to pay the Bank a “Funding
Fee,” which was defined as the product of an interest rate (set at LIBOR plus 1%) and the
“dollar amount of Mortgage Servicing Rights owned by [the Bank] as reported on [the
Bank’s] accounting general ledger . . . and the dollar amount of Servicing Advances owned by
[the Bank] as reported on [the Bank’s] accounting general ledger.”845

                    (3) Termination Provisions

     Both the FMV Schedule and the Net Funding Schedule had a one-year term subject to
automatic renewal for successive one-year periods absent 120 days’ notice by Ally Bank.846
Termination of either Schedule would trigger termination of the other.847 The Schedules’
provisions notably did not contemplate any sort of unwinding of the Swap on termination,848 a
fact whose significance is discussed below.

                    (4) Application Of The MSR Swap To The Recognition Of New MSRs

     As discussed above, the FMV Schedule required payment of the FMV Change, the “FAS
156 mark to market for the Valuation Period as recorded by [the Bank] against the mortgage
servicing right asset” on the Bank’s general accounting ledger.849

     When Ally Bank sold loans to GMAC Mortgage and retained the related servicing rights,
it capitalized the newly recognized MSRs (including excess servicing rights),850 adding their
value to the mortgage servicing right asset on the Bank’s general accounting ledger.851 The
Bank also periodically purchased MSRs (as opposed to whole loans) from third parties, adding
the value of these MSRs to the mortgage servicing right asset on the Bank’s general
accounting ledger as well. Consequently, when GMAC Mortgage paid the LIBOR-based




845   2007 Net Funding Schedule, parts 6(a)(iii), (iv), (vi) [RC00027852]; Serv Fee JE & Query, dated Dec. 31,
      2008 [EXAM00233021].
846   2007 FMV Schedule, part 6(a)(vi) [RC00027822]; 2007 Net Funding Schedule, part 6(a)(vii) [RC00027852].
847   2007 FMV Schedule, part 1(h) [RC00027822]; 2007 Net Funding Schedule, part 1(h) [RC00027852].
848   2007 FMV Schedule, parts 1(f), 5e [RC00027822]; 2007 Net Funding Schedule, parts 1(f), 5e
      [RC00027852]; Int. of R. Groody, Dec. 17, 2012, at 220:9–224:6 (FMV payments remain with GMAC
      Mortgage upon termination).
849   2007 FMV Schedule, part 6(a)(iii) [RC00027822]; see also E-mails between R. Groody, S. Griffith, N. Rock
      et al. (Apr. 5–6, 2007) [EXAM 10287667].
850   Excess servicing rights are discussed in Section V.B.9.b(1) and the accompanying footnotes.
851   Int. of J. Cortese, Mar. 7, 2013, at 19:12–20.

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Funding Fee, the value of the newly recognized MSRs was included in the “dollar amount of
Mortgage Servicing Rights . . . reported on the [Bank’s] accounting general ledger”852 used to
calculate the Funding Fee.853

     However, while the Bank paid to GMAC Mortgage the capitalized value of new MSRs
and excess servicing rights related to Bank-originated loans that were added to the value of the
Bank’s MSR asset, it did not do this for MSRs arising from correspondent loans the Bank had
purchased or for MSRs purchased separately.854 For correspondent loans, the Bank paid the
capitalized value of excess servicing rights to GMAC Mortgage, but not the capitalized value
of the MSRs themselves.855 The Bank’s records likewise reflect that the value of purchased
MSRs was not paid to GMAC Mortgage. From the August 2007 inception of the MSR Swap,
the capitalization and purchase of new MSRs was always handled in this fashion.856 This
appears to be a significant anomaly in the application of the FMV Schedule. The Schedule
appears to require that all increases in the value of the Bank’s mortgage servicing right asset
flow to GMAC Mortgage, without distinguishing among MSRs arising from Bank-originated
loans, purchased MSRs, and MSRs arising from purchased loans.

     In their interviews, Bank and ResCap personnel involved in putting the MSR Swap in
place generally had little recollection or understanding of how the Swap applied to the value
of new MSRs.857 Groody presented the MSR Swap to the Ally Bank Board for approval in
August 2007; the written materials he provided to the Board state:

                   [t]he Total Return Swap will be transacted monthly with
                   GMACM where the Bank will pay cash to GMACM in the
                   event the market value of the asset increases and will receive

852   2007 Net Funding Schedule, part 6(a)(vi) [RC00027852].
853   Int. of J. Cortese, Mar. 7, 2013, at 38:14–39:14; MSR ARB Interest Expense Allocation, dated Mar. 31, 2012
      [EXAM00233968]; MSR ARB Interest Expense Allocation, dated Apr. 30, 2012 [EXAM00233969].
854   Int. of J. Cortese, Mar. 7, 2013, at 19:3–11; Ally Bank Overview Accounting for Mortgage Servicing Rights
      [ALLY_PEO_0042124] (reflecting payment to GMAC Mortgage for MSRs related to Bank-originated loans,
      but not for MSRs related to purchased loans); Detailed Analysis of Ally Bank’s Affiliate Agreements, dated
      June 12, 2012, at 18 [SOP0000380]; Bank MSR TRS Daily Settlement, dated Apr. 30, 2012
      [ALLY_PEO_0070279].
855   Int. of J. Cortese, Mar. 7, 2013, at 19:3–11; Ally Bank Overview Accounting for Mortgage Servicing Rights
      [ALLY_PEO_0042124] (reflecting payment to GMAC Mortgage for MSRs related to Bank-originated loans,
      but not for MSRs related to purchased loans); Detailed Analysis of Ally Bank’s Affiliate Agreements, dated
      June 12, 2012, at 18 [SOP0000380]; Bank MSR TRS Daily Settlement, dated May 2011 [EXAM00234419].
856   Int. of J. Cortese, Mar. 7, 2013, at 36:3–37:15; Int. of J. Young, Mar. 15, 2013, at 85:19–21; MSR Swap
      Review (May 2012) [ALLY_0368244].
857   See Int. of R. Groody, Dec. 17, 2012, at 215:21–216:5; Int. of B. Bier, Feb. 22, 2013, at 154:23–158:5 (Bier
      had no independent recollection on how the MSR Swap was to apply to capitalization of MSRs and, based
      solely on his review of the MSR Swap’s language during his interview, assumed that the Bank would pay the
      market value of MSRs for both originated and correspondent loans to GMAC Mortgage and would recoup
      the SRP for the correspondent loans under the MMLPSA).

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                    cash in the event the market value of the MSR decreases. The
                    swap will use the recorded amounts in the Bank’s income
                    statement as the basis for the cash settlement of the swap to
                    ensure all income statement volatility is removed from the Bank
                    each month. The Bank will also receive a fee equal to a spread
                    above the LIBOR one-month rate under the terms of the swap
                    agreement.858

While this statement does not focus specifically on the capitalization or purchase of MSRs, or
on the mechanics of either the FMV Schedule or the Net Funding Schedule, it is notable that
the statement describes the Swap as focusing on the Bank’s income statement (rather than its
balance sheet), and asserts that the Swap will eliminate income-statement volatility.

     Cortese, who was not involved in the original negotiations of the 2007 MSR Swap but
had substantial experience with the MSR Swap after he became CAO of Ally Bank in August
2009,859 explained the different treatment of MSRs from Bank-originated loans and those from
purchased loans as follows: For Bank-originated loans, the Bank recognized a gain
corresponding to the value of the MSR when it was capitalized. In contrast, for purchased
correspondent loans, since the Bank had paid a purchase price that included an SRP for the
loan servicing rights, the Bank did not recognize a gain when it capitalized the corresponding
MSR.860 Similarly, the Bank did not recognize a gain when it added the value of purchased
MSRs to its balance sheet (since it had paid to purchase the MSRs). The Bank did, however,
recognize a gain when it capitalized the value of any excess servicing rights associated with
either a correspondent or Bank-originated loan.861

     In Cortese’s view, “the whole intent that ResCap and the [B]ank manager had in drafting
this was that the [B]ank was not to have any economics related to holding the MSR asset”; he
added that, “the swap is more of a revenue, of a P&L view, than, say, the balance sheet,” and
“[t]he intent of the swap was to have all those economics, net cash flows, go back to GMAC
Mortgage,” since “[t]he Bank was holding the MSR for, I think, purely financing purposes.”862
Asked what in the language of the MSR Swap supported this view, Cortese responded, “I
would say that the language at that point in time was pretty vague,” and “I don’t think it’s
specifically identified.”863 However, as discussed in greater detail below, Cortese referred to


858   Materials for GMAC Bank Board of Directors Meeting, dated Aug. 16, 2007, at ALLY_PEO_0005805
      [ALLY_PEO_0005782] (emphasis added).
859   Int. of J. Cortese, Mar. 7, 2013, at 14:12–16. Cortese joined ResCap in July 2008 as an accounting director,
      and became Chief Accounting Officer of Ally Bank in August 2009. Id. at 9:15–10:3.
860   Id. at 28:19–29:9.
861   MSR Rollforward Q1 2011 and Q4 2010 [ALLY_PEO_0069504] (attached to e-mail from L. Gerner to B.
      Yastine and J. Young (Apr. 27, 2011) [ALLY_PEO_0069503]).
862   Int. of J. Cortese, Mar. 7, 2013, at 28:19–29:9.
863   Id. at 30:2–16.

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revisions to the FMV portion of the MSR Swap in April 2011 amendments as reflecting his
understanding that newly capitalized MSRs were to flow to GMAC Mortgage when they
involved a “gain or loss,” rather than a “change[] in the balance sheet.”864

      Young865 offered a different explanation for the treatment of MSR capitalization under
the MSR Swap. Young pointed out that the FMV Schedule’s provisions defining FMV
Changes cover “the FAS 156 mark to market for the valuation period,” and asserted that “[t]he
creation of an MSR is not a marked-to-market adjustment.”866 Consequently, he explained that
the Bank’s payments related to the recognition of MSRs related to the Bank-originated loans
were not made under the FMV Schedule, but as part of the Net Servicing Fee under the Net
Funding Schedule.867 The Net Servicing Fee, as noted above, required payment of “amounts
posted to the general ledger of [the Bank] for amounts collected or earned by [the Bank]
(i.e.[,] normal servicing fees and ancillary income) less any associated servicing expenses
paid or incurred, as is customary for normal servicing of residential mortgage loans.”868
According to Young, the Bank’s gain on sale for MSRs arising from Bank-originated loans
was an amount “earned” by the Bank; conversely, there was no gain on sale and consequently
“no earning” on correspondent loan MSRs.869 It should be noted that the Net Servicing Fee
provision references “amounts collected or earned by [Ally Bank] (i.e.[,] normal servicing
fees and ancillary income).” Young agreed that the gain related to capitalization of Bank-
originated loan MSRs was neither a “normal servicing fee” nor “ancillary income.”870 He
suggested that these items were meant to be examples of MSR-related earnings, rather than an
exhaustive list,871 saying, in effect that the provision should be read as though it says “(e.g.,
normal servicing fees and ancillary income),” rather than “(i.e., normal servicing fees and
ancillary income).”




864   Int. of J. Cortese, Mar. 7, 2013, at 33:19–34:14, 37:23–38:13 (discussing April 2011 MSR Swap
      Confirmation, § 2, definitions of FMV Change, FMV Value, and MSR Amount [ALLY_0041799]). See
      Section V.B.10.b.
865   Young signed the 2007 MSR Swap for ResCap, but in his interview acknowledged that he had not been
      involved in the development or negotiation of the arrangement, first became aware of it when it was adopted,
      and did not recall having executed the document; consequently, his knowledge, like Cortese’s, was
      predicated on his subsequent involvement. Int. of J. Young, Oct. 10, 2012, at 90:12–18; Int. of J. Young,
      Mar. 15, 2013, at 72:6–75:4.
866   Int. of J. Young, Mar. 15, 2013, at 82:19–23.
867   Id. at 83:7–21.
868   2007 Net Funding Schedule, part 6(a)(v) [RC00027852] (emphasis added).
869   Int. of J. Young, Mar. 15, 2013, at 82:24–83:6, 83:21–24.
870   Id. “Ancillary income” in the loan servicing context typically refers to revenues such as the “float” on loan
      payments collected by the servicer. See Fourth Addendum to Original Servicing Agreement, dated Sept. 1,
      2007 [ALLYKE000000741].
871   Int. of J. Young, Mar. 15, 2013, at 84:6–21.

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     However, the few documents that explicitly discuss how capitalizations of MSRs flowed
under the MSR Swap do not support Young’s explanation. Instead, they reflect that the parties
understood that the FMV Schedule “fair value changes to the MSR asset” included “the [G]ain
recognized . . . on newly capitalized MSR[s].”872 The Investigation has revealed no documents
saying that the Net Funding Fee was the applicable portion of the Swap.

      Further, a review of FAS 156 indicates that it applies not only to the adjustment of asset
values already on an entity’s books, but to the initial recognition of assets.873 FAS 156,
Accounting for Servicing of Financial Assets, speaks in terms of the “fair value” of assets, rather
than using the phrase “mark to market.”874 Recording an asset at fair value is a concept used
interchangeably in accounting literature with “mark to market.”875 FAS 156 specifically requires
“all separately recognized servicing assets and servicing liabilities to be initially measured at fair
value.”876 Indeed, paragraph 65 of FAS 156 provides an example of an MSR asset being recorded
at fair value upon the transfer of the loan and the retention of servicing.877 Moreover, Ally Bank’s
own audited financial statements, as well as the governing Ally Accounting Policy, state that
mortgage servicing assets and liabilities are initially measured at fair value.878 Of course, FAS 156
also contemplates the subsequent measurement of servicing assets and liabilities at “fair value,”
with changes in “fair value” reported in earnings in the period in which the changes occur (though,
again, it does not use the phrase “mark to market”).879 Nothing in FAS 156 suggests that the initial
measurement of an asset at fair value is not a “mark to market.”



872   Memorandum, Ally Bank/GMAC Mortgage Affiliate Total Return Swap Accounting Analysis, dated Feb.
      25, 2011, at 2, n.2 [ALLY_0202271]; MSR Swap Between GMACM and Ally Bank Presentation, dated Feb.
      2011, at 5 [EXAM11190199] (“Capitalization of New Servicing” identified as flowing under the “FMV
      Swap”). The Investigation has uncovered no documentary evidence which indicates the MSR capitalization
      flowed to GMAC Mortgage under the Net Funding Fee, as Young asserted.
873   FINANCIAL ACCOUNTING STANDARDS BOARD, STATEMENT OF FINANCIAL ACCOUNTING STANDARDS
      No. 156, Accounting for Servicing of Financial Assets, an amendment of FASB Statement No. 140,
      Summary ¶ 2.
874   Id.
875   See, e.g., FINANCIAL ACCOUNTING STANDARDS BOARD, STATEMENT OF FINANCIAL ACCOUNTING STANDARDS
      NO. 107, Disclosures about Fair Value of Financial Instruments, ¶ 9; Report and Recommendations Pursuant to
      Section 133 of the Emergency Economic Stabilization Act of 2008: Study on Mark-To-Market Accounting, Office
      of the Chief Accountant, Division of Corporate Finance, United States Securities and Exchange Commission, at 1.
876   FINANCIAL ACCOUNTING STANDARDS BOARD, STATEMENT OF FINANCIAL ACCOUNTING STANDARDS
      NO. 156, Accounting for Servicing of Financial Assets, an amendment of FASB Statement No. 140,
      Summary ¶ 2.
877   Id. ¶ 65.
878   GMAC Bank, Consolidated Financial Statements as of December 31, 2008 and 2007 and Independent
      Auditor’s Report, at RC00034550–51 [RC00034535]; Accounting Policy 2451, Mortgage Servicing Rights,
      Sept. 1, 2011, at RC40000806 [RC40000802].
879   Financial Accounting Standards No. 156, Accounting for Servicing of Financial Assets, an amendment of
      FASB Statement No. 140, Summary ¶ 3.

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    This issue is addressed further in connection with the revisions to the MSR Swap adopted
in April 2011, discussed in Section V.B.10.

                    (5) The Combined Economic Effect: “Synthetic Lending”?

      Ally Bank officials, in Affiliate Transaction Memos prepared at the time of the MSR
Swap and in an April 2010 reassessment, characterized the FMV portion of the MSR Swap as
a straightforward hedge of the fair market value of the MSRs.880 They noted that MSR assets
are volatile, that providing a 100% hedge of MSRs in the marketplace was not possible (citing
communications with a third-party swap provider, Lehman Brothers, to the effect that such a
swap was not available in the marketplace), and that there were no administrative costs or fees
paid to GMAC Mortgage (and hence no hedge ineffectiveness).881 The Net Funding portion of
the exchange was described as an exchange of “net servicing fees, a variable cash flow for a
fixed payment that provides the Bank with a 100 bp over libor risk free return on its MSR
asset,” a return that was “commensurate with other low/no risk investments in the marketplace
(fed funds and short term treasury notes in the current market).”882

     While the analogy is imperfect, Ally Bank’s role has been described as that of a
“synthetic lender”883 and the MSR Swap is similar in many respects to a loan: GMAC
Mortgage received (almost) all of the economic benefit (and detriment) from owning the MSR
portfolio without actually having to purchase the assets or pay a servicing-released premium.
It received the value of each Bank-originated loan MSR and excess servicing rights upon
recognition on the Bank’s balance sheet. GMAC Mortgage paid the amortization of the value
of the entire MSR asset to the Bank each month, receiving in exchange the corresponding
servicing fees (net of expense) for that month. GMAC Mortgage paid the Bank, in effect,
interest on the capital the Bank had tied up in the assets, including the amounts paid by the


880   GMAC Bank Affiliate Transaction Memorandum, Swap Agreement for Mortgage Servicing Rights with
      GMAC Mortgage Corp., dated Sept. 1, 2007, at 2 [ALLY_0017878]; GMAC Bank Affiliate Transaction
      Memorandum, Assessment of Swap Agreement for Mortgage Servicing Rights with GMAC Mortgage LLC,
      dated Apr. 30, 2010, at 1 [ALLY_0018063].
881   GMAC Bank Affiliate Transaction Memorandum, Swap Agreement for Mortgage Servicing Rights with
      GMAC Mortgage Corp., dated Sept. 1, 2007, at 2 [ALLY_0017878]; GMAC Bank Affiliate Transaction
      Memorandum, Assessment of Swap Agreement for Mortgage Servicing Rights with GMAC Mortgage LLC,
      dated Apr. 30, 2010, at 1 [ALLY_0018063]; E-mail from T. O’Hara, Lehman Brothers, to R. Groody
      (Sept. 20, 2007) [ALLY_0017960] (Lehman is unable to structure “all-encompassing” hedge for MSRs).
882   GMAC Bank Affiliate Transaction Memorandum, Assessment of Swap Agreement for Mortgage Servicing
      Rights with GMAC Mortgage LLC, dated Apr. 30, 2010, at 1 [ALLY_0018063]; GMAC Bank Affiliate
      Transaction Memorandum, Swap Agreement for Mortgage Servicing Rights with GMAC Mortgage Corp.,
      dated Sept. 1, 2007, at 2 [ALLY_0017878]; see also Minutes of a Regular Meeting of the Board of Directors
      of GMAC Bank, Aug. 22, 2007 [ALLY_PEO_0001400]; Proposal to Invest in Mortgage Servicing Rights,
      dated Aug. 22, 2007, at ALLY_PEO_0005803 [ALLY_PEO_0005782] (stating 100 basis point return spread
      is “significantly greater than alternative risk-free investments,” and “[r]eturns on equity will be in excess of
      8.5% annually”); Int. of R. Groody, Dec. 17, 2012, at 194:19–196:24.
883   Int. of J. Young, Oct. 10, 2012, at 22:4–5.

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Bank as servicing advances. In a sense, the MSR Swap functioned as though GMAC
Mortgage had borrowed the funds necessary to purchase the MSRs and the funds needed to
make related servicing advances.884

     Of course, there are key differences between the MSR Swap and a scenario in which
GMAC Mortgage had borrowed money from Ally Bank to purchase the asset itself. These
include the following: First, the Bank had actual title to the MSR assets, instead of a security
interest in the assets.

      Second, as noted above, there was no provision for unwinding any of the prior payments
on termination of the Swap. Thus on termination, GMAC Mortgage would get to keep an
element of the “principal”—the amounts that had been advanced to it under the Swap resulting
from the initial capitalization of MSRs from Bank-originated loans—rather than repaying it to
the Bank (as it would have done through paying for the decline in value attributable to
economic amortization of the asset through the swap, had it not been terminated). Ally Bank
would keep the MSRs themselves on termination, but of course had owned the MSRs from
their inception, and GMAC Mortgage had not paid to purchase them.885 The termination of the
MSR Swap is not discussed in the Bank’s Affiliate Transaction Memos.886


884   According to Young, the MSR Swap essentially was a low-cost, convenient funding source for GMAC
      Mortgage to continue its core servicing business:
           [T]he whole theory is that you want to swap all the economics of that MSR to where they
           belong, if you will, in the core business that has the rest of the core. It has the hedging
           expertise, the capital markets expertise, the servicing expertise.
           They want the risk and—ResCap wants the risk and rewards of that MSR, but putting it in the
           bank provides a way of funding it, putting it on their balance sheet. But the economics of
           flowing back—so, in exchange for a LIBOR-based payment, all of the other economics of the
           MSR are coming back under the swap.
           So, servicing fees, any benefit of servicing from float, the cost of subservicing, which is really
           all embedded in ResCap, all those components of that core process are going back to ResCap in
           exchange for a LIBOR-based payment. So, it puts ResCap in the exact same position that they
           would be if they—as if they owned the asset.
      Int. of J. Young, Sept. 28, 2012, at 210:18–211:13; see also Int. of B. Bier, Feb. 22, 2013, at 157:15–18
      (“[T]he intent of the swap was that GMAC Bank would finance the fair value of the MSRs.”).
885   Before the adoption of the MSR Swap and retention of the MSR by Ally Bank, GMAC Mortgage would have
      paid the Bank an SRP (servicing-released premium) to purchase the MSR. Under the Swap, GMAC
      Mortgage did not pay for the MSR, but, for MSRs arising from Bank-originated loans, was paid the value of
      the MSR and was not obligated to return it (or the unamortized portion of the MSR) on termination.
      It should be noted that excess servicing rights (discussed in Section V.B.9.b(1) and the accompanying
      footnotes) do not implicate the same considerations, since GMAC Mortgage would have been entitled to the
      benefit of this income without payment of an SRP or the equivalent as a perquisite of purchasing the loan
      itself (and controlled whether or to what extent excess servicing rights were created because it controlled the
      securitization process).
886   See Section V.B.11.a (discussing economic results under the MSR Swap following 2012 termination).

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               c. 2009 Revisions To Termination Provisions And The Issuance And Rescission
                  Of Termination Notices

     In response to FDIC expressions of dissatisfaction with Ally Bank’s exposure to GMAC
Mortgage,887 as well as a threat by Ginnie Mae to cease permitting loan purchases
from GMAC Mortgage given its precarious finances, Ally Bank considered terminating the
MSR Swap.888 On May 1, 2009, the parties agreed to reduce the advance notice the Bank was
required to give to prevent renewal of the FMV and Net Funding Schedules to 90 days.889 Ally
Bank then issued notices of non-renewal on June 1, 2009, which would have resulted in
termination effective September 1, 2009.890 On August 31, 2009, Ally Bank confirmed that
these notices had been withdrawn by mutual agreement,891 and the following day the parties
agreed to make both Schedules unilaterally terminable by Ally Bank on 30 days’ notice (at
any time, not merely at renewal).892 Ally Bank sent 30-day notices of termination in
September and October 2009, but they were subsequently rescinded.893

               d. 2010 MSR Swap Revisions

    In or after November 2010, but with effect retroactive to July 1, 2010, the parties entered into
an “Amended and Restated” Net Funding Schedule (the “2010 Net Funding Schedule”).894 The




887   Int. of R. Groody, Dec. 17, 2012, at 156:2–8, 157:9–158:2. ResCap acknowledged that GMAC Mortgage was
      no longer “an acceptable counterparty to others.” ResCap Presentation on Affiliate Agreements, at 4
      [EXAM10787403].
888   Review of GNMA Mortgage Hedging and MSR Hedging, dated June 30, 2009, at 9 [EXAM11621591].
889   Letter Agreement Re Amendment of ISDA Schedules, dated May 1, 2009 [ALLY_0017962].
890   Letter from A. Celini to J. Young (June 1, 2009) [ALLY_0212903].
891   Letter from A. Celini to J. Young (Aug. 31, 2009), at 3 [RC00027847].
892   Letter from A. Celini to J. Young (Sept. 1, 2009), at 1 [RC00027847].
893   Letter from A. Celini to J. Young (Sept. 1, 2009) [RC00027847] (termination effective Oct.1, 2009); Letter
      from A. Celini to J. Young (Sept. 21, 2009) [EXAM00237972] (termination effective Nov. 1, 2009; rescinds
      prior termination notice); Letter from M. Hales to J. Young (Oct. 21, 2009) [ALLY_0212907] (termination
      effective Nov. 30, 2009; rescinds prior termination notice); Letter from M. Hales to J. Young (Nov. 18, 2009)
      [ALLY_0017995] (rescinding October 2009 termination notice). Apparently the parties tried to
      “operationalize the elimination of” the MSR Swap and Pipeline Swap but ultimately they were not
      terminated. E-mail from J. Whitlinger to J. Young et al. (Dec. 15, 2009) [EXAM10161997]. ResCap viewed
      the retention of the “total return swap” (referring to combined effect of MMLPSA and MSR Swap) as in its
      best interest and noted “without the total return swap relationship, ResCap would lose any future capability
      of delivering securities to the [GSEs].” Affiliate Agreements: GMAC Bank and ResCap, at 8–9
      [EXAM10787403].
894   2010 Net Funding Schedule [ALLY_0018118].

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amended agreement was approved by the ResCap Board895 (although the parties applied the new
pricing terms even before the amended agreement was executed or approved).896 This appears to
be the first instance after adoption of the 2005 Operating Agreement in which ResCap Board
approval of any of the agreements discussed in this Section occurred. No fairness opinion was
obtained.897 The Amended and Restated Schedule contained two key revisions, both made in
response to concerns or objections raised by FDIC officials:

                   (1) Increase In The Funding Fee Interest Rate To 3.25%

     First, the 2010 Net Funding Schedule increased the interest rate applicable to the Funding
Fee to LIBOR plus 3.25%.898

      FDIC officials had questioned, inter alia, whether LIBOR +1% was an adequate interest
rate, comparing it to a facility that ResCap had in place with Citibank secured by MSRs (under
which ResCap paid Citibank LIBOR +6%) and characterizing the LIBOR +1% rate as an
“apparent violation” of section 23B.899 Ally Bank management, particularly Glassner, disagreed
with the comparison to the Citibank interest rate, noting that there were key structural
differences that support a reduced pricing structure.900 The differences cited included the
“avoidance of hedge costs,” the Bank’s “ability to unilaterally terminate the swaps at any time,”
and the “[m]onetary benefit to the Bank resulting from availability of no-cost mortgage
servicing escrow funds controlled by [GMAC Mortgage].”901 Ally Bank argued to the FDIC that


895   Minutes of a Special Meeting of the Board of Residential Capital, LLC, Nov. 5, 2010, at RC40018847-48
      [RC40018729]; see also Minutes of a Special Meeting of the Board of Residential Capital, LLC, Oct. 3,
      2010, at RC40018840 [RC40018729] (discussing revisions); Minutes of a Special Meeting of the Board of
      Residential Capital, LLC, Oct. 5, 2010, at RC40018842–43 [RC40018729] (same).
896   E-mail from A. Glassner to J. Andrews and J. Young (Aug. 26, 2010) [EXAM10436075].
897   Minutes of a Special Meeting of the Board of Residential Capital, LLC, Nov. 5, 2010, at RC40018844-45
      [RC40018729]. See also Minutes of a Special Meeting of the Board of Residential Capital, LLC, Oct. 3,
      2010, at RC40018840 [RC40018729] (discussing revisions); Minutes of a Special Meeting of the Board of
      Residential Capital, LLC, Oct. 5, 2010, at RC40018842–43 [RC40018729] (same). It was suggested that the
      Independent Directors discuss whether a fairness opinion should be obtained. E-mail from C. Quenneville to
      P. West and J. Young (Nov. 3, 2010) [EXAM10436173].
898   2010 Net Funding Schedule, part 6(a)(iv) [ALLY_0018118].
899   Ally Bank Board Meeting Presentation, dated June 18, 2010, at 15 [EXAM11119117]. Int. of L. Gerner,
      Nov. 13, 2012, at 144:4–154:5, 175:8–176:19; E-mails among M. Hales, A. Glassner, D. Scott, et al.
      (Apr. 8–21, 2010) [ALLY_PEO_0065507].
900   See Ally Bank Board Meeting Presentation, dated June 18, 2010, at 15 [EXAM11119117]; E-mail from
      A. Glassner to D. Scott (Apr. 14, 2010) [ALLY_PEO_0065507] (comparison of the Swap to the Citibank
      facility being fundamentally flawed).
901   Detailed Analysis of Ally Bank’s Affiliate Agreements, dated June 12, 2012, at 7, 15, 23 [SOP0000380]; see
      also Ally Bank Board Meeting Presentation, dated June 18, 2010, at 15 [EXAM11119117]. GMAC
      Mortgage maintained at Ally Bank non-interest bearing escrow accounts that it held on behalf of Borrowers
      for tax and insurance payments as well as other escrow accounts.

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the differences justified a spread 2.75% less than the LIBOR +6% Citibank facility, i.e., of
LIBOR +3.25%.902 In his interview, Glassner acknowledged that this calculation did not include
an adjustment based on other factors that could have supported a further downward adjustment,
particularly the fact that the Bank, unlike a lender, held title to the MSRs.903

      It seems clear from the record that the revised interest rate was developed essentially to
palliate the regulators, rather than based on agreement that the adjustment was necessary. But
as discussed below, the regulators remained dissatisfied with the increased rate.

                   (2) Deducting Loan Repurchase Expense From The Net Servicing Fee

     The parties amended the Net Servicing Fee definition, providing that Ally Bank could
deduct from the servicing fees it was remitting to GMAC Mortgage not merely “any
associated servicing expenses paid or incurred, as is customary for normal servicing of
residential mortgage loans” (as the original schedule had provided),904 but also:

                   [t]he losses, liabilities, costs and expenses (collectively, “Losses”)
                   incurred by [Ally Bank] as owner of mortgage servicing rights or
                   servicer of record under applicable Seller/Servicer Agreements or
                   Master Agreements (including the respective Seller or Servicer
                   Guides) between [Ally Bank] and either the Federal National
                   Mortgage Association or the Federal Home Loan Mortgage
                   Corporation (each, an “Agency”) including without limitation
                   Losses related to any Agency loan repurchase request,
                   indemnification or make-whole agreement, to the extent such
                   Losses remain unreimbursed by [GMAC Mortgage].905

This revision was portrayed at the time as merely a “clarification” of the agreement.906

     The 2007 Net Servicing Fee provisions did not explicitly address whether Bank loan
repurchase expenses are among the expenses to be deducted from the Net Servicing Fee.
According to Groody, who presented the 2007 MSR Swap to the Bank Board for approval,907
there was no discussion at the time of whether any representation and warranty or loan



902   Ally Bank Board Meeting Presentation, dated June 18, 2010, at 15 [EXAM11119117].
903   Int. of A. Glassner, Mar. 20, 2013, at 67:17–68:5, 72:15–73:22.
904   2007 Net Funding Schedule, part 6(a)(v) [RC00027852].
905   2010 Net Funding Schedule, part 6(a)(v) [ALLY_0018118].
906   See, e.g., Memorandum to Residential Capital, LLC Board of Directors, dated Oct. 3, 2010, at RC40016545
      [RC40016545].
907   Minutes of a Regular Meeting of the Board of Directors of GMAC Bank, Aug. 22, 2007, at
      ALLY_PEO_0001451 [ALLY_PEO_0001400].

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repurchase expenses Ally Bank might incur in connection with its MSR ownership would be
deductible from the Net Servicing Fee.908 This is not surprising, given that the GSEs did not
then make repurchase demands to master servicers, a practice they did not adopt until after
2007.909 The witnesses interviewed agreed that Ally Bank had not, in the years between
inception of the MSR Swap and these amendments, actually paid representation and warranty
claims and then deducted them from the Net Servicing Fee.910 Consequently, there was no
“course of dealing” to confirm that these changes were merely a “clarification” of agreed intent.
Moreover, in September 2008, in connection with a discussion about a new effort to permit Ally
Bank to hold Ginnie Mae MSRs, Groody advised the Bank Board that the matter would be
complicated by the fact that Ginnie Mae looks to servicers to fulfill repurchase obligations, and
it would be necessary to “modify the scope of the total return [MSR] swap with [GMAC
Mortgage] to ensure that it covers losses on repurchased loans.”911 This exchange reflects that it
was at least unclear to the GMAC Bank architect of the MSR Swap in 2008 that repurchase
obligations would be covered by GMAC Mortgage under the existing agreement.

      Nonetheless, concerns about this modification to the terms of the MSR Swap appear to be
moot because Ally Bank never actually paid any repurchase claims (or, consequently, deducted
any such payments from the Net Servicing Fee).912 Instead, representation and warranty liabilities
were assumed by ResCap/GMAC Mortgage as a seller of the loans; it did not pursue recovery
from Ally Bank on loans purchased under the MMLPSA, though it did pursue recovery from
third-party correspondents who had sold the loans to the Bank.913

                 e. 2010 AFI Guarantee And Indemnification Side Letter

     In October 2010, various state and federal agencies commenced an investigation following
revelations of the widespread practice of “robo-signing” affidavits in foreclosure proceedings
across the country. Responding to FDIC and investor pressure, Ally Bank asked GMAC Mortgage
to enter into an indemnification letter to “clarify” GMAC Mortgage’s indemnification obligations
under the Original Servicing Agreement in the event that any liabilities were incurred in
connection with this activity;914 in truth, the request was to expand GMAC Mortgage’s
indemnification obligations by eliminating the existing limitation on the obligations to one year’s



908    Int. of R. Groody, Dec. 17, 2012, at 236:18–237:5.
909    Int. of J. Young, Oct. 10, 2012, at 165:10–166:6.
910    Int. of R. Groody, Dec. 17, 2012, at 236:10–237:15; Int. of J. Young, Sept. 28, 2012, at 247:11–15; Int. of C.
       Dondzila, Sept. 27, 2012, at 227:16–22; Int. of J. Whitlinger, Nov. 30, 2012, at 67:13–68:12.
911 Minutes of a Regular Meeting of the Board of Directors of GMAC Bank, Sept. 24, 2008, at ALLY_PEO_0001583

      [ALLY_PEO_0001488].
912 Int. of R. Groody, Dec. 17, 2012, at 236:10–237:15; Int. of J. Young, Sept. 28, 2012, at 247:11–15; Int. of C.

      Dondzila, Sept. 27, 2012, at 227:16–22; Int. of J. Whitlinger, Nov. 30, 2012, at 67:13–68:12.
913 See Section V.B.3.a(4).

914 Memorandum to Residential Capital, LLC Board of Directors, dated Oct. 3, 2010, at RC40016547 [RC40016545].



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servicing fees. In October 2010, Barbara Yastine, Chief Administrative Officer of Ally Bank,
wrote “[m]y fear here is if we don’t get clear, unlimited indemnification in place for the bank, the
FDIC will force us to cease providing financing to ResCap/[GMAC Mortgage]. I think that would
shut the business down.”915 Yastine also noted that the indemnification had not yet been approved
by the ResCap Board and that:

                   [i]t seems this is not a slam dunk with the board. After all, they
                   have gotten the bank to hold and fund the MSR, being the required
                   face to Fannie and Freddie, and the bank has previously accepted
                   an indemnification limited to one year’s worth of servicing fees,
                   which isn’t much. Nice deal if you can get away with it, and
                   ResCap has. But we have an answer due the FDIC on Tuesday, so
                   Hu Benton has offered up a direct guarantee from Ally Financial to
                   bank. Our alternative is to talk about our intentions, but that’s not
                   that strong, of course.916

     The ResCap Board discussed this issue at a number of meetings including the October 3,
2010,917 and October 5, 2010, meetings, but did not approve the proposed revision.918
Considerable discussion was given to the exclusion of a liability cap, which would have
resulted in unlimited indemnification liability for GMAC Mortgage.919

      Instead, in a letter dated October 5, 2010, AFI provided a guarantee to Ally Bank of all of
GMAC Mortgage’s obligations under certain agreements, which include the Original
Servicing Agreement and the MSR Swap.920 In addition, AFI agreed to compensate Ally Bank
for any losses arising out of violations by GMAC Mortgage of the Original Servicing
Agreement, as amended, applicable law, or the Ally Bank Servicing Guides.921 AFI reaffirmed
this guarantee in a subsequent letter dated April 1, 2011.922

     By a side letter dated October 5, 2010, GMAC Mortgage acknowledged it was
responsible for “any aspect of the foreclosure affidavit process” to the extent it caused a
violation of the covenant to service loans in accordance with all applicable laws and



915   E-mail from B. Yastine (Oct. 4, 2010) [ALLY_0334586].
916   E-mail from B. Yastine (Oct. 3, 2010) [ALLY_0334586].
917   Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Oct. 3, 2010, at
      RC40018840–41 [RC40018729].
918   Id. at RC40018842–43.
919   Id. at RC40018843.
920   Letter from AFI to Ally Bank (Oct. 5, 2010) [ALLY_0018084].
921   Id.
922   Letter from AFI to Ally Bank (Apr. 1, 2011) [ALLY_0018204].

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